               Case 13-42659-mgd                          Doc 23         Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                        Document     Page 1 of 924
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re         Headband, LLC                                                                                           Case No.         13-42659
                                                                                                                 ,
                                                                                               Debtor


                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                                                                                 T   T
                                                                                                                                                E
                                                                                                                                                D

417 Skydive
P.O. Box 319                                                                -
Rogersville, MO 65742

                                                                                                                                                                         875.00
Account No. xxx2831

Aandahl, Joel
14 Via Terviso                                                              -
American Canyons, CA 94503

                                                                                                                                                                         518.00
Account No. xxx7866

Abair, Michelle
1511 Broadnax Mill Rd                                                       -
Loganville, GA 30052

                                                                                                                                                                         399.00
Account No. xxx1798

Abare, David
42 Newark St                                                                -
Haverhill, MA 01832

                                                                                                                                                                         363.00

                                                                                                                                        Subtotal
 590 continuation sheets attached
_____                                                                                                                                                                  2,155.00
                                                                                                                              (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                     S/N:36164-131126   Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23         Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document     Page 2 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1783                                                                                                                    E
                                                                                                                                        D

Abbott, Kirk
5501 Legacy Oaks Parkway Apt. 1015                                          -
Schertz, TX 78154

                                                                                                                                                              500.50
Account No. xxx9197

Abbott, Melissa
401 E 33rd St                                                               -
Joplin, MO 64804

                                                                                                                                                              259.00
Account No. xxx4912

Abbott, Todd
2325 Huntington Loop se                                                     -
Lacey, WA 98513

                                                                                                                                                              498.00
Account No.

ABC Balloon Adventures
1845 South Yuma St.                                                         -
Denver, CO 80223

                                                                                                                                                              330.00
Account No. xxxx2222

Abdalaziz, Walid, T
Darkwood Tr #2A                                                             -
Maryville, IN 46410

                                                                                                                                                              327.00

           1
Sheet no. _____     590 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            1,914.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23         Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document     Page 3 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1650                                                                                                                    E
                                                                                                                                        D

abdelahmid, nadeen
5806 lindley cresent drive                                                  -
indian trail, NC 28079

                                                                                                                                                              214.00
Account No. xxx4285

Abdelkader, Khaled
5435 Claybourne Street Apt 203                                              -
Pittsburgh, PA 15232

                                                                                                                                                              217.44
Account No. xxx7815

Abdoulah, Alexandra M.
19 S Busch Lane.                                                            -
Longmont, CO 80501

                                                                                                                                                              244.20
Account No. xxx5274

Abdulsattar, Ahmed
2302 Twin Lakes Dr                                                          -
Ypsilanti, MI 48197

                                                                                                                                                              736.80
Account No. xxx1544

Abel, Amanda
120 S 2nd St Apt 4C                                                         -
Brooklyn, NY 11211

                                                                                                                                                              418.00

           2
Sheet no. _____     590 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            1,830.44
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23         Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document     Page 4 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx2963                                                                                                                    E
                                                                                                                                        D

Abell, Jon
700 Aztec circle 11D                                                        -
Mesquite, NV 89027

                                                                                                                                                              209.00
Account No. xxx6236

Abercrombie, Cheryl
po box 512                                                                  -
Baser, KS 66007

                                                                                                                                                              250.12
Account No. xxx9096

Abernathy, Andrew N.
7726 Mill Pond Drive                                                        -
Waxhaw, NC 28173

                                                                                                                                                              271.70
Account No. xxx8153

Abernathy, Eric
4519 Boxford Rd.                                                            -
Greensboro, NC 27406

                                                                                                                                                              146.88
Account No. xxx9087

Abernathy, Samuel J.
4175 Spyglass Hill                                                          -
Mason, OH 45040

                                                                                                                                                              495.90

           3
Sheet no. _____     590 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            1,373.60
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23         Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document     Page 5 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7371                                                                                                                     E
                                                                                                                                        D

Abernathy, William
700 West Bittersweet Place Apt 610                                          -
Chicago, IL 60613

                                                                                                                                                              122.50
Account No. xxx4119

Abeyounis, Elizabeth
408 Chadwick Pl                                                             -
Newport news, VA 23606

                                                                                                                                                              496.40
Account No. xxx3973

Abichandani, Pramod
2200 ben franklin pwy apt west108                                           -
Philadelphia, PA 19130

                                                                                                                                                              108.72
Account No. xxx1514

Abisror, Jackie
201 North 8th Street                                                        -
Philadelphia, PA 19106

                                                                                                                                                              444.00
Account No. xxx4306

Ablorhmcgregor, Jennifer
7 Salvi dr                                                                  -
Sramingham, MA 01701

                                                                                                                                                              428.00

           4
Sheet no. _____     590 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            1,599.62
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23         Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document     Page 6 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1597                                                                                                                     E
                                                                                                                                        D

Abner, Monica
1035 Lakeshore Dr                                                           -
West Point, MS 39773

                                                                                                                                                              361.25
Account No. xxx9601

Aboneaaj, Mais
1360 Chadwick Dr.                                                           -
Lawrencville, GA 30043

                                                                                                                                                              205.84
Account No. xxx1932

Aboulhosn, Susie M
713 Winsley Place                                                           -
Brentwood, TN 37027

                                                                                                                                                              102.92
Account No.

Above The Wine Country Balloons
11137 Cherry Ridge Rd.                                                      -
Sebastopol, CA 95472

                                                                                                                                                              490.50
Account No. xxx1432

Abraham, Zach G
470 16th St NW unit 4019                                                    -
Atlanta, GA 30363

                                                                                                                                                              185.64

           5
Sheet no. _____     590 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            1,346.15
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23         Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document     Page 7 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5235                                                                                                                     E
                                                                                                                                        D

Abrahamson, Andrew
101 north normande ave Apartment                                            -
210
los angeles, CA 90004
                                                                                                                                                            1,058.40
Account No. xxx9456

Abram, Maria
178 Augusta Course Ave                                                      -
Las Vegas, NV 89148

                                                                                                                                                              112.50
Account No. xxx4192

Abrams, Martin D
702 Thistle Drive                                                           -
Seffner, FL 33584

                                                                                                                                                              129.00
Account No. xxx7396

Abramson, Brett
1100 Northeast 1st Court                                                    -
Hollandale, FL 30039

                                                                                                                                                                99.60
Account No. xxxx3125

Abrantes, Edward
43760 Farmstead dr                                                          -
Lansdowne, VA 20176

                                                                                                                                                                85.80

           6
Sheet no. _____     590 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            1,485.30
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23         Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document     Page 8 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5259                                                                                                                     E
                                                                                                                                        D

Abrego, DaisyLee
417 Lilac Dr                                                                -
Lososos, CA 93402

                                                                                                                                                              488.40
Account No. xxx7815

Abrokwa, Kwasi Aning
230 Roberta Ave                                                             -
Collendale, PA 19023

                                                                                                                                                              217.43
Account No. xxxx4018

Abshier, Melody
7900 Viscount Blvd Apt 440                                                  -
El Paso, TX 79925

                                                                                                                                                            1,417.84
Account No. xxx9541

Abul-saud, Maen
11316 Jollyville rd. apt 364                                                -
Austin, TX 78759

                                                                                                                                                              482.16
Account No. xxx7869

Abundis , Dave
1497 15th Avenue                                                            -
San Fransisco, CA 94122

                                                                                                                                                              165.00

           7
Sheet no. _____     590 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            2,770.83
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23         Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document     Page 9 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2927                                                                                                                     E
                                                                                                                                        D

Abushanad, Saji
6525 Greenwigh Dr #2601                                                     -
Indianappolis, IN 46237

                                                                                                                                                              245.15
Account No. xxxx1032

Accad, Gracy
1150 E 8th St                                                               -
Brooklyn, NY 11230

                                                                                                                                                              473.60
Account No. xxx5741

Acciani, Marissa
12204 Jasmine Cove Way                                                      -
Raleigh, NC 27614

                                                                                                                                                              236.80
Account No.

Ace High Ballooning
1849 Bethbirei Road                                                         -
Lewisburg, TN 37091

                                                                                                                                                            2,450.00
Account No.

Aces High Balloon Adventures, LLC
15626 S Lewis Ave                                                           -
Bixby, OK 74008

                                                                                                                                                              900.00

           8
Sheet no. _____     590 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            4,305.55
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 10 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8132                                                                                                                      E
                                                                                                                                         D

Acevedo, Alexis
1304 s fulton way apt c106                                                   -
denver, CO 80247

                                                                                                                                                               420.00
Account No. xxx7962

Acevedo, Andres F.
9042 SW 157th Ave Road                                                       -
Miami, FL 33196

                                                                                                                                                               643.50
Account No. xxxx2140

Acevedo, Julio
5601 East Orange Thorpe Ave                                                  -
Anahiem Hills, CA 92807

                                                                                                                                                               870.00
Account No. xxx6574

Acevedo, Oscar
8282 Calvine Rd Apt 2055                                                     -
Sacremento, CA 95828

                                                                                                                                                               532.80
Account No. xxxx2757

Acheampong, George
1002 Frankfurt Ave.                                                          -
Lubbock, TX 79416

                                                                                                                                                               243.10

           9
Sheet no. _____     590 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             2,709.40
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 11 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9198                                                                                                                      E
                                                                                                                                         D

Achille, Jessica
5636 Morton Street                                                           -
Philidelphia, PA 19144

                                                                                                                                                               268.25
Account No. xxx6647

ackerman, nicole
Po box 6498                                                                  -
Ketchum, ID 83340

                                                                                                                                                               222.00
Account No. xxx6233

Ackley, Riana
1900 S. Eads Street, Apt. 1214                                               -
Arlington, VA 22202

                                                                                                                                                               249.90
Account No. xxx8763

Ackley, Robert
2567 covey run court                                                         -
Manakin sabot, VA 23103

                                                                                                                                                               503.20
Account No. xxx2385

Ackley, Rose Marie
394 S Flora Dr.                                                              -
Spring Creek, NV 89815

                                                                                                                                                               426.30

           10 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,669.65
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 12 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx5423                                                                                                                      E
                                                                                                                                         D

Acosta Soto, Ellison E
PO Box 2844                                                                  -
Guaynabo 00970

                                                                                                                                                               355.20
Account No. xxxx0502

Acosta, Kenia
5935 Cabotage Road                                                           -
Johns Creeks, GA 30097

                                                                                                                                                               108.00
Account No. xxx1012

Acotpe, Tierney
576 Earl Drive                                                               -
Northfield, IL 60093

                                                                                                                                                               225.00
Account No. xxx6478

Acuapa, David B
16 zircon drive                                                              -
maumelle, AR 72113

                                                                                                                                                               127.27
Account No. xxx1849

Acuff, Susan
3293 Kinderhill Circle                                                       -
Germantown, TN 38138

                                                                                                                                                               314.60

           11 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,130.07
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 13 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx6127                                                                                                                      E
                                                                                                                                         D

Acuff, Thomas
25 sunbean Ln                                                                -
Hyannis, MA 02601

                                                                                                                                                             1,332.00
Account No. xxx0841

adagiri, rohit
300 restnots st.                                                             -
wasika, WI 53188

                                                                                                                                                               721.62
Account No. xxx2950

Adair, Johnathan
2609 Ridgecrest Dr.                                                          -
Farmington, NM 87401

                                                                                                                                                               221.65
Account No. xxx0051

adair, renee
128 first avenue                                                             -
enderlin, ND 58027

                                                                                                                                                               577.20
Account No. xxx6777

Adamczyk, Eric
2020 Keast Drive                                                             -
Clarklake, MI 49234

                                                                                                                                                               200.00

           12 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,052.47
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 14 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx3574                                                                                                                      E
                                                                                                                                         D

Adame, Greta M
951 East Railroad Ave                                                        -
Giddings, TX 78942

                                                                                                                                                               241.08
Account No. xxx3190

adamin, katherine
17607 cotton wood trail lane                                                 -
huston, TX 77095

                                                                                                                                                               264.55
Account No. xxx1868

Adams, Betty
1509 Davis Ave                                                               -
Grinnell, IA 50112

                                                                                                                                                               189.00
Account No. xxx9311

Adams, Dale
Box 512 Crompond                                                             -
New York, NY 10517

                                                                                                                                                               434.85
Account No. xxx2470

Adams, Denise
4152 Woodcrest Ct.                                                           -
Douglasville, GA 30135

                                                                                                                                                               400.00

           13 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,529.48
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 15 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx1156                                                                                                                      E
                                                                                                                                         D

Adams, Jason
407 north dr.                                                                -
abernathy, TX 79311

                                                                                                                                                               221.61
Account No. xxx4287

Adams, Jill
2004 Rugby Dr                                                                -
Murry, KY 42071

                                                                                                                                                               217.50
Account No. xxxx1402

Adams, John 1
818 West 17th Place                                                          -
Tempe, AZ 85281

                                                                                                                                                               199.00
Account No. xxx6604

Adams, Katherine
1006 Lawerence St                                                            -
Emporia, KS 66801

                                                                                                                                                               119.00
Account No. xxxx1181

Adams, Marcia
3150 Berry Road                                                              -
Loganville, GA 30052

                                                                                                                                                               216.00

           14 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                               973.11
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 16 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx2419                                                                                                                      E
                                                                                                                                         D

ADAMS, MILDRED W
1074-4 TOMBER CREEK DRIVE                                                    -
CARMEL, IN 46032

                                                                                                                                                               287.00
Account No. xxx9291

Adams, Patrick
3362 Bellota Way                                                             -
Los Angelas, CA 90027

                                                                                                                                                               888.00
Account No. xxx8789

Adams, Ronnie
800 St Francis Drive                                                         -
Santa Fe, NM 87505

                                                                                                                                                               213.15
Account No. xxxx0503

Adams, Stanley T
974 Skyline Drive                                                            -
Jackson, TN 38301

                                                                                                                                                               449.50
Account No. xxx3479

Adams, Taylor
700 Green springs dr                                                         -
Columbia, SC 29223

                                                                                                                                                               179.00

           15 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,016.65
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 17 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8788                                                                                                                      E
                                                                                                                                         D

adams, William g
9677 page ave                                                                -
st louis, MO 63132

                                                                                                                                                               589.04
Account No. xxx3641

Adamson, Quory
220 Marquis Way                                                              -
Morrow, GA 30260

                                                                                                                                                               473.00
Account No. xxxx2418

Adan Zuniga, Araceli
4205 Dunleaf Pky                                                             -
Norcross, GA 30093

                                                                                                                                                                 85.25
Account No. xxx6968

Adcock, Megan
3460 14th St. NW Apt 215                                                     -
Washington, DC 21010

                                                                                                                                                               119.90
Account No. xxx4690

Addis, Nena
25 Aspen Ln                                                                  -
Glencoe, IL 60022

                                                                                                                                                               125.00

           16 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,392.19
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 18 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx1723                                                                                                                      E
                                                                                                                                         D

Addison, Christy
1422 west sipers forest                                                      -
houston, TX 77070

                                                                                                                                                               235.95
Account No. xxx9250

Addo, Christopher
7904 Thouron Avenue                                                          -
Philadelphia, PA 19150

                                                                                                                                                               246.50
Account No. xxxx2603

Adeleke, Kehinde
15615 Gillmore Greens Court                                                  -
Brandywine, MD 20613

                                                                                                                                                               499.80
Account No. xxx0003

adella, rasha
633 green ave 2                                                              -
san bruno, CA 94066

                                                                                                                                                               244.65
Account No. xxx5641

Adelman, Leon
102 Queensberry St #12A                                                      -
Boston, MA 02215

                                                                                                                                                               544.00

           17 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,770.90
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 19 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx6856                                                                                                                      E
                                                                                                                                         D

aden, kristina
8011 spaulding cir                                                           -
omaha, NE 68134

                                                                                                                                                               250.00
Account No. xxx3129

Adepu, Prashant
919 W Rdige Dr #7-6                                                          -
Dekalb, IL 60115

                                                                                                                                                                 63.00
Account No. xxx8933

Adewumi, David
1405 Wendy Way                                                               -
Medlow park, CA 54025

                                                                                                                                                               468.30
Account No. xxx8700

Adhikari, Bhaskar
3412 Tulane Drive Apt 11                                                     -
Hidesville, MD 20783

                                                                                                                                                               171.60
Account No. xxx4356

Adiaz, Karen
2447 Sugar Mill Lake                                                         -
Herndon, VA 20171

                                                                                                                                                               536.50

           18 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,489.40
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 20 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx5037                                                                                                                      E
                                                                                                                                         D

Adinata, Harry
195 14th Street NE #1007                                                     -
Atlanta, GA 30309

                                                                                                                                                                 99.72
Account No. xxx9409

Adji, Nii
65 Industrial South                                                          -
Cleston, NJ 10019

                                                                                                                                                               190.00
Account No. xxx9252

Adkins, Newton
2228 Grey Cliff Dr,                                                          -
Franklin, TN 37064

                                                                                                                                                             1,037.50
Account No. xxx7541

Adkison, Amy
1702 east hining road                                                        -
Garrison, TX 75946

                                                                                                                                                               219.03
Account No. xxx9988

Adkisson, Justin
1304 Beech Street                                                            -
Westlake, LA 70669

                                                                                                                                                                 60.07

           19 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,606.32
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 21 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9237                                                                                                                      E
                                                                                                                                         D

Adler, Cheryl A.
P.O. Box 601802                                                              -
San Diego, CA 92160

                                                                                                                                                               177.60
Account No. xxx6868

Adler, nicholas
3147 Bellwood Lane                                                           -
glenview, IL 60026

                                                                                                                                                               471.90
Account No. xxx5248

Adler, Seth T.
PO BOX 4342                                                                  -
Long Beach, CA 90804

                                                                                                                                                               264.60
Account No. xxx9288

adnon, saris
154 mantucket place                                                          -
Newport News 23606

                                                                                                                                                               777.00
Account No. xxx9077

Adolphus, Janet
5586 Jamerson Dr.                                                            -
Atlanta, GA 30349

                                                                                                                                                               213.75

           20 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,904.85
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 22 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8911                                                                                                                      E
                                                                                                                                         D

Adoutte, David
30 Karen Way                                                                 -
Summit, NJ 07901

                                                                                                                                                                 95.72
Account No. xxx2420

Adrian, Burton
1710 Willow bend road                                                        -
cedar falls, IA 50613

                                                                                                                                                               562.40
Account No. xxx5392

Adriano, Ruth
211 Barclay Dr.                                                              -
Stamford, CT 06903

                                                                                                                                                               135.85
Account No. xxx3629

Adrong, Y Thuo
1321 East Cone Blvd                                                          -
Greensboro, NC 27405

                                                                                                                                                               280.00
Account No.

Adventure Balloon Sport
4560 Martin Drive                                                            -
Boulder, CO 80305

                                                                                                                                                             4,390.00

           21 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             5,463.97
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 23 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                                                                              E
                                                                                                                                         D

Adventure Skydiving TN
716 William Howard Place                                                     -
Nashville, TN 37209

                                                                                                                                                             5,013.00
Account No.

Aer Blarney Ballooning, LLC
P.O. Box 1528                                                                -
Litchfield, CT 06759-1528

                                                                                                                                                               500.00
Account No. xxx1598

afroze, farhana
35-47 93rd st 2nd fl                                                         -
jackson hieghts, NY 11372

                                                                                                                                                               278.85
Account No. xxx1757

Afsharian, Andre
1127 Bella vista avenue                                                      -
Pasadena, CA 91107

                                                                                                                                                               500.70
Account No. xxx5346

Aga, Joseph
1433 West Lawrence Dr                                                        -
Spokane, WA 99218

                                                                                                                                                               414.70

           22 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             6,707.25
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 24 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx4576                                                                                                                      E
                                                                                                                                         D

Aga, Merrie
532 Kentucky Street                                                          -
Valejo, CA 94590

                                                                                                                                                               330.00
Account No. xxx3480

Agababyan , Sandra
370 wood trace dr.                                                           -
Alpharetta, GA 30022

                                                                                                                                                               358.00
Account No. xxx2483

Agalov, Liyl
3490 Winter wood Court                                                       -
Marietta, GA 30062

                                                                                                                                                               316.69
Account No. xxx9011

Agantovich, Jacinda
150 Southfield Avenue Apt 1426                                               -
Stanford, CT 06902

                                                                                                                                                               107.25
Account No. xxxx4710

Agarwal, Abhinav 1
3512 nandina dr                                                              -
Flower Mound, TX 75022

                                                                                                                                                               109.00

           23 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,220.94
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 25 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8764                                                                                                                      E
                                                                                                                                         D

Agarwal, Prerna
3540 S Figueroa St Radson Hotel #421                                         -
Los Angelas, CA 90007

                                                                                                                                                               780.75
Account No. xxx3068

Agarwal, Shikhanshu
8550 Cost Verde                                                              -
San Diego, CA 92122

                                                                                                                                                             1,404.90
Account No. xxxx3449

Agarwal, Utsav
701 Moore Avenue, C 1902                                                     -
Louisburg, PA 17837

                                                                                                                                                               241.00
Account No. xxx0051

Agate, Gary J
419 Shelboune Drive                                                          -
Pittsburgh, PA 15239

                                                                                                                                                               128.70
Account No. xxx2821

Agee, Jeffrey
9428 Carlton Oaks Drive Aprt. C                                              -
Santee, CA 92071

                                                                                                                                                               468.29

           24 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,023.64
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 26 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx6441                                                                                                                      E
                                                                                                                                         D

Agee, Tammy R
331 Brentmead Dr                                                             -
Murfreesboro, TN 37130

                                                                                                                                                               666.00
Account No. xxx7086

Aggarwal, Nikhil
5308 Lake Washington Blvd Apt J                                              -
Kirkland, WA 98033

                                                                                                                                                               860.00
Account No. xxx6166

Agin, Marjorie
11 Headwaters Rd                                                             -
Bluffton, SC 29910

                                                                                                                                                               475.20
Account No. xxx6480

Agrawal, Sugandh G.
4630 Center Blvd Apt 105                                                     -
Long Island, NY 11109

                                                                                                                                                               139.60
Account No. xxx8303

Aguayo, Ricardo
3713 Kales Lane                                                              -
Flowermound, TX 75022

                                                                                                                                                               473.59

           25 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,614.39
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 27 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7012                                                                                                                      E
                                                                                                                                         D

agudelO, edna
1085 COOPER AVE                                                              -
TEANECK, NJ 07666

                                                                                                                                                               529.10
Account No. xxx8934

Aguilar, Billy
2207 Marcie lane                                                             -
Midland, TX 79707

                                                                                                                                                               438.06
Account No. xxx3635

Aguilar, Lisa
301 Acapulco drive                                                           -
Bakersfield, CA 93314

                                                                                                                                                               243.60
Account No. xxx8957

Aguirre, Luis
19801 SW 114th Court                                                         -
Miami, FL 33157

                                                                                                                                                               255.15
Account No. xxx7752

Agumbefureshmahima
401 stasney st.                                                              -
college station, TX 77840

                                                                                                                                                               657.09

           26 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,123.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 28 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx0306                                                                                                                     E
                                                                                                                                         D

Ahern, Daniel
4311 N Winchester Apt. 3                                                     -
Chicago, IL 60613

                                                                                                                                                               254.87
Account No. xxx7400

ahlrichs, Alicia
7609 11th street north                                                       -
oakdale, MN 55128

                                                                                                                                                               720.00
Account No. xxxx2077

Ahmad, Farrah
6278 Moonstone Drive                                                         -
Grand Blanc, MI 48439

                                                                                                                                                               618.64
Account No. xxxx3767

Ahmavieh, Bassel E.
1261 9th Street                                                              -
Monterey, CA 93940

                                                                                                                                                               229.67
Account No. xxx8999

Ahmed, Omran
1800 Holleman Dr.                                                            -
College Station, TX 77850

                                                                                                                                                               723.24

           27 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,546.42
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 29 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8051                                                                                                                      E
                                                                                                                                         D

Ahmed, Shahzad
8300 Red Bluff Rd Apt 827                                                    -
Pasadena, TX 77507

                                                                                                                                                               207.35
Account No. xxx5321

Ahn, yikyung A
965 S Westgate dr                                                            -
Fort Lee, NJ 07024

                                                                                                                                                               729.30
Account No. xxx9908

Ahuja, Vikram
3066 25th St.                                                                -
San Francisco, CA 94110

                                                                                                                                                               138.60
Account No. xxxx2316

Aiello, Jenny
4005 English Laurel Ln.                                                      -
Raleigh, NC 27612

                                                                                                                                                             1,205.40
Account No. xxx9935

Ailes, Daniel
3485 Beech Street                                                            -
San Diego, CA 92102

                                                                                                                                                               215.00

           28 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,495.65
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 30 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                                                                              E
                                                                                                                                         D

Air Addiction Balloon Company
709 West 2nd Ave                                                             -
Indianola, IA 50125

                                                                                                                                                               440.00
Account No.

Air Texas Balloon Adventures
15714 Downford Dr.                                                           -
Tomball, TX 77377

                                                                                                                                                             2,275.00
Account No. xxx9435

Airoldi, Harold
15029 South east Monner rd                                                   -
Happy valley, OR 97086

                                                                                                                                                             1,065.60
Account No. xxx3248

Aitharaju, Vasu dev
36 Dogwood Drive                                                             -
Edison, NJ 08820

                                                                                                                                                               804.75
Account No. xxx4445

Akers, Dean
2552 W. Palm Dr                                                              -
Tampa, FL 33629

                                                                                                                                                               228.80

           29 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             4,814.15
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 31 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx5938                                                                                                                      E
                                                                                                                                         D

Akey, Matthew
2890 south gaylord street                                                    -
Denver, CO 80210

                                                                                                                                                               347.80
Account No. xxxx2604

Akilov, Emily
4395 Garland Ct                                                              -
Las Vegas, NV 89121

                                                                                                                                                               848.25
Account No. xxx3335

akimushkin, Pavel S
473 Central park west apartment 2a                                           -
new york, NY 10025

                                                                                                                                                               510.30
Account No. xxx7065

Akinmuyisan, Oluwatayo
9522 Kilimanjaro Rd                                                          -
Columbia, MD 21045

                                                                                                                                                               523.40
Account No. xxx9713

Akins, Robert D
183 Filo rd                                                                  -
Madison, AL 35758

                                                                                                                                                               240.00

           30 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,469.75
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 32 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx4134                                                                                                                     E
                                                                                                                                         D

Akjaya, Hakki
1267 New York Ave                                                            -
Elmont, NY 11003

                                                                                                                                                               843.66
Account No. xxx0096

Akrawi, Marina
43264 Winterfield Drive                                                      -
Sterling Heights, MI 48314

                                                                                                                                                               742.50
Account No. xxx4089

Al Bushidi, Salsabeel B
1 Longfellow Pl apt 3808                                                     -
Boston, MA 02114

                                                                                                                                                               270.00
Account No. xxx9143

Alabdulkarim, Sultan
6300 E Hampden Ave Apt 3426                                                  -
Denver, CO 80222

                                                                                                                                                                 71.50
Account No. xxxx0912

Alabiooani, Salman
1515 Aggie Rd Apt F4                                                         -
Jonesboro, AR 72401

                                                                                                                                                                 70.07

           31 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,997.73
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 33 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7279                                                                                                                      E
                                                                                                                                         D

alahmadi, noran
3131 east alameda ave                                                        -
denver, CO 80209

                                                                                                                                                               750.75
Account No. xxxx3900

Alajluni, Muhanna
1078 E. Ocean Blvd., # 21                                                    -
Long Beach, CA 90802

                                                                                                                                                               501.64
Account No. xxx2727

Alalfey, Nagat
6846 Sewells Orchard Dr                                                      -
Columbia, MD 21045

                                                                                                                                                               600.00
Account No. xxx1934

Alameri, Mohammed
516 cardiss                                                                  -
CA 92606

                                                                                                                                                               509.74
Account No. xxx7702

alamillo, Amy
1401 First street apartment a                                                -
indian rocks beach, FL 33785

                                                                                                                                                               114.40

           32 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,476.53
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 34 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx1932                                                                                                                     E
                                                                                                                                         D

Alan, Darion
406 Noble Street                                                             -
Kutztown, PA 19530

                                                                                                                                                               359.98
Account No. xxx6311

Alapati, Kalyan
821 Park summit blvd                                                         -
Apex, NC 27523

                                                                                                                                                             1,776.00
Account No. xxx6332

Alardo, Darleen
80 Coolidge Street                                                           -
Haversgraw, NY 10927

                                                                                                                                                               278.60
Account No. xxx5831

Alasiri / Alaseeir, Khalifa
4279 Spectrum                                                                -
Irvine, CA 92618

                                                                                                                                                               793.80
Account No. xxx0198

alasousi, ali
5005 west century blv                                                        -
los angeles, CA 90304

                                                                                                                                                               257.25

           33 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,465.63
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 35 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx2817                                                                                                                      E
                                                                                                                                         D

Alba, Eric
5225 Redwood Rd.                                                             -
San Marcos, TX 78666

                                                                                                                                                             1,305.00
Account No. xxx3835

Alban, Hugh
1920 Bay Dr.                                                                 -
Miami beach, FL 33141

                                                                                                                                                               214.50
Account No. xxx3939

Albano, Anderdson R
5021 Windflower drive                                                        -
fayetteville, NC 28314

                                                                                                                                                               543.40
Account No. xxx2352

Albattal, Nais
13603 Marina Pointe DR #c533                                                 -
Marina Del Ray, CA 90292

                                                                                                                                                               947.20
Account No. xxx9300

Albaugh, Jennifer L
6720 W 128th Place                                                           -
Overland Park, KS 66209

                                                                                                                                                               574.56

           34 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,584.66
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 36 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9500                                                                                                                      E
                                                                                                                                         D

Albeesh, Deena
12213 5th Ave                                                                -
Lakewood, CO 80228

                                                                                                                                                               707.85
Account No. xxx7665

Albers, Jeri S.
9600 Drambuie crt                                                            -
Loomis, CA 95650

                                                                                                                                                               733.94
Account No. xxx5408

Albertie, Belinda
218 Hollow Grove                                                             -
San Antonio, TX 78253

                                                                                                                                                               169.00
Account No. xxx7293

Albertsen, Robert
408 East Washington St                                                       -
Elk Point, SD 57025

                                                                                                                                                               500.24
Account No. xxxx4192

Albertson, Sierra
1309 nw 157th st                                                             -
edmond, OK 73013

                                                                                                                                                               458.00

           35 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,569.03
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 37 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx5824                                                                                                                      E
                                                                                                                                         D

Albini, Donald J
P.o. Box 2121                                                                -
Sanoma, CA 95476

                                                                                                                                                               398.00
Account No. xxx8284

Alby, Amanda
1541 Lincoln Way #201                                                        -
McLean, VA 22102

                                                                                                                                                                 99.00
Account No. xxx3383

Alcala, Gabriel
2750 Figorola Blvd Apt 6                                                     -
San Diego, CA 92109

                                                                                                                                                               133.50
Account No. xxx0270

alcamo, benedetto
71-02 80TH st                                                                -
glenndale, NY 11385

                                                                                                                                                               529.20
Account No. xxx8017

Alcaraz, Federico
3506 Diamond St.                                                             -
El Paso, TX 79904

                                                                                                                                                               449.92

           36 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,609.62
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 38 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx1378                                                                                                                      E
                                                                                                                                         D

Alcazar, Roberta
5640 Heffernan St                                                            -
Houston, TX 77087

                                                                                                                                                               547.60
Account No. xxx8221

ALCORN, KATHRYN A
593 BRIARWOOD AVE                                                            -
PITTSBURG, PA 15228

                                                                                                                                                               370.00
Account No. xxx7482

Alderete, Amanda
6515 Ridge Circle                                                            -
San Antonio, TX 78233

                                                                                                                                                               740.00
Account No. xxx8204

Aldrich, Jessica
1978 Seville Street                                                          -
Santa Rosa, CA 95403

                                                                                                                                                               235.00
Account No. xxx7135

Aldrich, Kelly L.
Route 2 Box 242                                                              -
Sumner, IL 62466

                                                                                                                                                               487.20

           37 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,379.80
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 39 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx6141                                                                                                                      E
                                                                                                                                         D

Aldrige, Garrett
161 West 300 South                                                           -
Knabe, UT 84741

                                                                                                                                                               234.15
Account No. xxx9922

Alecantara, Ian
21511 Moneta Ave                                                             -
Carson, CA 90745

                                                                                                                                                               383.70
Account No. xxx0263

alemadi, Mohammed Quassem
2207 Riva row 3404                                                           -
woodlands, TX 77380

                                                                                                                                                             1,864.80
Account No. xxx5832

Alemayehu, Wintana
733 Sligo Ave. apt 310                                                       -
Silver Spring, MD 20910

                                                                                                                                                               793.65
Account No. xxx6934

Alemetson, Billy
41763 W Park Hill Ct                                                         -
Marcopa, AZ 85138

                                                                                                                                                               397.54

           38 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,673.84
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 40 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8949                                                                                                                      E
                                                                                                                                         D

Alengadan, John
6530 Independence ave                                                        -
Canoga Park, CA 91303

                                                                                                                                                               458.80
Account No. xxx1873

Aleshire, Evan
531 Larchmont Dr                                                             -
Wyoming, OH 45215

                                                                                                                                                               247.95
Account No. xxx8950

Alewine, Ross
98 Benett St                                                                 -
Piedmont, SC 29673

                                                                                                                                                               306.69
Account No. xxx6969

Alexander, Brian
8960 Cynthia Street #105                                                     -
West Hollywood, CA 90069

                                                                                                                                                               872.30
Account No. xxx6414

Alexander, Brooke L.
772 W Essex St                                                               -
Washington, UT 84780

                                                                                                                                                               702.44

           39 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,588.18
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 41 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9907                                                                                                                      E
                                                                                                                                         D

alexander, daniel
5514 west 149th place unit 2                                                 -
hawthorn, CA

                                                                                                                                                               775.75
Account No. xxx1264

Alexander, Jobie
3775 Hoods Branch Rd                                                         -
Springfield, TN 37172

                                                                                                                                                               224.75
Account No. xxx3096

Alexander, Melissa
7033 E Kessler Ave                                                           -
Mesa, AZ 85209

                                                                                                                                                               351.29
Account No. xxx0670

Alexander, Patricia
7612 Woodbine Dr                                                             -
Laurel, MD 20707

                                                                                                                                                               615.00
Account No. xxx0299

Alexander, Tavonnee
15024 nordhoff unit 14                                                       -
North hills, CA 91343

                                                                                                                                                               199.20

           40 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,165.99
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 42 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx3038                                                                                                                     E
                                                                                                                                         D

Alexender, Brian
529 Columus Ave                                                              -
Boston, MA 02118

                                                                                                                                                             4,850.73
Account No. xxxx1933

Alfaro, Carlos
1900 Ray Dr.                                                                 -
Burlingame, CA 95010

                                                                                                                                                               246.74
Account No. xxx4120

Alfi, Yaron
3081 hayes ave                                                               -
Costa Nesa, CA 92626

                                                                                                                                                               739.50
Account No. xxxx1182

Alford, Colby
445 4th St Box #80                                                           -
Delrio, TX 78843

                                                                                                                                                               393.25
Account No. xxx9490

Alford, Neal E.
4434 North FM 148                                                            -
Crandall, TX 75114

                                                                                                                                                               242.55

           41 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             6,472.77
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 43 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9673                                                                                                                      E
                                                                                                                                         D

Algadhi, Majed
2680 Grande Isle                                                             -
Orange City, FL 32763

                                                                                                                                                               236.60
Account No. xxx7434

algattan, Sarah
150 51st ST Apt 1632                                                         -
New York, NY 10019

                                                                                                                                                               622.05
Account No. xxx4448

Alhammadi, Ahmed
30 arthur ave. SE apt. 5                                                     -
minneapolois, MN 55414

                                                                                                                                                               141.57
Account No. xxxx0918

Alharbi, Abdullah
3480 Mckenna Drive Apt 3                                                     -
Eugene, OR 97401

                                                                                                                                                               143.00
Account No. xxx8113

Alhouti, Abdulrahman
6941 SW 56 S.t                                                               -
Miami, FL 33155

                                                                                                                                                               493.00

           42 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,636.22
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 44 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx1651                                                                                                                     E
                                                                                                                                         D

Alhowaish, Abdul N
5440 North Cujunga Ave                                                       -
North Hollywood, CA 91601

                                                                                                                                                             1,003.27
Account No. xxx9616

Alhuayen, Sattan
West Beach Dr                                                                -
Panama City, FL 33122

                                                                                                                                                               272.08
Account No. xxx0910

Alhuseini, Mishael
2250 Clarendon Blvd                                                          -
Arlington, VA 22201

                                                                                                                                                               999.60
Account No. xxx5204

Ali, Ahmed 2
1008 Foulkrod St.                                                            -
Philadelphia, PA 19124

                                                                                                                                                                 95.00
Account No. xxx0817

Aliberti, William
363 Daniel Webster Hwy                                                       -
Northwood Stock, NH 03262

                                                                                                                                                               592.00

           43 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,961.95
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 45 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7987                                                                                                                      E
                                                                                                                                         D

Alibin, Ali
171 Moultrie Street                                                          -
Charleston, SC 29409

                                                                                                                                                               286.00
Account No. xxx9410

Alicea, Ileana
269 West Cornwall St                                                         -
Philadelphia, PA 19140

                                                                                                                                                               402.00
Account No. xxx5138

Alioto, Aniello
1009 Samantha Lane                                                           -
Odenton, MD 21113

                                                                                                                                                               452.20
Account No. xxx2491

Alisher, Shavali
11017 sw park ave apt 224                                                    -
portland, OR 97201

                                                                                                                                                               537.70
Account No. xxx6618

Aljaber, Abdulla
11302 10th ave Nantucket Gate apt F                                          -
103
Tacoma, WA 98445
                                                                                                                                                               292.60

           44 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,970.50
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 46 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7937                                                                                                                      E
                                                                                                                                         D

Aljumah, Saud
1710 Multnomah St                                                            -
Portland, OR 97232

                                                                                                                                                               604.80
Account No. xxx0567

Alkoraishi, Abdullah
4348 9th Avenue                                                              -
Seatle, WA 98105

                                                                                                                                                               585.20
Account No. xxx2771

Allara, Kara
9020 heather trace lane                                                      -
Gastonia, NC 28056

                                                                                                                                                               747.00
Account No. xxxx3450

Allardyce, Lindsay S.
3991 Baynard Court                                                           -
Southport, NC 28461

                                                                                                                                                               482.00
Account No. xxx2604

Alldredge, Sherry
1105 Breanne Court                                                           -
Bureson, TX 76028

                                                                                                                                                             1,110.00

           45 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,529.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 47 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx1515                                                                                                                      E
                                                                                                                                         D

Allen , Mary
10227 Knockaderry Dr                                                         -
Grand Ledge, MI 48837

                                                                                                                                                               514.80
Account No. xxx5459

Allen Jr., Joesph R
1409 Davidson Ct                                                             -
Auburn, IN 46706

                                                                                                                                                               580.00
Account No. xxx2717

Allen, Alton
2131 W.ontario apt. 2                                                        -
philadelphia, PA 19140

                                                                                                                                                             1,024.00
Account No. xxx3224

allen, brady
PO Box 5917                                                                  -
Breckinridge, CO 80424

                                                                                                                                                               443.30
Account No. xxx0386

Allen, Charles D.
111 Poplar Dr                                                                -
Washington, GA 30673

                                                                                                                                                               120.00

           46 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,682.10
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 48 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7870                                                                                                                      E
                                                                                                                                         D

Allen, Cheri
18 Tremont apt12                                                             -
Kingston, MA 02364

                                                                                                                                                               100.00
Account No. xxx8889

Allen, Chrissy
PO Box 552                                                                   -
Starke, FL 32091

                                                                                                                                                               473.20
Account No. xxx7526

Allen, Christian T.
19777 N 76st st unit 1196                                                    -
Scottsdale, AZ 85255

                                                                                                                                                               167.10
Account No. xxx0417

Allen, Christina M
8743 West Clarendon Ave                                                      -
Pheonix, AZ 85037

                                                                                                                                                               278.00
Account No. xxx0771

Allen, Christopher 1
333 Deepwood Trail                                                           -
Clarksville, TN 37042

                                                                                                                                                               435.00

           47 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,453.30
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 49 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9483                                                                                                                      E
                                                                                                                                         D

Allen, Cricket
1503 Sahara Dr.                                                              -
Crosby, TX 77532

                                                                                                                                                               310.80
Account No. xxx6388

Allen, Heather
221 pine valley drive                                                        -
Wilmington, NC 28412

                                                                                                                                                               572.00
Account No. xxx1743

Allen, Jeffrey C
4530 Dakota Trail                                                            -
St Charles, MO 63304

                                                                                                                                                                 80.00
Account No. xxxx4047

Allen, Jolene
5618 Grassy Bank Drive                                                       -
Indianapolis, IN 46237

                                                                                                                                                               125.93
Account No. xxx3959

Allen, Kelly
1159 Saint Pauls Parish                                                      -
Johns Island, CA 29455

                                                                                                                                                               116.00

           48 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,204.73
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 50 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx2758                                                                                                                     E
                                                                                                                                         D

Allen, Laura
350 Dearbourne Ave                                                           -
, ON L7B 1A3

                                                                                                                                                               465.00
Account No. xxxx3469

Allen, Lauren
4606 Bennett Avenue                                                          -
Austin, TX 78751

                                                                                                                                                               149.00
Account No. xxx9831

Allen, Matthew 1
1615 Lindsay Way                                                             -
Waukesha, WI 53186

                                                                                                                                                               240.54
Account No. xxxx0622

Allen, Michael 2
PO Box 698                                                                   -
Bullard, TX 75757

                                                                                                                                                               277.83
Account No. xxx1631

Allen, Risty
5912 Collins Ct                                                              -
Granbury, TX 76048

                                                                                                                                                               449.00

           49 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,581.37
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 51 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx2984                                                                                                                      E
                                                                                                                                         D

Allen, Trichele
P O Box 754                                                                  -
Bertram, TX 78605

                                                                                                                                                               506.25
Account No. xxx1742

Allen, Tyler
4530 Dakota Trail                                                            -
St. Charles, MO 63304

                                                                                                                                                               239.25
Account No. xxx3481

Allender, Brandon
1208 south west 13th avenue                                                  -
portland, OR 97205

                                                                                                                                                             2,399.99
Account No. xxxx2692

Alley, Kevin M.
6301 Stonewood Drive, #528                                                   -
Plano, TX 75024

                                                                                                                                                               616.25
Account No. xxxx3968

Allian, Charles
608 Cornwall Road                                                            -
Lebanon, PA 17042

                                                                                                                                                                 68.10

           50 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,829.84
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 52 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx0307                                                                                                                     E
                                                                                                                                         D

Allituram, Chandra Shekar
200 Castlewood Drive Apt 638                                                 -
Salisbury, NC 28147

                                                                                                                                                               815.10
Account No. xxx9109

Allnutt, Wesley
22615 Blackwater Dr.                                                         -
Blackwater, MO 65322

                                                                                                                                                               237.62
Account No. xxx0737

Allocca, Ryanne
2412 holloway terrace                                                        -
raleigh, NC 27608

                                                                                                                                                               568.00
Account No. xxx8638

Allouche, Ram
3802 Knicker Bocker Place                                                    -
Indiananapolis, IN 46240

                                                                                                                                                               522.00
Account No. xxx4212

Allred, Justin
1432 3rd Street                                                              -
Auogden, UT 84404

                                                                                                                                                               572.76

           51 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,715.48
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 53 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8042                                                                                                                      E
                                                                                                                                         D

Allred, Tanner
110 E. Broad St                                                              -
Groveland, FL 34736

                                                                                                                                                               999.10
Account No. xxx7229

Almallah, Sarah Waled
4417 Sweetbriar Drive                                                        -
Garland, TX 75042

                                                                                                                                                               273.80
Account No. xxx7527

Almansoori, Fahad
1 Jefferson Pkwy Apt # 291                                                   -
Lake Oswego, OR 97031

                                                                                                                                                               557.70
Account No. xxx3995

Almansour, Ahmed
509 Hunt Club Rd.                                                            -
Blacksburg, VA 24060

                                                                                                                                                               511.94
Account No. xxx1114

Almanza, Matthew
1714 Alston Avenue                                                           -
Colton, CA 92324

                                                                                                                                                               337.44

           52 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,679.98
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 54 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx2884                                                                                                                     E
                                                                                                                                         D

Almazan, Claudia
1741 S Clearview Ave                                                         -
Mesa, AZ 85209

                                                                                                                                                               400.40
Account No. xxx5966

Almeida, Alailva
62 Lakeville Cr                                                              -
Petaluma, CA 94954

                                                                                                                                                               470.00
Account No. xxx7735

Almoaither, Abdulaziz
8838 Dugas Road                                                              -
San Antonio, TX 78251

                                                                                                                                                               786.50
Account No. xxx6700

Almohammadi, Nazih
265 North 7th street Aprt. 151                                               -
Laramie, WY 82072

                                                                                                                                                               271.95
Account No. xxxx1305

Almuaooem, Mojtaba
3223 S 68th court                                                            -
Omaho, NE 68106

                                                                                                                                                                 92.95

           53 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,021.80
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 55 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7676                                                                                                                      E
                                                                                                                                         D

Alnajjab, Hana
604 Summit Pointe Way NE                                                     -
Atlanta, GA 30329

                                                                                                                                                               308.76
Account No. xxx3642

Alonzo, Ricardo
3119 NW 30 th St                                                             -
Forth Worth, TX 76106

                                                                                                                                                               242.40
Account No. xxx6105

Alphonse, Nesskens
204 SW 22nd Avenue                                                           -
Ft Lauderdale, FL 33312

                                                                                                                                                               395.00
Account No. xxx6593

alqwaisly, mawas
4 Lmrie road                                                                 -
aooston, ME 02134

                                                                                                                                                               480.00
Account No. xxxx3925

Alsahlani, Hussam
1784 Taper Drive                                                             -
Pittsburgh, PA 15241

                                                                                                                                                               419.73

           54 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,845.89
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 56 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx0087                                                                                                                      E
                                                                                                                                         D

Alsaleh, Ruaa
13228 Brookside Dr                                                           -
Sugarland, TX 77478

                                                                                                                                                               174.46
Account No. xxx7756

alserkal, saleh
13900 marqueses                                                              -
warina del ray, CA 90292

                                                                                                                                                               429.00
Account No. xxx9287

Alshamlan, Mai
1010 Regancy Pkwy Apt 311                                                    -
Omaha, NE 68114

                                                                                                                                                               466.14
Account No. xxx0605

Alshawaf, Yaqoub
7051 W Blvd                                                                  -
youngstown, OH 44512

                                                                                                                                                             1,499.40
Account No. xxx3903

Alshenaisi, Abdulaziz
4158 Dakota Street                                                           -
San Diego, CA 92122

                                                                                                                                                               478.50

           55 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,047.50
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 57 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7451                                                                                                                      E
                                                                                                                                         D

Alston, Katrina
269 E Villa                                                                  -
Pasadena, CA 91101

                                                                                                                                                               764.61
Account No. xxx9615

Alsubaie, Nais
144 Gooch Hall                                                               -
Martin, TN 38238

                                                                                                                                                               157.30
Account No. xxx7433

Alter, Cerna
1412 Oldbury Place                                                           -
Westlake Village, CA 91361

                                                                                                                                                               266.40
Account No. xxxx4261

Altieri, Dominick
329 Adams Avenue                                                             -
Cuyahoga Falls, OH 44221

                                                                                                                                                               229.00
Account No. xxx8320

Altourah, Kelly
1103 SW 28th St #307                                                         -
Ankeny, OH 50023

                                                                                                                                                               164.45

           56 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,581.76
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 58 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx2382                                                                                                                      E
                                                                                                                                         D

Alvarado, Jennifer M
11699 216th Street                                                           -
Lakewood, CA 90715

                                                                                                                                                               155.87
Account No. xxx6590

Alvarado, Tracie 1
P O Box 332                                                                  -
Denver City, TX 79323

                                                                                                                                                               105.00
Account No. xxx7397

Alvarez Jr. , Ralph
6442 Reef Circle                                                             -
Tampa, FL 33625

                                                                                                                                                               309.00
Account No. xxx9000

Alvarez, Kelly R
6 Grove Circle                                                               -
Sellersville, PA 18960

                                                                                                                                                               167.60
Account No. xxx0009

Alwadhi, Humaid
116 Bailey St #1                                                             -
East lansing, MI 48823

                                                                                                                                                               986.00

           57 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,723.47
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 59 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9714                                                                                                                      E
                                                                                                                                         D

Alwahibi, Mohammed N
4480 Hagadorn Rd Apt 205                                                     -
Okemos, MI 48864

                                                                                                                                                               999.57
Account No. xxx5754

Alyufus, Yousaf
600 West 26th street apt 2316                                                -
Austin, TX 78705

                                                                                                                                                             1,544.40
Account No. xxx9226

Ament, Matthew
7726 East La Junta Road                                                      -
Scottsdale, AZ 85255

                                                                                                                                                               414.40
Account No. xxx4000

Amenta, Justin
335 Kensington Rd                                                            -
Southington, CT 06489

                                                                                                                                                               738.00
Account No.

America's Unknown Destinations
4187 Lynwood Drive                                                           -
Kent, OH 44240

                                                                                                                                                               440.00

           58 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             4,136.37
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 60 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                                                                              E
                                                                                                                                         D

American Balloons - FL
4906 Land-O-Lakes Blvd                                                       -
Land-O-Lakes, FL 34639

                                                                                                                                                             1,150.00
Account No.

American Balloons Intl. - NJ
218 Dove Cote Court                                                          -
Whitehouse Station, NJ 08889

                                                                                                                                                               600.00
Account No.

American Freedom Ballooning
617 Briarwood Drive                                                          -
Elverson, PA 19520

                                                                                                                                                             3,440.00
Account No. xxxx3047

Ames, Cynthia E
350 Santa Cruz St                                                            -
Boulder Creek, CA 95006

                                                                                                                                                               493.48
Account No. xxx9790

Amin, Aakash
12352 Bluewing Ct                                                            -
Poway, CA 92064

                                                                                                                                                               230.00

           59 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             5,913.48
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 61 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx3086                                                                                                                      E
                                                                                                                                         D

Amitrano, Carolyn S
8 Wildwood Rd                                                                -
Narragansett, RI 02882

                                                                                                                                                               103.20
Account No. xxx8379

Amon, Bret
Po Box 2740                                                                  -
Dillion, CO 80435

                                                                                                                                                               468.00
Account No. xxxx3871

Amos, David J.
P.O. Box 714                                                                 -
Greenville, CA 95947

                                                                                                                                                               509.50
Account No. xxx7684

Amos, Korey
269 Black Lane                                                               -
Calhoun, LA 71225

                                                                                                                                                               555.66
Account No. xxx7110

Anantha, Ravindra
1425 South Wols Road                                                         -
Prospect Heights, IL 60070

                                                                                                                                                             2,025.00

           60 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,661.36
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 62 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx1925                                                                                                                     E
                                                                                                                                         D

Ananthanarayanan, Ponnani
303 Minuteman Dr                                                             -
Collegeville, PA 19426

                                                                                                                                                               119.75
Account No. xxxx3511

Anastasopoulos, Roula
2566 48th Street                                                             -
Queens, NY 11103

                                                                                                                                                               274.88
Account No. xxx2832

Anaya, Isabel
13838 The Lakes Blvd                                                         -
sluggerville, TX 78660

                                                                                                                                                               450.00
Account No. xxx3435

Anaya, Jonathon
507 South Ross                                                               -
Mountainair, NM 87036

                                                                                                                                                               484.80
Account No. xxxx3993

Anaya, Melissa
2015 Herst Dr                                                                -
Allen, TX 75013

                                                                                                                                                               127.50

           61 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,456.93
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 63 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx1825                                                                                                                      E
                                                                                                                                         D

Andachter, Anne
1512 W Wicklow Lane                                                          -
Sioux Falls, SD 57108

                                                                                                                                                               343.51
Account No. xxx1659

Andersen, Andrea
900 South Forest Ave                                                         -
Sioux Falls, SD 57104

                                                                                                                                                               368.00
Account No. xxxx4689

Anderson, Ashley 3
4735 route 60                                                                -
derry, NY 14740

                                                                                                                                                               459.80
Account No. xxx5324

Anderson, Blake
3107 NE 40TH cT                                                              -
fT lAUDERDALE, FL 33308

                                                                                                                                                               321.75
Account No. xxx4098

Anderson, Carol L
720 Michigan ave                                                             -
washington, PA 15301

                                                                                                                                                               270.27

           62 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,763.33
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 64 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx1683                                                                                                                      E
                                                                                                                                         D

anderson, daix
17414 poplar canyon                                                          -
richmond, TX 77407

                                                                                                                                                               607.75
Account No. xxx1647

Anderson, eric 1
Box 424                                                                      -
Delta Junction, AK 99737

                                                                                                                                                               865.80
Account No. xxx6441

Anderson, floyd j
4703 46 ave north                                                            -
st. pete, FL 33709

                                                                                                                                                               248.20
Account No. xxxx3360

Anderson, Jefferey B.
200 Crest                                                                    -
Spicewood, TX 78669

                                                                                                                                                               114.50
Account No. xxx7359

Anderson, Katarina
Coast Highway 101                                                            -
South Beach, OR 97366

                                                                                                                                                             1,115.40

           63 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,951.65
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 65 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx0208                                                                                                                      E
                                                                                                                                         D

Anderson, Keith 1
1335 Summit ave 216                                                          -
Oshkosh, WI 54901

                                                                                                                                                               799.20
Account No. xxx7038

Anderson, Kristian
13266 Meander Cove Drive                                                     -
Germantown, MD 20874

                                                                                                                                                               171.59
Account No. xx4652

Anderson, Krystal
5019 East 600 North                                                          -
Kokomo, IN 46901

                                                                                                                                                               273.00
Account No. xxx9791

Anderson, Megan
93 willow creek dr                                                           -
battlecreek, MI 49015

                                                                                                                                                               107.90
Account No. xxx1014

Anderson, Mitchell L
803 Sawgrass Place                                                           -
Ft Smith, VA 23703

                                                                                                                                                               858.00

           64 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,209.69
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 66 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx1411                                                                                                                     E
                                                                                                                                         D

Anderson, Nicole 1
7c Gorman St                                                                 -
Moosup, CT 06354

                                                                                                                                                               325.00
Account No. xxx3836

Anderson, Nina
59 lakeland drive                                                            -
atlanta, GA 30305

                                                                                                                                                               390.00
Account No. xxx2485

Anderson, Paul W
3000 Clubhouse Road                                                          -
Costa Mesa, CA 92626

                                                                                                                                                             3,699.50
Account No. xxx1417

Anderson, Ryan 1
315 Carona St. Apt. B                                                        -
Winston Salem, NC 27103

                                                                                                                                                               560.00
Account No. xxx6601

Anderson, Sean 1
po box 181138                                                                -
Coronado, CA 92178

                                                                                                                                                               339.20

           65 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             5,313.70
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 67 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9001                                                                                                                      E
                                                                                                                                         D

Anderson, Sean 3
4216 Logansport rd                                                           -
Logansport, IN 46947

                                                                                                                                                               175.40
Account No. xxx8610

Anderson, Shane
6033 Sycamore Ave NW                                                         -
Seattle, WA 98107

                                                                                                                                                             1,001.00
Account No. xxx3332

Andino, Joseph
3110 South west 120 road                                                     -
miami, FL 33175

                                                                                                                                                               157.50
Account No. xxx2574

Andrade, Roberto
1508 Bay Road Apt 35                                                         -
Miami Beach, FL 33139

                                                                                                                                                               160.00
Account No. xxx0738

Andre, Ruth L.
35086 Sr 27                                                                  -
Hector, AR 72843

                                                                                                                                                               396.00

           66 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,889.90
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 68 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx1071                                                                                                                      E
                                                                                                                                         D

Andre, Sarah
3115 Sunset Bulv.                                                            -
Houston, TX 77005

                                                                                                                                                               275.00
Account No. xxx7001

Andreas, Andrew K
10412 Flint St                                                               -
Overland Park, KS 66214

                                                                                                                                                             1,800.00
Account No. xxx4211

Andren, Kerri
96 Edgewood Dr.                                                              -
Florham Park, NJ 07932

                                                                                                                                                               176.61
Account No. xxxx3451

Andreus, Eric
305 Nestle Way                                                               -
Breinigsville, PA 18031

                                                                                                                                                               812.50
Account No. xxxx0913

Andrew, Jon
1190 Arbor Hill Drive                                                        -
Woodstock, GA 30189

                                                                                                                                                               506.00

           67 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,570.11
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 69 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8133                                                                                                                      E
                                                                                                                                         D

Andrews, Donna
4223 Abby Ridge                                                              -
Quincy, IL 62305

                                                                                                                                                               688.75
Account No. xxx2139

Andrews, Helen
18131 Langlois Rd Apt D-13                                                   -
Desert Hot Springs, CA 92241

                                                                                                                                                               710.40
Account No. xxx8134

Andrews, Kevin
4022 Towne Lakes Circle #3108                                                -
Appleton, WI 54913

                                                                                                                                                               255.78
Account No. xxx0643

Andrews, Shawn
15811 Gordon cummins                                                         -
canyon, TX 79015

                                                                                                                                                               525.00
Account No. xxx2070

Andrews, Taylor R.
2447 Cowart St                                                               -
Jena, LA 71342

                                                                                                                                                               220.00

           68 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,399.93
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 70 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx0762                                                                                                                      E
                                                                                                                                         D

Angel, Douglas P.
62020 mount vernon                                                           -
washington, MI 48094

                                                                                                                                                             1,598.40
Account No. xxx8913

Angel, Mason
2539 West HWY 18                                                             -
Paradise, KS 67658

                                                                                                                                                               240.12
Account No. xxxx1183

Angelakos, B. Dean
132 East 35th street apt. 11-G                                               -
New York, NY 10016

                                                                                                                                                               965.25
Account No. xxx1661

Anghel, Susan
5 Columbia Place                                                             -
Merrick, NY 01156

                                                                                                                                                               198.00
Account No. xxx2784

Anikin, Aleksey
622 Waldon lane                                                              -
Savannah, GA 31405

                                                                                                                                                               685.10

           69 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,686.87
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 71 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9146                                                                                                                      E
                                                                                                                                         D

Anisha, Shanoral
615 saint ives lane                                                          -
goose creek, SC 29445

                                                                                                                                                               407.00
Account No. xxx7963

Anrig, Chris
141 Blu Lake Blvd                                                            -
Pooler, GA 31322

                                                                                                                                                               221.60
Account No. xxx8189

Antinori, Pablo
3901 Accent Drive                                                            -
Dallas, TX 75287

                                                                                                                                                             1,952.00
Account No. xxx2072

Antuma, Mike
4647 Shearwood Court                                                         -
Grand Rapids, MI 49525

                                                                                                                                                               210.00
Account No. xxx4735

Anwar Tajuddin, Abdul W.
S80 1 Castle Point Terrace                                                   -
Hoboken, NJ 07030

                                                                                                                                                               285.00

           70 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,075.60
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 72 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx0851                                                                                                                      E
                                                                                                                                         D

Aoki, Risa
8152 Patterson Woods Dr. Apt 3107                                            -
Orlando, FL 32821

                                                                                                                                                             1,183.00
Account No. xxx5826

Apakuri, Ramakiran
4545 Ladder Rd                                                               -
Spring, TX 77388

                                                                                                                                                               337.48
Account No. xxx0351

Apeles, Paul
5 Fletcher Court                                                             -
Spring Valley, NY 10977

                                                                                                                                                               326.16
Account No. xxx1418

apelis, alexander p
29 east 6th street                                                           -
clifton, NJ 07011

                                                                                                                                                               546.00
Account No.

Aphelion Aviation, LLC
82 Hartfield Rd, Ste 214                                                     -
Morgantown, WV 26505

                                                                                                                                                               115.00

           71 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,507.64
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 73 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9712                                                                                                                      E
                                                                                                                                         D

Apodaca, Jeffrey
PO Box 3346                                                                  -
fremont, CA 94539

                                                                                                                                                               430.00
Account No. xxx8377

Apodaca, Justin
8431 Hope Ct                                                                 -
Thornton, CO 80229

                                                                                                                                                               543.90
Account No. xxx6021

Appleberry, Charles
332 South 4th St                                                             -
Steelton, PA 17113

                                                                                                                                                               192.85
Account No. xxx6520

Applegate, Kelli
1211 east cumberland ave 2504                                                -
Tampa, FL 33602

                                                                                                                                                               259.50
Account No. xxxx0058

Appleyard, Jordan
6140 Sagamore Ln                                                             -
Kalmazoo, MI 49004

                                                                                                                                                               686.40

           72 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,112.65
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 74 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx4694                                                                                                                      E
                                                                                                                                         D

ARABOLE, MAHESH ISHWAR
1177 S Northpoint Blvd                                                       -
Waukegan, IL 60085

                                                                                                                                                               452.80
Account No. xxx2721

Aranda, Genaro
147 West Theo Aven.                                                          -
San Antonio, TX 78214

                                                                                                                                                               375.00
Account No. xxxx1184

Aranguren-langston, Sandra
40 Bank St.                                                                  -
New york, NY 10014

                                                                                                                                                               360.00
Account No. xxx4100

Aravindam, Rajagopal
134 -A, 5th st Ram Nagar                                                     -
Tamin Nadu

                                                                                                                                                               469.48
Account No. xxx6125

Arboleda, Patricia
16500 Collins Ave. Apt. 355                                                  -
Sunny Isle, FL 33160

                                                                                                                                                               688.20

           73 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,345.48
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 75 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx1513                                                                                                                     E
                                                                                                                                         D

Arcara, Vanessa
109 Wheatley Rd.                                                             -
Glen Head, NY 11545

                                                                                                                                                               642.00
Account No. xxx0419

Archer, Lori
222 E American Rd                                                            -
Gillette, WY 82716

                                                                                                                                                               250.25
Account No. xxx1799

Archer, Sarah A
4431 Stewart Avenue                                                          -
Los Angeles, CA 90066

                                                                                                                                                               533.32
Account No. xxxx1847

Archuleta, Billy
5460 Alteza Drive                                                            -
Colorado Springs, CO 80917

                                                                                                                                                               517.26
Account No. xxxx3562

Archuleta, Cori
1534 NW 37th Ave                                                             -
Camas, WA 98607

                                                                                                                                                             2,700.00

           74 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             4,642.83
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 76 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7484                                                                                                                      E
                                                                                                                                         D

Ard, Eunice M
PO Box 433                                                                   -
East Point, FL 32328

                                                                                                                                                               540.54
Account No. xxx1662

Ardizzone, Michael
868 south morgan town road                                                   -
greenwood, IN 46143

                                                                                                                                                               378.00
Account No. xxx3783

Ardoin, Matthew
1607 Tiger Ln.                                                               -
Villplatte, LA 70586

                                                                                                                                                               125.80
Account No. xxx8526

Ardolino, Joseph J
281 Kings Road                                                               -
Madison, NJ 07940

                                                                                                                                                                 90.00
Account No. xxx6846

Arellno, Bertha
8350 US Hwy 87 E # 2                                                         -
San Antonio, TX 78263

                                                                                                                                                               349.00

           75 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,483.34
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 77 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx2076                                                                                                                      E
                                                                                                                                         D

Arguello, Johanna
1606 Heather Springs Ln                                                      -
League city, TX 77573

                                                                                                                                                               283.14
Account No. xxx9227

Argueta, Magda
1 Quentin Ave.                                                               -
New Brunswick, NJ 08901

                                                                                                                                                               414.85
Account No. xxx6193

Arieh , Nitanel
6900 lachland circle                                                         -
baltimore, MD 21239

                                                                                                                                                               429.20
Account No.

Arizona Hot Air Balloon Company,
LLC                                                                          -
3913 W. Woodridge Dr
Glendale, AZ 85308
                                                                                                                                                               330.00
Account No. xxx3302

Armand, Jon
9121 Sweetbrook Lane                                                         -
Riley, NC 27615

                                                                                                                                                               266.00

           76 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,723.19
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 78 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8702                                                                                                                      E
                                                                                                                                         D

Armentrout, John
6930 Sandia Dr.                                                              -
Reno, NV 89523

                                                                                                                                                               532.00
Account No. xxx6906

Armiger, zachary
9 andrews court                                                              -
parkton, MD 21120

                                                                                                                                                               249.70
Account No. xxx8676

Armour, Warren
6475 Canyon Vista Ct.                                                        -
San Diego, CA 92111

                                                                                                                                                               526.91
Account No. xxx4452

Armstrong , Susan A
764 High Street                                                              -
Lancaster, PA 17603

                                                                                                                                                               218.00
Account No. xxx3531

Armstrong, Andra
3214 Centenary Bulvd.                                                        -
Shreveport, LA 71104

                                                                                                                                                             1,111.32

           77 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,637.93
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 79 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx1432                                                                                                                     E
                                                                                                                                         D

Armstrong, Brooke
PO Box 447                                                                   -
Merlin, OR 97532

                                                                                                                                                               281.20
Account No. xxxx2013

Armstrong, Janette
15232 Moringside Drive                                                       -
Chino Hills, CA 91709

                                                                                                                                                                 85.75
Account No. xxx8544

Armstrong, Lisa
1227 Sedgewood Ln.                                                           -
Lincolnton, NC 28092

                                                                                                                                                               343.20
Account No. xxx2177

Armstrong, Ryan
1515 east broadway                                                           -
Monmouth, IL 61462

                                                                                                                                                             1,014.25
Account No. xxxx3518

Armstrong, Travis
300 Archibald close                                                          -
Ft. McMurray, AB T9K 2P5

                                                                                                                                                               555.00

           78 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,279.40
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 80 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx2184                                                                                                                      E
                                                                                                                                         D

arnaud, patrick
53 riverview ln                                                              -
cocoa beach, FL 32931

                                                                                                                                                               473.19
Account No. xxxx2317

Arndt, Renee
1216 Blairwood Drive                                                         -
Flowermound, TX 75028

                                                                                                                                                             1,642.80
Account No. xxx1663

Arnold, Mark
4791-B Quailwood Terrace                                                     -
Boynton Beach, FL 33436

                                                                                                                                                               627.00
Account No. xxx4323

Arnold, Matt
4617 Summer Oak Avenue East                                                  -
Aprt.832
Sarasota, FL 34243
                                                                                                                                                               744.60
Account No. xxx3249

Arnolde, Jason
1525 Graves Ave 139                                                          -
El Cahone, CO 92021

                                                                                                                                                               234.14

           79 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,721.73
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 81 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx3409                                                                                                                      E
                                                                                                                                         D

Arora, Karan
7308 West 27th St Apt 9                                                      -
Las Angelos, CA 90007

                                                                                                                                                               645.00
Account No. xxx6781

Arreola, Crystal
2507 west madison ave                                                        -
Montabella, CA 90640

                                                                                                                                                               540.00
Account No. xxx4324

Arrietta, Elise
5707 Gaston Ave Apt 205                                                      -
Dallas, TX 75214

                                                                                                                                                               494.00
Account No. xxx9552

Arrigo, Vince
242 S Washington Blvd                                                        -
Sarasota, FL 34236

                                                                                                                                                               395.65
Account No. xxx1113

Arrington, Michael
2804 graham blvd                                                             -
Pittsburgh, PA 15235

                                                                                                                                                               443.22

           80 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,517.87
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 82 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx5465                                                                                                                      E
                                                                                                                                         D

Arseneault, Patrick
1509 Route 315 Dunlop south                                                  -
New brunswick

                                                                                                                                                               219.30
Account No. xxx1928

Arteaga, Emillo
1102 W. Mc Fadden                                                            -
Santa Anna, CA 92707

                                                                                                                                                               657.43
Account No. xxx8643

Arteche, Markus
335 Goosecreek Dr.                                                           -
Winter Springs, FL 32708

                                                                                                                                                               397.48
Account No. xxxx3300

Arter, Shawn N
2806 Mcgill Blvd                                                             -
San Angelo, TX 76905

                                                                                                                                                               765.45
Account No. xxx9609

Arterburn, Stephen
401 gleneyrie street                                                         -
laguna beach, CA 92651

                                                                                                                                                               574.00

           81 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,613.66
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 83 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8717                                                                                                                      E
                                                                                                                                         D

Arthur, Sidney
P O Box 280                                                                  -
Fredonia, WI 53021

                                                                                                                                                               245.00
Account No. xxxx2225

Artzibushev, Constantine
5111 West Homer Ave                                                          -
Tampa, FL 33621

                                                                                                                                                               749.65
Account No. xxx3803

arul, Jerome
2 college street 31                                                          -
providence, RI 02903

                                                                                                                                                             1,073.00
Account No. xxx9412

Arwindekar, Amit
1600 N. Marshfield Ave.                                                      -
Chicago, IL 60622

                                                                                                                                                               651.20
Account No. xxx6232

Ascha, Mona
6950 Norvale Circle West                                                     -
Gates Mills, OH 44040

                                                                                                                                                               284.70

           82 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,003.55
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 84 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx1035                                                                                                                     E
                                                                                                                                         D

Asencio, Blanco A
1011 Godwin Ave                                                              -
Chesapeake, VA 23324

                                                                                                                                                               100.10
Account No. xxx4802

Ashby, Holly
8010 Sandi Court                                                             -
Indianapolis, IN 46260

                                                                                                                                                               151.26
Account No. xxx2870

Ashby, Matthew E
2 Carpenter Place                                                            -
Pueblo, CO 81001

                                                                                                                                                               296.00
Account No.

Asheville Hot Air Balloons
P.O. BOX 2319                                                                -
Candler, NC 28715

                                                                                                                                                             1,330.00
Account No. xxx3712

Ashley, Adrienne
9407 waterfall cove dr                                                       -
cesterfield, VA 23832

                                                                                                                                                               725.20

           83 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,602.56
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 85 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx2227                                                                                                                     E
                                                                                                                                         D

Ashley, Cristina
8900 Holly Hill Rd                                                           -
Quinton, VA 23141

                                                                                                                                                               597.74
Account No. xxx1933

Ashner, Sandra
3200 Jasmine rd                                                              -
montgomery, AL 36111

                                                                                                                                                             2,622.50
Account No. xxx5140

Ashworth, Eric
17Farm Lane                                                                  -
Carlisle, PA 17015

                                                                                                                                                             1,184.00
Account No. xxx7440

Askew, Charles
9 weathers field dr                                                          -
Medford, NJ 08055

                                                                                                                                                               525.15
Account No. xxx2999

Asses, Carlos H
Rua Francisco Paulo                                                          -
Brazil Saint Paula 00952-4080

                                                                                                                                                               798.00

           84 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             5,727.39
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 86 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9059                                                                                                                      E
                                                                                                                                         D

Assouline, Tom
110 North Federal Hwy                                                        -
Ft. Lauderdale, FL 33301

                                                                                                                                                             1,232.50
Account No. xxx8915

Asthana, Vivek
2404 Heritage Way                                                            -
Union City, CA 94587

                                                                                                                                                               702.45
Account No. xxx2227

Astramecki, Ross
2999 Oak Rd #200                                                             -
Walnut Creek, CA 94597

                                                                                                                                                             2,258.75
Account No.

AT&T 678-567-1731-156-1887
P.O. BOX 105262                                                              -
Atlanta, GA 30348-5262

                                                                                                                                                               182.57
Account No. xxx5537

Ateng-Attakora, George
1505 Mydeck Place                                                            -
Crown Point, IN 46307

                                                                                                                                                             1,156.25

           85 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             5,532.52
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 87 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9239                                                                                                                      E
                                                                                                                                         D

Athanasiou, George
61-47 146 place                                                              -
Flushing, NY 11367-1211

                                                                                                                                                               284.57
Account No. xxx5978

Athanta, Srikanth
13644 Legacy Circle APt b                                                    -
Herrendon, VA 20171

                                                                                                                                                             2,227.50
Account No. xxx2386

Atkins, William
3551 7th st                                                                  -
Moline, IL 61265

                                                                                                                                                               472.40
Account No. xxx4293

Atkinson, Lorna
10 Highview Dr                                                               -
Wayne, PA 19087

                                                                                                                                                               100.03
Account No. xxx3916

Atkinson, Mario C
P.O BOx 180754                                                               -
Austin, TX 78718

                                                                                                                                                               130.00

           86 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,214.50
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 88 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx3654                                                                                                                      E
                                                                                                                                         D

Atkinson, Patrick 1
12300 Marion Lane West #2205                                                 -
Minnetonka, MN 55305

                                                                                                                                                               237.60
Account No. xxx8874

Aton, Ron
829 Lassen                                                                   -
Vallejo, CA 94591

                                                                                                                                                               495.00
Account No. xxx5275

Atwood, Jason C.
833 West Buena Ave Apt 1701                                                  -
Chicago, IL 60613

                                                                                                                                                               199.14
Account No. xxx8262

Atwood, Jeff
1627 S 1220 W                                                                -
Uintah, UT 84078

                                                                                                                                                               783.00
Account No. xxx3027

Atwood, Jerry
PO Box 770                                                                   -
Ferndale, WA 98248

                                                                                                                                                               507.50

           87 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,222.24
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 89 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7372                                                                                                                      E
                                                                                                                                         D

Auck, Jenne
820 Travis Circle                                                            -
Centralia, MO 65240

                                                                                                                                                               512.08
Account No. xxxx0059

Audu, Ayuba
4604 Crosswind Court                                                         -
Melbourn, FL 32904

                                                                                                                                                               664.95
Account No. xxx4598

Aughenbaugh, Mildred A
400 Highway 1283                                                             -
Loris, SC 29569

                                                                                                                                                               338.00
Account No. xxx9709

Augustin, Scott M
102 South 5th Street                                                         -
Perkasie, PA 18944

                                                                                                                                                               434.86
Account No. xxx8190

Aukes, Gary
359 100 11th street                                                          -
beaver creek, MN 56116

                                                                                                                                                               500.00

           88 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,449.89
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 90 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx9379                                                                                                                      E
                                                                                                                                         D

Ault, Keith A
2132 Alt Rd                                                                  -
Chillicothe, OH 45601

                                                                                                                                                               171.26
Account No. xxx8756

Ausmus, Kendra
202 W Washington St                                                          -
Macon, MO 63552

                                                                                                                                                               256.04
Account No.

Austin Aeronauts
1700 Elmhurst Drive                                                          -
Austin, TX 78741

                                                                                                                                                             6,000.00
Account No.

Austin Skydiving Center
1055 PR 7022                                                                 -
Lexington, TX 78947

                                                                                                                                                             3,034.00
Account No. xxx6767

Austin, Tommy D
155 Mississippi Loop                                                         -
Jacksonville, AR 72076

                                                                                                                                                               621.60

           89 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                           10,082.90
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 91 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx6334                                                                                                                      E
                                                                                                                                         D

Avila, Jose 1
4429 North Eddy                                                              -
Fresno, CA

                                                                                                                                                                 83.08
Account No. xxx2221

Avila, Nathan
167 Jackson street                                                           -
brooklyn, NY 11211

                                                                                                                                                               226.80
Account No. xxx7133

avsalud, Melchor
40-36 74th St                                                                -
Elmhurst, NY 11373

                                                                                                                                                               292.57
Account No. xxx4041

awe, ade
205 watts cir.                                                               -
nashville, TN 37209

                                                                                                                                                                 89.50
Account No.

Awesome Ascensions
24716 Streit Road                                                            -
Harvard, IL 60033

                                                                                                                                                               600.00

           90 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,291.95
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 92 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx4933                                                                                                                      E
                                                                                                                                         D

Awishus, Phalaine
800 E Beau Apt 8H                                                            -
Washington, PA 15301

                                                                                                                                                             1,295.00
Account No. xxx2457

Aycinena, Mariano
5 6th ave 1170 zone 1 Edificio                                               -
Herraera
Guatamala City, Guatamala
                                                                                                                                                             1,020.61
Account No. xxx9581

Aydelotte, James
22 Leprechaun lane                                                           -
Boise, ID 83617

                                                                                                                                                               536.25
Account No. xxx8775

Azam, Shaina
395 New Castle Dr                                                            -
Alpharetta, GA 30009

                                                                                                                                                               405.00
Account No. xxx5206

Aziz, Walid
2060 Dogwood Trail Apt 2A                                                    -
Marvel, IN 46410

                                                                                                                                                                 68.54

           91 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,325.40
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 93 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx3565                                                                                                                      E
                                                                                                                                         D

Azza, Kalyn
8400 B Streamview Dr                                                         -
Huntersville, NC 28078

                                                                                                                                                                 93.00
Account No. xxx9581

Azzarone, Colleen
4390 SE Scotland Cay Way                                                     -
Stuart, FL 34997

                                                                                                                                                               765.46
Account No. xxx8359

Babas, JC
943 N Standley Ave                                                           -
West Hollywood, CA 90046

                                                                                                                                                               187.50
Account No. xxx8060

Babb, Mathew
9300 Treasure Hill Rd Apt. 1108                                              -
Little Rock, AR 72227

                                                                                                                                                               486.00
Account No. xxx9480

babcock, Brandon
1109 Willowind trail                                                         -
ft. wayne, IN 46845

                                                                                                                                                                 62.00

           92 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,593.96
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 94 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx5276                                                                                                                      E
                                                                                                                                         D

Babcock, Lori
2025 E Campbell Ave Apt 321                                                  -
Phoenix, AZ 85016

                                                                                                                                                                 85.60
Account No. xxxx1937

Baber, Kim
10132 N Baird Ave                                                            -
Fresno, CA 93720

                                                                                                                                                               139.00
Account No. xxxx3872

Baca, Hugo
3206 Embercrest Lane                                                         -
garland, TX 75044

                                                                                                                                                               488.82
Account No. xxx5411

Baca, Nancy C
1536 Clermont st                                                             -
Denver, CO 80220

                                                                                                                                                               350.00
Account No. xxx9630

Bach, Duane
330 Spring Creek Rd.                                                         -
Rockford, IL 61107

                                                                                                                                                             1,368.75

           93 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,432.17
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 95 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx8655                                                                                                                      E
                                                                                                                                         D

bachand, david
570 c ave                                                                    -
coronado, CA 92118

                                                                                                                                                             1,568.80
Account No. xxx1978

Badalamenti, Ariadna
1330 Rivera Ct                                                               -
Santa Rosa, CA 95409

                                                                                                                                                                 71.95
Account No. xxx3715

Badel, Krunal
628 Norriston Rd.                                                            -
Horsham, PA 19044

                                                                                                                                                               946.40
Account No. xxx6366

Bader, John C.
429 Cypress View                                                             -
Oldsmar, FL 34677

                                                                                                                                                               221.92
Account No. xxx9797

Badgi, Amit
429 Enclave Circle apt:301                                                   -
Costa Mesa, CA 92626

                                                                                                                                                               384.80

           94 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,193.87
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 96 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx3388                                                                                                                     E
                                                                                                                                         D

Badgley, Emily A
683 Tremont St. Apt 3                                                        -
Boston, MA 02118

                                                                                                                                                               474.40
Account No. xxxx3661

Badkook, Mohannad
75 Station Landing                                                           -
Medford, MA 02155

                                                                                                                                                               312.65
Account No. xxx9819

Bag, Rupak
249 Washington St apt B                                                      -
Jersey city, NJ 07302

                                                                                                                                                             1,037.13
Account No. xxx4593

Baggett, Holly
474 White Road                                                               -
Chatsworth, GA 30705

                                                                                                                                                                 89.96
Account No. xxx8163

Baghdady, Mohammed
310 9th Street                                                               -
Jersey City, NJ 07302

                                                                                                                                                             1,500.00

           95 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             3,414.14
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 97 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx4366                                                                                                                      E
                                                                                                                                         D

Baharimehr, Shahin
1835 Arch Apt 1604                                                           -
Philidelphia, PA 19103

                                                                                                                                                               255.25
Account No. xxx4881

Bahmanpour, Mitra
51 Martinique St.                                                            -
Laguena Miguel, CA 92677

                                                                                                                                                               116.50
Account No. xxx7781

Bahr, Corinna, J
1711 Rustric Oak Lane                                                        -
Seabrook, TX 77586

                                                                                                                                                               257.40
Account No. xxx2705

Bailey , Rod
3617 Vincent Ct                                                              -
Bakersfield, CA 93304

                                                                                                                                                               150.40
Account No. xxx3854

Bailey, Alicen
561 Sunset school rd.                                                        -
Sunset, TX 76270

                                                                                                                                                               462.16

           96 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,241.71
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 98 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx7512                                                                                                                      E
                                                                                                                                         D

Bailey, April
510 Valley View Rd. SW                                                       -
Oronoco, MN 55960

                                                                                                                                                               273.60
Account No. xxx7191

Bailey, Cathi
3077 Summit ct                                                               -
Newburgh, IN 47630

                                                                                                                                                               485.56
Account No. xxx4790

Bailey, Melissa 1
3027 S 300 W                                                                 -
Bountiful, UT 84010

                                                                                                                                                               261.00
Account No. xxx6236

Bailey, Michael 1
3027 S 300W Bountiful                                                        -
Bountiful, UT 84010

                                                                                                                                                               121.55
Account No. xxx7811

Bailey, Tokuda
1700 Fountain Court                                                          -
Columbus, GA 31904

                                                                                                                                                               429.50

           97 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             1,571.21
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23          Filed 11/26/13 Entered 11/26/13 14:18:28                           Desc Main
                                                                        Document      Page 99 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                        Case No.     13-42659
                                                                                                                  ,
                                                                                                Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxx6431                                                                                                                      E
                                                                                                                                         D

Baker, Abby
13504 copper head drive                                                      -
riverview, FL 33569

                                                                                                                                                               447.20
Account No. xxx4656

Baker, Chris
8811 Staghorn ml                                                             -
converse, TX 78109

                                                                                                                                                               733.59
Account No. xxx1114

Baker, Kay F
234 Stock Farm Rd                                                            -
Jackson Center, PA 16133

                                                                                                                                                                 91.70
Account No. xxx7330

Baker, Larry 1
3412 Willow Lake Dr Apt 411                                                  -
Kalamazoo, MI 49008

                                                                                                                                                               247.50
Account No. xxx4737

Bakkejord, Dag
Surras Gata 35 4010                                                          -
Statanger

                                                                                                                                                               485.10

           98 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             2,005.09
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 100 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6936                                                                                                                     E
                                                                                                                                        D

Balahadia, Brian
153 boyd ave                                                                -
Jersey city, NJ 07304

                                                                                                                                                              520.50
Account No. xxxx2321

Balch, Jim
P.O BOX 0678                                                                -
EAST WINDSOR, CT 06088-0678

                                                                                                                                                            4,142.60
Account No. xxx0502

Balderrama, Jonathon
4840 Fruitridge Rd                                                          -
Sacramento, CA 95820

                                                                                                                                                              317.25
Account No. xxx0199

Baldev, Eric
1422 north greenview apt. 2                                                 -
chicago, IL 60642

                                                                                                                                                              481.08
Account No. xxxx3361

Baley, Randy
4501 Indian Lopes trail                                                     -
Arlington, TX 76017

                                                                                                                                                              519.60

           99 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,981.03
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 101 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4493                                                                                                                    E
                                                                                                                                        D

Ball, Renae G
2117 Old Indian Rd                                                          -
Richmond, VA 23235

                                                                                                                                                              595.25
Account No. xxx0411

Ballard, Christopher
933 Neptewn Ct                                                              -
Mountain View, CA 94043

                                                                                                                                                            1,190.00
Account No. xxxx1412

Ballard, Diana
1803 Courtney Cove                                                          -
Round Rock, TX 78664

                                                                                                                                                              397.60
Account No.

Balloon Hollow
1112 Merrywood Court                                                        -
Mooresville, NC 28115

                                                                                                                                                            5,510.00
Account No.

Balloon Masters
7644 N Oakbrook Drive                                                       -
Reynoldsburg, OH 43068

                                                                                                                                                            2,576.00

           100 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          10,268.85
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 102 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Balloon Quest Inc
2470 Grange Hall Rd                                                         -
Fenton, MI 48430

                                                                                                                                                              209.00
Account No.

Balloon Stormers
PO Box 368                                                                  -
Ashland, MO 65010

                                                                                                                                                              692.00
Account No.

Balloons Above the Valley
603 California Blvd.                                                        -
Napa, CA 94559

                                                                                                                                                          10,283.60
Account No.

Balloons and Beyond
533 Edgewater Dr                                                            -
Polk City, FL 33868

                                                                                                                                                            4,800.00
Account No.

Balloons Over Georgia
112 Jason Lane                                                              -
Cumming, GA 30040

                                                                                                                                                            3,400.00

           101 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          19,384.60
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 103 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Balloons Unlimited
P.O. Box 762                                                                -
Middleburg, VA 20118

                                                                                                                                                            7,800.00
Account No. xxx5881

Balsie, Lauren
6745 Cow Hollow Dr                                                          -
Charlotte, NC 28226

                                                                                                                                                              284.00
Account No. xxx6553

Baltimore Steel Erectors, LLC
11006 Red Lion rd                                                           -
White Marsh, MD 21162

                                                                                                                                                          17,042.00
Account No. xxx7077

Baltzer, Adam
2001 Hillston Ridge Rd #308                                                 -
Raleigh, NC 27617

                                                                                                                                                              840.00
Account No. xxx3804

Baluch, Kevin S
1175 woods crossing road suite 8                                            -
greenville, SC 29607

                                                                                                                                                              899.00

           102 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          26,865.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 104 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3382                                                                                                                     E
                                                                                                                                        D

Bandurraga, Savanah
122 Cannon Street                                                           -
Charleston, SC 29403

                                                                                                                                                              460.86
Account No. xxx6783

bangiyev, boris
649 greeley ave                                                             -
Staten Island, NY 10306

                                                                                                                                                              797.50
Account No. xxx1686

Bankoski, Linda
793 SparkDale Rd                                                            -
Newark, NJ 19711

                                                                                                                                                              262.00
Account No. xxx2785

Baranets, Zhanna
125-10 Queens Blvd Apt 714                                                  -
Qu Gardens, NY 11415

                                                                                                                                                              184.47
Account No. xxx0375

Barattini, Winnie
10008 Leaf Wood Drive                                                       -
Talahasee, FL 32312

                                                                                                                                                              283.80

           103 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,988.63
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 105 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4294                                                                                                                     E
                                                                                                                                        D

Barbato, Carl
5 west 13th st apt 17A                                                      -
New York, NY 10011

                                                                                                                                                              236.85
Account No. xxx2121

barber, charles 1
5325 south 9th ave                                                          -
countryside, IL 60525

                                                                                                                                                              652.50
Account No. xxx8085

Barbier, Guy Thomas
260 E. Chestnut St, unit 4401                                               -
Chicago, IL 60611

                                                                                                                                                              508.80
Account No. xxx9314

Barbour, Kareem
5643 Harpers Farm Road Unit F                                               -
Columbia, MD 21044

                                                                                                                                                            1,798.62
Account No. xxx6977

BARGER, ALICE
30172 FM 3009                                                               -
New Braumfels, TX 78132

                                                                                                                                                              209.40

           104 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,406.17
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 106 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6566                                                                                                                     E
                                                                                                                                        D

Baricelli, Joseph
5515 Wissahickon Ave Apt 101A                                               -
Philadelphia, PA 19144

                                                                                                                                                              206.00
Account No. xxx5746

barker, Edward A
626 Heather lane                                                            -
bryn mawr, PA 19010

                                                                                                                                                              207.28
Account No. xxx3488

Barker, Lacey 1
3374 Ridgeview Dr                                                           -
Holdenville, OK 74848

                                                                                                                                                              258.00
Account No. xxx6715

Barksdale, Chelsea D
2300 Shrewsbury                                                             -
Burlington, OH 43221

                                                                                                                                                              569.40
Account No. xxx2507

Barksdale, John
8523 Greenbelt Rd Apt T1                                                    -
Greenbelt, MD 20770

                                                                                                                                                              230.08

           105 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,470.76
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 107 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2786                                                                                                                     E
                                                                                                                                        D

Barkus, Elizabeth
152 8th ave apt 6n                                                          -
new york, NY 10011

                                                                                                                                                              117.43
Account No. xxxx0060

Barnes, Kevin
185 Oakland aveSuite 150                                                    -
Birmingham, MI 48009

                                                                                                                                                              759.00
Account No. xxx0908

Barnes, Violet
703 West Lisbon Lane                                                        -
Clovis, CA 93619

                                                                                                                                                              756.00
Account No. xxx0513

Barnet, Lisa E
8925 Beverlywood St                                                         -
Loa Angeles, CA 90034

                                                                                                                                                              127.60
Account No. xxx2997

Barnett, Taryn
929 Natchez Valley Trace                                                    -
Grayson, GA 30017

                                                                                                                                                              562.50

           106 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,322.53
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 108 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5539                                                                                                                     E
                                                                                                                                        D

Barnhart, Melissa
8628 Black Rock Harbour                                                     -
Pasadena, MD 21122

                                                                                                                                                            2,050.00
Account No. xxx5747

Barniak, Adrian T
32 Preli Ct                                                                 -
Southington, CT 06489

                                                                                                                                                              146.28
Account No. xxx3786

Barnum, Lela A
4630 E Mount Vernon                                                         -
Witchita, KS 67218

                                                                                                                                                              182.00
Account No. xxx5265

Barnwell, Sharon
12709 NW 15th St.                                                           -
Coral Springs, FL 33071

                                                                                                                                                              214.60
Account No. xxx6784

Barone, Andrew
30 Russell Terrace                                                          -
Eaton Town, NJ 07724

                                                                                                                                                            1,204.80

           107 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,797.68
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 109 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1878                                                                                                                     E
                                                                                                                                        D

Barr, Patricia A
1850 Gibson Dr                                                              -
Hatboro, PA 19040

                                                                                                                                                              559.44
Account No. xxx2823

Barr, Richard
2801 Powhattan                                                              -
Kettering, OH 45420

                                                                                                                                                              573.95
Account No. xxx6128

Barrantes, Anna C
329 Hayes St                                                                -
Sanfransico, CA 94102

                                                                                                                                                              410.00
Account No. xxx9844

BarrCLOUGH, Gavin
1725 Wright Ave Apt 17                                                      -
Mountain View, CA 94043

                                                                                                                                                              475.40
Account No. xxx8089

Barreto, Juan
10455 Palmerello Rd                                                         -
San Diego, CA 92131

                                                                                                                                                              239.15

           108 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,257.94
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 110 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6476                                                                                                                     E
                                                                                                                                        D

Barrie, David
1000 Eulalia Rd.                                                            -
Atlanta, GA 30319

                                                                                                                                                              108.30
Account No. xxx7667

Barrilleaux, Jaime
12468 Sirchia Ln                                                            -
Independence, LA 70443

                                                                                                                                                              314.00
Account No. xxx7869

Barrios, Rogelio
P O Box 219                                                                 -
Sebastian, TX 78594

                                                                                                                                                              491.99
Account No. xxx2027

Bartch, Patrick
4651 Gann Ct SW                                                             -
Smryna, GA 30082

                                                                                                                                                              729.65
Account No. xxx4660

Bartell, Christopher J.
3924 Terrace St.                                                            -
Philadelphia, PA 19128

                                                                                                                                                              434.83

           109 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,078.77
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 111 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1499                                                                                                                     E
                                                                                                                                        D

Bartolomeo, Ymoli
626 Coral Way                                                               -
Coral Gables, FL 33134

                                                                                                                                                              735.46
Account No. xxx6445

Bartolotta, Joseph L
219 38th St                                                                 -
Pittsburgh, PA 15201

                                                                                                                                                              251.37
Account No. xxx1385

Barton, Mindy A.
5 Sandlewood Dr 17 B                                                        -
Fort Walton Beach, FL 32548

                                                                                                                                                              216.75
Account No. xxx7099

Bartunek, Jane Renee
523 Pier 2                                                                  -
Lincoln, NE 68528

                                                                                                                                                              298.80
Account No. xxx6435

Bascon, Monette
723 Anchor Cove                                                             -
San Diego, CA 92154

                                                                                                                                                              102.50

           110 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,604.88
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 112 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4009                                                                                                                    E
                                                                                                                                        D

Baseer, Sana
1813 Marian Drive                                                           -
Elezebith City, NC 27909

                                                                                                                                                              298.87
Account No. xxx4819

Bash, Rebecca
1464 Carol Drive                                                            -
Napa, CA 94558

                                                                                                                                                              489.29
Account No. xxx7173

Baskett, Ray
109 Commerce St                                                             -
Lake Mary, FL 32746

                                                                                                                                                            1,062.50
Account No. xxxx3789

Bass, Beverly
319 E. Hickory Ridge Cir                                                    -
Argyle, TX 76226

                                                                                                                                                              286.50
Account No. xxx3489

bassett, charmaine
3344 Secor Rd suite b106                                                    -
Toledo, OH 43606

                                                                                                                                                              537.00

           111 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,674.16
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 113 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3567                                                                                                                     E
                                                                                                                                        D

Bassett, Charmaine R
3344 Secor Rd suite b106                                                    -
Toledo, OH 43606

                                                                                                                                                              716.00
Account No. xxx2871

Batchelor, Jillian
7274 Parading Pokey Street                                                  -
Las Vegas, NV 89131

                                                                                                                                                              232.00
Account No. xxx1646

Bateman, Sandra
8725 east longlake circ.                                                    -
Witchita, KS 67207

                                                                                                                                                              288.60
Account No. xxx7581

Bates, Graham C.
747 Runway Bay                                                              -
Chandler, AZ 85240

                                                                                                                                                                94.88
Account No. xxx0477

Bates, Kay
7211 Stonebridge Rd                                                         -
Newbrugh, IN 47630

                                                                                                                                                              290.00

           112 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,621.48
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 114 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5207                                                                                                                     E
                                                                                                                                        D

Bates, Mr. John R.
6307 Waterford Blvd. Suite 155                                              -
Oklahoma City, OK 73118

                                                                                                                                                            3,500.00
Account No. xxx7279

Batley, Jason
519 spring street                                                           -
davidson, NC 28036

                                                                                                                                                            1,006.40
Account No. xxxx2966

battersby, gregg
1666 county rd 8                                                            -
south woodslee, 51

                                                                                                                                                                62.99
Account No. xxx8440

bauckman, brandon
7330 Canadian Drive                                                         -
Erving, TX 75039

                                                                                                                                                              107.00
Account No. xxx1166

Baudhuin, David J.
P.O. Box 436                                                                -
Lakeville, MN 55044

                                                                                                                                                              570.00

           113 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,246.39
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 115 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2077                                                                                                                     E
                                                                                                                                        D

Baudoin, Anne
2520 oak Cliff drive                                                        -
baton rouge, LA 70810

                                                                                                                                                              544.16
Account No. xxxx4507

Bauer, Sheila
2775 N Lake Shore Dr                                                        -
Holland, MI 49424

                                                                                                                                                            1,084.80
Account No. xxxx3564

Baughman, Leonard F.
2160 E. Fry Blvd.                                                           -
Sierra Vista, AZ 85635

                                                                                                                                                              457.70
Account No. xxx6206

Baum, Lynn
P.O. Box 20459                                                              -
Sarasota, FL 34276

                                                                                                                                                            1,060.00
Account No. xxx4094

Baumbach, Jillian
po box 806                                                                  -
sudbury, MA 01776

                                                                                                                                                              585.00

           114 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,731.66
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 116 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7172                                                                                                                     E
                                                                                                                                        D

Baumer, Gregory
1930 Ridge Ave. Apt C411                                                    -
Evanston, IL 60201

                                                                                                                                                              168.64
Account No. xxx9453

Baumgart, Andrea
3255 Buffalo Run                                                            -
tarpon springs, FL 34688

                                                                                                                                                            2,683.75
Account No. xxx7582

Baumgart, William
3255 Buffalo Run                                                            -
Taron Springs, FL 34688

                                                                                                                                                            1,902.50
Account No. xxx4478

Baumhoer, Nicholas R
6600 concord dr                                                             -
newburgh, IN 47630

                                                                                                                                                              277.97
Account No. xxx0959

Bautista, Elsa
5151 North Lake Drive                                                       -
Whitefish Bay, WI 53217

                                                                                                                                                                93.75

           115 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,126.61
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 117 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8680                                                                                                                     E
                                                                                                                                        D

Bawden, Nicholas E
1407 C Orleander Lane                                                       -
Dauphin Island, AL 36528

                                                                                                                                                            1,145.00
Account No. xxx2624

Baxani, Marie
72 Wynondley Rd.                                                            -
Hitchin Herts SG49PT

                                                                                                                                                              202.50
Account No. xxx9079

Baxter, Dana A.
4020 Porte La Pav, Unit 103                                                 -
San Diego, CA 92122

                                                                                                                                                              219.14
Account No.

Bay Area Skydiving
P.O. Box 88                                                                 -
Byron, CA 94514

                                                                                                                                                            1,830.00
Account No. xxx9796

Bayha, Jennifer
980 Crestview Dr                                                            -
Pasadena, CA 91107

                                                                                                                                                            1,344.86

           116 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,741.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 118 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6762                                                                                                                     E
                                                                                                                                        D

Baylis, Robert
3825 Bryan Street                                                           -
Dallas, TX 75204

                                                                                                                                                            3,360.00
Account No. xxx3781

bayliss, Ryan A
5761 Robbie rd apt 3406                                                     -
Plano, TX 75024

                                                                                                                                                              136.25
Account No. xxx5684

Baynes, Darryl
Brookside Dr                                                                -
Wheeling, WV 26003

                                                                                                                                                              796.00
Account No. xxxx0626

Bazan, Joel
Po Box 84                                                                   -
Concopcion, TN 78349

                                                                                                                                                              727.65
Account No. xxx8363

Bazin, Nancy L
334 Sabin Ave                                                               -
West Minster, VT 05158

                                                                                                                                                              229.40

           117 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,249.30
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 119 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1772                                                                                                                     E
                                                                                                                                        D

Bazinet, Yvonne
5234 Hollister Ave                                                          -
Santa Barbara, CA 93111

                                                                                                                                                              936.80
Account No. xxx8777

Bbaaha, Arastao
1701 nichols cannon rd #103                                                 -
los angeles, CA 90046

                                                                                                                                                              207.70
Account No. xxxx2695

Beach, Joseph
450 Pitts Rd.                                                               -
Hixson, TN 37343

                                                                                                                                                              454.74
Account No. xxx2900

Beale, April
744 La Charles Dr NE                                                        -
Albequerque, NM 87123

                                                                                                                                                                97.50
Account No. xxx8778

Beall, Donna
225 helen street                                                            -
midland, MI 48640

                                                                                                                                                              160.16

           118 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,856.90
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 120 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0176                                                                                                                     E
                                                                                                                                        D

Beard, Matthew
179 North Royal Oaks Blvd Apt H3                                            -
Franklin, TN 37067

                                                                                                                                                              333.00
Account No. xxx8210

Beard, Michael
8180 Nicholson Dr                                                           -
Frisco, TX 75034

                                                                                                                                                              650.00
Account No. xxx5124

Bears, Aaron
422 Soth 11th                                                               -
Manhattan, KS 66502

                                                                                                                                                              201.65
Account No. xxx4411

Beasely, Derek
1326 Beachmont Street                                                       -
Ventura, CA 93001

                                                                                                                                                              115.50
Account No. xxx8364

Beason, Steven Wayne
1500 Blue grass Lake Pkwy                                                   -
Alpharetta, GA 30004

                                                                                                                                                                66.00

           119 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,366.15
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 121 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7979                                                                                                                     E
                                                                                                                                        D

Beaton, Dax R
6803 Palomino Ridge Ct                                                      -
Summerfield, NC 27358

                                                                                                                                                              511.50
Account No. xxx4296

Beauclair, Carla
3001 McCart Ave                                                             -
Fort Worth, TX 76110

                                                                                                                                                              300.00
Account No. xxx0963

Beaudetpe, Sarah
5804 15th Aveune NE apt 9                                                   -
Seattle, WA 98105

                                                                                                                                                              195.00
Account No. xxx1979

Beaudin, Paul
997 Jockey Hill Rd                                                          -
Landaff, NH 03585

                                                                                                                                                              188.00
Account No. xxxx3539

Beaumarchais, Dave
2933 E. Highlands Rd.                                                       -
Highland, MI 48356

                                                                                                                                                              423.00

           120 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,617.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 122 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0212                                                                                                                     E
                                                                                                                                        D

Beccu, Nadine
514 Bryant St                                                               -
San Fransico, CA 94107

                                                                                                                                                            1,072.50
Account No. xxx8140

Bechtel, Amy
1313 Wheatlande Way                                                         -
Las Vegas, NV 89128

                                                                                                                                                                98.99
Account No. xxx3173

Beck, Jamilyn
6924 Cumberland Terrace                                                     -
University Park, FL 34201

                                                                                                                                                              273.78
Account No. xxx2269

Beck, Richard
2353 150th Street                                                           -
Sharpsburg, IA 50862

                                                                                                                                                              207.20
Account No. xxx9989

Beckendorf, Houston
25883 Stonehenge                                                            -
Denham Springs, LA 70726

                                                                                                                                                              421.95

           121 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,074.42
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 123 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9169                                                                                                                     E
                                                                                                                                        D

Beckman, Erin
9355 Harroway Rd.                                                           -
Summerville, SC 29485

                                                                                                                                                            1,164.75
Account No. xxx1086

Beckwith, Diane
4405 Kim St.                                                                -
Snellville, GA 30039

                                                                                                                                                              220.50
Account No. xxx0514

Bedi, Kanwar
3925 Walnut St Apt 611                                                      -
Philadelphia, PA 19104

                                                                                                                                                              192.80
Account No. xxx7099

Bedoya, Sebastian
3859 American Drive                                                         -
Abilene, TX 79606

                                                                                                                                                              237.45
Account No. xxx2425

Behymer, Cheryl
12824 Park Hill Rd                                                          -
Oklahoma City, OK 73142

                                                                                                                                                            1,397.00

           122 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,212.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 124 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1727                                                                                                                    E
                                                                                                                                        D

Beil, Maggie
3400 Edloe St Apt 1532                                                      -
Houston, TX 77027

                                                                                                                                                              449.98
Account No. xxx8879

Beiler Jr, Elmer B
137 North New Holland Rd                                                    -
Gordanville, PA 17529

                                                                                                                                                              992.80
Account No. xxx5427

Belardo, Mardel
1531 Hemmingway Lane                                                        -
Roswell, GA 30075

                                                                                                                                                                99.92
Account No. xxx9653

Bell, Charles 1
2725 Mimosa Park                                                            -
Richland Hills, TX 76118

                                                                                                                                                            1,029.60
Account No. xxx4412

Bell, Gregory M
1020 North 2nd St                                                           -
Atchison, KS 66002

                                                                                                                                                              225.95

           123 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,798.25
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 125 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5502                                                                                                                     E
                                                                                                                                        D

Bell, Jalisa S
10810 Sherwood Hill Rd                                                      -
Owings Mill, MD 21117

                                                                                                                                                              239.90
Account No. xxx0515

Bell, Patsy J
6070 Sea Isle                                                               -
Galveston, TX 77554

                                                                                                                                                              158.20
Account No. xxx4479

Bell, Stacie
624 NW 18th Place                                                           -
Moore, OK 73160

                                                                                                                                                              255.97
Account No. xxx8574

Bellegarde, Valerie
330 East 39th Street Apt 4L                                                 -
New York, NY 10016

                                                                                                                                                              105.72
Account No. xxx8916

Bellini, Maria
923 Dunkirk                                                                 -
Arlington, TX 76017

                                                                                                                                                              109.55

           124 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                              869.34
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 126 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1924                                                                                                                    E
                                                                                                                                        D

Bement, Courtney
427 Buckeye lane                                                            -
Westchester, PA 19382

                                                                                                                                                              169.05
Account No. xxxx4918

Bench, Hollie
4368 Foxhaven Ave                                                           -
Canton, OH 44718

                                                                                                                                                                89.72
Account No. xxx7946

Benditz, Daniel
44 Gleannloch Estates Dr                                                    -
Spring, TX 77379

                                                                                                                                                            4,250.00
Account No. xxx9222

Bene, Rami
rahal 55                                                                    -
telaviv, 51

                                                                                                                                                            2,520.00
Account No. xxx6242

Benedetti, Francesca
609 se 58th ave                                                             -
portland, OR 97215

                                                                                                                                                              381.84

           125 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,410.61
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 127 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8895                                                                                                                     E
                                                                                                                                        D

Beneville, Christine
86 SHINNECOCK AVE                                                           -
MASSAPEQUA, NY 11758

                                                                                                                                                              733.65
Account No. xxx1824

beng, fiona
20084 east shadyridge rd                                                    -
parker, CO 80134

                                                                                                                                                              235.25
Account No. xxx9949

Benitez, David
21 Spruce St                                                                -
Pompton Lakes, NJ 07442

                                                                                                                                                            1,244.55
Account No. xxx7071

Benner, Michael
634 E Leray St Apt 2                                                        -
Watertown, NY 13601

                                                                                                                                                              639.40
Account No. xxx5541

Bennett, Alison
4556 country glen circle                                                    -
grovetown, GA 30813

                                                                                                                                                              213.43

           126 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,066.28
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 128 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1479                                                                                                                     E
                                                                                                                                        D

Bennett, Atalia
151 Boylston street                                                         -
jamacia plain, MA 02130

                                                                                                                                                              272.00
Account No. xxx5349

Bennett, Chip
537 Latitude Ln.                                                            -
Ospray, FL 34229

                                                                                                                                                              700.00
Account No. xxx6270

Bennett, Deborah
62 Moprior Lane                                                             -
North Augusta, SC 29860

                                                                                                                                                              241.40
Account No. xxx0423

Bennette, Jennifer
9241 Northedge dr                                                           -
Springfield, VA 22153

                                                                                                                                                            2,159.00
Account No. xxx4537

Benson, Jason R
1254 Lake Rd                                                                -
Hiram, GA 30141

                                                                                                                                                              441.00

           127 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,813.40
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 129 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8896                                                                                                                     E
                                                                                                                                        D

Benson, John 1
7609 June Grass Ln.                                                         -
Frisco, TX 75035

                                                                                                                                                            1,966.25
Account No. xxx2420

Bent, Michael
6827 mill rd                                                                -
Egg Harbor Township, NJ 08234

                                                                                                                                                              235.79
Account No. xxx2341

bentley, gregg
567 biello vista court                                                      -
greenwood, IN 46143

                                                                                                                                                              899.47
Account No. xxxx0239

Benton, Richard
1299 Ocean Ave                                                              -
Santa Monica, CA 90401

                                                                                                                                                              800.00
Account No. xxx2824

Bentzlin-Smith, Ashley
8110 East Fairmount Drive                                                   -
Denver, CO 80230

                                                                                                                                                                81.20

           128 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,982.71
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 130 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9085                                                                                                                     E
                                                                                                                                        D

beplay, ryan c
54547 sagewood drive                                                        -
mishawauka, IN 46545

                                                                                                                                                              260.54
Account No. xxx0461

Bequillard, Aldena
5215 Live Oak Rd                                                            -
Lakekland, FL 33813

                                                                                                                                                            1,463.00
Account No. xxxx3453

Berfond, Danielle
85 John St., Apt. 3L                                                        -
New York, NY 10038

                                                                                                                                                            1,020.00
Account No. xxx4707

Berg, Alexandria M
po box 1513                                                                 -
monroe, WA 98272

                                                                                                                                                              262.50
Account No. xxx9605

Berg, Esther
270 Neskowin Way                                                            -
Eagle, ID 83616

                                                                                                                                                              251.60

           129 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,257.64
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 131 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8193                                                                                                                     E
                                                                                                                                        D

Berge, Steve
5095 Norseman Circle                                                        -
Marrieta, GA 30068

                                                                                                                                                              178.00
Account No. xxx0503

Bergemann, Brittney
5028 Voltaire St                                                            -
San Diego, CA 92107

                                                                                                                                                              702.43
Account No. xxxx3480

Berger, Les
325 Sharon Park Dive                                                        -
Minlow Park, CA 94025

                                                                                                                                                            4,800.00
Account No. xxx2825

Bergersen, Brad
102 Foxtrap Drive                                                           -
Glen Burnie, MD 20161

                                                                                                                                                              799.00
Account No. xxx5287

Bergman, Daniel
14428 Lake Jessup Drive                                                     -
Jacksonville, FL 32258

                                                                                                                                                              234.99

           130 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,714.42
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 132 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1293                                                                                                                     E
                                                                                                                                        D

Bergmann, Angela K. D.
5710 SE Lloyd Street                                                        -
Milwaukee, OR 97222

                                                                                                                                                              100.01
Account No. xxxx3903

Beriger, Lisa
1705 W Woodbridge Ct #194                                                   -
Tucson, AZ 85746

                                                                                                                                                              242.15
Account No. xxx3303

Berisha, Doruntina
4028 Viapicaposte                                                           -
pales verdes, CA 90274

                                                                                                                                                              164.60
Account No. xxx5661

Berlingeri, Anthony
52 dawn heath cir                                                           -
littleton, CO 80127

                                                                                                                                                              732.60
Account No. xxx5836

Berna, Charlette
1757 Bryn Mawr Ave                                                          -
Santa Monica, CA 90405

                                                                                                                                                              105.80

           131 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,345.16
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 133 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4792                                                                                                                     E
                                                                                                                                        D

Bernard, Kimberly
424b Salem st                                                               -
Lexington, NC 27292

                                                                                                                                                                93.33
Account No. xxx3570

Berry, Raymond
15922 Countrybrook Street                                                   -
Tampa, FL 33624

                                                                                                                                                              106.00
Account No. xxx2059

Bertrand, Brad
6367 Rancho Mission Road                                                    -
San diago, CA 92108

                                                                                                                                                              725.94
Account No. xxx9092

bertrand, willam
900 NORTH WALLNUT CREEK SWEET                                               -
100
MANSFIELD, TX 76063
                                                                                                                                                              821.40
Account No. xxx2873

Berus, Joy
333 city blvd west Suite 2050                                               -
Orange, CA 92868

                                                                                                                                                              597.47

           132 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,344.14
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 134 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1543                                                                                                                     E
                                                                                                                                        D

Bessette, Alan
9281 SW 197 Circle                                                          -
Dunnellon, FL 34432

                                                                                                                                                              326.00
Account No. xxxx2509

Best, Don
1333 Britton Av                                                             -
Ft. Worth, TX 76115

                                                                                                                                                              413.00
Account No. xxx3074

Beswick, Tammy S
13623 Hoffma Ct                                                             -
Grand Haven, MI 49417

                                                                                                                                                              843.60
Account No. xxx8265

Bevill, George
5659 Wigton Drive                                                           -
Houston, TX 77096

                                                                                                                                                              329.98
Account No. xxx1559

Bewick, Brent
66 State St.                                                                -
Culver, IN 46511

                                                                                                                                                              211.51

           133 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,124.09
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 135 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0647                                                                                                                     E
                                                                                                                                        D

Bezjak, Yvonne L
9751 Stagpenn road                                                          -
chesterfield, VA 23832

                                                                                                                                                                72.70
Account No. xxx5883

Bezwada, Anuritha
5330 Bent Forest Dr.                                                        -
Dallas, TX 75244

                                                                                                                                                              209.45
Account No. xxx4586

bhachu mohan, manikandan
cjoseph cupler 108 poplar street                                            -
jersey city, NJ 07307

                                                                                                                                                              567.00
Account No. xxx9752

Bhaijee, Ummema
64 Evanspark Circle NW                                                      -
, 51

                                                                                                                                                              829.40
Account No. xxxx2015

Bhatia, Abhishek
2650 Durand Ave., Cheney Hall rm204                                         -
Berkeley, CA 94720

                                                                                                                                                            1,274.35

           134 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,952.90
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 136 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9488                                                                                                                     E
                                                                                                                                        D

Bhatt, Hiren, P
586 Main St #G                                                              -
Hackensack, NJ 07601

                                                                                                                                                              869.72
Account No. xxxx3519

Bhingarkar, Preeti
409 Grovehurst Drive                                                        -
Alpharetta, GA 30022

                                                                                                                                                              223.94
Account No. xxx1289

Bibus, Arnaud
510 North Ocean BLVD                                                        -
Pansan Beach, FL 33062

                                                                                                                                                              557.20
Account No. xxx6120

Bicaku, Elona
4829 Port Narnock Way                                                       -
Wesley Chapel, GA 33543

                                                                                                                                                              738.15
Account No. xxx5796

Bice, Richard
4141 Commons Drive, W                                                       -
Destin, FL 32541

                                                                                                                                                              378.25

           135 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,767.26
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 137 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4293                                                                                                                     E
                                                                                                                                        D

Bielema, Joshua D
2016 N Rockton Ave                                                          -
Rockford, IL 61103

                                                                                                                                                                93.03
Account No. xxx2124

Bierle, Nick
47794 Julie Drive                                                           -
Sioux Falls, SD 50178

                                                                                                                                                              687.02
Account No. xxx3845

Bierman, Brendan
420 S Maine St apt 705                                                      -
Tulsa, OK 74103

                                                                                                                                                              213.07
Account No. xxx8757

biesek, Ricardo
1021 concord chase circle                                                   -
concord, NC 28025

                                                                                                                                                              189.33
Account No. xxx7178

Bigelow, Dustin
511 iowa ave                                                                -
iowa city, IA 52240

                                                                                                                                                            1,225.01

           136 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,407.46
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 138 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8077                                                                                                                     E
                                                                                                                                        D

Biller, Christine
451 NW 11th Rd                                                              -
Warrensberg, MO 64093

                                                                                                                                                            1,376.40
Account No. xxx1664

Billheimer, Robert
PO Box 914                                                                  -
Tybee Island, SC 31328

                                                                                                                                                              455.16
Account No. xxx4803

Bilohlavek, Brittany
1520 Rebecca Dailiey Drive Apt 1001A                                        -
Charlotte, NC 28262

                                                                                                                                                              104.50
Account No. xxxx0160

Bilyk, Vyacheslav
1300 SW 8th Avenue                                                          -
Battleground, WA 98604

                                                                                                                                                              725.00
Account No. xxx3003

Bimi, Migen
2307 Salem Village Rd #D                                                    -
Parkville, MD 21234

                                                                                                                                                            1,100.00

           137 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,761.06
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 139 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9101                                                                                                                     E
                                                                                                                                        D

Birchfield, Michael L.
115 Rockland Drive                                                          -
Sharpburg, GA 30277

                                                                                                                                                              180.00
Account No. xxx3860

Birsen, Terri
147 Prospect Hill Rd                                                        -
Waverly, NY 14892

                                                                                                                                                              896.00
Account No. xxxx3711

Bisesi, Ashley
628 Baylor Rd                                                               -
Glen Burnie, MD 21061

                                                                                                                                                              624.00
Account No. xxx4328

Bishop, Kim for Joe
5105 Crane Dr                                                               -
West Richland, WA 99353

                                                                                                                                                              175.00
Account No. xxx4725

Bissell, Joseph
13 Stewart                                                                  -
Greenville, PA 16125

                                                                                                                                                            1,895.00

           138 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,770.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 140 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3054                                                                                                                    E
                                                                                                                                        D

Bittan, Andrew
P.O. Box 2265                                                               -
Rockville, MD 20847

                                                                                                                                                              714.57
Account No. xxx2460

Bitter Jr., Todd A
400 Lakeview Dr.                                                            -
Wilder, KY 41071

                                                                                                                                                              348.00
Account No. xxxx1101

Black JR, Robert
6528 Chadwick Ct                                                            -
Savage, MN 55378

                                                                                                                                                              411.60
Account No. xxx4214

Black, Austin
10416 Lake Carroll Way                                                      -
Tampa, FL 33618

                                                                                                                                                              190.92
Account No. xxx6702

black, michael
3115 north 1175 east                                                        -
layton, UT 84040

                                                                                                                                                              209.04

           139 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,874.13
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 141 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7880                                                                                                                     E
                                                                                                                                        D

Blackorby, Bryan J
1234 Briarhill Lane                                                         -
Atlanta, GA 30324

                                                                                                                                                              356.00
Account No. xxx0549

Blair, Frantzen
302 Knight Run Ave                                                          -
Tampa, FL 33602

                                                                                                                                                              133.20
Account No. xxx9455

Blake, Kevin
1025 purdew avenue apt c                                                    -
ridgecrest, CA 93555

                                                                                                                                                              233.60
Account No. xxx5596

BLANCHARD, CECILE
2122 YORK RD                                                                -
OAK BROOK, IL 60523

                                                                                                                                                            2,140.89
Account No. xxx6541

Blanchard, Michael
710 State Route 821 Unit 32                                                 -
Yakima, WA 98901

                                                                                                                                                              415.88

           140 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,279.57
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 142 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8647                                                                                                                     E
                                                                                                                                        D

Blanche, Jamie
2602 Dogwood Terrace                                                        -
Atlanta, GA 30319

                                                                                                                                                              185.84
Account No. xxx0853

Blattler, Jennifer
1 American Square #1300                                                     -
Indianapolis, IN 46282

                                                                                                                                                            3,590.00
Account No. xxxx3565

Blevins, Libby
5615 Pine Valley Drive                                                      -
Zanesville, OH 43701

                                                                                                                                                            1,897.02
Account No. xxx2722

Blicker, Joseph A
500 Webster Rd Lot 224                                                      -
Auburn, AL 36832

                                                                                                                                                              242.54
Account No. xxx5874

Blom, Catherine
637 Phillips Dr.                                                            -
Coppell, TX 75019

                                                                                                                                                              244.45

           141 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,159.85
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 143 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6599                                                                                                                     E
                                                                                                                                        D

Blondin, Brian
P.O. Box 159                                                                -
Kodiak, AK 99615

                                                                                                                                                              853.71
Account No. xxx6583

bloszies, alicia
1712 springfield dr                                                         -
ft collins, CO 80521

                                                                                                                                                              486.20
Account No.

Blue Dragon Balloons
301 East Prospect Avenue                                                    -
North Wales, PA 19454

                                                                                                                                                              150.00
Account No.

Blue Ridge Skydiving Adventures
P.O. Box 144                                                                -
Middletown, VA 22645

                                                                                                                                                              700.00
Account No.

Blue Skies Balloon KY
17554 Aiken Rd                                                              -
Louisville, KY 40245

                                                                                                                                                            1,685.00

           142 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,874.91
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 144 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx2827                                                                                                                    E
                                                                                                                                        D

Blume, Rudy
2151 Cumberland Pky Apt 538                                                 -
Atlanta, GA 30339

                                                                                                                                                              687.62
Account No.

Bob's Balloon Charters, LLC
729 Deen Still Rd                                                           -
Davenport, FL 33897

                                                                                                                                                              600.00
Account No. xxx0854

Boczkiewicz, Roberta
19160 Ashbourne Lane                                                        -
Brookfield, WI 53045

                                                                                                                                                            1,179.75
Account No. xxx9012

Bodkin, Cynthia
Rt 2 Box 27                                                                 -
Montroes, WV 26283

                                                                                                                                                              827.40
Account No. xxx9029

Boehn, Anne
1130 SW Santa Fe Dr.                                                        -
Lee Summit, MO 64081

                                                                                                                                                              730.80

           143 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,025.57
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 145 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9424                                                                                                                     E
                                                                                                                                        D

Boga, Srisanctosh
4047 145th Ave NE                                                           -
Bellvue, WA 98007

                                                                                                                                                              836.55
Account No. xxx2640

Bogart, Derrick
2840 N Canterbury Lake Drive                                                -
Hernando, FL 34442

                                                                                                                                                                84.15
Account No. xxx4522

Bogart, Jordan
2214 Spanishmoss Dr                                                         -
Jacksonville, FL 32246

                                                                                                                                                              168.74
Account No. xxx7096

Bogas, Ryan
306 Mcculland rd.                                                           -
Cannonsburg, PA 15317

                                                                                                                                                              810.81
Account No. xxx2344

Bogdanoff, Scott
2798 Wexford Dr.                                                            -
San Jose, CA 95132

                                                                                                                                                              454.30

           144 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,354.55
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 146 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8034                                                                                                                     E
                                                                                                                                        D

Bogden, Robert
2345 NE Hopkens Court                                                       -
Pullman, WA 91163

                                                                                                                                                              695.00
Account No. xxx5034

Boggs, Evonne
5902 Pace Bend Rd N Box2                                                    -
Spicewood, TX 78669

                                                                                                                                                                98.67
Account No. xxx3505

Bohigas, Laura
2430 Mlk Way Apt 4                                                          -
Berkley, CA 94704

                                                                                                                                                              123.75
Account No. xxx4154

Bohrer, Antonia
3708 Highland Dr                                                            -
Garnett Valley, PA 19061

                                                                                                                                                                71.43
Account No. xxx7692

Boin, Marc
511 Woodbend Lane                                                           -
Houston, TX 77079

                                                                                                                                                              155.40

           145 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,144.25
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 147 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Boise Hot Air Balloon Company
3340 Lake Harbor K304                                                       -
Boise, ID 83703

                                                                                                                                                              340.00
Account No. xxx0645

bolduc, annie
3350 george busbee                                                          -
kennesaw, GA 30144

                                                                                                                                                                94.00
Account No. xxx9925

Boler, Nathaniel
184 Mayfair Cir W                                                           -
Palm Harbor, FL 34683

                                                                                                                                                              467.20
Account No. xxx7341

Bolzeniu, Patrick D
100 Lakeshore dr apt. 126                                                   -
Lexington, KY 40502

                                                                                                                                                              227.37
Account No. xxx2060

Bond, Penni A
8931 North Rhoad Avenue #207                                                -
Kansas City, MO 64153

                                                                                                                                                              448.20

           146 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,576.77
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 148 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7726                                                                                                                     E
                                                                                                                                        D

Bond, William
3601 west broadway ave.                                                     -
Colombia, MO 65203

                                                                                                                                                              717.75
Account No. xxx7048

Bonfini, Catherine
3637 Mountshannon Rd.                                                       -
Columbus, OH 43221

                                                                                                                                                              292.53
Account No. xxx5939

Bonilla, Julian
6 Blyth Ct                                                                  -
Columbia, SC 29210

                                                                                                                                                              406.00
Account No. xxx6063

Bonior, Samantha
29904 Oak Grove                                                             -
Sinclair Shores, MI 48082

                                                                                                                                                                91.60
Account No. xxx4098

Bonner, Serrell J
2009 Beechwood Street                                                       -
Little Rock, AR 72207

                                                                                                                                                              117.50

           147 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,625.38
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 149 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6439                                                                                                                     E
                                                                                                                                        D

Bonnett, Joel
14822 south cedar lake rd.                                                  -
kiel, WI 53042

                                                                                                                                                              243.00
Account No. xxx9094

Boone, Norman
3423 Waycross Lane                                                          -
Frisco, TX 75034

                                                                                                                                                              833.75
Account No. xxxx4742

Bor, Simona
17391 El Cajon Ave                                                          -
Yorba Linda, CA 92886

                                                                                                                                                                74.95
Account No. xxx4247

Borcik, Teresa
PO Box 6837                                                                 -
Abilene, TX 79608

                                                                                                                                                              499.78
Account No. xxx8435

Borgia, Ann
5462 Greenridge drive                                                       -
Toledo, OH 43615

                                                                                                                                                              852.59

           148 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,504.07
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 150 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9894                                                                                                                     E
                                                                                                                                        D

Boron, Michael
706 Napoleon Rd. Apt 211                                                    -
Bowling Green, OH 43402

                                                                                                                                                              150.00
Account No. xxx9622

Borrajo, Jeremiah
3207 Maxwell st                                                             -
Murfreesboro, TN 37130

                                                                                                                                                              626.00
Account No. xxx7933

Borst, Larissa
61 St. Paul Street                                                          -
Hamilton, VA 20158

                                                                                                                                                              597.00
Account No. xxx5280

Boswell, Jennifer
1229 shooting star court                                                    -
North pole, AK 99705

                                                                                                                                                              438.86
Account No. xxx0046

Botelho, George M.
875 Meadows Rd                                                              -
Boca Raton, FL 33648

                                                                                                                                                              397.98

           149 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,209.84
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 151 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4739                                                                                                                     E
                                                                                                                                        D

Botero, Carlos
2810 Kensington Cir                                                         -
Weston, FL 33332

                                                                                                                                                              198.50
Account No. xxx4740

Botero, Carlos 1
3680 Inverrary Dr. #2J                                                      -
Lauderhill, FL 33319

                                                                                                                                                                88.60
Account No. xxx6621

Botonis, Athina
3731 W Melinda Ln.                                                          -
Glendale, AZ 85308

                                                                                                                                                                89.60
Account No. xxx1149

Boudreaux, Troy 1
119 W Tyler Lane                                                            -
Leesville, LA 71446

                                                                                                                                                              517.99
Account No. xxx4706

Bouhnik, Joseph
91 Bal Cross Dr                                                             -
Bal Harbor, FL 33154

                                                                                                                                                              980.00

           150 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,874.69
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 152 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3838                                                                                                                     E
                                                                                                                                        D

Bourboun, Amira
7 Rowley Avenue                                                             -
Ottawa K2G1L7

                                                                                                                                                              448.00
Account No. xxx9046

Bourne, David
10655 Woodstock Rd                                                          -
Roswell, GA 30075

                                                                                                                                                              828.80
Account No. xxx8410

Bowen, Nanci
1409 New Mexico St.                                                         -
Boulder City, NV 89005

                                                                                                                                                                99.50
Account No. xxxx3846

Bowen, Richard
930 Barbara Ann Lane                                                        -
Ellisville, MO 63021

                                                                                                                                                              259.04
Account No. xxx3004

Bowen, Sonja
2352 Gallard St.                                                            -
Lawrenceville, GA 30043

                                                                                                                                                              119.76

           151 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,755.10
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 153 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1553                                                                                                                     E
                                                                                                                                        D

Bowers, Brian
85 shelly lane                                                              -
Sharpsburg, GA 30377

                                                                                                                                                              140.00
Account No. xxx6390

Bowers, Josh
3657 Stryker Ave                                                            -
Tacoma, WA 98433

                                                                                                                                                              529.82
Account No. xxx4065

Bowker, Andrew
3rd Aabn B.company buliding 210632                                          -
Camp Pendalton, CA 92055

                                                                                                                                                              957.00
Account No. xxx9514

Bowman, Karly
2926 Greenhill Crt.                                                         -
Ijamsville, MD 21754

                                                                                                                                                              474.80
Account No. xxx2099

Boyce, Nelson
23 Hunt Path                                                                -
New Rochelle, NY 10804

                                                                                                                                                              166.75

           152 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,268.37
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 154 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7947                                                                                                                     E
                                                                                                                                        D

Boyer, Karey
2448 Arbor Drive                                                            -
Round Rock, TX 78681

                                                                                                                                                              287.50
Account No. xxx8308

Boylan, Pete
185 Oakland Ave Suite 150                                                   -
Birmingham, MI 48009

                                                                                                                                                            2,081.80
Account No. xxxx3769

Boyle, Kenana
918 Clayres Court                                                           -
Nashville, TN 37211

                                                                                                                                                              632.70
Account No. xxx2829

Boz, Vivian
7402 43rd Ave                                                               -
Elmhearst, NY 11373

                                                                                                                                                            1,712.20
Account No. xxx9951

Braa, Michael
4033 Northview Terrace                                                      -
Eagan, MN 55123

                                                                                                                                                              431.30

           153 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,145.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 155 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1556                                                                                                                     E
                                                                                                                                        D

Bradley, Daniel
5022 S. 193rd ave                                                           -
Sand Springs, OK 74063

                                                                                                                                                              297.90
Account No. xxx9081

Bradley, Thomas A.
498 Old Oran Rd.                                                            -
Perrin, TX 76486

                                                                                                                                                              492.00
Account No. xxxx3713

Brady, James
265 Elverton                                                                -
Staton Island, NY 10308

                                                                                                                                                              530.60
Account No. xxx8709

Brand, Cynthia
9800 carmel valley dr.                                                      -
frisco, TX 75035

                                                                                                                                                              636.40
Account No. xxx4742

brandell, anthony
2780 South Jones blvd                                                       -
las vegas, NV 89146

                                                                                                                                                            1,065.74

           154 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,022.64
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 156 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0010                                                                                                                     E
                                                                                                                                        D

Brann, Christopher
933 West Vanburen 605                                                       -
Chicago, IL 60607

                                                                                                                                                              130.50
Account No. xxx5517

Branum, Terri
1410 Hillcrest dr.                                                          -
Canyon, TX 79015

                                                                                                                                                            1,154.40
Account No. xxx1223

Brauer, Brandon
18 Cameo Drive                                                              -
Richboro, PA 18954

                                                                                                                                                              414.56
Account No. xxx1880

Bravo, Manuel A
4132 Casey Trail                                                            -
Norcross, GA 30093

                                                                                                                                                              750.87
Account No. xxx4607

Brazel, John
7806 5th ave NE                                                             -
Seattle, WA 98115

                                                                                                                                                              442.74

           155 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,893.07
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 157 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6198                                                                                                                     E
                                                                                                                                        D

Breard, Dominica
1450 Lincoln rd. apt. 608                                                   -
Miami beach, FL 33139

                                                                                                                                                            1,195.01
Account No.

Breeze Balloons LLC
3634 Long Prairie Road                                                      -
Suite 108-216
Flower Mound, TX 75022
                                                                                                                                                              600.00
Account No. xxxx1788

Brei, Brenda
3646 Medina Rd                                                              -
Medina, OH 44256

                                                                                                                                                            1,574.10
Account No. xxx4802

Breitweiser, elaine
13316 WEST CENTER DR                                                        -
LAKEWOOD, CO 80228

                                                                                                                                                              122.10
Account No. xxx6271

Brenner, Howard
524 West 57th street                                                        -
New york, NY 10019

                                                                                                                                                            1,267.50

           156 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,758.71
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 158 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0572                                                                                                                     E
                                                                                                                                        D

Brett, Levi
835-6th st.                                                                 -
Clarkston, WA 99403

                                                                                                                                                              293.75
Account No. xxxx3454

Brett, Patricia L.
590 Miramar Drive                                                           -
Half Moon Bay, CA 94019

                                                                                                                                                              695.97
Account No. xxx6023

Bretthauer, Daniela
Rua Itapaiuna 1800 apt 51d                                                  -
Sao Paulo 00570-7000

                                                                                                                                                            2,131.20
Account No. xxxx3970

Brickner, Chris
45211 deepwood ct                                                           -
shelby township, MI 48317

                                                                                                                                                            1,687.50
Account No. xxx8264

Briggs, Aaron
1650 west roscoe street apt. 308                                            -
chicago, IL 60657

                                                                                                                                                              674.25

           157 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,482.67
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 159 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2875                                                                                                                     E
                                                                                                                                        D

Brignac, Schquay
12666 Herron                                                                -
Sylmar, CA 91342

                                                                                                                                                              319.20
Account No. xxx3749

Brillantes, Augusto M
1232 Bell Tour Artch                                                        -
Chesepeke, VA 23324

                                                                                                                                                              687.70
Account No. xxx3388

Brinberg, Gary N.
7108 Ventnor Gardens Plaza                                                  -
Ventnor, NJ 08406

                                                                                                                                                              584.98
Account No. xxx4987

Brindisi, Lauren
322 Quail Street                                                            -
Albany, NY 12208

                                                                                                                                                                97.72
Account No. xxx5665

Brinkley, Jeffrey
6523 Drylog st                                                              -
Capitol Heights, MD 20743

                                                                                                                                                              609.60

           158 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,299.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 160 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0677                                                                                                                     E
                                                                                                                                        D

Brinser, Angela J.
310 Twelve Oaks Dr                                                          -
Warner Robbins, GA 31088

                                                                                                                                                              942.50
Account No. xxx2003

Brison, Jody
1006 South Liberty Ave                                                      -
Independance, MO 64050

                                                                                                                                                              359.02
Account No. xxxx1791

Bristow, Grant
555 E. 5th St. Apt 2822                                                     -
Austin, TX 78701

                                                                                                                                                              822.25
Account No. xxx2029

Bristow, Martin
910 2nd St.                                                                 -
Manhatten Beach, CA 90266

                                                                                                                                                            3,523.50
Account No. xxx9296

Britton, John
500 Cedar Knoll Court                                                       -
Roswell, GA 30076

                                                                                                                                                                75.00

           159 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,722.27
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 161 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3100                                                                                                                     E
                                                                                                                                        D

Brlit, Frances
3100 W Rolling hills cir apt609                                             -
Davie, FL 33328

                                                                                                                                                            6,875.00
Account No. xxx2461

Brock, Martin
260 Bay St Apt 210                                                          -
San Francisco, CA 94133

                                                                                                                                                            1,347.88
Account No. xxx4732

Brody, Daniel
253 W 91st Apt 2A                                                           -
New York, NY 10024

                                                                                                                                                              306.00
Account No. xxx3846

Bronez, Michael
265 south liberty                                                           -
harrisonburg, VA 22801

                                                                                                                                                              749.70
Account No. xxx9457

Bronner, Liliana
2806 Crawfrod St                                                            -
Belleview, NE 68005

                                                                                                                                                              468.40

           160 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,746.98
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 162 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0931                                                                                                                     E
                                                                                                                                        D

Brooks, Angela
6123 Auth Rd.                                                               -
Suitland, MD 20746

                                                                                                                                                              675.00
Account No. xxx2188

Brooks, Jonathan M
6205 Farrington Road #L9                                                    -
Chapel Hill, NC 27517

                                                                                                                                                              489.00
Account No. xxx7258

Brooks, Kristopher W
105 S. Boggs St                                                             -
Virginia Beach, VA 23452

                                                                                                                                                              896.61
Account No. xxx7317

Brothers, Jonathan
1627 reflection st                                                          -
san marcos, CA 92078

                                                                                                                                                              267.00
Account No. xxx4480

Brotzman, Sara
2854 Woodmont drive                                                         -
York, PA 17404

                                                                                                                                                              207.43

           161 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,535.04
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 163 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0911                                                                                                                     E
                                                                                                                                        D

Brouhard, Jennifer
8300 signal avenue ne                                                       -
albuquerque, NM 87122

                                                                                                                                                            1,000.00
Account No. xxxx1731

Brown, Alyssia
639 Linden Ave                                                              -
Long Beach, CA 90802

                                                                                                                                                            1,894.40
Account No. xxx0504

Brown, Andrea 1
2630 Old Columbus Rd.                                                       -
London, OH 43140

                                                                                                                                                              437.50
Account No. xxx9402

Brown, Angela G.
2521 104 Dr SE                                                              -
Lake Steveson, WA 98258

                                                                                                                                                              200.20
Account No. xxx5691

Brown, Don R
1100 Louisiana Street                                                       -
Houston, TX 77002

                                                                                                                                                            9,735.00

           162 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          13,267.10
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 164 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7121                                                                                                                     E
                                                                                                                                        D

Brown, Douglas
15402 White Chapel Ct                                                       -
Centreville, VA 20120

                                                                                                                                                              478.20
Account No. xxx5754

Brown, John 1
7200 US Hwy 158                                                             -
Jackson, NC 27845

                                                                                                                                                              123.70
Account No. xxx5434

Brown, Josh 2
323 Chelsie Ln                                                              -
Poultney, VT 05764

                                                                                                                                                              208.00
Account No. xxx3717

Brown, Kellie G
53 East Water St                                                            -
Smithsburg, MD 21783

                                                                                                                                                              252.70
Account No. xxx5984

Brown, Kurtis
1902 13th st                                                                -
Viola, IL 61486

                                                                                                                                                              285.98

           163 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,348.58
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 165 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7930                                                                                                                     E
                                                                                                                                        D

Brown, Laquandra
1445 S. Sherwood Drive                                                      -
Charleston, SC 29407

                                                                                                                                                              482.80
Account No. xxx3577

Brown, Linda A
9500 tonkin drive                                                           -
orange vale, CA 95662

                                                                                                                                                              357.50
Account No. xxx8918

Brown, Lindsey H.
717 Monroe Ave                                                              -
Glensdale, PA 10198

                                                                                                                                                              174.16
Account No. xxx0966

brown, lisa 2
385 crimson dr                                                              -
idaho falls, ID 83401

                                                                                                                                                              275.50
Account No. xxxx4071

Brown, Markeisha
22 South Congress St                                                        -
Summerville, GA 60747

                                                                                                                                                                99.44

           164 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,389.40
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 166 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7703                                                                                                                     E
                                                                                                                                        D

Brown, Marshall
3040 Post Oak Blvd suite 1020                                               -
Houston, TX 77056

                                                                                                                                                            2,250.00
Account No. xxx5038

Brown, Matthew S
7370 NW 51st Street                                                         -
Lauderhill, FL 33319

                                                                                                                                                            1,136.00
Account No. xxx9515

Brown, Melissa D.
9577 High Cliffe St                                                         -
Hghlands Ranch, CO 80129

                                                                                                                                                              239.00
Account No. xxx3954

Brown, Mr. Michael
65 Clarkenwell RD                                                           -
London, UK, ec1r5bl

                                                                                                                                                            3,215.70
Account No. xxx8706

Brown, Patrick 2
7700 N 71st ave                                                             -
Glendale, AZ 85303

                                                                                                                                                              838.50

           165 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,679.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 167 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3058                                                                                                                    E
                                                                                                                                        D

Brown, Shanda
80 Pittston Circle                                                          -
Owens Mills, MD 21117

                                                                                                                                                            1,288.00
Account No. xxx8345

Brown, Sharon R
605 chesnut walk pl.                                                        -
grayson, GA 30017

                                                                                                                                                              996.00
Account No. xxx8917

Brown, Sheila T
205 Weatherstone Point Drive                                                -
Woodstock, GA 30188

                                                                                                                                                                89.00
Account No. xxxx2080

Brown, Tia
1218 Ling Way                                                               -
Austell, GA 30168

                                                                                                                                                                96.78
Account No. xxx9668

Brown, Tyler
6237 Serene Court                                                           -
Chino, CA 91710

                                                                                                                                                              442.62

           166 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,912.40
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 168 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0204                                                                                                                     E
                                                                                                                                        D

Brown-Morris, Donica
3505 Mountain Dr                                                            -
Virginia Beach, VA 23453

                                                                                                                                                              586.01
Account No. xxx9597

Brownell, Christopher A
5 grant ave                                                                 -
rensselaer, NY 12144

                                                                                                                                                              705.60
Account No. xxx9951

Bruce, Lauren
po box 465                                                                  -
parishville, NY 13672

                                                                                                                                                            1,146.60
Account No. xxxx1103

Brudno, Michael
30 shalva Herzliya                                                          -
Isreal 46705

                                                                                                                                                            1,287.00
Account No. xxx8071

Bruning, Carla
711 W Almay Ave                                                             -
Flandranu, SD 57028

                                                                                                                                                              235.20

           167 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,960.41
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 169 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5295                                                                                                                     E
                                                                                                                                        D

Bryan, Rod
183 Old Damascus Rd                                                         -
Colquitt, GA 39837

                                                                                                                                                              836.00
Account No. xxx9426

Bryant, Stacey
102 Hart St.                                                                -
Statesboro, GA 30458

                                                                                                                                                              212.85
Account No. xxx5156

Bryja, Tanya
6485 Ellington Ln                                                           -
Beaumont, TX 77706

                                                                                                                                                              302.51
Account No. xxx6150

Bsouza, Sharon
5202 Texana Drive                                                           -
San Antonio, TX 78249

                                                                                                                                                              937.50
Account No. xxx3136

Buck, Nicholas
706 North Wayne Street Apt 102                                              -
Arlington, VA 22201

                                                                                                                                                              224.00

           168 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,512.86
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 170 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3010                                                                                                                     E
                                                                                                                                        D

Buck, Sarah
1518 Sequoia Trail                                                          -
Alabaster, AL 35007

                                                                                                                                                              621.00
Account No. xxxx3389

Buckley, Sharon
6658 4th ave. N                                                             -
St. Petersburg, FL 33710

                                                                                                                                                              120.48
Account No. xxx1970

Buckowing, Matthew
735 Rodeo St                                                                -
Oceanside, CA 92058

                                                                                                                                                              455.50
Account No. xxxx4494

Buffum, Karin
4140 65th st                                                                -
holland, MI 49423

                                                                                                                                                            1,400.00
Account No. xxx2964

Bui, Hanh
1779 S. Charlemont Ave.                                                     -
Hacienda Heights, CA 91745

                                                                                                                                                              428.40

           169 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,025.38
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 171 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4875                                                                                                                     E
                                                                                                                                        D

Bui, Kim
po box 3012                                                                 -
Union city, CA 94587

                                                                                                                                                            1,406.00
Account No. xxx5146

Bullicer, Maryann
4539 Presidio Drive                                                         -
Los Angeles, CA 90008

                                                                                                                                                              118.50
Account No. xxx2332

Bulthuis, Kerri
100 East 14th Street                                                        -
Chicago, IL 60605

                                                                                                                                                              145.00
Account No. xxx8577

bumgardner, angela
982 villagebrook drive                                                      -
henderson, KY 42420

                                                                                                                                                              585.06
Account No. xxx4540

Bumgarner, Amy
1921 Blue Mountain Rd                                                       -
Longmont, CO 80504

                                                                                                                                                            1,465.20

           170 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,719.76
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 172 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8888                                                                                                                     E
                                                                                                                                        D

bumting, rosemary
603 n river ave                                                             -
glendive, MT 59330

                                                                                                                                                              600.60
Account No. xxxx1928

Bundy, Dean
10550 S. Kelland Ct.                                                        -
Oregon City, OR 97045

                                                                                                                                                              917.00
Account No. xxx9099

Bunker, Lisa 1
219 Oakley Place                                                            -
Grand Rapids, MI 49503

                                                                                                                                                              469.80
Account No. xxx7445

Bunker, Paul
PO Box 690                                                                  -
Southern Pines, NC 28388

                                                                                                                                                            1,599.12
Account No. xxx7920

Bunker, Paul C.
PO Box 690                                                                  -
Southern Pines, NC 28388

                                                                                                                                                            2,086.98

           171 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,673.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 173 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2497                                                                                                                     E
                                                                                                                                        D

Burdak, Sara
8187 Trillium Ln                                                            -
Victoria, MN 55386

                                                                                                                                                              818.50
Account No. xxx4805

Burgan, Gary
233 Treherne Rd.                                                            -
Timonium, MD 21093

                                                                                                                                                            1,086.80
Account No. xxx2665

Burkart, Sarah
7165 Shoe Rd                                                                -
Burlington, NC 27215

                                                                                                                                                            1,950.00
Account No. xxx4957

Burke, JoAnn
4971 St. Josephs Road                                                       -
Coopersburg, PA 18036

                                                                                                                                                              210.71
Account No. xxx9564

Burkes, Nigel
1452 Temple St                                                              -
Clearwater, FL 33756

                                                                                                                                                              299.80

           172 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,365.81
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 174 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5120                                                                                                                     E
                                                                                                                                        D

Burkhardt, Sandra
4715 S Street                                                               -
Lincoln, NE 68506

                                                                                                                                                              245.31
Account No. xxx8899

Burkstein, Sivan
26 devra lane                                                               -
Framington, MA 01701

                                                                                                                                                              504.00
Account No. xxx7814

Burnell, Neil
14817 darby dale                                                            -
woodbridge, VA 22193

                                                                                                                                                              237.87
Account No. xxxx3481

Burnett, Kevin
15 Donna Drive                                                              -
Sheridan, AR 72150

                                                                                                                                                              487.80
Account No. xxx8493

Burns, J.Warren
3707 Carlyle Court                                                          -
Fredericksburg, VA 22408

                                                                                                                                                            1,219.00

           173 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,693.98
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 175 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0824                                                                                                                     E
                                                                                                                                        D

Burrington, Chad
2603 South 374th Place                                                      -
Federal Way, WA 98003

                                                                                                                                                              225.60
Account No. xxx3434

busscher, ryan
5884 84th ave                                                               -
zeeland, MI 49464

                                                                                                                                                              260.00
Account No. xxx6062

Bussell, Scott
116 Canal St.                                                               -
Lebanon, OH 45036

                                                                                                                                                              715.00
Account No. xxx8102

Busselman, Kelly
109 Christopher Circle                                                      -
Jonathan, NE 68832

                                                                                                                                                                79.00
Account No. xxxx2765

Butler, Jason
314 Foltz Lane                                                              -
Muskogee, OK 74403

                                                                                                                                                              530.00

           174 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,809.60
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 176 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5136                                                                                                                     E
                                                                                                                                        D

Butris, Batoul
199 Partidrige Drive                                                        -
Troy, MI 48098

                                                                                                                                                              202.35
Account No. xxxx2154

Butts, Rob
229 Buffalo Dr                                                              -
Indianapolis, IN 46217

                                                                                                                                                              479.86
Account No. xxx3954

Byassee, Amy
3512 Maxon Road                                                             -
Paducah, KY 42001

                                                                                                                                                              514.60
Account No. xxx4417

Cabrera, Lisa Maria
255 W. 10th street #4RS                                                     -
New York, NY 10014

                                                                                                                                                              828.00
Account No. xxxx4080

Cacho, Sebastian
10017 Jessica Street                                                        -
Keller, TX 76244

                                                                                                                                                              115.00

           175 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,139.81
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 177 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0149                                                                                                                     E
                                                                                                                                        D

Cahill, Caroline
232 Front Street Aprt. 3A                                                   -
New York, NY 10038

                                                                                                                                                              185.00
Account No. xxx1941

Caine, Laurel L.
217 Bryce Ave.                                                              -
San Francisco, CA 94080

                                                                                                                                                              145.59
Account No. xxx6158

Calamia, Steven
7042 Blackridge                                                             -
El Paso, TX 79912

                                                                                                                                                              177.20
Account No. xxx7100

Calarco, Kristen A.
622 Vista Grande Dr                                                         -
Colorado Springs, CO 80906

                                                                                                                                                              490.62
Account No. xxx7560

calderin, Luis
22 lincon street                                                            -
new britain, CT 06052

                                                                                                                                                              292.50

           176 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,290.91
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 178 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

California Dreamin'
33133 Vista Del Monte Rd.                                                   -
Temecula, CA 92591

                                                                                                                                                              980.00
Account No. xxx1799

Callinan, Ryan
6300 Milgen Road Aprt. 1442                                                 -
Columbus, GA 31907

                                                                                                                                                              213.51
Account No. xxxx1399

Calvery Road Baptist Church
6811 Beulah St                                                              -
Alexzandria, VA 22310

                                                                                                                                                            3,200.00
Account No. xxxx3714

Camarena, Rachelle
3301 Lone Hill Lane                                                         -
Encinitas, CA 92024

                                                                                                                                                              414.00
Account No. xxx1392

Camargo, Francisco
1324 West 6th St                                                            -
Belvedere, IL 61008

                                                                                                                                                              437.15

           177 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,244.66
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 179 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7329                                                                                                                     E
                                                                                                                                        D

Cameron, Joseph
2501 Pinetree Lane                                                          -
Columbia, MO 65203

                                                                                                                                                              470.16
Account No. xxx4009

Camilleri, Derek
1201 38th St. #6                                                            -
Rapid City, SD 57702

                                                                                                                                                              209.94
Account No. xxx1834

Campbell, Kevin 1
4611 West 72nd Street                                                       -
Prairie Village, KS 66208

                                                                                                                                                            1,278.90
Account No. xxx7327

Campbell, Pamela
2509 N 15th St                                                              -
Adel, IA 50003

                                                                                                                                                              936.58
Account No. xxx9926

Campbell, Richard
2836 Beachnut Rd                                                            -
Charlotte, NC 28208

                                                                                                                                                              168.13

           178 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,063.71
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 180 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9383                                                                                                                     E
                                                                                                                                        D

Campbell, Taylor
6763 desert storm ave                                                       -
Fort Campbell, KY 42223

                                                                                                                                                              313.50
Account No. xxx9609

Canady, Tiffanee 1
1918 Fieldstone Way                                                         -
Fredrick, MD 21702

                                                                                                                                                            1,015.00
Account No. xxx2074

Candalaria, Nathan
27 Valentine Rd                                                             -
Warminster, PA 18974

                                                                                                                                                              443.80
Account No. xxx3214

Candies, Nelda M
158 Boras Lane                                                              -
DesAllemands, LA 70030

                                                                                                                                                              687.00
Account No. xxx9797

Canfield, David J.
1122 Oakwood Dr                                                             -
DeWitt, MI 48820

                                                                                                                                                              215.80

           179 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,675.10
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 181 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3013                                                                                                                     E
                                                                                                                                        D

Canhos, Tara
1815 N Surf Road Apt 704                                                    -
Hollywood, FL 33019

                                                                                                                                                              219.45
Account No. xxx8462

Cannata, Joanne
1900 burlington cir                                                         -
columbia, TN 38401

                                                                                                                                                              999.00
Account No. xxx8901

Cannon, Stephen
210 East Continental Blvd                                                   -
South Lake, TX 76092

                                                                                                                                                            1,125.00
Account No. xxx4252

Canter, Lenny
19A east cir dr                                                             -
Key west, FL 33040

                                                                                                                                                              468.34
Account No. xxx8103

Cantey, Jocelyn
432 S 47th St.                                                              -
Philadelphia, PA 19143

                                                                                                                                                              205.43

           180 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,017.22
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 182 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Canton Air Sports
14008 Union Ave. NE                                                         -
Alliance, OH 44601

                                                                                                                                                            4,850.00
Account No. xxx9599

Cantwell, Valerie
24006 Canvasback Circle                                                     -
Leguna Negel, CA 92677

                                                                                                                                                            2,220.00
Account No.

Capital City Skydiving MI
Charleviox State Bank                                                       -
111 State Street
Charlevoix, MI 49720
                                                                                                                                                            2,940.00
Account No. xxx8033

CARBAUGH, JR, HARRY
1616 Howell Road                                                            -
Hagerstown, MD 21740

                                                                                                                                                              144.99
Account No. xxx8370

Cardenas, Nereida
606 San Antonio street Apartment 9                                          -
Mission, TX 78572

                                                                                                                                                              586.30

           181 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          10,741.29
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 183 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4918                                                                                                                     E
                                                                                                                                        D

Cardona, Mildred
530 Audubon Ave Apt 26                                                      -
New York, NY 10040

                                                                                                                                                              340.00
Account No. xxxx3542

Carey, Catherine
323 East 43rd Street                                                        -
New York, NY 10036

                                                                                                                                                            1,250.00
Account No. xxx6325

Carignan, Jake
4468 Lewis Tempest Way                                                      -
Meridian, ID 83646

                                                                                                                                                              421.80
Account No. xxx3391

Carillo, Maria T
19010 Bryant Street Apt 2                                                   -
Northridge, CA 91324

                                                                                                                                                                75.20
Account No. xxxx0629

Carlone, Joseph
P.O BOX 238                                                                 -
WOODSTOCK, CT 06281

                                                                                                                                                            6,745.00

           182 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,832.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 184 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9675                                                                                                                     E
                                                                                                                                        D

Carlson, Kevin
144 Blue Pine dr                                                            -
Springlake, NC 28390

                                                                                                                                                              254.60
Account No. xxx8683

Carlson, Sarah
5007 Cottage Glen CT                                                        -
Kingwood, TX 77345

                                                                                                                                                              129.60
Account No. xxx1800

Carlson, Stanley
15579 Liberty Road                                                          -
Lapine, OR 97739

                                                                                                                                                              213.52
Account No. xxx6351

Carlton, Cole
4457 Debracy PL                                                             -
Tucker, GA 30084

                                                                                                                                                              258.12
Account No. xxx4157

Carlyle, Roy H
PO Box 841                                                                  -
Warrensburg, MO 64093

                                                                                                                                                              761.25

           183 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,617.09
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 185 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9952                                                                                                                     E
                                                                                                                                        D

Carmichael, Kelly
8081 E. Springview Ct                                                       -
Anaheim Hills, CA 92808

                                                                                                                                                              457.60
Account No. xxx6114

Carr, Ron
1235 West St.                                                               -
Spartanburg, SC 29301

                                                                                                                                                              316.68
Account No. xxx9086

carrillo, robert
1020 grand concourse blvd apt 17f                                           -
bronx, NY 10451

                                                                                                                                                              777.50
Account No. xxx4254

Carrington, Tiffany L.
2806 Southcrest Dr                                                          -
Arlington, TX 76016

                                                                                                                                                                61.40
Account No. xxxx3927

Carstens, Larry
3305 N Illinois Route 23                                                    -
Ottowa, IL 61350

                                                                                                                                                              325.60

           184 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,938.78
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 186 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6690                                                                                                                     E
                                                                                                                                        D

Carswell, Jeffrey
9526 Greenel Rd                                                             -
Damascus, MD 20872

                                                                                                                                                            1,733.00
Account No. xxx0914

Carter, Allison
70 Indigo Point Drive                                                       -
Charleston, SC 29407

                                                                                                                                                              724.78
Account No. xxx4482

Carter, Lawrence
19861 Futura Dr                                                             -
Yorba Linda, CA 92886

                                                                                                                                                              692.50
Account No. xxx2036

Carter, Nicholas
6325 Faulkner DR                                                            -
Jacksonville, FL 32244

                                                                                                                                                              394.40
Account No. xxx0057

Carwell, John
301 Spring Mist Ct                                                          -
Lexington, SC 29072

                                                                                                                                                              376.00

           185 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,920.68
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 187 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6866                                                                                                                     E
                                                                                                                                        D

Cascone, Vincent M.
1700 S Ann Ct                                                               -
Independance, MO 64057

                                                                                                                                                                82.24
Account No. xxx7013

Casey, Gia
37 powderhorn drive                                                         -
kinnelon, NJ 07405

                                                                                                                                                              292.56
Account No. xxx8551

Cash, Whitney
657 Ward St.                                                                -
Eastman, GA 31023

                                                                                                                                                              457.18
Account No. xxx6508

Cassibry, Tomi
1723 State Street                                                           -
Biloxi, MS 39531

                                                                                                                                                              659.94
Account No. xxxx3716

Castaneda, Joe
13443 Mulberry Dr., Apt. 5                                                  -
Whittier, CA 90605

                                                                                                                                                              240.60

           186 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,732.52
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 188 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7973                                                                                                                     E
                                                                                                                                        D

Castaneda, Jose
3148                                                                        -
El paso, TX 79938

                                                                                                                                                              254.95
Account No. xxx1826

Castillo, Erich
967 Singing Hills Drive                                                     -
Round Lake, IL 60073

                                                                                                                                                              485.00
Account No. xxx9492

Castillo, Miguel C.
937 B. Kingsbury Rd.                                                        -
Clarksville, TN 37043

                                                                                                                                                              245.78
Account No. xxx8372

Castillo, Otto
8290 Lake Dr apt 235                                                        -
Miami, FL 33166

                                                                                                                                                              909.48
Account No. xxx9264

Castillo, Pearl
44045 15 th street west                                                     -
Lancaster, CA 93534

                                                                                                                                                              110.50

           187 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,005.71
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 189 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2339                                                                                                                     E
                                                                                                                                        D

Castillr, Carlos
2005 Champions Pkwy                                                         -
Lawrenceville, GA 30044

                                                                                                                                                              455.00
Account No. xxx3339

Catelli, Declan A
183 W Anderson Rd                                                           -
Sequim, WA 98382

                                                                                                                                                              276.00
Account No. xxxx3625

Cation, Monica
109 Las Lomas Dr                                                            -
Austin, TX 78746

                                                                                                                                                            1,002.00
Account No.

Catskill Mountain Balloon
Michael Ranievi                                                             -
PO Box 446
Oneonta, NY 13820
                                                                                                                                                            1,910.00
Account No. xxx2107

Cegielski, Scott
12214 Ferncrest CT                                                          -
Houston, TX 77070

                                                                                                                                                              743.75

           188 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,386.75
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 190 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1352                                                                                                                     E
                                                                                                                                        D

Cen, Jeny
14816 56ST RD                                                               -
Flushing, NY 11355

                                                                                                                                                              434.88
Account No. xxx2433

Cenci, Max
2110 Grand Ave                                                              -
West Des Moines, IA 50265

                                                                                                                                                              787.00
Account No. xxx8063

Cerne, Melanie
5210 Pine Needle Ct.                                                        -
Durham, NC 27705

                                                                                                                                                            1,036.00
Account No. xxx4919

Cervantes, Sammy
423 S. College St                                                           -
Waxahachie, TX 75165

                                                                                                                                                            3,150.00
Account No. xxx5047

Chachondia, Shwetal
1504 flintwood dr                                                           -
Richardson, TX 75081

                                                                                                                                                            1,434.00

           189 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,841.88
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 191 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4924                                                                                                                    E
                                                                                                                                        D

Chaggar, Inderpreet
3582 Crawdad Ct                                                             -
Union City, CA 94587

                                                                                                                                                            1,983.60
Account No. xxxx1321

Chambers, Kayla
46 Orpah Drive                                                              -
Elkton, MD 21921

                                                                                                                                                                74.92
Account No. xxx5749

Champagne, Robert G
18635 Hosmer Mill Rd                                                        -
Covington, LA 70435

                                                                                                                                                              654.00
Account No. xxx5222

Chan, Elizabeth
355 South End Ave Apt 29K                                                   -
New York, NY 10280

                                                                                                                                                            1,215.50
Account No. xxx9247

Chan, Ivy-Lai Yi
25 Boerum St Apt 12k                                                        -
Brooklyn, NY 11206

                                                                                                                                                              761.04

           190 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,689.06
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 192 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2666                                                                                                                     E
                                                                                                                                        D

Chan, Jenkins
1501 Calais Drive                                                           -
Miami Beach, FL 33141

                                                                                                                                                                85.00
Account No. xxxx3521

Chan, Jonathan
14453 SW 96 Terr                                                            -
Miami, FL 33186

                                                                                                                                                              228.00
Account No. xxxx2617

Chandlee, Thomas
5521 Pleasent View Road                                                     -
Red Lion, PA 17356

                                                                                                                                                                77.50
Account No. xxx1605

Chandra, Mala
4144 244th Ave. NE                                                          -
Redmond, WA 98053

                                                                                                                                                              708.50
Account No. xxx4102

Chandra, Rahul
441 North Pas Ave Apt 90                                                    -
Burbank, CA 91505

                                                                                                                                                              248.60

           191 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,347.60
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 193 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5048                                                                                                                     E
                                                                                                                                        D

Chaney, Justin
43355 Hay Road                                                              -
Ashburn, VA 20147

                                                                                                                                                              209.90
Account No. xxx8959

Chang, Barbara
18 S Rd.                                                                    -
Port Washington, NY 11050

                                                                                                                                                              287.16
Account No. xxx8578

Chang, David C
984 Old Abbott Mountain Rd                                                  -
Prestonsburg, KY 41653

                                                                                                                                                              743.85
Account No. xxx9197

Chantasi, Kenny
42 Dillingham Place                                                         -
Englewood Cliffs, NJ 07632

                                                                                                                                                            1,885.00
Account No. xxxx2334

Chao, Chiahsien
PO BOX 3042                                                                 -
USAFA, CO 80841

                                                                                                                                                            1,471.86

           192 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,597.77
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 194 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3034                                                                                                                     E
                                                                                                                                        D

chaparro, Daniel
5214 75th St.                                                               -
Lubbock, TX 09424

                                                                                                                                                            1,137.72
Account No. xxx5903

Chapman, Anthony
10 Rock Haven                                                               -
Emangeni 03880

                                                                                                                                                              498.30
Account No. xxx3839

Chappuis, Rick
7743 Brookgrove ct.                                                         -
Atlanta, GA 30339

                                                                                                                                                              438.75
Account No. xxx9398

Charania, Shams
3084 River Brook Trail                                                      -
Atlanta, GA 30339

                                                                                                                                                              214.75
Account No. xxxx3484

Charantharayil, Rohit
280 Marin Blvd Apt 5H                                                       -
Jersey City, NJ 07302

                                                                                                                                                              706.20

           193 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,995.72
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 195 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4130                                                                                                                    E
                                                                                                                                        D

Charlotte County Public Schools
Marcia Louden                                                               -
Pt. Charlotte, FL 33945

                                                                                                                                                            3,026.00
Account No. xxx2392

Chase, Derek
1233 Winston Ave                                                            -
Baltimore, MD 21239

                                                                                                                                                            1,498.00
Account No. xxx8195

Chatham, Jessica
357 Country Club Cir.                                                       -
Minden, LA 71055

                                                                                                                                                              528.00
Account No.

Chattanooga Skydiving Company
d/b/a Chattanooga Skydiving                                                 -
Company
10 Abelia Lane
Chattanooga, TN 37415                                                                                                                                       2,462.00
Account No. xxx7279

Chatur, Siddhant
8581 Sturbridge Dr                                                          -
Cincinatti, OH 45236

                                                                                                                                                              490.10

           194 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,004.10
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 196 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1801                                                                                                                     E
                                                                                                                                        D

Chau, Alex
3789 clayston cove                                                          -
New haven, IN 46774

                                                                                                                                                              639.44
Account No. xxx8894

Chavez, Michael A
11457 Genova Rd                                                             -
Rancho Cucamonga, CA 91701

                                                                                                                                                                81.00
Account No. xxx8905

Chehal-Camp, Sirat
279 Rugged Earth Dr                                                         -
Austin, TX 78737

                                                                                                                                                            1,322.50
Account No. xxx9251

Chekka, Sesha
11117 S. Racine Ave Apt 3 F                                                 -
Chicago, IL 60607

                                                                                                                                                              234.90
Account No. xxx8907

Chelkowski, Anne
1836 Greenpoint Ave.                                                        -
Schenetady, NY 12303

                                                                                                                                                              104.00

           195 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,381.84
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 197 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1430                                                                                                                    E
                                                                                                                                        D

Chen, HAIWAH ANGELA
44 HILL ST, APT 1H                                                          -
MORRISTOWN, NJ 07960

                                                                                                                                                                65.00
Account No. xxx9135

Chen, Kanchen
103 north College                                                           -
Muncie, IN 47303

                                                                                                                                                              819.00
Account No. xxx2168

Chen, Lin
3650 Chestnut Street                                                        -
Philadelphia, PA 19104

                                                                                                                                                              234.85
Account No. xxx5404

Chen, Ying
131 Eldridge St Apt 4B                                                      -
New York, NY 10002

                                                                                                                                                              554.99
Account No. xxxx0510

Chenkin, Amanda
118 9th St. NE                                                              -
Washington, DC 20002

                                                                                                                                                              241.80

           196 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,915.64
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 198 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx2159                                                                                                                    E
                                                                                                                                        D

Chenna, Ravi
1328 Hidden Rdg Apt. 1129                                                   -
Irving, TX 75038

                                                                                                                                                              900.90
Account No. xxx6727

Chernick, John
8 Rocky Ledge Road                                                          -
Marimax, NH 03054

                                                                                                                                                              202.20
Account No. xxx4704

Chertavian, Gerald C.
95 Irving St                                                                -
Cambridge, MA 02138

                                                                                                                                                            1,813.00
Account No. xxx6941

Chesley, Kurtis
4011 Silver Beach Road                                                      -
Ballston Spa, NY 12020

                                                                                                                                                              277.30
Account No. xxx0915

Chester, Katrina
1131 12th St. Apt 103                                                       -
Santa Monica, CA 90403

                                                                                                                                                              208.99

           197 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,402.39
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 199 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8196                                                                                                                     E
                                                                                                                                        D

Chester, Margie
3110 Thousand Oaks, Apt. 1227                                               -
San Antonio, TX 78247

                                                                                                                                                              153.73
Account No. xxx8616

Cheung, Charis
349 Pointe Dr.                                                              -
Brea, CA 92821

                                                                                                                                                              864.60
Account No. xxx4986

Child, Carolyn
5080 W 4400 S                                                               -
westhaven, UT 84401

                                                                                                                                                              220.52
Account No. xxx3506

Chimento, Megan I
288 East Main Street #10                                                    -
Branford, CT 06405

                                                                                                                                                              594.00
Account No. xxx5900

Chisholm, Sherri
2202 abby Lane                                                              -
Atlanta, GA 30345

                                                                                                                                                              230.93

           198 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,063.78
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 200 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx0932                                                                                                                    E
                                                                                                                                        D

Cho, Nino
24780 Stone Pillar Drive                                                    -
Aldie, VA 00020-1205

                                                                                                                                                              120.90
Account No. xxxx3568

Choi, Peter
444 Lucas Avenue, Apt. 18                                                   -
Los Angeles, CA 90017

                                                                                                                                                              244.87
Account No. xxx9976

Choudhry, Nashwa
1 Richmond St Apt 3067                                                      -
New Brunswick, NJ 08901

                                                                                                                                                              185.90
Account No. xxxx3780

Christian, Steve
13723 Chenault Lane                                                         -
College Station, TX 77845

                                                                                                                                                              484.16
Account No. xxx8579

Christine, DeeAnne
421 Enclave Circle Apt 306                                                  -
Costa Mesa, CA 92626

                                                                                                                                                              380.00

           199 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,415.83
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 201 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2940                                                                                                                     E
                                                                                                                                        D

Chrzanowski, Laurie
221 Parade St                                                               -
Erie, PA 16507

                                                                                                                                                                65.90
Account No. xxxx2023

Chu, Chia-Yueh
257 Rollins Anve                                                            -
Rockville, MD 20852

                                                                                                                                                              856.00
Account No. xxx1381

Church, Michael F
2888 Britt drive                                                            -
argyle, TX 76226

                                                                                                                                                                71.55
Account No. xxx6282

Church, Pathways
311 W Evergreen DR                                                          -
Appleton, WI 54913

                                                                                                                                                              511.56
Account No. xxx1399

chylak, matt
20 south 39th street apt s 3                                                -
philadelphia, PA 19014

                                                                                                                                                            1,341.25

           200 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,846.26
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 202 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4427                                                                                                                     E
                                                                                                                                        D

ciabattoni, Dornino M
2303 A south 12th street                                                    -
st louis, MO 63104

                                                                                                                                                            1,435.50
Account No. xxx0391

Ciccarella, Richard
5239 Eisenhauer Road Aprt. 2022                                             -
San Antonio, TX 78218

                                                                                                                                                            1,276.06
Account No. xxx8874

Cilurzo, Sheila
132 Sontab Drive                                                            -
Franklin, TN 30764

                                                                                                                                                            1,358.50
Account No. xxxx0578

Cinzano, Michael
2925 Beiber Wood Lane                                                       -
Silver Springs, MD 20906

                                                                                                                                                            1,249.50
Account No. xxx2650

Cioffi, Gary
25 Bloomingdale rd                                                          -
hicksville, NY 11801

                                                                                                                                                            1,200.00

           201 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,519.56
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 203 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4617                                                                                                                     E
                                                                                                                                        D

Cismeros, Ricardo
3405 tea rose place                                                         -
el paso, TX 79936

                                                                                                                                                                77.41
Account No. xxxx2619

Claar, Jennifer B
15414 Raystown Rd                                                           -
Jemes Creek, PA 76657

                                                                                                                                                              338.10
Account No. xxx7322

Clark, Brian Austin
5126 Meadows Del Mar                                                        -
San Diego, CA 92130

                                                                                                                                                            1,170.70
Account No. xxx9520

Clark, Christopher 2
P.O. Box 2071                                                               -
Robbinsville, NC 28771

                                                                                                                                                              341.90
Account No. xxx3848

clark, clint
77 rockys place                                                             -
kingland, GA 31548

                                                                                                                                                              698.00

           202 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,626.11
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 204 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8675                                                                                                                     E
                                                                                                                                        D

Clark, Gary 1
706 Defiance St.                                                            -
Wapakoneta, OH 45895

                                                                                                                                                              577.54
Account No. xxx6861

Clark, Heather 1
3141 Amherst                                                                -
Dallas, TX 75225

                                                                                                                                                              347.00
Account No. xxx8049

Clark, Jennie
1030 Windarce Tr                                                            -
Sanford, NC 27332

                                                                                                                                                              852.00
Account No. xxx8050

Clark, Jennie 1
4516 SE Milwakie Ave                                                        -
Portland, OR 97202

                                                                                                                                                              661.30
Account No. xxx4938

Clark, John 2
1116 S. Patterson Dr                                                        -
Moore, OK 73160

                                                                                                                                                              631.80

           203 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,069.64
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 205 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0916                                                                                                                     E
                                                                                                                                        D

Clark, Marsha
4588 Fig St.                                                                -
Golden, CO 80403

                                                                                                                                                              269.00
Account No. xxx2712

Clark, Robert G.
2199 Innerbelt Business Center Drive                                        -
St. Louis, MO 63114

                                                                                                                                                            2,100.00
Account No. xxx4105

Clarke, Anna
901 Langley Rd                                                              -
Glen Burnie, MD 21060

                                                                                                                                                              239.80
Account No. xxxx3581

Clarkson, Zayna
11 Bald Eagle Dr                                                            -
Paron, AR 72122

                                                                                                                                                              248.00
Account No. xxx7058

Classen, Kristin E
1306 N King                                                                 -
Liberal, KS 67901

                                                                                                                                                              211.65

           204 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,068.45
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 206 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4299                                                                                                                     E
                                                                                                                                        D

Claton, Sean T
168 Long Branch Dr                                                          -
Henrietta, NY 14467

                                                                                                                                                              300.30
Account No. xxx4382

clayton, kimberly k
106 north greenway street                                                   -
henrietta, TX 76365

                                                                                                                                                              366.97
Account No. xxx6205

Cleary, William
1340 Stroud Ct                                                              -
New Port Richey, FL 34655

                                                                                                                                                              848.00
Account No. xxx6970

Clement, Daniel
4515 Phurston Lane                                                          -
Fitzburg, WI 53711

                                                                                                                                                            3,000.00
Account No. xxx0340

Clemente, Mark A
8520 Charleston Ridge Dr                                                    -
Mason, OH 45040

                                                                                                                                                              235.56

           205 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,750.83
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 207 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8960                                                                                                                     E
                                                                                                                                        D

Clerico, Ryan
2825 E Cottonwood Pkwy Ste 505                                              -
Salt Lake City, UT 84121

                                                                                                                                                            5,400.00
Account No.

Cleveland Soaring Society, Inc
814 S Prospect Rd                                                           -
Hartsville, OH 44632

                                                                                                                                                              100.00
Account No. xxx4987

Clevenger, Cliff
po ox                                                                       -
Ranchester, WY 82839

                                                                                                                                                              419.88
Account No. xxxx2899

Clevenger, Jonathan
1201 s joyce st                                                             -
arlington, VA 22202

                                                                                                                                                              150.99
Account No. xxx9845

Clevenger, Madeline
2317 Deaudion St                                                            -
Marquette, MI 49855

                                                                                                                                                                97.25

           206 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,168.12
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 208 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0151                                                                                                                     E
                                                                                                                                        D

Clifford, Michael
12364 Harvey Rd                                                             -
Clear Spring, MD 21722

                                                                                                                                                              660.00
Account No. xxxx0934

cline, amy
po box 111                                                                  -
zullinger, PA 17272

                                                                                                                                                              712.14
Account No.

Cloud 9 Adventures
14155 Hwy 73, # 9                                                           -
Prairieville, LA 70769

                                                                                                                                                            2,125.00
Account No.

Cloud Chasers
3755 Heritage Crest Parkway                                                 -
Buford, GA 30519

                                                                                                                                                              125.00
Account No. xxx9953

Clouse, Katherine
5537 Mesa Ridge Ln. Apt. F                                                  -
Columbus, OH 43231

                                                                                                                                                              256.25

           207 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,878.39
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 209 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6389                                                                                                                     E
                                                                                                                                        D

Co, Alistair
7417 Heatherwood Dr Apt 1A                                                  -
Grand Blanc, MO 48439

                                                                                                                                                              441.04
Account No. xxx4525

Coates, Karen
217 Hickory Ridge Ct                                                        -
Argyle, TX 76226

                                                                                                                                                              547.58
Account No. xxx9359

Coates, Scott
13311 Woodmar Place                                                         -
Cedar Lake, IN 46303

                                                                                                                                                              298.00
Account No. xxx8107

Cobds, Roosevelt
8003 S Colfax Ave                                                           -
Chicago, IL 60617

                                                                                                                                                              180.18
Account No. xxx9014

Cochran, Christopher 1
6 Canal St                                                                  -
Chickasaw, AL 36611

                                                                                                                                                              440.00

           208 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,906.80
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 210 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2392                                                                                                                     E
                                                                                                                                        D

Cochran, Wayne
554 Congress Hill Rd.                                                       -
Franklin, PA 16323

                                                                                                                                                              167.99
Account No. xxx3865

Coe, Kati
140 Co. Rd 216                                                              -
Sweetwater, TX 79556

                                                                                                                                                              466.16
Account No. xxx1955

Coetzee, Gerhard
2083 SW Panther Trace                                                       -
Sturat, FL 34997

                                                                                                                                                              475.00
Account No. xxx4160

Cogan, Ali
1946 Greymont Street                                                        -
Philidelphia, PA 19116

                                                                                                                                                                95.76
Account No. xxx2130

Cogburn, John
3200 lenox rd                                                               -
atlanta, GA 30324

                                                                                                                                                              110.00

           209 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,314.91
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 211 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Cogent Communications - HB
P.O. Box 791087                                                             -
Baltimore, MD 21279-1087

                                                                                                                                                            1,970.20
Account No. xxx4828

Cohn, Adam
434 Grand Ave                                                               -
Lake Zurich, IL 60047

                                                                                                                                                              408.56
Account No. xxx2959

Colburn, Mary E
4907 Indian wood road unit 106                                              -
Culver city, CA 90230

                                                                                                                                                              976.80
Account No. xxx1614

Cole, Gary C
115 Pinewood Rd                                                             -
Virginia Beach, VA 23451

                                                                                                                                                                99.87
Account No. xxx8065

Cole, Neil
1450 Broadway 3rd Fl                                                        -
New York, NY 10018

                                                                                                                                                            3,540.00

           210 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,995.43
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 212 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9846                                                                                                                     E
                                                                                                                                        D

Cole, Ronald
1896 Surrey Trail                                                           -
Conyers, GA 30013

                                                                                                                                                              102.72
Account No. xxx3342

Colell Brandan, Guillermo
251 Crandon Bulvd Aprt. 105                                                 -
Key Biscayne, FL 33149

                                                                                                                                                              652.65
Account No. xxx2169

Collins, Frank
483 Granger Drive                                                           -
Bear, DE 19701

                                                                                                                                                              814.87
Account No. xxx0669

Collins, Patrick 2
624 B Fleming Street                                                        -
Key West, FL 33040

                                                                                                                                                            1,909.20
Account No. xxx9927

Collins, Susan G
186 Wilson Way                                                              -
South Elgin, IL 60177

                                                                                                                                                              112.77

           211 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,592.21
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 213 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3569                                                                                                                    E
                                                                                                                                        D

Collins, Wesley
352 Conventry Rd.                                                           -
Virginia Beach, VA 23462

                                                                                                                                                              587.78
Account No.

Comcast 0760693
PO Box 530098                                                               -
Atlanta, GA 30353-0098

                                                                                                                                                                70.45
Account No. xxxx3580

Commerce Company One
P.O. Box 757                                                                -
Commerce, GA 30529

                                                                                                                                                            2,651.04
Account No. xxxx3718

Compton, Christel
8125 Keeler St                                                              -
Alexandria, VA 22309

                                                                                                                                                              686.00
Account No. xxx6488

comtois, ray
2940 falcon street                                                          -
washoe valley, NV 89704

                                                                                                                                                              401.70

           212 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,396.97
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 214 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0059                                                                                                                     E
                                                                                                                                        D

Conaway, Sarena
8822 Indigo Lane                                                            -
Ypsilanti, MI 48197

                                                                                                                                                              108.32
Account No. xxx9007

Conboy, Michael
4 Ward Ave                                                                  -
South Deerfield, MA 01373

                                                                                                                                                              359.00
Account No. xxx6899

Conkright, Robert K
11909 Arabian Trail                                                         -
Austin, TX 78759

                                                                                                                                                              102.00
Account No. xxx7367

Conlon, Josh
2577 North Stowell Ave. aptB                                                -
Milwaukee, WI 53211

                                                                                                                                                            1,683.78
Account No. xxxx2241

Connery, Mimi
336 Canal Street 2W                                                         -
New York, NY 10013

                                                                                                                                                            1,058.20

           213 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,311.30
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 215 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2878                                                                                                                     E
                                                                                                                                        D

Connolly, Lonna
PO BOx 726                                                                  -
Heber, AZ 85928

                                                                                                                                                              176.00
Account No. xxx4002

Connor, Martin
13474 Robleda Road                                                          -
Los Altos Hills, CA 94022

                                                                                                                                                            1,538.40
Account No. xxx5856

connor, martin 1
112 cumberland place                                                        -
bryn mart, PA 19010

                                                                                                                                                            1,420.80
Account No. xxx4003

Conover, Dawn
403 Jackson Ave                                                             -
Dunellen, NJ 08812

                                                                                                                                                                82.00
Account No. xxx4150

Conoway, Gary
2900 E Lincoln Ave unit 246                                                 -
Anaheim, CA 92806

                                                                                                                                                              303.34

           214 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,520.54
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 216 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7945                                                                                                                     E
                                                                                                                                        D

Conrad, Gunnar
P.O. Box 2606                                                               -
Durango, CO 81302

                                                                                                                                                            2,240.00
Account No. xxxx3686

Contenco, Dean
620 Busch Garden Lane                                                       -
Pasadena, CA 91105

                                                                                                                                                              497.74
Account No. xxx4528

Contreras, Lucy
927 valley view circle                                                      -
Red oak, TX 75154

                                                                                                                                                              492.10
Account No. xxx9939

Cook, Jeffrey
1200 C Buena Vista St.                                                      -
Pittsburgh, PA 15212

                                                                                                                                                              619.20
Account No. xxxx3911

Cook, Jeffrey T.
3249 Randall Street                                                         -
Jacksonville, FL 32205

                                                                                                                                                              479.10

           215 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,328.14
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 217 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2182                                                                                                                     E
                                                                                                                                        D

Cook, Kassidy
3615 N. Union ave                                                           -
Shawnee, OK 74804

                                                                                                                                                              816.24
Account No. xxx2800

Cook, Kelli R
224 40th Ave NE                                                             -
Great Falls, MT 59404

                                                                                                                                                              666.40
Account No. xxx4335

Cook, Michael 1
8001 Winding stream drive                                                   -
Denton, TX 76210

                                                                                                                                                              427.02
Account No. xxx0348

cool, peter matthew
1156 east maide marian                                                      -
willamston, MI 48895

                                                                                                                                                            1,124.80
Account No. xxx4829

Cooper, Brea
1018 Woodcrest Walk                                                         -
Lithonia, GA 30058

                                                                                                                                                              185.83

           216 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,220.29
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 218 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3831                                                                                                                    E
                                                                                                                                        D

Cooper, Danielle
181 Autumn Wind Ct                                                          -
Warrenton, VA 20186

                                                                                                                                                              471.40
Account No. xxx1160

Cooper, Jill
506 Leef St. Apt D                                                          -
Mt. Gilead, OH 43338

                                                                                                                                                              544.64
Account No. xxx0052

cooper, jody
206 galaxy                                                                  -
lafayette, LA 70506

                                                                                                                                                              722.50
Account No. xxx3539

Copacino, Allyson L
722 NE Shaver St                                                            -
Portland, OR 97212

                                                                                                                                                              164.00
Account No. xxx9855

copland, wallace h
1574 penniman road                                                          -
williamsburg, VA 23185

                                                                                                                                                            1,163.50

           217 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,066.04
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 219 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1921                                                                                                                    E
                                                                                                                                        D

Coppinger, Jon
5424 Cassandra Smith                                                        -
Hixson, TN 37343

                                                                                                                                                                78.04
Account No. xxx7998

Coppolino, Joseph
11 Rosewood Dr.                                                             -
Saco, ME 04072

                                                                                                                                                            1,080.00
Account No. xxx3361

Cordes, Arron
293 Hudson Ave No.1                                                         -
Albany, NY 12210

                                                                                                                                                              352.80
Account No. xxx8378

Cordova, Ron
2695 Pine Run Road                                                          -
Las Vegas, NV 89135

                                                                                                                                                              324.30
Account No. xxx8716

Corley, Deannie
55 Sharp Dr                                                                 -
Carrolton, GA 30117

                                                                                                                                                                99.94

           218 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,935.08
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 220 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9583                                                                                                                     E
                                                                                                                                        D

Corman, Roger
3007 north beaverly glen circle                                             -
los angeles, CA 90077

                                                                                                                                                            1,609.37
Account No. xxx6777

Corona Diago, Carmen N.
5531 E 81st st                                                              -
Indianapolis, IN 46250

                                                                                                                                                              268.50
Account No. xxx8862

Corrigan, Randy
5569 Caminito Mundano                                                       -
San Diego, CA 92130

                                                                                                                                                              387.15
Account No. xxx3016

Cortez, Pedro
2239 Cromwell Cir Apt 1111                                                  -
Austin, TX 78741

                                                                                                                                                              383.75
Account No. xxxx1735

Cortinas, Jose
365 CR 672 West                                                             -
Natalia, TX 78059

                                                                                                                                                                64.16

           219 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,712.93
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 221 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8815                                                                                                                     E
                                                                                                                                        D

Costell, Jeffrey l
5575 bill cody road                                                         -
Hidden hills, CA 91302

                                                                                                                                                              917.60
Account No. xxx5909

Costilow, Chrystal
153 New Hope Road                                                           -
Winona, MS 38967

                                                                                                                                                              868.00
Account No. xxxx3570

Cotnoir, Preston
14640 Timber Point                                                          -
Milton, GA 30004

                                                                                                                                                              536.35
Account No. xxx7591

Cotter, Daniel
202 Park Terrace Court Apt 20                                               -
Vienna, VA 22180

                                                                                                                                                                79.80
Account No. xxx4485

Cotterman, Kathleen
1320 Buena Vista Blvd                                                       -
Panama City, FL 32401

                                                                                                                                                              243.22

           220 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,644.97
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 222 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4911                                                                                                                     E
                                                                                                                                        D

Cottrell, Brandon
9482 west stargazer dr.                                                     -
penelton, IN 46064

                                                                                                                                                            1,245.00
Account No. xxx7341

Coulibaly, Charles
3901 Parkview Lane                                                          -
Irvine, CA 92612

                                                                                                                                                              548.10
Account No. xxxx3135

Cousin, Jaime
348 Roedling St #17                                                         -
Brooklyn, NY 11211

                                                                                                                                                              317.20
Account No. xxx2987

Coveney, Patrick
18218 North 52nd St.                                                        -
Scottsdale, AZ 85254

                                                                                                                                                              387.00
Account No. xxx6479

Covert, Travis
6910 Cansfield                                                              -
Katy, TX 77494

                                                                                                                                                                87.23

           221 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,584.53
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 223 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8717                                                                                                                     E
                                                                                                                                        D

Cowart, Sean
2470 East Sierra Avenue                                                     -
Fresno, CA 93710

                                                                                                                                                              464.72
Account No. xxx3126

Cox, Christopher
405 West Viola Ave                                                          -
Yakima, WA 98902

                                                                                                                                                              556.00
Account No. xxx4177

Cox, Daniel 1
55 pharr rd apt #f 201                                                      -
atlanta, GA 30305

                                                                                                                                                                94.81
Account No. xxxx1527

Cox, Dennis
7453 Telegraph Rd                                                           -
Temperance, MI 48182

                                                                                                                                                              398.75
Account No. xxx4522

Cox, Diane
13631 Brandy Oaks rd                                                        -
Chesterfield, VA 23832

                                                                                                                                                              648.00

           222 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,162.28
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 224 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0685                                                                                                                     E
                                                                                                                                        D

Cox, Jason
679 Dillon Dr                                                               -
Spring Creek, NV 89815

                                                                                                                                                              698.75
Account No. xxx9429

Cozad, Deven
10310 Short Lane SW                                                         -
Lakewood, WA 98490

                                                                                                                                                              565.20
Account No. xxx4013

Crabtree, Barry
700 Martins Lane                                                            -
Evansville, IN 47715

                                                                                                                                                            1,087.50
Account No. xxx4831

Craig, Chase
3025 Hydrus Dr                                                              -
Orlando, FL 32828

                                                                                                                                                              109.90
Account No. xxx8199

Cram, Susan
2032 Main Street                                                            -
Warheese, NJ 08043

                                                                                                                                                                94.46

           223 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,555.81
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 225 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5359                                                                                                                     E
                                                                                                                                        D

Cranford, Derek C
7008 Andalucia Ln                                                           -
Killeen, TX 76542

                                                                                                                                                              507.60
Account No. xxx4161

Craven, Daniel
2301 S. Mopach Apt 1033                                                     -
Austin, TX 78746

                                                                                                                                                              247.40
Account No. xxx3258

Crawford, Greg
3557 Glenn Hwy                                                              -
Cambridge, OH 43725

                                                                                                                                                              959.60
Account No. xxx7937

Crawford, Josiah
5406 1/2 Lemon Grove Ave.                                                   -
Los Angeles, CA 90038

                                                                                                                                                              520.70
Account No. xxx4422

Crawford, Traci
423 Silver Creek dr                                                         -
Duncanville, TX 75137

                                                                                                                                                              419.75

           224 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,655.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 226 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5932                                                                                                                     E
                                                                                                                                        D

Crawley, Brian
885 stonechase                                                              -
lake mary, FL 32746

                                                                                                                                                              414.80
Account No. xxx4832

Crisanti, Matthew 1
6256 Winterfred drive                                                       -
Fort Worth, TX 76133

                                                                                                                                                              468.75
Account No. xxx6002

Cristelli, Shane
230 N Broadway                                                              -
Ada, OK 74820

                                                                                                                                                              389.00
Account No. xxx5545

Crocco, Kim
2693 South Bamby Lane                                                       -
Atlanta, GA 30319

                                                                                                                                                              199.84
Account No. xxx7022

Croft, Michelle
900 SE Centerpointe Dr p106                                                 -
Corvallis, OR 97333

                                                                                                                                                              178.75

           225 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,651.14
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 227 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8075                                                                                                                     E
                                                                                                                                        D

Crone, Andrew
1671 8th street drive nw                                                    -
hickory, NC 28601

                                                                                                                                                              136.70
Account No. xxx1956

Crook, Jesse
5620 S. Colony Apt 1105                                                     -
The Colony, TX 75035

                                                                                                                                                              501.60
Account No. xxx0690

Crook, Joy
186 Oonoga Way                                                              -
Loudon, TN 37774

                                                                                                                                                            1,573.00
Account No. xxx3258

Crooks, Julian
840 Del Mont Dr.                                                            -
Winwood, PA 19096

                                                                                                                                                              233.99
Account No. xxxx3365

Cropper, Jessica
4325 Ocean drive                                                            -
Corpus, TX 78412

                                                                                                                                                              427.50

           226 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,872.79
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 228 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3569                                                                                                                     E
                                                                                                                                        D

Crosby, Thomas
7753 High Village Dr                                                        -
Houston, TN 77095

                                                                                                                                                              943.80
Account No. xxx8390

Cross, Joshua
1409 whispering cove trl                                                    -
fort worth, TX 76134

                                                                                                                                                              489.06
Account No. xxx0609

Crouse, Josh
10 Kingsbury Way                                                            -
Hampton, VA 23666

                                                                                                                                                              430.16
Account No. xxx2035

Crow, Lynn
1900 E. Ocean Blvd Apt 1517                                                 -
Long Beach, CA 90802

                                                                                                                                                              729.49
Account No. xxx4012

Crow, Phillip
2651 South Polaris Dr                                                       -
Fort Worth, TX 76137

                                                                                                                                                            1,701.00

           227 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,293.51
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 229 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9478                                                                                                                     E
                                                                                                                                        D

Crowder, Walt
2006 San Miguel Dr.                                                         -
Friendswood, TX 77546

                                                                                                                                                              451.90
Account No. xxx4717

Crowe , Justin W
600 Willow Oak Drive                                                        -
Dardanelle, AR 72834

                                                                                                                                                              109.15
Account No. xxx3395

Crozier, Jonathan
PO Box 721                                                                  -
San Clemente, CA 92674

                                                                                                                                                              829.00
Account No. xxx8831

Crum, Kyle J
4807 somerset rd                                                            -
riverdale, MD 20737

                                                                                                                                                              269.99
Account No. xxx1523

Cruz, Francisco
8405 North Hines Ave.                                                       -
Tampa, FL 33614

                                                                                                                                                              403.00

           228 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,063.04
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 230 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2833                                                                                                                     E
                                                                                                                                        D

Cuellar, Miguel
406 1/2 North Alisos Street                                                 -
Santa Barbara, CA 93013

                                                                                                                                                              100.20
Account No. xxx0649

Culbreath, Corey
113 W Monument st                                                           -
Baltimore, MD 21201

                                                                                                                                                              582.00
Account No. xxx3127

Culhane, Daniell
1541 upingham Drive                                                         -
Thousand Oaks, CA 91360

                                                                                                                                                              231.80
Account No. xxx7683

Cumbo, Christopher
417 Texas Ave                                                               -
Hewitt, TX 76643

                                                                                                                                                              242.00
Account No. xxx1483

Cummings, John 1
10 perimeter summit 4108                                                    -
atlanta, GA 30319

                                                                                                                                                            1,375.00

           229 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,531.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 231 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8473                                                                                                                     E
                                                                                                                                        D

Curbelo, Kimberly
2045 Holland Ave.                                                           -
Bronx, NY 10462

                                                                                                                                                              392.85
Account No. xxx6270

Curby, Sarah
1721 North Hoyne Ave                                                        -
Chicago, IL 60647

                                                                                                                                                              768.00
Account No. xxx0968

Currence, Eric
824 Oak Arbor Court                                                         -
Clarksville, TN 37040

                                                                                                                                                            1,480.00
Account No. xxx7830

Curry, Jarius
203 Lincoln St. Apt. a                                                      -
Jackson, TN 38301

                                                                                                                                                              208.38
Account No. xxx3142

Curry, Thomas
28676 East 138th St South                                                   -
Coweta, OK 74429

                                                                                                                                                              153.00

           230 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,002.23
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 232 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7453                                                                                                                     E
                                                                                                                                        D

Curtis, Angela
203 Dickenson Ct                                                            -
Pemberton, NJ 08068

                                                                                                                                                            1,458.60
Account No. xxx2843

Cusack, Liam
1 Gate Court                                                                -
Billington Township, NJ 08016

                                                                                                                                                              184.44
Account No. xxx5360

Cutshaw, Kenneth
980 Hammond Dr. Suit 1100                                                   -
Atlanta, GA 30328

                                                                                                                                                                91.99
Account No. xxx4641

cvetkov, radoslav r
305 West willow road                                                        -
prospect heights, IL 60070

                                                                                                                                                              962.16
Account No.

D&R Balloons
5025 Allen Lane                                                             -
North Las Vegas, NV 89031

                                                                                                                                                              350.00

           231 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,047.19
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 233 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4233                                                                                                                    E
                                                                                                                                        D

Dace, Joshua
19622 Cypress Drive                                                         -
Morrison, CO 80465

                                                                                                                                                              328.90
Account No. xxx7045

Dacus, Callie
102 Tonkawa trail                                                           -
buffalo gap, TX 79508

                                                                                                                                                              494.80
Account No. xxxx1796

Dadeo, Richard
1020 Lake Sumter Landing                                                    -
The Villages, FL 32162

                                                                                                                                                            5,538.75
Account No. xxx7644

Dalrymple, Robert
9000 W Sunset Blvd                                                          -
W. Hollywood, CA 90069

                                                                                                                                                            7,180.00
Account No. xxx3362

Damato, Gary
510 Tysens Ln.                                                              -
Staton Island, NY 10306

                                                                                                                                                              117.00

           232 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          13,659.45
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 234 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Damn Yankee Balloons
241 Weld Street                                                             -
Dixfield, ME 04224

                                                                                                                                                            2,220.00
Account No. xxx0392

Damon, Heidi
2021 N Lemans Blvd.#7207                                                    -
Tampa, FL 33607

                                                                                                                                                              170.00
Account No. xxx7463

Damti, Clara
3600 Amla Rd Apt 4514                                                       -
Richardson, TX 75080

                                                                                                                                                              150.15
Account No. xxx2668

Dancer, Sheilah
16207 South 26th St                                                         -
Phoenix, AZ 85408

                                                                                                                                                              196.92
Account No.

Dancing On Air Balloons
70 Plum Brook Road                                                          -
Flemington, NJ 08822

                                                                                                                                                            1,295.00

           233 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,032.07
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 235 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4529                                                                                                                     E
                                                                                                                                        D

Daniels, Thomas
740 Seminole Ave                                                            -
Orlando, FL 32804

                                                                                                                                                                96.00
Account No. xxx3089

Dardenne, Yves
3403 200 West Central                                                       -
Tracey, CA 95376

                                                                                                                                                              364.00
Account No. xxxx1440

Darreira, Lourdes
845 SW 148 Place                                                            -
Miami, FL 33194

                                                                                                                                                            2,549.00
Account No. xxx3984

Dart, Dennis
11415 NE 128th St suite 110                                                 -
Kirkland, WA 98034

                                                                                                                                                            4,953.00
Account No. xxx3128

Darwin, Courtney
6489 Stags Leap Rd.                                                         -
Fanger, TX 76266

                                                                                                                                                              741.00

           234 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,703.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 236 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5859                                                                                                                     E
                                                                                                                                        D

Datte, Chuck
8916 Calliandra Rd                                                          -
San Diego, CA 92126

                                                                                                                                                              339.00
Account No. xxx2730

Daudelin, Douglas
1967 Red Oak dr.                                                            -
Franklin, IN 46131

                                                                                                                                                              553.00
Account No. xxx7562

Daugherty, Joseph
902 Kings grant rd                                                          -
Willmington, NC 28405

                                                                                                                                                            1,495.00
Account No.

David Beardslee Hang Gliding
18860 Dexter Avenue                                                         -
Lake Elsinore, CA 92532

                                                                                                                                                              600.00
Account No. xxx2238

davidson, colleen
201 garrison cresent                                                        -
fafkapoon, 51 s7h27

                                                                                                                                                              702.58

           235 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,689.58
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 237 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1155                                                                                                                     E
                                                                                                                                        D

Davies, Robert E
3505 Timberwood Road                                                        -
Munhall, PA 15120

                                                                                                                                                            1,953.60
Account No. xxx4336

Davis, April 1
13198 W Palm Lane                                                           -
Goodyear, AZ 85395

                                                                                                                                                                86.60
Account No. xxx6901

Davis, Jared A.
9232 W Viking rd                                                            -
Las Vegas, NV 89147

                                                                                                                                                              100.15
Account No. xxx7879

Davis, Matthew 2
4372 Roscommon Way                                                          -
Dublin, CA 94568

                                                                                                                                                              348.60
Account No. xxx5765

Davis, Norm
819 Grant St                                                                -
Endicott, NY 13760

                                                                                                                                                              496.00

           236 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,984.95
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 238 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8721                                                                                                                     E
                                                                                                                                        D

Davis, Ronisha
9335 S 8th Ave.                                                             -
Inglewood, CA 90305

                                                                                                                                                              274.05
Account No. xxx9717

Davis, Roy
PO Box 131                                                                  -
Leroy, TX 76654

                                                                                                                                                              441.36
Account No. xxx5455

Davis, William 3
1772 Harcor drive                                                           -
Pittsburgh, PA 15226

                                                                                                                                                              479.80
Account No. xxx6413

Davis-Warren, Makhira
1320 Truemper st                                                            -
San Antonio, TX 78236

                                                                                                                                                              226.08
Account No. xxx3131

Day, Conney
180 county rd 850                                                           -
buna, TX 77612

                                                                                                                                                              214.40

           237 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,635.69
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 239 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3319                                                                                                                     E
                                                                                                                                        D

Day, Dewayne A.
8123 Heatherton Lane 202                                                    -
Vienna, VA 22180

                                                                                                                                                              301.00
Account No.

Daybreak Ballooning
626 Thomasville Drive                                                       -
Medford, OR 97504

                                                                                                                                                              350.00
Account No.

DC Skydiving Center
Charlevoix State Bank                                                       -
111 State Street
Charlevoix, MI 49720
                                                                                                                                                          53,250.00
Account No. xxx0420

De Guzman, Alma
10980 Chambeau Way                                                          -
Elk Grove, CA 95624

                                                                                                                                                              106.50
Account No. xxx9731

De Los Santos, Goodrich Dizon
1 E Julian St. Apt 212                                                      -
San Jose, CA 95112

                                                                                                                                                              406.30

           238 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          54,413.80
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 240 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2196                                                                                                                     E
                                                                                                                                        D

De Mott, John
5602 Woodrow Avenue #204                                                    -
Austin, TX 78756

                                                                                                                                                              112.97
Account No. xxx2190

Dean, Derek
206 Shades Crest Road                                                       -
Birmingham, AL 35226

                                                                                                                                                            1,123.75
Account No. xxx2233

Dean, Melinda 1
130 Century Ln                                                              -
Clyde, TX 79510

                                                                                                                                                              964.32
Account No. xxx2239

Deck, Eric
1391 saxony sw                                                              -
palm bay, FL 32908

                                                                                                                                                            1,147.00
Account No. xxx9011

Decker, Crystal
152 East Lake Street                                                        -
Camden, TN 38320

                                                                                                                                                              555.94

           239 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,903.98
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 241 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1317                                                                                                                     E
                                                                                                                                        D

Deckert, Lori J
6912 Spelman Dr                                                             -
Springfield, VA 22153

                                                                                                                                                                73.90
Account No. xxx5885

Deep, Martha
256 kobert avenue                                                           -
lebanon, KY 40033-1430

                                                                                                                                                              255.00
Account No. xxx5825

DEFREITAS, LISA
20100 Hardwood Ter                                                          -
Ashburn, VA 20147

                                                                                                                                                              488.00
Account No. xxx1413

DeHaas, Jeanne 1
126 Jenjo Dr                                                                -
Bellfonte, PA 16823

                                                                                                                                                              148.00
Account No. xxx6026

Dehart, Chris
8046 High Crost ne drive                                                    -
leland, NC 28451

                                                                                                                                                              552.00

           240 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,516.90
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 242 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2792                                                                                                                     E
                                                                                                                                        D

Deines, Robert
2151 East Broadway Rd Suite 111                                             -
Tempe, AZ 85282

                                                                                                                                                            1,756.50
Account No. xxx7263

Deitrich, Mitchell C.
1837 barnard rd                                                             -
wooster, OH 44691

                                                                                                                                                              606.10
Account No. xxx2348

Delamar, Marguerite
169 Marlow Ln.                                                              -
Albany, GA 31721

                                                                                                                                                              709.80
Account No. xxx4878

Delaney, Daniel
185 S. Fourth St apt . 5B                                                   -
Brooklyn, NY 11211

                                                                                                                                                              478.80
Account No. xxx4007

Delaney, Patricia
2167 Alexander Drive                                                        -
Norrtispown, PA 19403

                                                                                                                                                              359.99

           241 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,911.19
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 243 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2834                                                                                                                     E
                                                                                                                                        D

Deleon, Brandy
102 Country village drive                                                   -
Youngville, LA 70592

                                                                                                                                                              308.13
Account No. xxx4666

Delgadillo, lilia
2505 Fernandez Dr                                                           -
sacramento, CA 95822

                                                                                                                                                              825.00
Account No. xxx2634

Dell, Benjamin
143 Read St                                                                 -
New York, NY 10013

                                                                                                                                                            4,500.00
Account No. xxx0048

Dellorso, Philip
2586 running wolf trail                                                     -
Odenton, MD 21113

                                                                                                                                                              401.25
Account No. xxx9112

Dempsey, Connie
5009 Pacific hwy East Suite 10-0                                            -
Fife, WA 98424

                                                                                                                                                              611.00

           242 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,645.38
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 244 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3794                                                                                                                    E
                                                                                                                                        D

Dempsey, Sara
804 Washington St. S                                                        -
Twin Falls, ID 83301

                                                                                                                                                              428.30
Account No. xxx4423

Den-Hamou, Danielle
1504 West Ave                                                               -
Miami Beach, FL 33139

                                                                                                                                                              243.15
Account No. xxx9498

Denmark, Inga
27020 104th Ave SE                                                          -
Kent, WA 98030

                                                                                                                                                              320.00
Account No. xxx4068

Dennison, Lisa
6501 se 157th place                                                         -
oklahoma city, OK 73165

                                                                                                                                                              678.99
Account No. xxx0117

Denton, Ramona
5042 wilshire blvd. #15666                                                  -
Los Angeles, CA 90036

                                                                                                                                                              362.97

           243 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,033.41
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 245 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2367                                                                                                                     E
                                                                                                                                        D

Desai, Hardik
204 Arbor Lake Blvd                                                         -
Hermitage, TN 37076

                                                                                                                                                              697.20
Account No. xxx5791

Devereaux, Anna
3506 East Copper Kettle Way                                                 -
Orange, CA 92867

                                                                                                                                                              453.60
Account No. xxx1884

Devers, Jenna
8915 Distant Woods Drive                                                    -
Houston, TX 77095

                                                                                                                                                              306.36
Account No. xxx4836

Dewaard, Kaitlyn
275 Grove St. Suite 2-130                                                   -
Newton, MA 02466

                                                                                                                                                            6,894.00
Account No. xxx4624

Dewitt, Stephanie A
3398 shire cirlce                                                           -
castle rock, CO 80104

                                                                                                                                                              981.24

           244 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,332.40
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 246 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2345                                                                                                                     E
                                                                                                                                        D

dhang, jing
1034 southwest taylor street                                                -
portland, OR 97205

                                                                                                                                                            1,554.00
Account No. xxx3540

Dhru, Shailini
2450 West Pecos Rd. Apt 2027                                                -
Chandler, AZ 85224

                                                                                                                                                              153.01
Account No. xxx8384

Dial, Scott 1
1011 Harness                                                                -
Richardson, TX 75081

                                                                                                                                                            2,341.62
Account No. xxxx1949

Dials, Meghann
3231 Van Tassell Drive                                                      -
Indianapolis, IN 46240

                                                                                                                                                              492.90
Account No. xxx2241

Dias, Phil
3702 42ND AVE                                                               -
BRENTWOOD, MD 20722

                                                                                                                                                              107.45

           245 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,648.98
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 247 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2242                                                                                                                     E
                                                                                                                                        D

Diaz, Frank
13941 south west 16th street                                                -
Miami, FL 33175

                                                                                                                                                              491.91
Account No. xxx1080

Dibernardo, Lisa
610 Dover Chase Blvd.                                                       -
Toms River, NJ 08755

                                                                                                                                                              810.00
Account No. xxx1424

Dickinson, Elizabeth
1010 Delta Blvd Apt 105                                                     -
Atlanta, GA 30354

                                                                                                                                                            2,028.60
Account No. xxx7363

dickson, gregory
2920 signal creek place                                                     -
Thornton, CO 80241

                                                                                                                                                              814.00
Account No. xxx3216

Dickson, Lisa 1
3884 Brigadoon DR                                                           -
Cincinnati, OH 45255

                                                                                                                                                              246.00

           246 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,390.51
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 248 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4837                                                                                                                     E
                                                                                                                                        D

Diekema, Laura
2400 El Camino Real                                                         -
Seirra Vista, AZ 85635

                                                                                                                                                                82.60
Account No. xxx0993

Diesbourg, Terrie
19801 Lookout Lane                                                          -
Eustis, FL 32726

                                                                                                                                                              223.08
Account No. xxx4164

Diez, Claudia
6019 Chipola Circle                                                         -
Orlano, FL 32809

                                                                                                                                                              362.50
Account No. xxx6492

Diggins, Ashlye
10600 Davis Ave apt2                                                        -
woodstock, MD 21163

                                                                                                                                                              516.50
Account No. xxx1129

Dillon, Brandy
2491 Ledgewood Dr.                                                          -
West Jordan, UT 84084

                                                                                                                                                                87.60

           247 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,272.28
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 249 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2636                                                                                                                     E
                                                                                                                                        D

Dimare, Thomas
PO Box 517                                                                  -
Newman, CA 95360

                                                                                                                                                            2,772.00
Account No. xxx4527

Dimsey, Esmeralda O
4403 Battery Hill Ln                                                        -
Fredricksburg, VA 22408

                                                                                                                                                              328.06
Account No. xxx9965

Dinapoli, Elvira Rose
23 Merrimac Way Unit G                                                      -
Tyngsboro, MA 01079

                                                                                                                                                              294.52
Account No. xxx4528

Dinsey, Esmeralda O
4403 Battery Hill Ln                                                        -
Fredricksburg, VA 22408

                                                                                                                                                              164.03
Account No. xxx1428

dinzeo, joseph l
909 centerbrook drive                                                       -
brandon, FL 33511

                                                                                                                                                              350.35

           248 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,908.96
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 250 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6986                                                                                                                     E
                                                                                                                                        D

Dippolito, Benjamin
14623 Murrey Rd SW Apt 13                                                   -
Lakewood, WA 98439

                                                                                                                                                              292.59
Account No. xxx7883

Dirksen, Scott
2300 Highland Rd                                                            -
Batesfield, AR 72501

                                                                                                                                                            1,254.00
Account No. xxx3180

DiRocco, Anthony G
655 Deep Valley Dr Unit 125 F                                               -
Rolling Hills Estates, CA 90274

                                                                                                                                                              473.88
Account No. xxx6480

Dlugas, Amanda
9342 south hawley park rd                                                   -
West jordon, UT 84081

                                                                                                                                                            1,398.50
Account No. xxx9326

Doan, Angie
990 Lewis Ridge Cir.                                                        -
Lawrencville, GA 30045

                                                                                                                                                                94.99

           249 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,513.96
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 251 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0049                                                                                                                     E
                                                                                                                                        D

Dobbins, Michelle
105 Kenwood court apt 1                                                     -
normal, IL 61760

                                                                                                                                                              782.00
Account No. xxx6545

Dodson, Dan
2761 Carmon on Wesley                                                       -
Atlanta, GA 30327

                                                                                                                                                              709.50
Account No. xxx5055

Dodt, Brian
1901 East Mineral Road                                                      -
Gilbert, AZ 85234

                                                                                                                                                              213.28
Account No. xxx4218

Doggett, Christopher
1600 Arch St #1921                                                          -
Philadelphia, PA 19103

                                                                                                                                                            5,800.00
Account No. xxx2883

Doherty, Julian
4750 Rosebank Drive                                                         -
LaCanada, CA 91011

                                                                                                                                                              162.00

           250 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,666.78
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 252 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8496                                                                                                                     E
                                                                                                                                        D

Dohrenwend, Michael W
519 A Main Street                                                           -
Toms River, NJ 08753

                                                                                                                                                              624.25
Account No. xxx9343

Donadio, Mahassti
18 Nottingham way                                                           -
Cohoes, NY 12047

                                                                                                                                                              286.65
Account No. xxx2673

Donato, Jacob
3677 Cochran St                                                             -
Simi Valley, CA 93063

                                                                                                                                                              425.00
Account No. xxx9776

Donley, Amy
103 Singer Road                                                             -
Abbingdon, MD 21009

                                                                                                                                                              364.65
Account No. xxx6319

Dontula, Rakesh
4500 Sojourn Drive #611                                                     -
Addison, TX 75001

                                                                                                                                                              527.60

           251 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,228.15
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 253 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6800                                                                                                                     E
                                                                                                                                        D

Doricko, Brian
90 Iroquois Rd Apt A                                                        -
stamford, CT 06902

                                                                                                                                                            3,090.00
Account No. xxx9306

Dorris, Michael
970 montgomery st                                                           -
mandeville, LA 70448

                                                                                                                                                            2,160.00
Account No. xxxx3488

Dorriss, Ronulus
209 N. 19 Street                                                            -
Bismark, ND 58501

                                                                                                                                                              982.95
Account No. xxx0779

Dorsey, Brittany
170 E Center St.                                                            -
Marion, OH 43302

                                                                                                                                                              680.00
Account No. xxx2197

Dorvee, John
8036 James Court                                                            -
Niwot, CO 80503

                                                                                                                                                              279.98

           252 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,192.93
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 254 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6847                                                                                                                     E
                                                                                                                                        D

Dos Santos, Veronica A
2700 Oakbrook lane                                                          -
Weston, FL 33332

                                                                                                                                                            1,068.93
Account No. xxx9804

Doss, Marilyn
19203 Hillford Ave.                                                         -
Carson, CA 90746

                                                                                                                                                              171.50
Account No. xxx4531

Doss, Thomas
413 Mossyleaf drive                                                         -
Huntsville, AL 35824

                                                                                                                                                              520.22
Account No. xxx2283

Dougan esq, Steve
433 fuente place                                                            -
Lincoln, CA 95648

                                                                                                                                                            1,799.23
Account No. xxx9613

Douglas, Natalie
1446 Montgomery St                                                          -
Tustin, CA 92782

                                                                                                                                                              421.75

           253 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,981.63
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 255 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4154                                                                                                                     E
                                                                                                                                        D

Douyon, Barbara
2911 Railroad Av                                                            -
Yuba city, CA 95991

                                                                                                                                                              311.00
Account No. xxx4532

Dowe, Nancy
5023 72nd Street E                                                          -
Bradenton, FL 34203

                                                                                                                                                                86.45
Account No. xxx4165

Dowell, Paula
2685 Hosea Williams Dr                                                      -
Atlanta, GA 30317

                                                                                                                                                              293.66
Account No. xxx1542

Downton, Kate
1017 E Mcclarnon Dr                                                         -
Greenfield, IN 46140

                                                                                                                                                                60.00
Account No. xxx8794

Dozier, Jeffery
298 South Niagra Court                                                      -
Centenial, CO 80111

                                                                                                                                                              487.50

           254 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,238.61
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 256 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2570                                                                                                                     E
                                                                                                                                        D

Draper, Brandy
218 West Lincoln Ave                                                        -
Orange, CA 92865

                                                                                                                                                            9,000.00
Account No. xxx2587

Draughn, Thomas L
3776 interstate 55 south                                                    -
jackson, MS 39212

                                                                                                                                                            1,832.00
Account No. xxx6979

dreidert, john
3305 Terrace drive                                                          -
Erlanger, KY 41018

                                                                                                                                                              168.30
Account No. xxx8863

Drescher, Mark
1601 8th Ave                                                                -
Watervliet, NY 12189

                                                                                                                                                              291.90
Account No. xxxx3662

Drew, Carol
P.O. 190 Riverwood                                                          -
2210 New South Wales

                                                                                                                                                            2,000.00

           255 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          13,292.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 257 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9978                                                                                                                     E
                                                                                                                                        D

Drew, Cathy
67 Vestry Street                                                            -
New York, NY 10013

                                                                                                                                                              687.50
Account No. xxx5262

Drobinski, Darin
175 Court Street                                                            -
Prescott, WI 54021

                                                                                                                                                              712.80
Account No. xxx9771

Drumm-Boyd, Christina
2528 las corrales court                                                     -
virgina beach, VA 23456

                                                                                                                                                              575.00
Account No. xxx6649

Du Puis, Arlene
47341 Pinewood Dr                                                           -
chesterfield township, MI 48051

                                                                                                                                                              351.00
Account No. xxx9400

Duarte, Misha
421 Madison Street                                                          -
Denver, CO 80206

                                                                                                                                                            1,355.70

           256 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,682.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 258 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5162                                                                                                                     E
                                                                                                                                        D

Duchamp, Stephanie
8697 Night Watch Ct                                                         -
Bristow, VA 20136

                                                                                                                                                              124.95
Account No. xxx5163

Dudley, Joseph L
402 Digley Ave                                                              -
Baltimore, MD 21227

                                                                                                                                                                99.96
Account No. xxx5673

Duer, Jerry
825 E Moon Vista st                                                         -
Apache Junction, AZ 85119

                                                                                                                                                            2,042.20
Account No. xxx3497

Duey, Eric R.
2000 Art School rd                                                          -
Chester Springs, PA 19425

                                                                                                                                                              442.13
Account No. xxx5665

Dufrene, Kristopher
236 Lorranie Drive                                                          -
DesAllemands, LA 70030

                                                                                                                                                            1,044.00

           257 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,753.24
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 259 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8203                                                                                                                     E
                                                                                                                                        D

Duncan, Capucine
10232 south torrente ave                                                    -
Chicago, IL 60617

                                                                                                                                                              228.54
Account No. xxx2584

Dunn, Emily
1338 Emerald Street NE                                                      -
Washington, CT 20002

                                                                                                                                                              212.90
Account No. xxx8080

Dunn, Matthew
marine co 29                                                                -
palms, CA 92278

                                                                                                                                                              239.86
Account No. xxxx3572

Dunnavant, Virginia
14922 Brotherly Lane                                                        -
Charlotte, NC 28278

                                                                                                                                                              250.40
Account No. xxx5137

Duong, Nimi
901 Washington St. Apt. 107                                                 -
Denver, CO 80203

                                                                                                                                                              192.35

           258 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,124.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 260 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1613                                                                                                                     E
                                                                                                                                        D

Dupras, Jessica
474 Bay De Noc                                                              -
Nedaunee, MI 49866

                                                                                                                                                                92.00
Account No. xxx4925

Durbin, Edward M
744 Inverness Ln                                                            -
Itasca, IL 60143

                                                                                                                                                              226.60
Account No. xxx0358

Durden, Linda
1018 W Lumsden Rd                                                           -
Brandon, FL 33511

                                                                                                                                                            1,494.00
Account No.

Dutch Wings, LLC
503 McKeever Rd.                                                            -
Suite 1520
Arcola, TX 77582
                                                                                                                                                              290.00
Account No. xxxx0323

Dutcher, Nicole
19 Ashmont Ave                                                              -
Newton, MA 02458

                                                                                                                                                                73.20

           259 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,175.80
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 261 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx2248                                                                                                                    E
                                                                                                                                        D

Duterte, Sarah
160 Killarney Rd                                                            -
Winfield, WV 25213

                                                                                                                                                              679.25
Account No. xxx0754

Dzhasheev, Ruslan
PO Box 1650                                                                 -
Des Plaines, IL 60017

                                                                                                                                                              345.20
Account No. xxx7279

Ealy, Albert E
891 Zandenberg Drive unit 309                                               -
Travis Air Force Base, CA 94535

                                                                                                                                                                99.75
Account No. xxx6429

Earles, David
1970 Columbia Street Unit 517                                               -
San Diego, CA 92101

                                                                                                                                                              121.50
Account No.

East Texas Skydiving Club
P.O. Box 1147                                                               -
Gladewater, TX 75647

                                                                                                                                                              453.00

           260 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,698.70
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 262 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4155                                                                                                                    E
                                                                                                                                        D

Eastes, Jean B.
102 Bluff View                                                              -
Kerrvie, TX 78028

                                                                                                                                                              550.50
Account No. xxx3961

Echel, Pedro
1254 Pacific Beach Drive                                                    -
San Diego, CA 92109

                                                                                                                                                              212.00
Account No. xxx9614

echeverri, bladinir
892 north west 84th drive                                                   -
coral springs, FL 33071

                                                                                                                                                            1,275.75
Account No. xxx6881

Eden, Tera
21801 NE Overholt RD                                                        -
Bountstown, FL 32424

                                                                                                                                                              424.00
Account No. xxx0924

Edmundson, Frankie
325 South Broad Street                                                      -
Edenton, NC 27932

                                                                                                                                                              995.00

           261 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,457.25
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 263 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1614                                                                                                                     E
                                                                                                                                        D

Edwards, Jeffrey 1
99 Station ave                                                              -
North hills, PA 19038

                                                                                                                                                              925.00
Account No. xxx7944

Edwards, Marlon
12316-A North May Ave                                                       -
Oklahoma City, OK 73120

                                                                                                                                                              662.71
Account No. xxx0030

Ege, Camden
4710 Mountain Rd #104                                                       -
Cheyenne, WY 82009

                                                                                                                                                              230.80
Account No. xxx9418

Eglin Inc, William
PO Box 110 265                                                              -
Research Triangle Park, NC 27709

                                                                                                                                                            6,687.50
Account No. xxx2778

Eisenberg, Alisha
1267 E. 72nd St.                                                            -
Brooklyn, NY 11234

                                                                                                                                                              118.00

           262 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,624.01
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 264 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4726                                                                                                                     E
                                                                                                                                        D

Elaraj, Manuel
1209 Vista Hills Dr.                                                        -
Lakeland, FL 33813

                                                                                                                                                              596.31
Account No. xxx4601

Elizalde, William
670 F Street Apt 76                                                         -
Chula Vista, CA 91910

                                                                                                                                                              111.00
Account No. xxx6525

Elkheriji, Khalid
2626 Monte place                                                            -
belmont, CA 94002

                                                                                                                                                              299.50
Account No. xxx7184

Elliott, Ashley 1
3113 W. Rose Crest Dr.                                                      -
Sioux Falls, SD 57108

                                                                                                                                                            1,030.52
Account No. xxx0802

elliott, matthew j
8360 cottscorners rd                                                        -
cattaraudus, NY 14719

                                                                                                                                                              495.50

           263 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,532.83
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 265 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3710                                                                                                                     E
                                                                                                                                        D

Ellis, Anthony
12959 Pelican Lane                                                          -
Maderia Beach, FL 33708

                                                                                                                                                              238.00
Account No. xxx9206

Elrod, Sondra
12808 10th St                                                               -
Chino, CA 91710

                                                                                                                                                              706.25
Account No. xxx0343

Elsasser, Stanley
2020 Texas Ave. Apt 1419                                                    -
Houston, TX 77003

                                                                                                                                                              633.38
Account No. xxx6707

Emert, Barb
109 East Summit St                                                          -
Jersey Shore, PA 17740

                                                                                                                                                              215.72
Account No. xxx4010

Emilio, Jessica
644 Leigh High Road Apt K6                                                  -
Newark, DE 19711

                                                                                                                                                              171.71

           264 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,965.06
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 266 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Enchanted Balloons
103 County Route 12                                                         -
Westtown, NY 10998

                                                                                                                                                              960.00
Account No. xxx8221

Endicott, Travis
1912 Bogue Circle                                                           -
Ridgecrest, CA 93555

                                                                                                                                                              135.00
Account No. xxx3406

endodontics, apex
3303 south lindsey Suite 127                                                -
gilbert, AZ 85297

                                                                                                                                                            3,580.00
Account No. xxx3947

Engels, Caitlin
79 Homestead place                                                          -
New Rochelle, NY 10801

                                                                                                                                                              299.20
Account No. xxx2186

England, Christopher
P.O. box 521                                                                -
Blowing Rock, NC 28605

                                                                                                                                                              781.25

           265 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,755.45
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 267 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3948                                                                                                                     E
                                                                                                                                        D

Englander, Michael
1000 park ave.                                                              -
New Yrok, NY 10028

                                                                                                                                                              750.00
Account No. xxxx1420

English, Brittany E
2716 Twinflower Drive                                                       -
Keller, TX 76244

                                                                                                                                                              241.67
Account No. xxx9451

Epling, Jacob E.
626 Watkins Glen Blvd                                                       -
Marysville, OH 43040

                                                                                                                                                            1,488.00
Account No. xxx9734

Erazo, Alejandra
83152 Jackson Street                                                        -
San Fransico, CA 94115

                                                                                                                                                              200.01
Account No. xxx0926

Erb-Orengo, Brigitte
3765 Alcanatara Ave.                                                        -
Miami, FL 33178

                                                                                                                                                            1,750.00

           266 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,429.68
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 268 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1397                                                                                                                     E
                                                                                                                                        D

Eryce, Leslie
6426 Lagunitas Ave                                                          -
El Cerrito, CA 94530

                                                                                                                                                              134.00
Account No. xxx6326

Escareno, Joseph
6430 Sunset Blvd Suite 800                                                  -
Hollywood, CA 90028

                                                                                                                                                              390.75
Account No. xxx8921

Eschberger, Russell
3120 N. Mill Bend                                                           -
The Woodlands, TX 77380

                                                                                                                                                              315.00
Account No. xxx9291

eshraghi, arman
2542 banshire dr                                                            -
herndon, VA 20171

                                                                                                                                                            2,752.75
Account No. xxx3542

Esparza, Jose
421 SW 125th Ave                                                            -
Miami, FL 33184

                                                                                                                                                              236.50

           267 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,829.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 269 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx2251                                                                                                                    E
                                                                                                                                        D

Esposito, Brandon S
2904 Holt Way                                                               -
Sacramento, CA 95864

                                                                                                                                                              749.00
Account No. xxx3202

Esquia, Michael
12236 Dawn Vista Dr.                                                        -
Riverview, FL 33578

                                                                                                                                                              355.00
Account No. xxx2320

Esquibel, Angelita
8313 Summerfield Ave                                                        -
Wittier, CA 90606

                                                                                                                                                              885.24
Account No. xxx0179

Estep, Brett
5329 Paladium Dr                                                            -
Addison, TX 75254

                                                                                                                                                              830.00
Account No. xxx3436

Estinova, Emiliano
8285 Fillmore St.                                                           -
Allendale, MI 49401

                                                                                                                                                              520.00

           268 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,339.24
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 270 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Euphoria The Nebraska Balloon
1633 Lafayette St.                                                          -
Blair, NE 68008

                                                                                                                                                              540.00
Account No. xxx9827

Eusebi, Ricardo
4050 Pendleton Dr Apt 933                                                   -
Bryan, TX 77802

                                                                                                                                                              910.00
Account No. xxx4870

Evans, Jacob
443 Chaplian Magsig Avenue                                                  -
Monterey, CA 93944

                                                                                                                                                              310.50
Account No. xxx2054

Evans, Roger
2550 Sand Hill Rd 2nd Floor                                                 -
Menlo Park, CA 94025

                                                                                                                                                            1,600.00
Account No. xxx6222

Everhart, Eric
2274 Wolfboro Dr SE                                                         -
Kentwood, MI 49508

                                                                                                                                                            2,850.26

           269 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,210.76
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 271 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2067                                                                                                                     E
                                                                                                                                        D

Everling, Laura
3711 Medical Dr. Apt 2311                                                   -
San Antonio, TX 78229

                                                                                                                                                              238.81
Account No. xxx9981

Evers, Patricia
3470 Lori Lane                                                              -
Atlanta, GA 30340

                                                                                                                                                              689.00
Account No. xxx6678

Ewers, John
5435 Claybourne Dr. apt 706                                                 -
Pittsburgh, PA 15232

                                                                                                                                                              255.27
Account No. xxx9936

Faccio, Barbara
2709 Margaret Drive                                                         -
Arlington, TX 76012

                                                                                                                                                              820.00
Account No. xxxx2444

Faherty, Mike
237 Bay View Rd                                                             -
Williams Bay, WI 53191

                                                                                                                                                              390.38

           270 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,393.46
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 272 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2589                                                                                                                     E
                                                                                                                                        D

Fall, Thomas E
5455 Suder ave                                                              -
toledo, OH 43611

                                                                                                                                                            1,300.00
Account No.

Fantasy Balloon Flights
74181 Parosella St                                                          -
Palm Desert, CA 92260

                                                                                                                                                            4,750.00
Account No. xxx7039

Farr, Stephen
1414 Ivie St.                                                               -
Stewartsville, MO 64490

                                                                                                                                                              488.24
Account No. xxx2227

Farrell, Daniel
Po Box 24                                                                   -
Riverton, UT 84065

                                                                                                                                                              661.55
Account No. xxx5319

Farris, Karyn
3150 Bernath Drive                                                          -
Milton, FL 32583

                                                                                                                                                            1,045.00

           271 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,244.79
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 273 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4059                                                                                                                     E
                                                                                                                                        D

Faubus, Stoney
1329 Hwy 395 N. Ste 10-242                                                  -
Gardnerville, NV 89410

                                                                                                                                                              558.60
Account No. xxx3136

Faust, Matthew
118 dupont st                                                               -
toronto, ON

                                                                                                                                                              226.05
Account No. xxx4181

Fay, Jillian
895 Meriweather Dr.                                                         -
Calera, AL 35040

                                                                                                                                                              258.70
Account No.

FedEx - 3074-3324-9
P.O. Box 94515                                                              -
Palatine, IL 60094-4515

                                                                                                                                                              159.74
Account No. xxx0991

Feighner, Dustin S.
13970 Cole Crossing Ct.                                                     -
Platte City, MO 64079

                                                                                                                                                              165.88

           272 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,368.97
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 274 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3886                                                                                                                     E
                                                                                                                                        D

felder, preston
Po box 26689                                                                -
Fort worth, TX 76126

                                                                                                                                                              881.24
Account No. xxx7252

Feldes, Inge
835 chinidhe St.                                                            -
St. Louis, MS

                                                                                                                                                              880.00
Account No. xxx4298

Felix, Raul
1524 S. Glencroft                                                           -
Glendora, CA 91704

                                                                                                                                                              231.60
Account No. xxx7852

Fellows, Nickolas J.
15147 Monterey Rd                                                           -
Morgan Hill, CA 95037

                                                                                                                                                              209.15
Account No. xxx5446

Feltman, Mike
4404 Omni Place                                                             -
Raliegh, NC 27613

                                                                                                                                                              254.54

           273 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,456.53
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 275 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7057                                                                                                                     E
                                                                                                                                        D

Ferrara, Mary
12835 Preston Rd suite 312                                                  -
Dallas, TX 75230

                                                                                                                                                              102.71
Account No. xxx4346

Ferrin-oconnell, Bridgette
4016 West 99th place                                                        -
westminster, CO 80021

                                                                                                                                                              431.40
Account No. xxx2461

ferris, norman
1813 hide brook                                                             -
columbia, SC 29212

                                                                                                                                                                87.93
Account No. xxx8351

Fessenden, Patrick
5908 Jameson Rd.                                                            -
Rougemont, NC 27572

                                                                                                                                                              113.15
Account No. xxx7633

Fey, Eric
5075 Nicholson Dr. Apt. 0137 C                                              -
Baton Rouge, LA 70820

                                                                                                                                                              931.50

           274 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,666.69
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 276 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4011                                                                                                                     E
                                                                                                                                        D

Fiedler, Christine
18 West St.                                                                 -
Oakville, ON L6L2Y7

                                                                                                                                                              481.20
Account No. xxx4402

Fiegfried, Kelly
6655 Dunbarton drive                                                        -
horn lake, MS 38637

                                                                                                                                                            1,299.00
Account No. xxxx3257

fields, Catherine M
16573 Ferris Ave                                                            -
Losgatos, CA 95032

                                                                                                                                                            1,221.00
Account No. xxx4361

Fields, John
513 East Main Street                                                        -
Mount Vernan, IL 62864

                                                                                                                                                              754.80
Account No. xxx6115

Figueroa, Melissa
130 St.paul rd North                                                        -
Hempstead, NY 11550

                                                                                                                                                              652.28

           275 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,408.28
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 277 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4534                                                                                                                     E
                                                                                                                                        D

Filittone, Michael J
71 Johnathan Rd                                                             -
Pelham, NH 03076

                                                                                                                                                              530.67
Account No. xxx2780

Finch, Renee
10340 Kadumba Street                                                        -
Las Vegas, NV 89178

                                                                                                                                                              212.80
Account No. xxx1096

Finney, Linda
85 South Garlind st                                                         -
Lake wood, CO 80226

                                                                                                                                                              385.00
Account No. xxx6117

Fiorica, Audrey
2017 Miller Ave                                                             -
Chesepeke, VA 23320

                                                                                                                                                              629.55
Account No. xxx5060

Fischer, Stanley
1301 Custer Rd                                                              -
Plano, TX 75075

                                                                                                                                                              533.00

           276 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,291.02
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 278 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3724                                                                                                                     E
                                                                                                                                        D

Fisher, John
7826 Fergusson Rd                                                           -
Streetboro, OH 44241

                                                                                                                                                            1,505.00
Account No. xxx0520

Flager, Megan
344 West 620 North                                                          -
Orem, UT 84057

                                                                                                                                                                79.85
Account No. xxx3338

Flammang, Michael
126 Sumac Ridge                                                             -
Foristell, MO 63348

                                                                                                                                                              557.00
Account No. xxx6378

Fleagle, Andrew
1515 Osceola St                                                             -
Denver, CO 80204

                                                                                                                                                              443.20
Account No. xxx4814

Fleary, Danan
210 E 55th St                                                               -
Brooklyn, NY 11203

                                                                                                                                                              301.75

           277 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,886.80
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 279 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2199                                                                                                                     E
                                                                                                                                        D

Fleming, Deborah
5648 tangelo rd.                                                            -
seminole, FL 33772

                                                                                                                                                              393.68
Account No. xxxx3258

Fleming, Deirdre
920 Highland Ter                                                            -
Atlanta, GA 30306

                                                                                                                                                              249.50
Account No. xxx3868

Flores, Maria
4626 Tunisia St                                                             -
Fort Irwin, CA 92310

                                                                                                                                                              412.30
Account No. xxx9558

Flores, Yesenia
673 West Sierra Avenue                                                      -
Cotati, CA 94931

                                                                                                                                                            1,467.90
Account No. xxx4265

Flowers, Daniel
3582 Patterson Lane                                                         -
Cleveland, TN 37323

                                                                                                                                                              859.00

           278 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,382.38
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 280 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Flying V Ranch
11101 Old US Hwy 40                                                         -
Montgomery City, MO 63361

                                                                                                                                                            3,210.00
Account No. xxx4995

Foisy, Johnothan
345 Caminito Mindy street                                                   -
San Diego, CA 92105

                                                                                                                                                              222.43
Account No. xxx9733

Foley, Eva
3110 Hawthorne st                                                           -
Washington, DC 20008

                                                                                                                                                            3,900.00
Account No. xxx9868

Ford , Brian
4134 west viewpoint dr.                                                     -
Highland, UT 84003

                                                                                                                                                              661.56
Account No. xxx7041

Ford, Blake
2010 Pequeno Street                                                         -
Austin, TX 78757

                                                                                                                                                                88.75

           279 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,082.74
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 281 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4535                                                                                                                     E
                                                                                                                                        D

Ford, Stephen
501 West Hines St                                                           -
Republic, MO 65738

                                                                                                                                                              228.99
Account No. xxx7827

Foreh, Tarick
1223 Augusta Dr Apt 6                                                       -
Houston, TX 77057

                                                                                                                                                              690.00
Account No. xxx8969

Forget, Florence
2731 Franklin St                                                            -
San Francisco, CA 94123

                                                                                                                                                            1,346.50
Account No. xxx4169

Fornal, Dominic
2750 Abbots Ford St                                                         -
North Port, FL 34287

                                                                                                                                                              257.39
Account No. xxx5669

Fornari, Jennifer L
216 Centennial                                                              -
Chico, CA 95928

                                                                                                                                                              735.45

           280 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,258.33
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 282 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2538                                                                                                                     E
                                                                                                                                        D

Fornasier, Brandon
6917 Cottentale Run Ave                                                     -
Tuscon, AZ 85756

                                                                                                                                                              225.94
Account No. xxx9959

Forteza, Rosanna
7600 SW 78th Court                                                          -
miami, FL 33143

                                                                                                                                                              492.94
Account No. xxx0208

Fortney, Jeffrey L.
1213 Lakecrest Drive                                                        -
Norman, OK 73071

                                                                                                                                                            1,323.00
Account No. xxx3593

Fortune, Beth
9574 Hampton Reserve drive                                                  -
Brentwood, TN 37027

                                                                                                                                                            1,830.00
Account No. xxx3245

foster, andrew 1
11092 croine ave.                                                           -
cincinatti, OH 45242

                                                                                                                                                                88.29

           281 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,960.17
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 283 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6083                                                                                                                     E
                                                                                                                                        D

Foster, Eric
42854 Churchill Downs Dr.                                                   -
Ashburn, VA 20147

                                                                                                                                                              158.00
Account No. xxx2842

Foster, Jackson
228 N Layton Dr                                                             -
Los Angeles, CA 90049

                                                                                                                                                            1,019.48
Account No. xxx2015

Foster, Teresa
20210 woodland                                                              -
Harper woods, MI 48225

                                                                                                                                                              917.14
Account No. xxx2056

Fotta, Thomas
2807 Pearl St. Apt 280                                                      -
Nacogdoches, TX 75965

                                                                                                                                                              426.14
Account No. xxx3615

fournier, Matthew
9400 lake natoma dr                                                         -
orangeville, CA 95662

                                                                                                                                                            1,712.55

           282 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,233.31
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 284 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7567                                                                                                                     E
                                                                                                                                        D

Fowler, Jennifer
803 Janice St                                                               -
Junction City, KS 66441

                                                                                                                                                              900.00
Account No. xxx8085

Fowler, Matthew
1775 Silvernere Ct                                                          -
Duluth, GA 30097

                                                                                                                                                              486.50
Account No. xxx0510

Fox, Donna
3007 SE Military #2604                                                      -
San Antonio, TX 78223

                                                                                                                                                              187.70
Account No. xxx7061

Fox, Jennifer 2
5745 Pale Rock Terrace                                                      -
Colorado Springs, CO 80919

                                                                                                                                                              399.10
Account No. xxx6902

Francesco, Peter
73 Bennett Cove Lane PO BOX I                                               -
Holderness, NH 03245

                                                                                                                                                              204.00

           283 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,177.30
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 285 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0572                                                                                                                     E
                                                                                                                                        D

Franco, Hugo
P O box 319                                                                 -
Palestine, TX 75802

                                                                                                                                                            7,725.00
Account No. xxx7074

Francois, Theresa
1113 1st Ave                                                                -
Kinder, LA 70648

                                                                                                                                                              565.00
Account No. xxx2443

Frederick, Terry
2119 Eastland Street                                                        -
League City, TX 77573

                                                                                                                                                              171.00
Account No. xxx7832

Fredrick, Melissa T
616 Coolidge St                                                             -
Lafyette, LA 70503

                                                                                                                                                              171.25
Account No. xxx9408

Freeborg, Jenny
6956 Albanese St                                                            -
Colorado Springs, CO 80902

                                                                                                                                                              131.25

           284 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,763.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 286 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1692                                                                                                                     E
                                                                                                                                        D

Freedman, Mark
1509 Van Cleve Lane                                                         -
Murphysboro, TN 37129

                                                                                                                                                              184.00
Account No.

Freedom Flyer Ballooning
3233 120th Street                                                           -
Amana, IA 52203

                                                                                                                                                              380.00
Account No.

Freedom Helicopters
P O Box 501821                                                              -
Indianapolis, IN 46250-6821

                                                                                                                                                              395.00
Account No.

Freefall Adventures, Inc
300 Dahlia Avenue                                                           -
Williamstown, NJ 08094

                                                                                                                                                              185.00
Account No. xxx2887

Freeman, Christopher
Po Box 1017                                                                 -
Libby, MT 59923

                                                                                                                                                              204.25

           285 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,348.25
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 287 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1986                                                                                                                     E
                                                                                                                                        D

Frei, Garrett
15335 Shirly St.                                                            -
Omaha, NE 68144

                                                                                                                                                              411.00
Account No. xxx7402

Fremming, Steve
644 NE 17th Ave                                                             -
Fort Lauderdale, FL 33304

                                                                                                                                                              386.10
Account No. xxx4996

French, Aaron
106 E . 7th Apt . D                                                         -
Hayes, KS 67601

                                                                                                                                                              497.20
Account No. xxxx1801

Freyermuth, Barbara
30317 133 Ave West                                                          -
Ilinois City, IL 61259

                                                                                                                                                                64.40
Account No. xxx1420

Fricke, Schenel
9017 danube st                                                              -
bay st. loius, MS 39520

                                                                                                                                                              132.30

           286 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,491.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 288 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4113                                                                                                                     E
                                                                                                                                        D

Friedland, Alexander
7 Kovach Court                                                              -
West Orange, NJ 07052

                                                                                                                                                              118.43
Account No. xxx9319

Friedman, Liliana
12390 rock spring court                                                     -
Garden grove, CA 92843

                                                                                                                                                              365.00
Account No. xxxx3391

Fries, Robert
50 Randolph Rd                                                              -
Newport News, VA 23601

                                                                                                                                                              122.00
Account No. xxx4729

Fromm, Chrissy
19 Copley Court                                                             -
Anapolis, MD 21403

                                                                                                                                                              648.50
Account No. xxx0472

Fuentes, Millicent
9830 Sunrise Blvd. S18                                                      -
North Royalton, OH 44136

                                                                                                                                                              417.98

           287 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,671.91
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 289 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7043                                                                                                                     E
                                                                                                                                        D

Fulper, Cynthia
8226 East 10th street                                                       -
Indinapolis, IN 46219

                                                                                                                                                              493.75
Account No. xxx0051

Fuqua, Amanda
291 Wright Rd                                                               -
Jonesville, LA 71343

                                                                                                                                                              397.99
Account No. xxx2953

Furtick, Cary
4032 Homeplace Ln                                                           -
Kaufman, TX 75142

                                                                                                                                                              422.50
Account No. xxx5296

Futrell, Joey
4236 Hwy 452                                                                -
Marksville, LA 71351

                                                                                                                                                              692.00
Account No. xxxx3986

Gabel, Randall J.
7181 Grand Prairie Drive                                                    -
Colorado Springs, CO 80923

                                                                                                                                                              421.30

           288 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,427.54
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 290 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx0237                                                                                                                    E
                                                                                                                                        D

Gaebay, Shamayim
1341 North Ave apt 90                                                       -
Elizabeth, NJ 07208

                                                                                                                                                                69.25
Account No. xxx8281

Gaertner, Johnny L
200 Properity Dr                                                            -
Knoxville, TN 37923

                                                                                                                                                            6,200.00
Account No. xxx6350

Gaetani, Frank
430 Chevron St. Unit 53215                                                  -
Dover AFB, DE 19902

                                                                                                                                                              257.85
Account No. xxx3654

Gager, Shelly
1017 Ridefield Dr.                                                          -
Plano, TX 75075

                                                                                                                                                              156.25
Account No. xxx4396

Gale, David
11405 Hudson St                                                             -
Thornton, CO 80233

                                                                                                                                                                78.65

           289 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,762.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 291 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7879                                                                                                                     E
                                                                                                                                        D

Galimidi, Danielle
3307 East Island Road                                                       -
Cooper City, FL 33026

                                                                                                                                                                89.99
Account No. xxx8005

Gallagher, John
25 14th St. NW Apt. 910                                                     -
Washing D.C., DC 20009

                                                                                                                                                            1,630.20
Account No. xxx6074

Gallagher, Ron
406 S 84th At                                                               -
Omaha, NE 68114

                                                                                                                                                            1,250.60
Account No. xxxx4122

Gamboa, Jessica
5122 east shea blvd #2160                                                   -
scottsdale, AZ 85254

                                                                                                                                                                80.80
Account No. xxxx1269

Ganje, Shenan
4880 east Kentuky Ave Unit B                                                -
Glendale, CO 80246

                                                                                                                                                              452.88

           290 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,504.47
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 292 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9620                                                                                                                     E
                                                                                                                                        D

Gann, Joseph R
65 Cale st                                                                  -
Mcglendale, TN 37110

                                                                                                                                                              224.76
Account No. xxx6911

Garcia, Annette
22034 Kenton Knoll                                                          -
San Antonio, TX 78258

                                                                                                                                                              512.80
Account No. xxx0237

Garcia, Blanca
180 High St                                                                 -
North Attleboro, AL 02760

                                                                                                                                                              308.12
Account No. xxx6502

Garcia, Jeffrey
716 Edge Lake Rd                                                            -
Slidell, LA 70458

                                                                                                                                                              142.20
Account No. xxx2962

Garcia, Joan
1749 Toro Creek Road                                                        -
Morro Bay, CA 93442

                                                                                                                                                            2,090.00

           291 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,277.88
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 293 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0822                                                                                                                     E
                                                                                                                                        D

garcia, luis 1
11719 carvel ln                                                             -
houston, TX 77072

                                                                                                                                                              837.50
Account No. xxx1586

Garcia, Mary 1
839 South Ellison Dr.                                                       -
San Antonio, TX 78245

                                                                                                                                                                94.38
Account No. xxxx4042

Gardner, Bradley P.
284 Brookside Drive                                                         -
Idaho Falls, ID 83404

                                                                                                                                                              472.10
Account No. xxx5119

Gardner, Tara J
2001 S. Marion St.                                                          -
Denver, CO 80210

                                                                                                                                                              447.90
Account No. xxx0672

Garfia, Freddie
1516 mathias Place                                                          -
rohnert park, CA 94928

                                                                                                                                                              978.60

           292 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,830.48
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 294 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4376                                                                                                                     E
                                                                                                                                        D

Gariffo, Steven
703 Irish Ln.                                                               -
Media, PA 19063

                                                                                                                                                              149.99
Account No. xxx2435

Garisapati, Anita
779 East Mead Dr                                                            -
Chandler, AZ 85249

                                                                                                                                                              161.26
Account No. xxxx3144

Garmon, Van A
3943 Welker Avenue                                                          -
Demoine, IA 50312

                                                                                                                                                            1,113.75
Account No. xxx1519

Garner, William
6703 cuculu drive                                                           -
fort worth, TX 76133

                                                                                                                                                              772.20
Account No. xxx0758

Garrett, Courtney
6826 East Solocito Lane                                                     -
Paradise Valley, AZ 85253

                                                                                                                                                            2,065.00

           293 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,262.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 295 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7820                                                                                                                     E
                                                                                                                                        D

Garrison, Amanda
83347 calypso cir                                                           -
Indio, CA 92201

                                                                                                                                                              916.80
Account No. xxx1223

Gartrell, Kevin
1604 Pierpont Dr.                                                           -
Westerville, OH 43081

                                                                                                                                                              272.32
Account No. xxx4676

Gatautis, Giedrius
1113 Liberty Pkwy                                                           -
Atlanta, GA 30318

                                                                                                                                                                95.92
Account No. xxx4171

Gatti, Stefanie
2110 Naegele RD                                                             -
Colorado Springs, CO 80904

                                                                                                                                                              489.30
Account No. xxx8633

gatus, kristina
20615 cantlay st                                                            -
winnetka, CA 91306

                                                                                                                                                              263.00

           294 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,037.34
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 296 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3278                                                                                                                     E
                                                                                                                                        D

Gauger, David
360 Post street #900                                                        -
San Fansico, CA 94108

                                                                                                                                                            3,450.00
Account No. xxxx3204

Gaughran, Jana
4900 Eric Lane                                                              -
Mustang, OK 73064

                                                                                                                                                              386.45
Account No. xxx8081

Gaur, Amit
7611 Knox avenue south apt 116                                              -
Richfield, MN 55423

                                                                                                                                                            1,150.00
Account No. xxx9775

Gee, Gregory W.
1771 Deloit Ave                                                             -
Los Angeles, CA 90025

                                                                                                                                                            1,356.00
Account No. xxx8107

Geilman, Autumn
231 Ave                                                                     -
Redondo Beach, CA 90277

                                                                                                                                                                69.00

           295 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,411.45
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 297 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3914                                                                                                                    E
                                                                                                                                        D

Gelesky, Katie
22110 Majestic Wood Way                                                     -
Boca Raton, FL 33428

                                                                                                                                                              813.00
Account No. xxxx4175

Gelinas, John E.
1680 NE 135 Street                                                          -
Miami, FL 33181

                                                                                                                                                            1,850.00
Account No. xxx3089

Generali, Michael
21 Hollins dr.                                                              -
Cranston, RI 02920

                                                                                                                                                              361.40
Account No. xxx9982

Genereux, Valerie
110 Brooklyn Rd                                                             -
Canterbury, CT 06331

                                                                                                                                                            3,287.57
Account No.

Gentle Breeze Hot Air Balloon Co.
2460 Greentree Rd.                                                          -
Lebanon, OH 45036

                                                                                                                                                            1,000.00

           296 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,311.97
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 298 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5223                                                                                                                     E
                                                                                                                                        D

Gentry, Brandon
PO Box 164                                                                  -
Nice, CA 95464

                                                                                                                                                              639.45
Account No. xxx6429

George, Dan
102 Valley Rd apt .20                                                       -
Cos Cob, CT 06807

                                                                                                                                                            5,124.82
Account No. xxxx3525

George, Joyce
5456 Kim Way # 4                                                            -
Indianapolis, IN 46237

                                                                                                                                                              513.50
Account No. xxx8223

George, Reshma
719 Lincol Court Ave.                                                       -
Atlanta, GA 30329

                                                                                                                                                                89.92
Account No. xxxx2097

Gerbic, Theresa Marion
825 Ramsey St apt. B                                                        -
Nashville, TN 37206

                                                                                                                                                              112.38

           297 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,480.07
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 299 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4013                                                                                                                     E
                                                                                                                                        D

Germany, Isaac
1419 West 104th St.                                                         -
Los Angeles, CA 90047

                                                                                                                                                              118.40
Account No. xxx1033

Gernert, Margaret L
950 Woodcliffe Ave                                                          -
Media, PA 19063

                                                                                                                                                            1,958.04
Account No. xxx9585

Geske, Andre
555 NE 15th St., Suite 200                                                  -
Miami, FL 33132

                                                                                                                                                            4,015.00
Account No. xxx9703

Gheorghe, Dragos
829 Fairview Dr Unit 1                                                      -
Fort Walton Beach, FL 32547

                                                                                                                                                            1,289.00
Account No. xxx4928

Gibbons, Cindy
1750 Lucile Lane                                                            -
Pleasant Hill, CA 94523

                                                                                                                                                                65.25

           298 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,445.69
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 300 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3028                                                                                                                     E
                                                                                                                                        D

Gibson, Michelle 1
9209 Brian Drive                                                            -
Viana, VA 22180

                                                                                                                                                              227.24
Account No. xxx0275

GIERSZEWSKI, MAXWEL J
W50 21 HARVEST LANE                                                         -
LA CROSSE, WI 54601

                                                                                                                                                              547.93
Account No. xxxx0910

Gilbert, Susan
225 Helaman Road                                                            -
Walla Walla, WA 99362

                                                                                                                                                              569.14
Account No. xxx8726

Gilbert, Thomas L.
4273 route 310                                                              -
reynoldsville, PA 15851

                                                                                                                                                                92.70
Account No. xxx7950

Gill, Michael
1804 N Quinn St.                                                            -
Arlington, VA 22209

                                                                                                                                                              234.86

           299 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,671.87
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 301 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8268                                                                                                                     E
                                                                                                                                        D

Gillespie, Terrence
2020 artesia blvd apt #15                                                   -
Radondo Beach, CA 90278

                                                                                                                                                              210.49
Account No. xxx9106

Gillette, Denise
3641 Ridgewater Trail                                                       -
Marietta, GA 30068

                                                                                                                                                              142.00
Account No. xxxx3348

Ginoya, Jyotsna K.
6643 Imperial Oak Lane                                                      -
Orlando, FL 32819

                                                                                                                                                              550.55
Account No. xxx4088

Giovanni's Pizza
2671 Dogwood Ridge                                                          -
Wheelersburg, OH 45694

                                                                                                                                                            2,210.00
Account No. xxx7534

Gipson, Terry L
500 Gipson manor                                                            -
Crowley, TX 76036

                                                                                                                                                                60.30

           300 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,173.34
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 302 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8834                                                                                                                     E
                                                                                                                                        D

Giraldo, Nora
221 Community Circle                                                        -
Old Bridge, NJ 08857

                                                                                                                                                            1,809.00
Account No. xxx3030

Gish, Kristy
4513 Copperfield Dr.                                                        -
Grapevine, TX 76051

                                                                                                                                                              434.00
Account No. xxx1854

Givens, Brian
411 Tradewinds Dr. Apt. N                                                   -
Fayetteville, NC 28314

                                                                                                                                                              440.65
Account No. xxx8037

Glasgow, DeShaun M
1 Old Presedio Dr                                                           -
Manvel, TX 07578

                                                                                                                                                              196.00
Account No. xxx9622

Glass, William 1
86 Chastain Circle                                                          -
Richmond Hill, GA 31324

                                                                                                                                                            6,720.00

           301 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,599.65
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 303 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4998                                                                                                                     E
                                                                                                                                        D

Gleason, David
221 Walnut                                                                  -
Ocean Springs, MS 39564

                                                                                                                                                              438.00
Account No. xxx2963

Gleason-Glowacki, Nancy
3960 Sugarbush Rd.                                                          -
Lena, WI 54139

                                                                                                                                                              206.40
Account No.

Glenn O'Connell
1588 Junior Place                                                           -
Elgin, IL 60123

                                                                                                                                                            3,340.00
Account No. xxx0640

Glenn, Tenisha
7601 Hammond Drive                                                          -
Biloxi, MS 39532

                                                                                                                                                              916.00
Account No. xxx9849

Gober, Justin
1580 Mira Lago Blvd. Apt. 303                                               -
Farmers Branch, TX 75234

                                                                                                                                                              478.00

           302 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,378.40
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 304 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2780                                                                                                                     E
                                                                                                                                        D

Godbout, Jeff
8701 W Bradley Road                                                         -
Milwaukee, WI 53224

                                                                                                                                                              564.85
Account No. xxx5996

Godwin, Bradley R
2903 Firewalk Trace                                                         -
Katy, TX 77494

                                                                                                                                                              780.00
Account No. xxx7324

Goff, Justin
9861 Beauclare Terrace                                                      -
Jacksonville, FL 32257

                                                                                                                                                              443.90
Account No. xxxx2978

Goff, katherine
125 amaryllis drive apt204                                                  -
wilmington, NC 28411

                                                                                                                                                              342.00
Account No. xxx8802

Gogol, Philip
43 Highland                                                                 -
Ilion, NY 13357

                                                                                                                                                                62.16

           303 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,192.91
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 305 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Gold Coast Skydivers
5400 Cross Creek Drive                                                      -
Mobile, AL 03669-3269

                                                                                                                                                            2,356.00
Account No.

Gold Star Aviation
200 Commander Road                                                          -
Suite H2NC
Ft. Worth, TX 76106
                                                                                                                                                              110.00
Account No. xxxx3573

Goldberg, Lisa
2042 Ward Parkway                                                           -
Ft. Worth, TX 76110

                                                                                                                                                              833.40
Account No.

Gone with the Wind Balloon - Alabama
1705 Monroe Road                                                            -
Toney, AL 35773

                                                                                                                                                            1,360.00
Account No. xxx1529

Gonzales, Jesus
111 Southill Rd                                                             -
San Antonio, TX 78201

                                                                                                                                                            1,346.94

           304 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,006.34
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 306 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8894                                                                                                                     E
                                                                                                                                        D

Gonzalez, Abdel
2661 29th St. Apt 3                                                         -
Estoria, NY 11102

                                                                                                                                                              191.44
Account No. xxxx0074

Gonzalez, Christopher W
1028 Venice Drive                                                           -
Bryan, TX 77808

                                                                                                                                                              795.00
Account No. xxx8356

Gonzalez, Efrain
3910 Mariela Ct                                                             -
Rocklin, CA 95765

                                                                                                                                                            1,912.00
Account No. xxx3147

Gonzalez, Georgette
158 Princeton Road                                                          -
Elizabeth, NJ 07208

                                                                                                                                                              464.55
Account No. xxx2291

Gonzalez, Ramone
5113 Benjamin Ct                                                            -
Kernercville, NC 27284

                                                                                                                                                            1,560.00

           305 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,922.99
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 307 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5301                                                                                                                     E
                                                                                                                                        D

Gonzalez, Vanessa H
2400 West Madison St Apt 409                                                -
Chicago, IL 60612

                                                                                                                                                                61.50
Account No. xxxx4156

Goodale, Gregory
5814 Petty Street                                                           -
Houston, TX 77007

                                                                                                                                                              629.20
Account No. xxx3864

Goodhue, Kristi
150 East 52nd St.                                                           -
New York, NY 10022

                                                                                                                                                            1,292.50
Account No. xxx7880

Goodin, Richard
43 Rainey Dr #1792                                                          -
Austin, TX 78701

                                                                                                                                                              193.05
Account No. xxx1807

Goodwyn, George T.
5603 Ash Grove Ct                                                           -
Montgomery, AL 36116

                                                                                                                                                              149.50

           306 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,325.75
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 308 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6728                                                                                                                     E
                                                                                                                                        D

Gopinath, Prasad
65 Overlea Blvd                                                             -
Toronto, 51

                                                                                                                                                            2,849.00
Account No. xxx8054

Gopisetty, Pramod
898 Carton Bay Dr E                                                         -
West Palm Beach, FL 33406

                                                                                                                                                              398.40
Account No. xxx3185

Gordon, Luke
3133 Chula Brookfield Rd                                                    -
Tifton, GA 31794

                                                                                                                                                              248.45
Account No. xxxx3663

Gordon, Theodore
27 Wallingford Ave., Apt. F2                                                -
Wallingford, PA 19086

                                                                                                                                                              337.30
Account No. xxx1160

Gordon, Valerie
20809 NE 141st Street                                                       -
Woodinville, WA 98077

                                                                                                                                                              347.50

           307 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,180.65
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 309 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9149                                                                                                                     E
                                                                                                                                        D

Gosain, D. J.
Aviation Blvd                                                               -
Inglewood, CA 90304

                                                                                                                                                              199.10
Account No. xxx6503

Goulart, Joe A
PO Box 3850                                                                 -
Fort Stuart, GA 31315

                                                                                                                                                              300.53
Account No. xxx6119

Gozariu, Vasile
3925 Us Hwy 92 West                                                         -
Plant City, FL 33563

                                                                                                                                                              115.20
Account No. xxx2538

Grabham, Lorie
7268 West FireBird Dr                                                       -
Glendale, AZ 85308

                                                                                                                                                              189.24
Account No. xxx6485

Grace, Robert
Po Box 3579                                                                 -
Shawnee, OK 74801

                                                                                                                                                            1,054.00

           308 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,858.07
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 310 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx0076                                                                                                                    E
                                                                                                                                        D

Graper, Liz
11144 Flosonville Rd                                                        -
Tennyson, IN 47637

                                                                                                                                                              316.05
Account No. xxx4015

Gray, Caitlin 1
1202 Tree line Drive                                                        -
Allentown, PA 18103

                                                                                                                                                              108.71
Account No. xxx2082

Gray, Danielle
4840 Heron Dr. Apt. 924                                                     -
Tampa, FL 33616

                                                                                                                                                              411.06
Account No. xxxx3771

Graza, Selix Anthony
1525 Del Rancho Dr                                                          -
Irving, TX 75061

                                                                                                                                                              545.50
Account No. xxx4964

Greene, Trevor
25 night boxx road                                                          -
orange park, FL 32065

                                                                                                                                                                94.49

           309 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,475.81
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 311 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8432                                                                                                                     E
                                                                                                                                        D

Greenrock Holdings
3907 Park Dr. Suite 235                                                     -
El Dorado Hills, CA 95762

                                                                                                                                                            4,217.50
Account No. xxx0101

Greens, Ryan
P.O.Box 12722                                                               -
Annapolis, MD 21402

                                                                                                                                                              516.30
Account No. xxx4611

Greiner, Doris
7 Red Cedar Dr.                                                             -
Levittown, PA 19055

                                                                                                                                                              622.28
Account No. xxx8391

Greiner, Haley
4248 Taylor rd.                                                             -
Chasapeake, VA 23321

                                                                                                                                                              199.50
Account No. xxx3544

Greves, Maddy
815 Lanier Dr.                                                              -
Madison, IN 47250

                                                                                                                                                              467.50

           310 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,023.08
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 312 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0267                                                                                                                     E
                                                                                                                                        D

Griego, Lucas J.
1929 7 Street                                                               -
Las Vegas, NM 87701

                                                                                                                                                              812.00
Account No. xxx2029

Griffeth, Kevin
6204 Bandera Blvd                                                           -
dallas, TX 75225

                                                                                                                                                              489.92
Account No. xxx6529

Grigsby, Bob
889 W Wesly Rd                                                              -
Atlanta, GA 30327

                                                                                                                                                            5,150.00
Account No. xxx4759

Grimme, Michael
1965 mulsanne Drive                                                         -
Zionsville, IN 46077

                                                                                                                                                              968.75
Account No. xxxx1342

Grischuk, William
74 Pine Dr.                                                                 -
Rosevelt, NJ 08555

                                                                                                                                                              525.60

           311 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,946.27
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 313 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3149                                                                                                                     E
                                                                                                                                        D

Grossman, Katherine
1427 Downington Overlook                                                    -
Acworth, GA 30101

                                                                                                                                                              411.68
Account No. xxxx4196

Grove, Anthony
111 sherman st                                                              -
kent, OH 44240

                                                                                                                                                              178.50
Account No. xxx2086

Grunst, Gary
19376 Hazelgrove Dr.                                                        -
Oregon city, OR 97045

                                                                                                                                                              656.25
Account No. xxx0206

Gruskin, Karen
8 Cypress St.                                                               -
Marblehead, MA 09145

                                                                                                                                                              141.00
Account No. xxx6269

Gudis, Malcolm
6101 St Andrews Dr                                                          -
Dallas, TX 75205

                                                                                                                                                              920.04

           312 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,307.47
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 314 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6442                                                                                                                     E
                                                                                                                                        D

Gudmundson, Bryan
11531 Wild Flower Court                                                     -
Moorpark, CA 93021

                                                                                                                                                              453.56
Account No. xxx4271

Guelcher, Charles J
2nd PSC Box 20183                                                           -
Camplejeune, NC 28542

                                                                                                                                                              271.56
Account No. xxx8035

Guevara, Johana
990 Ridgemont Ave Apt 101                                                   -
Houston, TX 77042

                                                                                                                                                              793.00
Account No. xxx9225

Guevara, Julissa
277 Park Ave 45 floor                                                       -
new york, NY 10172

                                                                                                                                                            3,009.58
Account No. xxx7761

Guidon, Micha
1736 State Street                                                           -
San Diego, CA 92101

                                                                                                                                                            1,404.84

           313 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,932.54
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 315 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1697                                                                                                                     E
                                                                                                                                        D

Gulker, Michael T.
2740 Adrain Street                                                          -
San Dieago, CA 92110

                                                                                                                                                              388.00
Account No. xxxx3583

Gulledge, Pam
218 Main Street                                                             -
Crossett, AR 71635

                                                                                                                                                              299.60
Account No. xxx0474

Gundlah, Lori
Route 103 301                                                               -
York, ME 03909

                                                                                                                                                            1,160.00
Account No. xxx6029

Gunn, Lauren
5069 Dakota Ave.                                                            -
Castlerock, CO 80104

                                                                                                                                                              845.00
Account No. xxx3968

Gunter, Phillip
9043 Walnut Meadow Drive                                                    -
Indianapolis, IN 46234

                                                                                                                                                                91.74

           314 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,784.34
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 316 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2385                                                                                                                     E
                                                                                                                                        D

Gupta, Gaurav 2
1133 Huff Rd. NW Apt. 312                                                   -
Atlanta, GA 30318

                                                                                                                                                              346.50
Account No. xxx6953

Gusev, Oleg S
63 Wall St Apt 3604                                                         -
New York, NY 10005

                                                                                                                                                              423.02
Account No. xxx2087

Guth, Susan
2905 University drive                                                       -
Lawerence, KS 66049

                                                                                                                                                              186.25
Account No. xxxx1446

Gutierrez, Carlos
20 Pinebrook Cir                                                            -
Brandy, MA 01033

                                                                                                                                                              421.90
Account No. xxx1839

Gutierrez, Israel
12160 NE Miami Place                                                        -
Miami, FL 33161

                                                                                                                                                                84.95

           315 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,462.62
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 317 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1344                                                                                                                    E
                                                                                                                                        D

Guyton, Christopher
112 Nomad Lane                                                              -
Lancaster, SC 29720

                                                                                                                                                              260.26
Account No. xxx8314

Ha, Molly
6250 W Arby Ave Unit 170                                                    -
Las Vegas, NV 89118

                                                                                                                                                              221.48
Account No. xxx9330

Habig, Whitney
6622 Cape Neddick Ct. Apt G                                                 -
Indianapolis, IN 46217

                                                                                                                                                              274.00
Account No. xxx5066

Hader, TJ
209 Smokerise Lane                                                          -
Tom's River, NJ 08755

                                                                                                                                                              199.44
Account No. xxx0005

Hadlock, Stan
9056 Heights Dr                                                             -
Sandy, UT 84094

                                                                                                                                                              991.00

           316 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,946.18
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 318 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9335                                                                                                                     E
                                                                                                                                        D

Haerle, Marybeth
34300 Lantern A Dr Unit 50                                                  -
Dana Pointe, CA 92629

                                                                                                                                                              468.28
Account No. xxxx4022

Hagan, Kenneth
3384 Spruce St                                                              -
Avon, OH 44011

                                                                                                                                                              497.58
Account No. xxx3687

Haidous, Loutfi
3554 Mayfair St.                                                            -
Dearborn, MI 48124

                                                                                                                                                              990.00
Account No. xxxx3749

Haines, James
1 Sedarbrook, Apt. 2W                                                       -
St. Charles, MO 63301

                                                                                                                                                            1,220.00
Account No. xxx0793

Halbert, Douglas
435 Hudson ST 3rd Fl                                                        -
New York, NY 10014

                                                                                                                                                            3,693.00

           317 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,868.86
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 319 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2721                                                                                                                     E
                                                                                                                                        D

Hall, Delvin
854 Issaqueena Trails Rd                                                    -
Central, SC 29630

                                                                                                                                                              490.30
Account No. xxx7881

Hall, Jennifer 1
250 pennsylvania ave                                                        -
shreveport, LA 71105

                                                                                                                                                              517.60
Account No. xxx5477

Hall, Meredith
7600 south rainbow blvd, apt 2103                                           -
Las vagas, NV 89139

                                                                                                                                                              180.92
Account No. xxx6446

Hall, Patty
1401 Circle Dr.                                                             -
Roundrock, TX 71664

                                                                                                                                                              105.08
Account No. xxx5675

Hall, Ronald
703 thomas boyland st                                                       -
Brooklyn, NY 11212

                                                                                                                                                              200.06

           318 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,493.96
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 320 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9812                                                                                                                     E
                                                                                                                                        D

Hallisy, Beth
471-10 Antler Point Drive                                                   -
Aurora, OH 44202

                                                                                                                                                            2,925.00
Account No. xxx6209

Hallock, Paul
6124 Blue Ash                                                               -
Charlotte, NC 28215

                                                                                                                                                              219.00
Account No. xxxx1745

Halper, Rob
271 Central Park West 9E                                                    -
New York, NY 10024

                                                                                                                                                            2,383.56
Account No. xxx6682

Hamed, Ibrahim
332 Porter Rd                                                               -
Clarksdale, MS 38614

                                                                                                                                                            1,157.00
Account No. xxxx2101

Hamilton, Steven A.
622 forest ridge drive                                                      -
noblesville, IN 46060

                                                                                                                                                              150.39

           319 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,834.95
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 321 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1544                                                                                                                     E
                                                                                                                                        D

Hamm, Kimberly G
3544 Chelsea Dr                                                             -
Rocky Mount, NC 27803

                                                                                                                                                              255.75
Account No. xxx6892

Hammes, Jerrod
15217 Windward Drive                                                        -
Corpus Cristi, TX 78418

                                                                                                                                                            1,239.75
Account No. xxx2038

Hampton, Jeron
3201 S 23rd St apt 141                                                      -
Abilene, TX 79605

                                                                                                                                                              691.00
Account No. xxxx1957

Hanan, Priscilla
5191 Cheney Dr. Apt 7                                                       -
S. Beloit, IL 61080

                                                                                                                                                              232.50
Account No. xxx6631

Hancock, David
1621 White Oak Cove                                                         -
Loganville, GA 30052

                                                                                                                                                              472.97

           320 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,891.97
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 322 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6367                                                                                                                     E
                                                                                                                                        D

Haney, William
A Company 138 INF BN 4-2 DDE                                                -
Fort Lewis, WA 98333

                                                                                                                                                              548.00
Account No. xxx2058

Hanford, David
2716 Zambia Dr.                                                             -
Cedar Park, TX 78613

                                                                                                                                                            2,013.00
Account No.

Hangar 3
Hangar 3                                                                    -
67 Meserole Ave
Brooklyn, NY 11222
                                                                                                                                                              720.00
Account No. xxx4678

Hankee, Patrick 1
2069 Argyle Avenue apt 305                                                  -
Los Angeles, CA 90068

                                                                                                                                                              520.52
Account No. xxx8588

Hanna, Martin
6012 Marsham Ct. Apt 301                                                    -
alexandria, VA 22315

                                                                                                                                                              594.75

           321 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,396.27
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 323 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8090                                                                                                                     E
                                                                                                                                        D

Hansel-Burgdorf, Sandra
330 E 82nd Drive                                                            -
Denver, CO 80229

                                                                                                                                                              447.00
Account No. xxx8660

Hansen, Jenet
PO BOX 14                                                                   -
Joseph, OR 97846

                                                                                                                                                            1,429.66
Account No. xxx6911

Hansen, Regina
5149 East laurel lane                                                       -
Scottsdale, AZ 85254

                                                                                                                                                              411.44
Account No. xxx2889

Harb, Yousses
40 Horner Ave                                                               -
184X5 Toronto, ON

                                                                                                                                                            1,596.00
Account No. xxx8661

Hardgrove, Matthew
11 Mulberry Drive                                                           -
Oldsbridge, NJ 08857

                                                                                                                                                              141.77

           322 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,025.87
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 324 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4493                                                                                                                     E
                                                                                                                                        D

hardgrove, seth
1720 State road 331                                                         -
Tippecanoe, IN 46570

                                                                                                                                                              121.28
Account No. xxx5284

Harmon, Alex
2801 W Glen Drive                                                           -
Falls Church, VA 22046

                                                                                                                                                              168.66
Account No. xxxx0653

Harmon, Barbara
P.O. Box 594                                                                -
S. Chatham, MA 02659

                                                                                                                                                              420.51
Account No. xxx0699

Harper, Donald
5 Winslow Dr                                                                -
Windham, ME 04062

                                                                                                                                                              159.20
Account No. xxx0161

Harper, Sheila I.
1860 S 250 W                                                                -
Perry, UT 84302

                                                                                                                                                              945.00

           323 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,814.65
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 325 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7883                                                                                                                     E
                                                                                                                                        D

Harris, Jacqueline S.
154 Sharkey Rd                                                              -
Charleston, MS 38921

                                                                                                                                                              157.00
Account No. xxx6531

Harris, Lenard L N construction
2170 highway 51 suite 1                                                     -
Hernando, MS 38632

                                                                                                                                                            5,525.50
Account No. xxx8140

Harris, Marika
19 Technology drive suite 200                                               -
Irvine, CA 92618

                                                                                                                                                            4,687.50
Account No. xxx9091

Harrison, Guy
7419 Sandhurst Rd South                                                     -
Jacksonville, FL 32277

                                                                                                                                                              203.50
Account No. xxx8543

Harrison, Jennifer J.
606 Resinwood Road                                                          -
Moncks Corner 29461

                                                                                                                                                              469.00

           324 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          11,042.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 326 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2512                                                                                                                     E
                                                                                                                                        D

Harrison, Jessica
5733 bevis ave                                                              -
van nuys, CA 91411

                                                                                                                                                              449.90
Account No. xxx0929

harsimran, hersim
9200 merrick dr                                                             -
pechtree city, GA 30269

                                                                                                                                                              168.00
Account No. xxx5879

Hart , Jessica
5839 West Bloomfield Rd.                                                    -
Glendale, AZ 85304

                                                                                                                                                              419.00
Account No. xxx4613

Hart, Adrian
31 Chelsea Ridge                                                            -
Vernon, CT 06066

                                                                                                                                                              345.00
Account No. xxx9763

Hart, Elizabeth
990 6th Ave Apt p10                                                         -
New York, NY 10018

                                                                                                                                                                76.00

           325 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,457.90
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 327 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx2349                                                                                                                    E
                                                                                                                                        D

Hartdegen, Alice
1425 Forest Creek Dr                                                        -
Lewisville, TX 75067

                                                                                                                                                            1,095.20
Account No. xxx7570

Hartman, Lucas 1
815 Hardscrabble Road                                                       -
Chappaqua, NY 10514

                                                                                                                                                              608.00
Account No. xxx6634

Hartung, Rebecca
14943 Forward Pass                                                          -
San Antonio, TX 78248

                                                                                                                                                              665.00
Account No. xxx7018

Hartwick, Heather
1611 Elbridge Rd                                                            -
Harrisburg, PA 17112

                                                                                                                                                              598.50
Account No. xxx0767

Hasuck, Thelma
3102 Haine Dr apt 517                                                       -
Harlingen, TX 78550

                                                                                                                                                              385.60

           326 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,352.30
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 328 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1856                                                                                                                     E
                                                                                                                                        D

Haug, Steven J.
20 West View Dr.                                                            -
Lloyd Harbor, NY 11743

                                                                                                                                                              185.97
Account No. xxx6961

Hawk, Steven
7050 Windhaven Pkwy                                                         -
The Colony, TX 75056

                                                                                                                                                              831.76
Account No. xxx9257

Hawkins, Brandon M.
310 Middlebridge Rd.                                                        -
Stough Kingstown, RI 02879

                                                                                                                                                              877.60
Account No. xxx8074

hawkins, phillip
152 west 120th st                                                           -
new york, NY 10027

                                                                                                                                                              389.04
Account No. xxx2547

Hayden, Christina
8820 West Imnaha court                                                      -
Kennewick, WA 99336

                                                                                                                                                            1,149.12

           327 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,433.49
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 329 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7645                                                                                                                     E
                                                                                                                                        D

Haygood, Jameson
600 North Park Drive                                                        -
Springhill, LA 71075

                                                                                                                                                              295.00
Account No. xxx7498

Haynes, Tyrone
12202 Arlington Place                                                       -
Chino, CA 91710

                                                                                                                                                              355.18
Account No. xxx1841

Hazlett, Ann
180 Varick Room 1012                                                        -
New York, NY 10014

                                                                                                                                                            4,498.75
Account No. xxx2845

Head, Hillary
305 W Fayette Street #1410                                                  -
Baltimore, MD 21201

                                                                                                                                                              149.60
Account No. xxx1467

Healy, Jason
2022 Springdale Ave                                                         -
Charolette, NC 28203

                                                                                                                                                            1,624.84

           328 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,923.37
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 330 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Heaven Bound Ascensions
66 North Villageview Road                                                   -
Tallmadge, OH 44278

                                                                                                                                                            2,625.00
Account No. xxx6116

Hebson, Elicia
2921 Park Harbor Ct                                                         -
fort worth, TX 76116

                                                                                                                                                              488.90
Account No. xxxx1207

Heck, Leah
2301 S. 5th St. suite 14                                                    -
Austin, TX 78704

                                                                                                                                                            2,460.10
Account No. xxx9223

Heckenberg, Brad
8750-3 cherry lane                                                          -
laurel, MD 20707

                                                                                                                                                            1,287.60
Account No. xxx6851

Hedberg, Timothy
11885 Buck creek circle                                                     -
Noblesville, IN 46060

                                                                                                                                                              519.50

           329 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,381.10
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 331 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3079                                                                                                                    E
                                                                                                                                        D

Hedrick, Barry
500 East Border Street, 7th Floor                                           -
Arlington, TX 76010

                                                                                                                                                            2,002.00
Account No. xxx4273

Heinrich, Donovan
5441 Deep Canyon                                                            -
Garland, TX 85043

                                                                                                                                                              103.93
Account No. xxxx0915

HEINS, RALPH
1445 Ross Ave. Suite 5150                                                   -
Dallas, TX 75202

                                                                                                                                                            2,633.40
Account No.

Helicopters, Inc.
993 River Currents Dr.                                                      -
Memphis, TN 38103

                                                                                                                                                              395.00
Account No. xxxx1123

Henderson, Scott A
4109 Woodfox St                                                             -
Houston, TX 77025

                                                                                                                                                            1,292.00

           330 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,426.33
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 332 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8978                                                                                                                     E
                                                                                                                                        D

Hendrix, Mark
541 Hill Street apartment D                                                 -
San Fransico, CA 94114

                                                                                                                                                              193.14
Account No. xxxx0907

HENMAN, KIRT
22797 Ellsworth Ave                                                         -
Menerva, OH 44657

                                                                                                                                                            3,441.96
Account No. xxx7064

Hensen, Erica
1045 Church Rd                                                              -
Green Lane, PA 18054

                                                                                                                                                              256.41
Account No. xxx8768

Hensgens, Hans
11632 Grandview Road                                                        -
Kansas City, MO 64137

                                                                                                                                                            7,020.00
Account No. xxx7536

Henslin, Scott C.
424 16th avenue North                                                       -
South St Paul, MN 55075

                                                                                                                                                              144.40

           331 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          11,055.91
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 333 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1913                                                                                                                     E
                                                                                                                                        D

Hermida, Daniel J.
110 Sumter Ln Apt I                                                         -
Central, SC 29630

                                                                                                                                                              882.40
Account No. xxx7687

Hermida, Jazkhlan
7474 east arkansas ave apt.1702                                             -
denver, CO 80231

                                                                                                                                                              248.90
Account No. xxxx3630

Hernandez, Michael 2
312 29th St., NE                                                            -
Cedar Rapids, IA 52406

                                                                                                                                                              558.80
Account No. xxxx3310

Herndon, Chad
606 Hyde Park                                                               -
Cleburne, TX 06033

                                                                                                                                                            1,590.40
Account No. xxx6399

Herrin, Michael
871 Buttonwood Lane                                                         -
Altamonte Spring, FL 32714

                                                                                                                                                              176.25

           332 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,456.75
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 334 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7835                                                                                                                     E
                                                                                                                                        D

Hersholt, Brian
415 N. Ogden Dr apt 2                                                       -
Los Angels, CA 90036

                                                                                                                                                            1,443.00
Account No. xxx4190

Herweyer, Nicholas J
261 11th Ave                                                                -
Vero Beach, FL 32962

                                                                                                                                                              138.23
Account No. xxx3333

Hester, Mary J.
5305 Meltow Rock Ave                                                        -
Las Vegas, NV 89130

                                                                                                                                                              106.15
Account No. xxx5832

Hewko, Terri
3223 Camarie Ave                                                            -
Midland, TX 79705

                                                                                                                                                                70.00
Account No. xxx0498

Hiatt, Jason M
1104 East 49th Street                                                       -
Marion, IN 46953

                                                                                                                                                              272.99

           333 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,030.37
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 335 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0244                                                                                                                     E
                                                                                                                                        D

Hicks, Thomas
11308 Jefferson Way                                                         -
Alpharetta, GA 30005

                                                                                                                                                              391.68
Account No. xxx5168

Higgins, David A.
754 Thicket Lane                                                            -
Housten, TX 77079

                                                                                                                                                                77.22
Account No. xxx2857

Higgins, Justin
PO BOX 13051                                                                -
Evansville, IN 47728

                                                                                                                                                            7,350.00
Account No.

High But Dry Balloons
4164 Austin Bluffs Parkway                                                  -
#146
Colorado Springs, CO 80918
                                                                                                                                                              330.00
Account No. xxx5566

Highsmith, Carol
7501 Carol Avenue                                                           -
Tacoma Park, MD 20912

                                                                                                                                                              324.10

           334 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,473.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 336 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5169                                                                                                                     E
                                                                                                                                        D

Hild, Jeff
1444 W street                                                               -
DC, DC 20009

                                                                                                                                                              219.90
Account No. xxx2406

hildreth, clinton
6552 la mirada drive                                                        -
jacksonville, FL 32217

                                                                                                                                                              387.40
Account No. xxx0078

Hill, Fred
3147 wolf club dribe                                                        -
atlanta, GA 30349

                                                                                                                                                              385.20
Account No. xxx3024

Hillier, Luke
5000 Ocean Front ave                                                        -
Virginia Beach, VA 23451

                                                                                                                                                          10,776.00
Account No. xxx3044

HIMES, JENNIFER
769 HIDDEN SPRINGS DRIVE                                                    -
LEWIS CENTER, OH 43035

                                                                                                                                                              630.00

           335 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          12,398.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 337 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7282                                                                                                                     E
                                                                                                                                        D

Hinrichs, Roger
208 Morning Side Dr.                                                        -
Hopkinsville, KY 42240

                                                                                                                                                                79.38
Account No. xxx2198

Hinson, Courtney
145 Lake E 8 Trail                                                          -
Longview, TX 75605

                                                                                                                                                                88.50
Account No. xxxx4223

Hirsch, Adam
8421 N 76th E Ave                                                           -
Owasso, OK 74055

                                                                                                                                                              611.33
Account No. xxx0577

Hitt, Ricky
430 S.Bryan Beltline                                                        -
Mesquite, TX 75149

                                                                                                                                                            1,691.58
Account No. xxx5615

Hnath, Jenna
12812 W Old Baltimore Road                                                  -
Boyds, MD 20841

                                                                                                                                                              126.00

           336 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,596.79
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 338 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5305                                                                                                                     E
                                                                                                                                        D

Ho, Nancy
535 Owasso Hills Drive                                                      -
Roseville, MN 55113

                                                                                                                                                              108.54
Account No. xxx1109

Hocker, LaDonna
1073 Meadowbrook Dr                                                         -
Woodstock, GA 30188

                                                                                                                                                              661.20
Account No. xxx2592

Hodge, Lynda
351 King st. Apt C                                                          -
Charleston, SC 29401

                                                                                                                                                              459.10
Account No. xxx7465

Hodgson, Jill G
803 Ivy Dr                                                                  -
Pflugerville, TX 78660

                                                                                                                                                              886.44
Account No. xxx9602

Hoeldt, Joshua
18827 Citation Road Unit A                                                  -
Eagle River, AK 99577

                                                                                                                                                            1,625.20

           337 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,740.48
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 339 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8026                                                                                                                     E
                                                                                                                                        D

Hoelzle, Brian
917 W. Dakin #109                                                           -
Chicago, IL 60613

                                                                                                                                                              254.40
Account No. xxx7727

Hoffman, Gary
2189 Andorra St                                                             -
Navarre, FL 32556

                                                                                                                                                              256.77
Account No. xxxx2181

Hoffman, Mathew
5014 West The Riviera Street                                                -
Tampa, FL 33609

                                                                                                                                                              342.51
Account No. xxx3449

Hoffner, James C
43 Orchard Ln James Hoffner                                                 -
Kirkwood, MO 63122

                                                                                                                                                              717.00
Account No. xxx3420

Hoffner, Sandra J
1017 Quarterpath Drive                                                      -
Winterville, NC 28590

                                                                                                                                                              319.00

           338 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,889.68
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 340 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1808                                                                                                                    E
                                                                                                                                        D

Hoffpauir, Dale
PO Box 82561                                                                -
Lafayette, LA 70598

                                                                                                                                                            1,659.00
Account No. xxx8229

Holiday, Justin
1704 Wallace St.                                                            -
Philadelphia, PA 19130

                                                                                                                                                              276.66
Account No. xxxx3438

Hollister, Thomas
14 Renee Lane                                                               -
Newark, DE 19711

                                                                                                                                                              116.22
Account No. xxx2085

Holloman Corporation
Jimmy Brannon                                                               -
Odessa, TX 79762

                                                                                                                                                            5,200.00
Account No. xxx4494

Holloway, Jason
2575 Blessed Place                                                          -
Pinewood, SC 29125

                                                                                                                                                              239.55

           339 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,491.43
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 341 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3819                                                                                                                     E
                                                                                                                                        D

Holthofer, August
813 High Meadow Ct.                                                         -
Louisville, TX 75077

                                                                                                                                                              234.73
Account No. xxx1988

Hooks, Allison
3720 west alabama #5209                                                     -
houston, TX 77027

                                                                                                                                                              643.00
Account No. xxx6716

Hooper, Lawrence
106 3rd street                                                              -
saratoga, NY 12866

                                                                                                                                                              276.95
Account No. xxx4318

Hoover, Donna M
11424 East Ereyfus Ave                                                      -
scottsdale, AZ 85259

                                                                                                                                                              702.60
Account No. xxx6069

Hope, Crystal D
2066 Callaway Ct NW                                                         -
Atlanta, GA 30318

                                                                                                                                                              209.80

           340 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,067.08
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 342 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9258                                                                                                                     E
                                                                                                                                        D

Hope, Jason
po box 10195 dept 858                                                       -
Palo Alto, CA 94303

                                                                                                                                                            3,110.00
Account No. xxx8808

Hoppe, Nicholas
3009 Barksdale Court                                                        -
Bellevue, NE 68123

                                                                                                                                                              506.16
Account No. xxx0654

Horgan, Erin
741 E 9th Street                                                            -
New York, NY 10009

                                                                                                                                                              606.67
Account No. xxx5785

Hormaza, Margarita
5701 NW 114th court apt 107                                                 -
Doral, FL 33178

                                                                                                                                                              479.00
Account No. xxx4071

Hosftetter, Erin
20 Sea point way                                                            -
Pitsburg, CA 94565

                                                                                                                                                              214.99

           341 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,916.82
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 343 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Hot Air Balloon Port, LLC
42093 Preston Landry Rd                                                     -
Gonzales, LA 70737

                                                                                                                                                              700.00
Account No.

Hot Air Expeditions, Inc.
2243 E. Rose Garden Loop                                                    -
Suite One
Phoenix, AZ 85024
                                                                                                                                                            3,575.00
Account No. xxx4437

Housley, Tamika
511 N. Virginia Ave                                                         -
Glenwood, IL 60425

                                                                                                                                                              682.50
Account No. xxx8046

Hovis, Andrew
15995 North Barkers Landing                                                 -
Houston, TX 77079

                                                                                                                                                            1,448.00
Account No. xxx9238

Howard, Jacquline
5304 Wendley Rd                                                             -
Baltimore, MD 21229

                                                                                                                                                              623.00

           342 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,028.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 344 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5553                                                                                                                     E
                                                                                                                                        D

Howat, Christopher
8107 Augusta Pines PKWY W                                                   -
Spring, TX 77389

                                                                                                                                                            4,281.78
Account No. xxx8869

Howe, Amanda
430 South Capital St SE                                                     -
Washington, DC 20003

                                                                                                                                                            1,104.00
Account No. xxx0068

Howell, Robert T.
525 Chapman Ln.                                                             -
Marietta, GA 30066

                                                                                                                                                            5,062.00
Account No. xxx5449

Hoyles, Jennifer
8661 SE 17th Court                                                          -
Ocala, FL 34480

                                                                                                                                                              272.25
Account No. xxxx0656

Huang, Lei
2644 Hunt St. Unit 2                                                        -
Ames, IA 50014

                                                                                                                                                              269.50

           343 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          10,989.53
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 345 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3609                                                                                                                    E
                                                                                                                                        D

Huber, Kelly
4640 Teresa Trail                                                           -
Midlothian, TX 76065

                                                                                                                                                              906.25
Account No. xxx0939

Hudak, Andrew
2765 Preston Club                                                           -
Columbus, OH 43219

                                                                                                                                                              496.90
Account No. xxx9115

Hudak, Stephen
3124 Bel Aire Road                                                          -
Des Moines, IA 50310

                                                                                                                                                            2,734.00
Account No. xxx2843

Hudgins, Melissa
11336 Copper Hill Dr                                                        -
Hammond, LA 70403

                                                                                                                                                              586.25
Account No. xxxx2102

hueneman, kent
575 highway 69                                                              -
garner, IA 50438

                                                                                                                                                              800.80

           344 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,524.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 346 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx2182                                                                                                                    E
                                                                                                                                        D

Huffman, Hailey 1
225 Shady Grove Road                                                        -
Nashville, TN 37214

                                                                                                                                                              318.00
Account No. xxx4175

Hughes, Curtis 1
1920 Exchange Dr                                                            -
Greenville, NC 27858

                                                                                                                                                              247.97
Account No. xxx9659

Hughes, Nancy
5141 Eastlake Dr.                                                           -
Pompano Beach, FL 33064

                                                                                                                                                                91.76
Account No. xxx7067

Hughes, Ocee
1411 Hillandale Ave. Apt 6                                                  -
La Habra, CA 90631

                                                                                                                                                              552.80
Account No. xxxx4709

Hughes, Ryan 1
714 KINWOOD PORRT SE.                                                       -
LACEY, WA 98503

                                                                                                                                                              167.00

           345 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,377.53
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 347 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1530                                                                                                                     E
                                                                                                                                        D

Humphries, Bob
2319 W. Cedar Bayou Linchburg                                               -
Baytown, TX 77521

                                                                                                                                                              729.73
Account No. xxxx1683

Hunt, Antoine
P.O. Box DV 737                                                             -
Devonshire, 51

                                                                                                                                                            1,620.00
Account No. xxx8839

Huntington, Kate
585 north main st. apt 10                                                   -
tooele, UT 84074

                                                                                                                                                              643.80
Account No. xxx2962

Hurlburt, John R
2793 Pre Emption Street                                                     -
Geneva, NY 14456

                                                                                                                                                            1,052.00
Account No. xxx4999

hussey , michelle
2046 hollis rd                                                              -
lansdale, PA 19446

                                                                                                                                                              652.32

           346 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,697.85
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 348 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2389                                                                                                                     E
                                                                                                                                        D

Hutson, James
806 WAshington Ave                                                          -
albany, NY 12203

                                                                                                                                                              229.84
Account No. xxx8385

Hutton, Sean
200 East St                                                                 -
Southington, CT 06489

                                                                                                                                                            1,195.00
Account No. xxx2737

Hwang, Sunghyun
3762 S Flower St Apt.1                                                      -
Los Angeles, CA 90007

                                                                                                                                                              708.00
Account No. xxx0942

Ihrig, Matthew
20115 Tom Lee Ave                                                           -
Torrance, CA 90503

                                                                                                                                                              224.96
Account No. xxx0870

Ilagan , Michaelangelo
208 Lenape Ave.                                                             -
Melrose Park, PA 19027

                                                                                                                                                              279.72

           347 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,637.52
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 349 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

In Flight Balloon Adventures
P.O. Box 5339                                                               -
Clinton, NJ 08809

                                                                                                                                                            2,200.00
Account No. xxx7974

Ince, Richard
1053 Wyndhan                                                                -
Lansing, KS 66043

                                                                                                                                                              239.37
Account No.

Independent Skydive Company
Jeremy Divan                                                                -
3335 Airport Rd, Unit E
Boulder, CO 80301
                                                                                                                                                            1,000.00
Account No.

Indy Balloon Rides
405 E. New York                                                             -
Fortville, IN 46040

                                                                                                                                                              799.00
Account No.

Infinity & Beyond
78 Warner Hill Road                                                         -
Derry, NH 03038

                                                                                                                                                            5,000.00

           348 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,238.37
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 350 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9039                                                                                                                     E
                                                                                                                                        D

Isaias, Ambres
1728 Sw Coral Way                                                           -
Miami, FL 32145

                                                                                                                                                            2,519.00
Account No. xxx7729

Isidro, Claire
73 Trabuco Oak Drive                                                        -
Simi Valley, CA 93065

                                                                                                                                                              111.25
Account No.

Island Balloons, Inc.
Reed Basley                                                                 -
8530 Hicks Island Rd.
Lanexa, VA 23089
                                                                                                                                                            3,300.00
Account No. xxx1350

Island, Jason
1203 Peacham Ct.                                                            -
Fresno, TX 77545

                                                                                                                                                              756.69
Account No. xxx1882

Israel, Nathan
102 Michele Dr                                                              -
Hampton, VA 23669

                                                                                                                                                              905.00

           349 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,591.94
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 351 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3739                                                                                                                    E
                                                                                                                                        D

ITC Holdings
27175 Energy Way                                                            -
Novi, MI 48377

                                                                                                                                                            5,246.16
Account No. xxxx4756

Ivey, Stefani
650 North Leora Lane apt 925                                                -
vacollony, TX 75056

                                                                                                                                                              108.99
Account No. xxx1795

Izehi, Isleo
1 tridon cir box 677                                                        -
fort dodge, IA 50501

                                                                                                                                                              730.45
Account No. xxx4966

Jackson, James G.
9 S Silverview Ln.                                                          -
Greer, SC 29651

                                                                                                                                                              210.75
Account No. xxxx1599

Jacob, Patricia M.
22 Golden Ash way                                                           -
Gaithersburg, MD 20878

                                                                                                                                                                65.10

           350 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,361.45
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 352 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5076                                                                                                                     E
                                                                                                                                        D

Jaeger, Chris
3400 Ave of the Arts                                                        -
Costa Mesa, CA 92626

                                                                                                                                                            1,156.00
Account No. xxx8823

Jagusch, Dean
5220 Pennington ave                                                         -
Baltimore, MD 21226

                                                                                                                                                            7,605.00
Account No. xxx2843

jaimes, martin e
715 west foothill blvd                                                      -
Mongrovin, CA 91016

                                                                                                                                                            1,784.09
Account No. xxx1170

James, Max 1
101 Convention Center Drive # 1225                                          -
Las Vegas, NV 89109

                                                                                                                                                            1,415.00
Account No. xxx5306

Jara, Jacyln
10105 Elm Cirle Drive                                                       -
Oak Lawn, IL 60453

                                                                                                                                                              113.35

           351 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          12,073.44
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 353 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3476                                                                                                                     E
                                                                                                                                        D

Javid, Hassan
46 gallop lane                                                              -
somerset, NJ 08873

                                                                                                                                                              543.60
Account No. xxx4073

Jayaram, Nandish
908 Greek Rd Dr. Apt 246                                                    -
Arlington, TX 76013

                                                                                                                                                              488.80
Account No. xxx5077

Jenkins, Neil
2046 Brown Rd                                                               -
Aurburn Hills, MI 48326

                                                                                                                                                            9,532.50
Account No. xxx7074

Jennings, Jerry
104 Blue Steam St.                                                          -
Brighton, CO 80601

                                                                                                                                                              474.50
Account No. xxx9029

Jensen, Sabrina
165 E 400 N                                                                 -
Bountiful, UT 84010

                                                                                                                                                              353.84

           352 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          11,393.24
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 354 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3799                                                                                                                    E
                                                                                                                                        D

Jha, Rohan
17180 Big Oak Lane                                                          -
Yorba Linda, CA 92886

                                                                                                                                                              257.87
Account No. xxxx4051

Jhaveri, Nishant
12817 Shadow Oak Ln                                                         -
Fairfax, VA 22033

                                                                                                                                                              625.30
Account No. xxx0389

Jiang, Honglei
3239 Armour Court                                                           -
Mason, OH 45040

                                                                                                                                                              194.00
Account No. xxx0783

Jiao, Chao L.
901 Sumter BreyrresSt 207                                                   -
Columbia, SC 29208

                                                                                                                                                              930.20
Account No. xxx4439

Jimenez, Perla
1411 N Cockrell Hill Rd                                                     -
Dallas, TX 75211

                                                                                                                                                              103.60

           353 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,110.97
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 355 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2549                                                                                                                     E
                                                                                                                                        D

jiwani, amynah
112 Sugarstone Dr                                                           -
Lawrenceville, GA 30043

                                                                                                                                                              134.91
Account No. xxx1158

Johanson, Dave
2122 York Rd                                                                -
Oakbrook, IL 60523

                                                                                                                                                            2,130.01
Account No. xxx9929

John, Ashish
426 Arkansaw st apt3                                                        -
San Francisco, CA 94107

                                                                                                                                                            1,290.00
Account No. xxx8066

Johns, Michael T.
3695 Norman Scott Rd.                                                       -
San Diego, CA 92136

                                                                                                                                                              222.44
Account No. xxx1693

Johnson, Adam 1
510 Westridge Dr                                                            -
Ofallon, MO 63366

                                                                                                                                                              120.22

           354 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,897.58
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 356 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1172                                                                                                                    E
                                                                                                                                        D

Johnson, Allen K
1084 Brielle Court                                                          -
Oviedo, FL 32765

                                                                                                                                                              409.20
Account No. xxx8227

Johnson, Ana 1
5009 West Equestrian Pl Apt 1124                                            -
Sioux Falls, SD 57106

                                                                                                                                                                84.00
Account No. xxx7353

Johnson, Chris 1
805 Corss timbers dr                                                        -
Mckenney, TX 75069

                                                                                                                                                              438.10
Account No. xxxx3475

Johnson, Debron
2520 North 3000 West                                                        -
Delta, UT 84624

                                                                                                                                                              443.89
Account No. xxx2683

Johnson, Douglas
109 Silverdale Garden                                                       -
Fort Mcmurray Alburta T9H3S6

                                                                                                                                                            2,300.00

           355 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,675.19
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 357 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1880                                                                                                                    E
                                                                                                                                        D

Johnson, Herbie
501 Home Ave                                                                -
Norton, KS 67654

                                                                                                                                                              750.36
Account No. xxx9082

Johnson, Jeff 3
919 Milam St                                                                -
Houston, TX 77002

                                                                                                                                                            4,000.00
Account No. xxx2088

Johnson, Jeranica
505 Pecan Grove Loop                                                        -
Hopemills, NC 28348

                                                                                                                                                              539.60
Account No. xxx3690

Johnson, Nancy 1
85 Adam st                                                                  -
Fairhaven, MA 02719

                                                                                                                                                            2,989.00
Account No. xxxx0594

Johnson, Shannon C
2006 Newbury Drive                                                          -
Arlington, TX 76014

                                                                                                                                                              136.90

           356 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,415.86
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 358 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3753                                                                                                                     E
                                                                                                                                        D

Johnson, Shanti
116 Dearplace                                                               -
Pagsa springs, CO 81147

                                                                                                                                                              251.00
Account No. xxxx1962

Johnston, April A.
4316 summercrest blvd                                                       -
Antioch, TN 37013

                                                                                                                                                              432.00
Account No. xxx2844

Johnston, Jacob D
387 Hareing Highway West                                                    -
Marion, OH 43302

                                                                                                                                                                81.51
Account No. xxx9402

Jonas, Nicholas
250 West 57th street                                                        -
New York, NY 10107

                                                                                                                                                            1,100.75
Account No. xxx4828

Jones, Aarin
4214 Washington rd.apt 203                                                  -
Kenosha, WI 53144

                                                                                                                                                              331.76

           357 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,197.02
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 359 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9260                                                                                                                     E
                                                                                                                                        D

Jones, Brent
413 S 180th Place                                                           -
Seattle, WA 98148

                                                                                                                                                              227.15
Account No. xxx8470

Jones, Jackie
3500 North Star Road apt 218                                                -
Richardson, TX 75082

                                                                                                                                                              439.40
Account No. xxx4745

Jones, Melissa
302 Marietta Road                                                           -
Mooresville, NC 28117

                                                                                                                                                            2,128.00
Account No. xxx9414

Jones, Michael 1
9016 N. Wyandotte Ave                                                       -
Kansas City, MO 64155

                                                                                                                                                            5,632.50
Account No. xxx5144

Jones, Peggy
152 Heritage Village Ln                                                     -
Columbia, SC 29212

                                                                                                                                                            1,444.50

           358 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,871.55
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 360 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1217                                                                                                                    E
                                                                                                                                        D

Jones, Sarah E
3870 Kelly green Place                                                      -
MD 20602

                                                                                                                                                              173.85
Account No. xxx9690

Jones, Tyler 1
6703 Chevy Ray                                                              -
Tallahassee, FL 32317

                                                                                                                                                              239.99
Account No. xxx8933

Jordan, Thomas E.
528 Rua Dematta                                                             -
San Antonio, TX 78232

                                                                                                                                                              148.86
Account No. xxx1040

Joseph, Nerlande
119 Matrix Prkwy                                                            -
Peidmont, SC 29673

                                                                                                                                                            2,072.00
Account No. xxx8728

Juarez, Martin
702 S Bellrose                                                              -
Whichita, KS 67218

                                                                                                                                                              474.00

           359 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,108.70
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 361 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3817                                                                                                                    E
                                                                                                                                        D

Judd, Trevor
5810 Osage Ave                                                              -
Cheyanne, WY 82009

                                                                                                                                                              221.75
Account No. xxxx0242

Julio, Moreo
PO BOX 2095                                                                 -
Santa Rosa, CA 95405

                                                                                                                                                              170.17
Account No.

Jump Florida Skydiving LLC.
3800 Chalet Suzanne Drive                                                   -
Lake Wales, FL 33859

                                                                                                                                                            5,055.00
Account No. xxx8995

Jurrema, Peter
4325 Persimmon Ct                                                           -
Columbus, IN 47201

                                                                                                                                                              832.00
Account No. xxx2918

Justice, Janet
583 Indian Springs Dr                                                       -
Kerriville, TX 78028

                                                                                                                                                              153.60

           360 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,432.52
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 362 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8277                                                                                                                     E
                                                                                                                                        D

Justiniano, Jessica
2478 SW 177th Ave                                                           -
Mirimar, FL 33029

                                                                                                                                                              499.50
Account No. xxx2151

Jutzi, Jack
6741 Amber Crest Dr.                                                        -
Arlington, TX 76002

                                                                                                                                                              795.20
Account No. xxx9930

Kaczmarek, John
3501 Edgewood Drive                                                         -
Amarillo, TX 79109

                                                                                                                                                            1,698.25
Account No. xxxx4737

Kaiser, James
4670 shearwood ct NE                                                        -
grand rapids, MI 49525

                                                                                                                                                              154.00
Account No. xxx9623

Kakkad, Rishi
5450 wissahickon ave.                                                       -
Philadelphia, PA 19144

                                                                                                                                                              704.70

           361 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,851.65
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 363 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7637                                                                                                                     E
                                                                                                                                        D

Kalali, Chandra
4117 Stevenson Blvd                                                         -
Fremont 94538

                                                                                                                                                              532.79
Account No. xxx5931

Kalimullina, Gazul
199 Acacia Ave.                                                             -
Statin Island, NY 10308

                                                                                                                                                              276.11
Account No. xxx8568

kamdar, devyani
695 riviera circle                                                          -
larkstur, CA 94939

                                                                                                                                                              986.96
Account No. xxx9119

Kanakis, Heather
45447 Blue Sage pl                                                          -
Great Mills, MD 20634

                                                                                                                                                              614.40
Account No. xxx2542

Kanter, Lauren
4500 Woodfield Bulv.                                                        -
Boca Raton, FL 33434

                                                                                                                                                              425.70

           362 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,835.96
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 364 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Karen Kent Balloons
4128 Rougon Road                                                            -
Port Allen, LA 70767

                                                                                                                                                              850.00
Account No. xxx3972

Katikaneni, Sreerama
1901 Crossing Place 2204                                                    -
Austin, TX 78741

                                                                                                                                                              442.16
Account No. xxx6853

Kauffman, Kent
700 north patton                                                            -
harrisonville, MO 64701

                                                                                                                                                            2,250.20
Account No. xxxx3417

Kaur, Manjet
1414 Burrero Way                                                            -
Corona, CA 92882

                                                                                                                                                              489.74
Account No. xxx0553

Kedrowski, Michelle
15129 45 Rd                                                                 -
Arlington, WA 98223

                                                                                                                                                              384.65

           363 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,416.75
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 365 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1714                                                                                                                     E
                                                                                                                                        D

Keen, Bradley T
2601 Jeff Neely Drive                                                       -
nashville, TN 37212

                                                                                                                                                              422.00
Account No. xxx2653

Keenan, Lisa
11275 110th Ave.                                                            -
Largo, FL 33778

                                                                                                                                                              306.25
Account No. xxx7021

Kelly, Eileen
18 Elstone Dr.                                                              -
Glen Mills, PA 19342

                                                                                                                                                              479.60
Account No. xxx8743

Kelly, Julie 1
3901 Dovina Dr                                                              -
Raleigh, NC 27613

                                                                                                                                                                64.39
Account No. xxx7449

Kelly, Richard
1875 Newport Blvd                                                           -
costa Mesas, CA 92627

                                                                                                                                                              762.75

           364 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,034.99
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 366 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7382                                                                                                                     E
                                                                                                                                        D

Kelly, Stephen
P.O. Box 1472                                                               -
Seally Lake, MT 59868

                                                                                                                                                              704.00
Account No. xxx6535

Kenderdine, joshua
8119                                                                        -
albuquerque, NM 87120

                                                                                                                                                              250.26
Account No. xxx6916

Kendrick, Edward R
253 Highland Falls Dr                                                       -
Hiram, GA 30141

                                                                                                                                                              445.00
Account No. xxx1601

Kenkelen, Ryann
927 cummings Ave.                                                           -
Blackwood, NJ 08012

                                                                                                                                                              289.28
Account No. xxx3191

Kennedy, Chloe
1 macquarie                                                                 -
tennerisse 04001

                                                                                                                                                              256.50

           365 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,945.04
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 367 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0519                                                                                                                     E
                                                                                                                                        D

Kenyon, Carol A.
21329 Old Bellamy Road                                                      -
Alachua, FL 32615

                                                                                                                                                            1,203.20
Account No. xxx0508

Kerr, Steve
8624 donnywood circle                                                       -
britt, MN 55710

                                                                                                                                                              265.60
Account No. xxx1328

Kerschner, Erica
5389 Verne Rd.                                                              -
Mohrsville, PA 19541

                                                                                                                                                              965.24
Account No. xxx9951

kestler, jacquelyn
2202 may wine ln                                                            -
ofallon, MO 63368

                                                                                                                                                            1,178.08
Account No. xxx3090

Kettani, Eric
8105 Eagle Rd                                                               -
Kirtland, OH 44094

                                                                                                                                                              124.60

           366 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,736.72
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 368 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3495                                                                                                                    E
                                                                                                                                        D

Kettlewell, Mathew
146 Clearview Avenue                                                        -
Wheeling, WV 26003

                                                                                                                                                              273.97
Account No. xxxx4053

Khadake, Pramod
3435 Waterford Forest Cir                                                   -
Cary, NC 27513

                                                                                                                                                              283.70
Account No. xxx3096

Khalsa, Carol
12 Foote St                                                                 -
Berington, SC 02806

                                                                                                                                                              423.30
Account No. xxx3434

Kidd, Stephanie
1600 Sherri Way                                                             -
Richamond, IN 47374

                                                                                                                                                              186.00
Account No. xxx6054

Kilpatrick, Charles
105 Spindal Ln                                                              -
Lugoff, SC 29078

                                                                                                                                                              543.00

           367 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,709.97
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 369 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4019                                                                                                                     E
                                                                                                                                        D

Kim, Amy
1525 Addison Circle Apt 2430                                                -
Addison, TX 75001

                                                                                                                                                              260.11
Account No. xxx5349

Kimball, Jill
1507 Ancor Court                                                            -
Orlando, FL 32804

                                                                                                                                                              946.39
Account No. xxx8938

King, Donald 1
508 Tucker Way Ct                                                           -
Nashville, TN 37205

                                                                                                                                                              438.02
Account No. xxx3718

Kinney, Elizabeth
7116 Blairview Dr                                                           -
Dallas, TX 75230

                                                                                                                                                                73.80
Account No. xxx9240

Kirchberg, Chris
385 peaceful court                                                          -
Simi Valley, CA 93065

                                                                                                                                                            1,057.00

           368 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,775.32
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 370 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9995                                                                                                                     E
                                                                                                                                        D

Kirwan, Greg
605 Oak Hill Rd.                                                            -
N. Kingstown, RI 02852

                                                                                                                                                            2,142.50
Account No.

Kite Enterprises
203 Whisenant Dr                                                            -
Allen, TX 75013

                                                                                                                                                              350.00
Account No. xxx8822

Klaus, Brian
470 waterson School Rd                                                      -
Redrock, TX 78662

                                                                                                                                                            1,875.00
Account No. xxx9431

Klein, Mark E.
2411 SW 27th Ave                                                            -
Fort Lauderdale, FL 33316

                                                                                                                                                              500.10
Account No. xxx0119

Kline, Alexander
198 Wildwood Drive                                                          -
North Aurora, IL 60542

                                                                                                                                                              369.00

           369 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,236.60
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 371 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9631                                                                                                                     E
                                                                                                                                        D

Kline, Heather
3805 Courtland cir                                                          -
Alexandria, VA 22305

                                                                                                                                                              478.04
Account No. xxx9223

Kline, Jody
214 Hastings Dr                                                             -
Goose Creek, SC 29445

                                                                                                                                                              204.50
Account No. xxx4487

Knapp, Raymond
414 2nd St                                                                  -
Perry, IA 50220

                                                                                                                                                              314.55
Account No. xxx8724

Knepp, Melissa
8 S Locke Ave.                                                              -
Yeagertown, PA 17099

                                                                                                                                                              118.70
Account No. xxx6792

Knight, Austin
92 summer tree drive                                                        -
Nicholasville, KY 40356

                                                                                                                                                              119.25

           370 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,235.04
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 372 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2719                                                                                                                     E
                                                                                                                                        D

Knight, Elizabeth
46 Arlington St.                                                            -
Burnside Christchurch 08

                                                                                                                                                            1,272.38
Account No. xxxx4912

Knopinski, Diana
250 Central Avenue, Apt. 811                                                -
Newark, NJ 07103

                                                                                                                                                              195.85
Account No. xxx6676

Knott, Edmond
524 south 4th street                                                        -
albion, NE 68620

                                                                                                                                                            1,251.25
Account No. xxx2042

Knowling, Brittney
205 N Davis Dr                                                              -
Charleston, SC 29404

                                                                                                                                                                87.10
Account No. xxx5005

Knuth, Shelley
1709 Apelles Cir                                                            -
Lafeyette, CO 80026

                                                                                                                                                              416.65

           371 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,223.23
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 373 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4363                                                                                                                     E
                                                                                                                                        D

Kodkani, Yogeeta
1511 noble pointe dr                                                        -
Spring, TX 77379

                                                                                                                                                              932.40
Account No. xxx9276

Koenig, Maxwell
221 Summit                                                                  -
Mount Vernon, NY 10552

                                                                                                                                                              978.20
Account No. xxx8114

Koerner, Lukes
2412 S.Valley Dr. lot 12                                                    -
Rapid City, SD 57703

                                                                                                                                                              451.82
Account No. xxx1121

Koerth, Andrea
224 S. Mccampbell St.                                                       -
Aransas Pass, TX 78336

                                                                                                                                                              394.00
Account No. xxx1443

Kohlhepp, Joe
1507 Woodridge Lane                                                         -
Sykesville, MD 21784

                                                                                                                                                              387.32

           372 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,143.74
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 374 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8230                                                                                                                     E
                                                                                                                                        D

Kokaisl, Colleen
3508 N Sheffield Rd                                                         -
Chicago, IL 60657

                                                                                                                                                              141.89
Account No. xxx1418

Kolowich, Brian
854 Issaqueena Trail #602                                                   -
Clemson, SC 29630

                                                                                                                                                              154.44
Account No. xxx2793

Kolz, James
607 S Knight Ave                                                            -
Park Ridege, IL 60068

                                                                                                                                                            2,362.50
Account No. xxx6512

Konopka, Douglas
1736 Milford St                                                             -
Huston, TX 77098

                                                                                                                                                            3,250.00
Account No. xxxx1551

Kooiman, Cheryl
2379 N 65th Street                                                          -
Wauwatosa, WI 53213

                                                                                                                                                              696.00

           373 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,604.83
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 375 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6491                                                                                                                     E
                                                                                                                                        D

Koontz, Kristy
610 Ivenhoe                                                                 -
Marion, IN 46952

                                                                                                                                                              972.72
Account No. xxx8368

Kopec, Joanna
2066 Cedar Park Ln                                                          -
Orlando, FL 32824

                                                                                                                                                              641.25
Account No. xxx2782

Korelitz, Michael
25450 Pleasant Valley Rd                                                    -
Chantilly, VA 20152

                                                                                                                                                            2,392.00
Account No. xxx8149

korin, brad
22 normal lane.                                                             -
kingspark, NY 11754

                                                                                                                                                              835.80
Account No. xxx5930

Kostakis, Edward
489 Emory Rd                                                                -
Mineola, NY 11501

                                                                                                                                                              283.87

           374 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,125.64
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 376 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8115                                                                                                                     E
                                                                                                                                        D

Koster, Rick
2031 Eighth Ave                                                             -
Byron Center, MI 49315

                                                                                                                                                              926.40
Account No. xxx8539

Kotlerman, Jenny
3121 Colorado ave unit T                                                    -
santa monica, CA 90404

                                                                                                                                                              505.20
Account No. xxx5614

Kotova, Marina
8410 Brookwood Ct.                                                          -
Mclean, VA 22102

                                                                                                                                                            1,651.65
Account No. xxx8361

kotsinonos, john R
324 East 35th street apartment 3D                                           -
new york, NY 10016

                                                                                                                                                            2,146.00
Account No. xxx4193

Kowalko, Len
505 Juego St                                                                -
Oxnard, CA 93030

                                                                                                                                                            1,121.00

           375 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,350.25
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 377 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6142                                                                                                                     E
                                                                                                                                        D

KRABACHER, PAUL
235 weber street                                                            -
woodland, CA 95695

                                                                                                                                                              277.60
Account No. xxx0578

Kraimer, Joyce M
826 Loxford Terrace                                                         -
Silver Springs, MD 20901

                                                                                                                                                              653.79
Account No. xxxx3473

Kramer, Kurt L.
36 Ledyard Avenue                                                           -
New York, NY 14043

                                                                                                                                                              542.00
Account No. xxx5839

Kramer, Paul
4133 Birch Drive                                                            -
Huntingtown, MD 20639

                                                                                                                                                            1,380.00
Account No. xxx2411

Kramer, Sean J.
516 West Polk                                                               -
Houston, TX 77019

                                                                                                                                                            1,690.00

           376 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,543.39
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 378 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7827                                                                                                                     E
                                                                                                                                        D

Krammer, Angel
11070 SE 196th st                                                           -
Inglis, FL 34449

                                                                                                                                                              224.77
Account No. xxx3659

Kraus, Yoanna
318 Plymouth St                                                             -
Silverspring, MD 20901

                                                                                                                                                              212.50
Account No. xxx2257

Krawl, Sherry
11982 Handrich Dr                                                           -
San Diego, CA 92131

                                                                                                                                                              393.00
Account No. xxx2360

Krivan, Gail
3588 Harvard Dr                                                             -
Carson City, NV 89703

                                                                                                                                                              497.50
Account No. xxx0164

Krokos, Olga
8736 Hanna Ave                                                              -
Canoga Park, CA 91304

                                                                                                                                                              192.00

           377 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,519.77
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 379 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4134                                                                                                                     E
                                                                                                                                        D

Krueger, Anita
1100 Pagedale Dr                                                            -
Cedar Park, FL 78613

                                                                                                                                                            1,589.00
Account No. xxxx3574

Kruger, Robert
8819 W 3rd Avenue                                                           -
Kennewick, WA 99336

                                                                                                                                                              570.20
Account No. xxx0580

Kukla, Mary K
3625 W Windsor Ct                                                           -
La Porte, IN 46350

                                                                                                                                                                78.00
Account No. xxx9468

Kulikowski, Patricia
512 Wemberly Ln                                                             -
Simpsonville, SC 29681

                                                                                                                                                              433.50
Account No. xxxx2723

Kulkarni, Dhawal, V
2193 Summer Pkwy                                                            -
Duluth, GA 30096

                                                                                                                                                              170.50

           378 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,841.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 380 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4222                                                                                                                     E
                                                                                                                                        D

Kunkel, Kathleen
22W103 Sheffield Ct                                                         -
GlenEllyb, IL 60137

                                                                                                                                                              659.27
Account No. xxx0012

Kurepa, Cheryl
100 W Big Beaver                                                            -
Troy, MI 48084

                                                                                                                                                            2,794.00
Account No. xxx6710

Kyle, camilia
4521 mellwood ave                                                           -
cinnati, OH 45232

                                                                                                                                                              147.00
Account No. xxx2046

Labrada, Dayana
325 S Biscayne Blvd Apt 1223                                                -
Miami, FL 33131

                                                                                                                                                              427.00
Account No. xxx0658

Lacey, Jaime A.
27069-4 crossglade ave                                                      -
canyon contry, CA 91351

                                                                                                                                                            1,576.00

           379 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,603.27
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 381 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7177                                                                                                                     E
                                                                                                                                        D

Lachance, Adam
507 Churchhill Downs Dr                                                     -
Aberdeen, NC 28315

                                                                                                                                                              567.98
Account No. xxx5686

Ladd, Clare
2843 S Kenwood.                                                             -
Tempe, AZ 85282

                                                                                                                                                              179.20
Account No. xxx8012

Ladino, Jennifer E
21 Lake St                                                                  -
Groton, CT 06340

                                                                                                                                                                83.30
Account No. xxx7548

Lalumiere, Eric
2037 Burton Street                                                          -
San Diego, CA 92109

                                                                                                                                                              425.61
Account No. xxx1216

Lamb, Isabel
550 Salmon                                                                  -
Beaumont, TX 77701

                                                                                                                                                            1,369.00

           380 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,625.09
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 382 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8825                                                                                                                     E
                                                                                                                                        D

Landry, Kirk
4924 Hastings St                                                            -
Metairie, LA 70006

                                                                                                                                                            1,378.00
Account No. xxx4491

Landry, Sharon
218 New Castle dr                                                           -
Valejo, CA 94591

                                                                                                                                                              277.20
Account No. xxx2146

Lane, Douglas
255 Old Loudon Rd                                                           -
Latham, NY 12110

                                                                                                                                                            1,625.00
Account No. xxxx4266

Lane, Gunilla
4150 NE 23rd Avenue                                                         -
Lighthouse Point, FL 33064

                                                                                                                                                            1,732.05
Account No. xxx5071

Lane, John 1
3500 American Dr                                                            -
Sacramento, CA 95864

                                                                                                                                                              737.00

           381 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,749.25
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 383 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5687                                                                                                                     E
                                                                                                                                        D

Lang, Becky
1050 Pheasant Dr                                                            -
Genoa City, WI 53128

                                                                                                                                                                90.09
Account No. xxx4621

Langford, David
P.o box 701                                                                 -
winnebago, MN 56098

                                                                                                                                                              470.40
Account No. xxx0048

langner, jennifer
43803 county rd 1                                                           -
rice, MN

                                                                                                                                                              960.00
Account No. xxx9849

Larie, Tammy
1500 June Ln                                                                -
Columbia, MO 65202

                                                                                                                                                              768.12
Account No. xxx2296

Larios, Salvador
1818 Letts Ave.                                                             -
Corcoran, CA 93212

                                                                                                                                                              335.20

           382 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,623.81
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 384 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2297                                                                                                                     E
                                                                                                                                        D

Larkins, Jamail
3108 Peach Orchard                                                          -
Augusta, GA 30906

                                                                                                                                                            1,474.46
Account No. xxx1650

Larkins, James
503 jasper st                                                               -
Isherning, MI 49849

                                                                                                                                                              110.47
Account No. xxx6230

Larrabee, Lewis
2220 McLean Blvd                                                            -
Eugene, OR 97405

                                                                                                                                                              383.90
Account No. xxx6138

Larson, Keegan
416 N Shelly Ave                                                            -
Fresno, CA 93727

                                                                                                                                                              469.29
Account No. xxx7598

Lasner, Ryan
18414 North west 9th court                                                  -
Pembrook pines, FL 33029

                                                                                                                                                              553.50

           383 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,991.62
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 385 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8080                                                                                                                     E
                                                                                                                                        D

Last, Robert R
1153 Bergen Parkway #178                                                    -
Evergreen, CO 80439

                                                                                                                                                              754.00
Account No. xxx1893

Laub, Thomas
628 south Redding Ave.                                                      -
Boyertown, PA 19512

                                                                                                                                                              217.42
Account No. xxx4626

Laurin, Nicholas W
13540 Short drive                                                           -
crestwood, IL 60445

                                                                                                                                                              384.48
Account No. xxx7599

Lax, Kelsey
6201 Ocean Breeze                                                           -
Malibu, CA 90265

                                                                                                                                                              359.70
Account No. xxx0234

Le, Christine 1
3433 Rosetree Dr                                                            -
Jacksonville, FL 32207

                                                                                                                                                              175.50

           384 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,891.10
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 386 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3518                                                                                                                     E
                                                                                                                                        D

Le, Hong
410 Bloedel Reserve Way Apt 204                                             -
Martinez, GA 30907

                                                                                                                                                              311.75
Account No. xxx3276

Le, Loan K
1066 12th Ave Drive NW                                                      -
Hickory, NC 28601

                                                                                                                                                              448.80
Account No. xxx6280

Leahy, Bruce
3906 Niblick St                                                             -
Longmont, CO 80503

                                                                                                                                                              265.00
Account No. xxx3552

Leandro, Guillermo
7715 NW 46th St.                                                            -
Doral, FL 33166

                                                                                                                                                              522.80
Account No. xxxx3086

Leanillo, Ricarda, A
13945 12th St.                                                              -
Dade City, FL

                                                                                                                                                                76.50

           385 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,624.85
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 387 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3586                                                                                                                    E
                                                                                                                                        D

Leano, Jocelyn
8336 W. Buckhorn Trail                                                      -
Peoria, AZ 85383

                                                                                                                                                              867.00
Account No. xxxx3878

Leavens, Gregory
405 Pershing Street                                                         -
Elwood City, PA 16117

                                                                                                                                                              258.99
Account No. xxx9710

Lee, Diana
1414 Harbour Way S                                                          -
Richmond, CA 94804

                                                                                                                                                            3,850.00
Account No. xxx4364

Lee, Joshua 1
50 Northern Turnpike                                                        -
Johnsonville, NY 12094

                                                                                                                                                              448.29
Account No. xxxx4035

Lee, Matthew B.
1078 Fortner pond rd                                                        -
kite, GA 31045

                                                                                                                                                              274.98

           386 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,699.26
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 388 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3022                                                                                                                    E
                                                                                                                                        D

Lee, Sang M.
4614 La Escalona Drive                                                      -
League, TX 77573

                                                                                                                                                              875.00
Account No. xxx8827

Lee, Teri
P.O. Box 393                                                                -
Arkadelphia, AR 71923

                                                                                                                                                              248.99
Account No. xxxx0533

Leemasters, Bryan
21 ashberry woods dr 101                                                    -
huntsville, AL 35824

                                                                                                                                                              111.05
Account No. xxx6341

Leesam, Sandy
3154 Laird Dr.                                                              -
Newport Richey, FL 34655

                                                                                                                                                              114.00
Account No. xxx8659

Leidholt, Krista
1520 Riveroak Ave                                                           -
Brandon, SD 57005

                                                                                                                                                              362.60

           387 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,711.64
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 389 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1796                                                                                                                     E
                                                                                                                                        D

Leishman, Greg
9 pond veiw drive                                                           -
springflied, MA 01118

                                                                                                                                                              896.80
Account No. xxx7892

Lemus, Eleimar
614 South West 1st lane                                                     -
Pompano Beach, FL 33060

                                                                                                                                                              712.82
Account No. xxx9672

Lena, Vasi
255 Broken Point                                                            -
Clearwater Beach, FL 33767

                                                                                                                                                              335.00
Account No. xxx9267

Lenihan, Erin
39 Oak Drive                                                                -
Roseland, NJ 07068

                                                                                                                                                              217.64
Account No. xxx8364

Lentz, Chris
90 Elizabeth St Apt 3                                                       -
Atlanta, GA 30307

                                                                                                                                                              794.00

           388 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,956.26
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 390 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8363                                                                                                                     E
                                                                                                                                        D

Lentz, Christopher
90 Elizabeth street apartment 3                                             -
Atlanta, GA 30307

                                                                                                                                                              317.52
Account No. xxx4283

Lenz, Gean
23655 620th St                                                              -
Pomeroy, IA 50575

                                                                                                                                                            1,161.00
Account No. xxx5291

Leonarczyk, Gregory E.
145 Juniper Dr                                                              -
Yorktown Heights, NY 10598

                                                                                                                                                            2,424.11
Account No. xxx6878

Leonard, Kala
1914 Frankford Ave Apt 133                                                  -
Panama City, FL 32045

                                                                                                                                                              246.97
Account No. xxx3754

Leonard, Zackary
26 mary's rd                                                                -
sunapee, NH 03782

                                                                                                                                                              434.84

           389 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,584.44
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 391 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3346                                                                                                                     E
                                                                                                                                        D

Leous, Courtney
180 Summer Street                                                           -
Buffalo, NY 14222

                                                                                                                                                              282.00
Account No. xxx9565

Lesage, Lawrence
10 Morgan Rd                                                                -
Selkirk, NY 12158

                                                                                                                                                              114.92
Account No. xxx5374

Leverett, Steve
463 mountfort rd                                                            -
n yarmouth, ME 04097

                                                                                                                                                              551.20
Account No. xxxx2725

Levitan, Nomi
10 Golar Dr                                                                 -
Munci, NY 10952

                                                                                                                                                              239.50
Account No. xxx8906

Levy, Michel
524 North Poinsettia place                                                  -
Los Angles, CA 90036

                                                                                                                                                            1,548.00

           390 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,735.62
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 392 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9172                                                                                                                     E
                                                                                                                                        D

Lewis, Kelly
16022 pedlar mills road                                                     -
charltte, NC 28278

                                                                                                                                                              251.70
Account No. xxx2299

Lezinska, Dimi
65 C Chesson Rd                                                             -
London W149QR

                                                                                                                                                              398.30
Account No. xxx9366

Li, Binbin
270 Babcock St Apt 18h                                                      -
Boston, MA 02215

                                                                                                                                                              509.20
Account No. xxx2846

Li, Brian K
po box 734 742 north amherst ave                                            -
claremont, CA 91711

                                                                                                                                                              670.40
Account No.

Liberty Balloon Co.
d/b/a Liberty Balloon Co.                                                   -
6730 Barber Hill Road
Groveland, NY 14462
                                                                                                                                                              840.00

           391 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,669.60
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 393 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx0965                                                                                                                    E
                                                                                                                                        D

Lichtenberg, Christine
1233 102nd Avenue                                                           -
Greeley, CO 80634

                                                                                                                                                              262.80
Account No. xxx3883

Liddell, Celia
6825 33rd St                                                                -
Vero Beach, FL 32966

                                                                                                                                                              726.00
Account No. xxx8208

Liechty, Elizabeth
2400 Boston street suit 102                                                 -
baltimore, MD 21224

                                                                                                                                                              489.10
Account No.

Life Cycle Balloon Adventures, Ltd
P.O. Box 17123                                                              -
Boulder, CO 80308

                                                                                                                                                              950.00
Account No.

LimeLite Balloons
2700 South Kirby Rd                                                         -
Bloomington, IN 47403

                                                                                                                                                              550.00

           392 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,977.90
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 394 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6761                                                                                                                     E
                                                                                                                                        D

Lin, Letian
303 Smith Level rd. apt e22                                                 -
Chapel Hill, NC 27516

                                                                                                                                                            1,064.00
Account No. xxx8868

Lindner, Steve
10020 Foothills Blvd                                                        -
Roseville, CA 95767

                                                                                                                                                              353.70
Account No. xxx4023

Lingerfelt, Patricia
po box 3416                                                                 -
Arnold, CA 95223

                                                                                                                                                              740.22
Account No. xxx7245

Lioce, Laura J 1
12595 86 Rd. North                                                          -
West Palm Beach, FL 33412

                                                                                                                                                              110.40
Account No. xxx9269

Lively, Clint D.
104 W. Arcadia Ave, Unit 90                                                 -
Clovis, NM 88101

                                                                                                                                                              232.32

           393 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,500.64
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 395 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7899                                                                                                                     E
                                                                                                                                        D

Livermont, Carol
678 N 3200 E                                                                -
Menan, ID 83434

                                                                                                                                                              551.00
Account No. xxx9941

Livingston, Alexander
1545 South park                                                             -
Halifax NS, 51

                                                                                                                                                            1,057.54
Account No. xxx0124

Lobello, Vickie
2954 Circle View Dr                                                         -
Semi Valley, CA 93063

                                                                                                                                                              385.50
Account No. xxxx3721

Lochner, Todd
182 Duke of Gloucester St                                                   -
Annapolis, MD 21401

                                                                                                                                                            1,027.50
Account No. xxxx4925

Locke, Mary
6207 44th Ave.                                                              -
Riverdale, MD 20737

                                                                                                                                                              149.90

           394 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,171.44
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 396 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8231                                                                                                                     E
                                                                                                                                        D

Logon, Tom
1311a W maine st                                                            -
Carmi, IL 62821

                                                                                                                                                            1,905.00
Account No. xxx2101

Logsdon, John
7912 Truxton Ave                                                            -
los angeles, CA 90045

                                                                                                                                                            3,591.00
Account No. xxx4195

Loken, Elizabeth
11770 Crow Hill Dr.                                                         -
Parker, CO 80134

                                                                                                                                                              105.82
Account No. xxxx1027

Lokma, Ahmed A
705 Park ave NE                                                             -
Atlanta, GA 30326

                                                                                                                                                              371.66
Account No. xxx3051

Londo, James
4145 deerfield lane                                                         -
Rapid River, MI 49878

                                                                                                                                                              705.00

           395 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,678.48
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 397 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Long Island Skydiving Center, Inc.
Long Island Skydiving Center, Inc.                                          -
P O Box 182
Titusville, FL 32781
                                                                                                                                                            2,087.52
Account No. xxx9367

Long, Brent
22800 Cabo Lane                                                             -
Denhim Springs, LA 70726

                                                                                                                                                              675.15
Account No. xxx6493

Long, Jennifer 1
5902 highland pass                                                          -
Austin, TX 78731

                                                                                                                                                              485.50
Account No. xxx6347

Long, Lindsey
19619 Norfolk Ridge Way                                                     -
Richmond, TX 77407

                                                                                                                                                                73.54
Account No. xxx9473

Longacker, Kristopher
39990 Roadrunner Lane                                                       -
Boulevard, CA 91905

                                                                                                                                                              117.07

           396 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,438.78
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 398 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4690                                                                                                                    E
                                                                                                                                        D

Longhurst, Dale
1585 EasT Miranda Lane                                                      -
Sandy, UT 84093

                                                                                                                                                              229.90
Account No.

Longmont Hot Air Balloon, LLC
PO Box 739                                                                  -
Longmont, CO 80502-0739

                                                                                                                                                              350.00
Account No. xxx3166

Longoria, Roel
326 Waggon Trl. rd                                                          -
Palmhurst, TX 78573

                                                                                                                                                              376.74
Account No. xxx3554

Loomis, Peter
804 Shallow Brook Ave.                                                      -
Wintersprings, FL 32708

                                                                                                                                                              811.25
Account No. xxx3922

Lopez, Christina
4923 paul street                                                            -
denver, CO 80216

                                                                                                                                                              397.50

           397 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,165.39
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 399 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3830                                                                                                                     E
                                                                                                                                        D

Lopez, Francisco E.
7339 Nada Street                                                            -
Downey, CA 90242

                                                                                                                                                              444.89
Account No. xxx7091

Lopez, Patricia
4509 Kings Row                                                              -
Von Ormy, TX 78073

                                                                                                                                                              224.99
Account No. xxx1535

Louvier, Farrell
2004 Ruby Dr                                                                -
Houma, LA 70363

                                                                                                                                                            1,628.00
Account No. xxx8993

Lovell, Susan
PO Box 220                                                                  -
Burnsville, NC 28714

                                                                                                                                                            2,145.00
Account No. xxx2024

Loveres, Katrina
28374 Scamore Dr                                                            -
Saugus, CA 91350

                                                                                                                                                                92.19

           398 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,535.07
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 400 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8466                                                                                                                     E
                                                                                                                                        D

Lowden, Lanette
PO Box 1298                                                                 -
Kyle, TX 78640

                                                                                                                                                            2,340.00
Account No. xxx7301

Lowe, Nathanael
826 MASONIC AVE                                                             -
SAN FRANSICO, CA 94117

                                                                                                                                                              728.00
Account No. xxx7176

Lowe, Trent
1165 Taylors Country Ln.                                                    -
Gold Hill, NC 28071

                                                                                                                                                              543.10
Account No. xxx6800

Lowery, Jill K.
120 Indepence Ave                                                           -
Enterprise, AL 36330

                                                                                                                                                            1,256.65
Account No. xxxx3800

Lozano, Hector
1449 Abenida Alverado                                                       -
Placentia, CA 92870

                                                                                                                                                              515.74

           399 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,383.49
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 401 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4366                                                                                                                     E
                                                                                                                                        D

Lucas, Brian
5818 Akron Street                                                           -
Philadelphia, PA 19149

                                                                                                                                                              381.08
Account No. xxx5073

Lucci, Fran
6138 Garamond Ct                                                            -
Charlotte, NC 28270

                                                                                                                                                              377.00
Account No. xxx6480

Lucente, Cheryl
615 Valie Vista Drive                                                       -
Brandon, FL 33511

                                                                                                                                                            1,272.00
Account No. xxxx2282

Luetkemeyer, Robin
5090 Green Hills Rd                                                         -
Festus, MO 63028

                                                                                                                                                              201.00
Account No. xxx1721

Lufkin, Gregory
633 South Barrington St unit 102                                            -
Los Angeles, CA 90049

                                                                                                                                                            5,228.80

           400 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,459.88
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 402 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7734                                                                                                                     E
                                                                                                                                        D

Luna, Daniel
42 S Meade St                                                               -
Denver, CO 80219

                                                                                                                                                                72.00
Account No. xxx8671

Luna, Jose L.
654 Laurel St., Unit 7                                                      -
East Haven, CT 06512

                                                                                                                                                              757.63
Account No. xxxx3159

Lunau, Tina
1703 Cashel Lane                                                            -
McHenry, IL 60050

                                                                                                                                                              141.25
Account No. xxx7456

Lungu, Zachary
186 Pier Landing loop                                                       -
South Mills, NC 27976

                                                                                                                                                              883.04
Account No. xxx6779

Luther, Connie
53 1/2 South Williams St                                                    -
Neward, OH 43055

                                                                                                                                                              455.90

           401 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,309.82
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 403 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6282                                                                                                                     E
                                                                                                                                        D

Lynskey, Timothy
3109 Barker camp Rd                                                         -
Dunlap, TN 37327

                                                                                                                                                            3,006.50
Account No. xxx1808

Maccrimmon, Mallory 1
485 Huntington Ridge Drive                                                  -
Nashville, TN 37211

                                                                                                                                                              273.20
Account No. xxx0518

Macdonald, Karen A
5 Lee Hill Road                                                             -
Lee, NH 03861

                                                                                                                                                            1,088.00
Account No. xxx6693

Machado, Tonya 1
420 Gander Ct.                                                              -
Spring Hill, TN 37175

                                                                                                                                                                70.20
Account No. xxx4390

Macintosh, Rebecca M
21139 Iverson Ave                                                           -
Forrest Lake, MN 55025

                                                                                                                                                              132.80

           402 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,570.70
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 404 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2557                                                                                                                     E
                                                                                                                                        D

macktal, doreen
po box333                                                                   -
avalon, CA 90704

                                                                                                                                                              384.81
Account No. xxx5484

MacLeod, Rodrick
330 Congress St Flr 2                                                       -
Boston, MA 02210

                                                                                                                                                            3,885.00
Account No. xxx8429

MacMillan, Reed C.
5315 Atlee Place                                                            -
Springfield, VA 22151

                                                                                                                                                            1,820.00
Account No. xxxx3819

Maddison, Cameron
2307 Lourddes Rd                                                            -
Richmond, VA 23228

                                                                                                                                                              533.70
Account No. xxx9432

Madira, Ana
29 Acacia Terrace                                                           -
New Rochelle, NY 10805

                                                                                                                                                              735.93

           403 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,359.44
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 405 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8101                                                                                                                     E
                                                                                                                                        D

Maes, Felicia
22 W Onieda St                                                              -
Oswego, NY 13126

                                                                                                                                                              583.80
Account No. xxx5313

Magana, Elizabeth
1314 La Tijera Blvd                                                         -
Inglewood, CA 90302

                                                                                                                                                              181.20
Account No.

Magical Adventures
P.O. Box 891951                                                             -
Temecula, CA 92589-1951

                                                                                                                                                          44,125.00
Account No. xxx0519

Mahler, Bryan W
110 Barberry Street                                                         -
Winder, PA 15963

                                                                                                                                                              417.00
Account No. xxx1045

Maizel, Adam A
12311 Lima Dr                                                               -
Silver Springs, MD 20904

                                                                                                                                                              858.40

           404 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          46,165.40
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 406 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4367                                                                                                                     E
                                                                                                                                        D

Manchester, Alaina
1128 SW 6th Avenue Aprt. 2                                                  -
Gainsville, FL 32601

                                                                                                                                                              206.05
Account No. xxx2581

Mand, Linda
5188 Jenner Rd                                                              -
Boonville, IN 47601

                                                                                                                                                              643.20
Account No. xxx8117

Maples, Christopher
1027 Valley View Drive Apt 2                                                -
junction City, KS 66441

                                                                                                                                                                74.00
Account No. xxx5293

Marcus , Russel
PO Box 11290                                                                -
Conway, AR 72034

                                                                                                                                                              436.60
Account No. xxx6882

Marcus, Anthony
385 County Rd. 184                                                          -
Clanton, AL 35046

                                                                                                                                                              327.67

           405 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,687.52
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 407 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3557                                                                                                                     E
                                                                                                                                        D

Marcuzzi, Cain
5095 Frankfort Rd.                                                          -
Versailles, KY 40383

                                                                                                                                                            1,026.00
Account No. xxx6220

Mark, John H.
31-37 55st                                                                  -
woodside, NY 11377

                                                                                                                                                              707.84
Account No. xxx5417

Markala, Kumar
585 78th Ave NE                                                             -
Spring Lake Park, MN 55432

                                                                                                                                                              729.00
Account No. xxx8947

Markham, Steve
PO Box 27396                                                                -
Austin, TX 78755

                                                                                                                                                            3,375.03
Account No. xxxx2539

marlin, russell
840 n 4250 rd                                                               -
claremore, OK 74019

                                                                                                                                                              260.74

           406 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,098.61
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 408 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7694                                                                                                                     E
                                                                                                                                        D

Marmo, Mishell
325 wilson circle                                                           -
green field, CA 93927

                                                                                                                                                              492.80
Account No. xxx9325

Marmorstein, Theodore S.
14418 N. 29th Ave                                                           -
Pheonix, AZ 85053

                                                                                                                                                                76.40
Account No. xxx0588

Maroulis, Andreas
176 S Union Rd Apt A2                                                       -
Buffalo, NY 14221

                                                                                                                                                                90.40
Account No. xxx9589

Marr, G. Trevor
10669 Obsidiad St.                                                          -
Le Paso, TX 79924

                                                                                                                                                              461.56
Account No. xxx4081

Marron, Mary
1213 7 Gretrute Drive                                                       -
Lynwood, CA 90262

                                                                                                                                                                77.33

           407 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,198.49
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 409 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6223                                                                                                                     E
                                                                                                                                        D

Marsden, Craig
2 Brevoort Place Apt 4                                                      -
Brroklyn, NY 11216

                                                                                                                                                              169.87
Account No. xxx9186

Martelli, Matt
2554 Pahuant St.                                                            -
Oceanside, CA 92054

                                                                                                                                                            2,750.00
Account No. xxx0945

Martin, Anthony
315 Commercial Dr Suite A4                                                  -
Savanah, GA 31406

                                                                                                                                                              438.90
Account No. xxx7338

Martin, Christopher 1
8419 22 Street                                                              -
Miramar, FL 33025

                                                                                                                                                              284.05
Account No. xxx9877

Martin, Deborah A
4220 Savoy Lane                                                             -
McHenry, IL 60050

                                                                                                                                                              305.60

           408 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,948.42
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 410 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2439                                                                                                                     E
                                                                                                                                        D

Martin, Harriet
P.O BOX 2582                                                                -
KIRTLAND, NM 87417

                                                                                                                                                              417.65
Account No. xxxx4151

Martin, Omaida
2625 corning st                                                             -
hephzibah, GA 30815

                                                                                                                                                              231.10
Account No. xxx3231

Martin, Regina B
12517 Fox Paw Trail                                                         -
Keller, TX 76244

                                                                                                                                                              213.00
Account No. xxx8548

Martin, Samuel
1020 Reliance Dr.                                                           -
Franklin, TN 37067

                                                                                                                                                              207.50
Account No. xxx6422

Martinez, Andrea 1
71-20 252 St.                                                               -
Bellerose, NY 11426

                                                                                                                                                            1,114.40

           409 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,183.65
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 411 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9502                                                                                                                     E
                                                                                                                                        D

Martinez, Corrina R.
901 S. Country Club Dr, 2104                                                -
Mesa, AZ 85201

                                                                                                                                                              197.20
Account No. xxx1124

MARTINEZ, JOHN J
6017 HICKORY GROVE LANE                                                     -
PROT ORANGE, FL 32128

                                                                                                                                                              312.00
Account No. xxx4325

Martinez, Juana N.
1015 Hydeaway Ct                                                            -
Fenton, MO 63026

                                                                                                                                                              139.04
Account No. xxx9909

Martz, Geoff
528 West 111 Street Apt: 77                                                 -
New York, NY 10025

                                                                                                                                                            1,551.50
Account No. xxx7773

marx, krysten
2600 n southport                                                            -
chicago, IL 60714

                                                                                                                                                            1,202.70

           410 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,402.44
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 412 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9879                                                                                                                     E
                                                                                                                                        D

mason, Thomas
050 koval lane hanger 5 a                                                   -
las vegas, NV 89119

                                                                                                                                                            2,543.00
Account No. xxx2234

Masuda, Nina
81 Pearl St Apt 4B                                                          -
Brooklyn, NY 11201

                                                                                                                                                              240.65
Account No. xxxx3496

Mata, Lauren
11800 Braesview Apt 910                                                     -
San Antonio, TX 78213

                                                                                                                                                              253.69
Account No. xxxx3667

Mathews, Larry
12010 Fairway Manor Ct                                                      -
Upper Marlboro, MD 20772

                                                                                                                                                              124.90
Account No. xxx2196

Mathies , Michelle
8310 Country Walk Drive APT B                                               -
Pensacola, FL 32514

                                                                                                                                                              136.80

           411 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,299.04
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 413 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5898                                                                                                                     E
                                                                                                                                        D

Mathre, Susan
1100 Montecelo Court                                                        -
Ft. Collins, CO 80525

                                                                                                                                                              507.00
Account No. xxx3312

matias, marshall
3200 81st place SE unit A 302                                               -
mercer island, WA 98040

                                                                                                                                                              970.40
Account No. xxx5797

matson, robert a
7308 berquist drive                                                         -
manchester, MO 63011

                                                                                                                                                              197.34
Account No. xxx6495

Matthews, Justin
9303 Overlook circle                                                        -
Newburg, VA 20664

                                                                                                                                                              699.00
Account No. xxx9272

Matthews, Neal
12555 Dawn Beth Dr                                                          -
Maryland Heights, MD 63043

                                                                                                                                                              181.16

           412 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,554.90
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 414 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4760                                                                                                                     E
                                                                                                                                        D

Matthews, Rawn
359 Garland st                                                              -
Memphis, TN 38104

                                                                                                                                                              381.00
Account No. xxxx1068

Matthies, Kathy
26498 West Kuhle Drive                                                      -
Sioux Falls, SD 57107

                                                                                                                                                              289.02
Account No. xxx0880

Maxwell, Rahsaan 1
10 Park Terrace E Apt 2F                                                    -
New York, NY 10034

                                                                                                                                                              194.80
Account No. xxx0941

May, April
2413 Okemos Drive                                                           -
Grand Rapids, MI 49506

                                                                                                                                                              236.00
Account No. xxx6080

May, Ryan
1524 jupiter                                                                -
venice, FL 34293

                                                                                                                                                              445.90

           413 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,546.72
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 415 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2744                                                                                                                     E
                                                                                                                                        D

Mayberry, Destini
15620 Mayberry Drive                                                        -
Athens, AL 35613

                                                                                                                                                              438.25
Account No. xxx0710

Mc Laughlin, Mary C.
116 Terrace Dr                                                              -
Syracuse, NY 13219

                                                                                                                                                              550.00
Account No. xxx0052

Mcafee, Patrick
10958 jamestown rd                                                          -
Indianapolis, IN 46234

                                                                                                                                                            1,351.35
Account No. xxx2602

Mcafee, Shawn 1
212 Maplewood Dr                                                            -
Pittsburg, PA 15214

                                                                                                                                                              123.95
Account No. xxx7416

Mcardle, Becky J
4272 Waylon Ct                                                              -
Martinez, GA 30907

                                                                                                                                                              359.10

           414 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,822.65
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 416 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1273                                                                                                                     E
                                                                                                                                        D

Mccabe, Kelly
3509 Blue Coat rd.                                                          -
Nottingham, MD 21236

                                                                                                                                                              130.13
Account No. xxx3005

Mccarthy, Erin
273 Claudia Drive                                                           -
Jacksonville, FL 32218

                                                                                                                                                              229.50
Account No. xxx3192

McClure, Beverly
9918 Valley Park Dr.                                                        -
Houston, TX 77078

                                                                                                                                                            1,197.00
Account No. xxx3149

McClurt, Brittain
807 S 3rd Terrace                                                           -
Savannah, MO 64485

                                                                                                                                                              638.00
Account No. xxxx3500

McCollum, James
3403 Sunrise Circle                                                         -
Jeffersonville, IN 47130

                                                                                                                                                              493.26

           415 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,687.89
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 417 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6201                                                                                                                     E
                                                                                                                                        D

McCombs, Jerry
509 E. George St.                                                           -
Carmichaels, PA 15320

                                                                                                                                                            1,010.00
Account No. xxx5013

mcconnell, Benjamin
319 millennium court                                                        -
shepard airforce base, TX 76311

                                                                                                                                                              365.06
Account No. xxx3172

Mccormick, Debra
98 Earl Duberisson Rd                                                       -
Carriere, MS 39426

                                                                                                                                                              327.97
Account No. xxxx3026

McCormley, Christpher R.
6933 Aspen Creek lane                                                       -
Dallas, TX 75252

                                                                                                                                                            1,224.35
Account No. xxx4861

Mccoy, Gerald
4135 Causeway Vista                                                         -
Tampa, FL 33615

                                                                                                                                                              379.00

           416 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,306.38
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 418 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8236                                                                                                                     E
                                                                                                                                        D

Mcdannald, Joshua Lee
43 Camelot Dr                                                               -
Rochester, IL 62563

                                                                                                                                                              228.25
Account No. xxx6740

McDonald, Jessica
770 Mitchell Ave, 1131                                                      -
Whiteman AFB, MO 65305

                                                                                                                                                              229.25
Account No. xxx2154

McDonald, William
8308 Oak Haven                                                              -
La Port, TX 77571

                                                                                                                                                              110.95
Account No. xxxx3820

McDowell, Ann
325 Midland Pkwy 820                                                        -
Summerville, SC 29485

                                                                                                                                                              407.56
Account No. xxx4329

McElroy, Natalie
1320 darby rd                                                               -
sebastapol, CA 95472

                                                                                                                                                            1,088.91

           417 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,064.92
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 419 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7176                                                                                                                     E
                                                                                                                                        D

Mceneaney, Brian
PO BOX 17145                                                                -
Denver, CO 80217

                                                                                                                                                              714.65
Account No. xxx3363

McGarrah, Emily
21 Shamrock Dr.                                                             -
Harrison, AR 72601

                                                                                                                                                              252.85
Account No. xxx2453

Mcglothlin, Jack
Po box 5198                                                                 -
Abaline, TX 79608

                                                                                                                                                            1,105.00
Account No. xxx8405

McIntosh, Damon Allen
2845 Marion Way                                                             -
Laguna Beach, CA 92651

                                                                                                                                                              679.00
Account No. xxx5803

McIvor, Kate
528 Highland                                                                -
Helena, MT 59601

                                                                                                                                                              167.31

           418 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,918.81
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 420 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8044                                                                                                                     E
                                                                                                                                        D

McKee, Harry
638 Marietta St. NW                                                         -
Atlanta, GA 30313

                                                                                                                                                              277.72
Account No. xxx9527

McKie, Bonnie M
922 Banbury Court                                                           -
Schaumburg, IL 60194

                                                                                                                                                              497.99
Account No. xxx3604

McKinley, Rhea
220 Mill Creek Tr                                                           -
Cleveland, GA 30528

                                                                                                                                                              217.09
Account No. xxxx4510

McLaughlin, James
4171 Choke Cherry Way                                                       -
Liverpool, NY 13090

                                                                                                                                                              825.90
Account No. xxx8976

Mclemore, Michael
3403 Willow Oak Dr.                                                         -
Edgewater, FL 32141

                                                                                                                                                              413.30

           419 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,232.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 421 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5097                                                                                                                     E
                                                                                                                                        D

Mclendon, Pamela C
PO 2933                                                                     -
Marrero, LA 70073

                                                                                                                                                              722.49
Account No. xxx3439

McLennan, Crystal
9701 Elmeda Genoa Rd                                                        -
Houston, TX 77075

                                                                                                                                                            1,170.00
Account No. xxx0217

Mcloughlin, Maureen
151 West 26th Street 11th Floor                                             -
New York, NY 10001

                                                                                                                                                            2,032.00
Account No. xxx9605

McMakin, Tamara R.
436 West Mont Dr.                                                           -
Collingdale, PA 19023

                                                                                                                                                              206.56
Account No. xxx4500

McNeal, Sean
318 Remington Place                                                         -
Pooler, GA 31322

                                                                                                                                                              515.00

           420 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,646.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 422 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5529                                                                                                                     E
                                                                                                                                        D

Mcpherson, Madison
229 green oaks loop                                                         -
Fredricks burg, TX 78624

                                                                                                                                                              197.60
Account No. xxx7507

Mctaggart, Diane 1
1152 allen rd                                                               -
murfreesboro, TN 37129

                                                                                                                                                              339.98
Account No. xxx2235

McWhorter, Joseph
25247 Ladyhawk Ln                                                           -
Brooksville, FL 34601

                                                                                                                                                              392.00
Account No. xxx7234

Medina, Herbart & Connie
1395 S Lastina St                                                           -
Tulare, CA 93274

                                                                                                                                                              934.40
Account No. xxx5765

meier, phillip
300 e 34th st apt 32b                                                       -
new york, NY 10016

                                                                                                                                                              205.80

           421 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,069.78
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 423 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0428                                                                                                                     E
                                                                                                                                        D

Meine, Carla
176 Dry Canyon Drive                                                        -
Lindon, UT 84042

                                                                                                                                                              343.75
Account No. xxx3232

Mello, Aaron
75 Dunn Dr                                                                  -
Fort Rucker, AL 36362

                                                                                                                                                              213.97
Account No. xxx0257

Melton, Bryant T.
8138 Saratoga Way                                                           -
Port St. Lucie, FL 34986

                                                                                                                                                                84.10
Account No. xxx9188

Melton, Helen
504 park stone lane                                                         -
woodstock, GA 30189

                                                                                                                                                              638.25
Account No. xxxx3319

Mena, Amber
1922 Rose St                                                                -
Leavenworth, KS 66048

                                                                                                                                                              474.24

           422 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,754.31
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 424 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7602                                                                                                                     E
                                                                                                                                        D

Merage, Greg
4350 Von Karman Ave 4th flr                                                 -
Newport, CA 92660

                                                                                                                                                            5,237.50
Account No. xxxx3516

Mercado, Yolanda E
2175 52nd St N Apt 514                                                      -
Clearwater, FL 33760

                                                                                                                                                              646.11
Account No. xxx4185

Mercer, Bevin
120 Saint Albans Drive                                                      -
Raleigh, NC 27609

                                                                                                                                                              225.50
Account No. xxx4407

Merchant, Sulton
1618 Colridge Street                                                        -
Sugar Land, TX 77479

                                                                                                                                                              970.20
Account No. xxx4856

Meredith, Hillary L
8220 4 St                                                                   -
Rathdrum, ID 83858

                                                                                                                                                              394.68

           423 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,473.99
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 425 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8353                                                                                                                     E
                                                                                                                                        D

Merrill, Adam
603 wildwood lane                                                           -
Blainsfield, MO 65583

                                                                                                                                                              203.15
Account No. xxx2918

Merrill, Christina
225 S 700 E                                                                 -
St George, UT 84770

                                                                                                                                                            2,500.00
Account No. xxx7713

Merrill, David
10200 Olive Wood Dr                                                         -
Palmer, AK 99645

                                                                                                                                                              936.59
Account No. xxx5779

Merriman, Deven C
123 Riverdale Rd                                                            -
Riverpool, NY 13090

                                                                                                                                                              421.78
Account No. xxx7378

Merritt, Julie E
35 Slater Road                                                              -
Tolland, CT 06084

                                                                                                                                                              226.10

           424 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,287.62
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 426 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8718                                                                                                                     E
                                                                                                                                        D

Meyer, Bryon 1
10481 South State St                                                        -
Sandy, UT 84070

                                                                                                                                                            1,374.03
Account No. xxx9794

Meyers, David F
45 Wallstreet Apt 1401                                                      -
New York, NY 10005

                                                                                                                                                              850.75
Account No. xxx6989

Meyers, Edward
5726 W. 46th St                                                             -
Parma, OH 44134

                                                                                                                                                              225.54
Account No. xxx9606

Meza, Tiffany
10472 Christopher St                                                        -
Cypress, CA 90630

                                                                                                                                                              354.75
Account No. xxx7342

Mezias, Nikolas
CA Ci Federal Inc                                                           -
APO, AE 09354

                                                                                                                                                              855.24

           425 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,660.31
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 427 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Miami Skydiving Center
Charlevoix State Bank                                                       -
111 State St
Charlevoix, MI 49720
                                                                                                                                                            2,875.00
Account No. xxx2209

Michaud, Nicole
3416 Kings Net Drive                                                        -
Virginia Beach, VA 23452

                                                                                                                                                            2,071.22
Account No.

Middle Tennessee Hot Air Adventures
Logan Bedford Adventures                                                    -
5623 Pinewood Road
Franklin, TN 37064
                                                                                                                                                            2,600.00
Account No. xxx9419

Middleton, Desiree
46 Carmen St.                                                               -
Sommerset, NJ 08873

                                                                                                                                                              210.37
Account No.

Midwest Balloon Rides
Midwest Balloon Rides                                                       -
8537 Bash Street #4
Indianapolis, IN 46250
                                                                                                                                                              400.00

           426 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,156.59
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 428 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5243                                                                                                                     E
                                                                                                                                        D

Milam, Joe M
11317 Marbella Dr                                                           -
Oklahoma City, OK 73173

                                                                                                                                                            1,005.00
Account No. xxxx4733

Miles, Charlotte
142 North County Rd 175east                                                 -
Greencastle, IN 46135

                                                                                                                                                              199.95
Account No. xxx4628

Miller, Cameron
2306 Winterset Pkwy SE                                                      -
Marietta, GA 30067

                                                                                                                                                                92.92
Account No. xxx9678

Miller, Cassandra
619 Woodleaf Road                                                           -
Eugene, OR 97405

                                                                                                                                                                82.50
Account No. xxx5935

Miller, James 4
1301 S 31st Street #1                                                       -
Omaha, NE 68105

                                                                                                                                                              517.86

           427 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,898.23
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 429 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6546                                                                                                                     E
                                                                                                                                        D

Miller, Jennifer A.
P.O Box 1036                                                                -
Laurel Field, NC 28351

                                                                                                                                                              805.50
Account No. xxx5936

Miller, Kelley
420 E. Williams                                                             -
Glendive, MT 59330

                                                                                                                                                              258.93
Account No. xxx7026

Miller, Keyunda
248 Patrick Ave SW                                                          -
concord, NC 28025

                                                                                                                                                              176.74
Account No. xxx3364

Miller, Quynh P
3611 Turtle Run Blvd Apt 6314                                               -
Coral Springs, FL 33067

                                                                                                                                                              206.20
Account No. xxx7262

Miller, Timothy M
1709 Trimble Ave                                                            -
Mckeesport, PA 15133

                                                                                                                                                              463.00

           428 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,910.37
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 430 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9370                                                                                                                     E
                                                                                                                                        D

Milo, Anthony
3732 duran cirle                                                            -
sacromento, CA 95821

                                                                                                                                                            1,237.50
Account No. xxx9964

Minhas, Mohammad
1105 Huntridge Dr.                                                          -
Austin, TX 78758

                                                                                                                                                              669.00
Account No. xxx7250

Minkin, Patton
4123 General Pershing                                                       -
New Orleans, LA 70125

                                                                                                                                                              941.28
Account No. xxxx2864

Miranowski, Connor
1250 West Highway 287 Bypass # 623                                          -
Waxahachie, TX 75165

                                                                                                                                                              529.11
Account No. xxx9780

Mirza, Sikandar Z
2222 5th Street                                                             -
East Meadow, NY 11554

                                                                                                                                                                77.09

           429 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,453.98
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 431 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Missouri River Valley Skydivers
42938 W. 64th Street                                                        -
Henrietta, MO 64036

                                                                                                                                                            3,602.00
Account No. xxx8673

Mitchell, Mickey
200 Village Dr Apt 1211                                                     -
Longview, TX 75605

                                                                                                                                                              370.50
Account No. xxx8517

Mkrtchyan, Mary
1338 Lindedn Ave.                                                           -
Glendale, CA 91201

                                                                                                                                                              412.51
Account No. xxx4083

Moberg, Amber
10883 Jubilee Circle                                                        -
Lakeville, MN 55044

                                                                                                                                                              436.25
Account No. xxx9476

Modi, Ravish
2871 Troy Center Dr                                                         -
Troy, MI 48084

                                                                                                                                                              657.80

           430 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,479.06
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 432 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2104                                                                                                                     E
                                                                                                                                        D

Moe, Teresa
2914 W Lake Drive                                                           -
Lavaca, AR 72941

                                                                                                                                                                90.10
Account No. xxx1276

Moglia, Thomas
149 Broadway Apt 2                                                          -
Brooklyn, NY 11211

                                                                                                                                                              549.98
Account No. xxx0354

Mohabbat, Karima
4804 Hwy 69 N                                                               -
North Port, AL 35473

                                                                                                                                                            6,422.00
Account No. xxx3052

moheyeldien, Marwan
7030 Troy hill                                                              -
Elkridge, MD 21075

                                                                                                                                                            2,125.00
Account No. xxx3321

Mohundro, Bryan S
3 CEB A co 2nd plt                                                          -
twentynine palms, CA 92278

                                                                                                                                                              305.75

           431 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,492.83
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 433 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9964                                                                                                                     E
                                                                                                                                        D

Moir, Gail E
17 Lantern Drive                                                            -
Seymour, CT 06483

                                                                                                                                                              307.10
Account No. xxx3626

Mojica-Staton, Ivelesse
10601 Navagation Drive                                                      -
Riverville, FL 33579

                                                                                                                                                              119.20
Account No. xxx6267

Molia, Monsoor
12337 Wynnfield Lakes Dr. Apt. 834                                          -
Jacksonville, FL 32246

                                                                                                                                                                99.90
Account No. xxx3411

Molina, Lissette
9123 Ruston Dr.                                                             -
Dallas, TX 75228

                                                                                                                                                              368.75
Account No. xxx8408

Montanez, Barbara
6011 Wellsey Way                                                            -
Brentwood, TN 37027

                                                                                                                                                              442.00

           432 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,336.95
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 434 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Moore & Reese, LLC
2987 Clairmont Road                                                         -
Suite 440
Atlanta, GA 30329
                                                                                                                                                              263.00
Account No. xxx6156

Moore, David 1
108 Idaho Street                                                            -
Travis AFB, CA 94535

                                                                                                                                                              506.80
Account No. xxx9210

Moore, Melanie
11136 poundberry camp place                                                 -
waldrof, MD 20603

                                                                                                                                                              483.20
Account No. xxx1319

Morales, Al
2663 Hobson Rd                                                              -
Donners Grove, IL 60516

                                                                                                                                                              472.50
Account No. xxxx4006

Morales, Sandra
6011 Banded tulip Dr                                                        -
Wilmington, NC 28412

                                                                                                                                                              236.45

           433 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,961.95
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 435 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2029                                                                                                                     E
                                                                                                                                        D

Moran, Ellen
601 Arbor Glenn Court                                                       -
Ballwin, MO 63021

                                                                                                                                                            1,024.16
Account No. xxx0329

Moreland, Michael
609 Spring St.                                                              -
Booneville, MO 65233

                                                                                                                                                              718.11
Account No. xxx9436

Morgan, James
1202 Taylor Ave.                                                            -
Richmond, VA 23225

                                                                                                                                                              159.60
Account No. xxx8518

Morgan, Jan
233                                                                         -
Azle, TX 76020

                                                                                                                                                                92.55
Account No. xxx8163

Morgenshtein, Hen
1301 Colberry Rd #B                                                         -
Baltimore, MD 21239

                                                                                                                                                              516.20

           434 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,510.62
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 436 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Morning Star Balloons
564 East Spruce Glenn Rd                                                    -
Murray, UT 84107

                                                                                                                                                            2,030.00
Account No. xxx8455

Morris, Amy
3240 Goodley Rd                                                             -
Garnet Valley, PA 19060

                                                                                                                                                              538.65
Account No. xxx7905

Morrison, Dan
3 Juliano Dr                                                                -
Oxford, CT 06478

                                                                                                                                                            3,981.25
Account No. xxx6539

Morrissey, Michael J
23 Federal Hill Rd                                                          -
Auburn, MA 01501

                                                                                                                                                                70.79
Account No. xxx7970

Morrow, Gene
P.O. Box 181936                                                             -
Arlington, TX 76096

                                                                                                                                                              232.40

           435 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,853.09
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 437 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8368                                                                                                                     E
                                                                                                                                        D

Mortimer, Ann
59 Twin Lake Dr.                                                            -
Waterford, CT 06385

                                                                                                                                                              975.00
Account No. xxx4033

Moser, Andrew
26931 County road 34                                                        -
Painsville, MN 56362

                                                                                                                                                              450.40
Account No. xxx7790

Moua, Candice
PO Box 5156                                                                 -
Fresno, CA 53755

                                                                                                                                                              460.00
Account No.

Mountain Wings
77 Hanglider Road                                                           -
Ellenville, NY 12428

                                                                                                                                                              180.00
Account No. xxx9824

Moy, William
989 112th Ave NE APT 2002                                                   -
Belleview, WA 98004

                                                                                                                                                              411.04

           436 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,476.44
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 438 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4039                                                                                                                     E
                                                                                                                                        D

Muccianti, Constance
19 N. 110 Felsmith Rd                                                       -
Hampshire, IL 60140

                                                                                                                                                              313.20
Account No. xxxx2601

Muchnick, Hal
169 Farrington Ave.                                                         -
Sleepy Hollow, NY 10591

                                                                                                                                                              499.00
Account No. xxx2903

Mudry, Vicki
5415 Jobeth Dr.                                                             -
Newport Richey, FL 34652

                                                                                                                                                              424.80
Account No. xxx7160

Muetzenberg, Alan
2164 Royal Acres Trl.                                                       -
Frisco, TX 75034

                                                                                                                                                              356.25
Account No. xxx7072

mulla, mehboob
1208 applewood acres                                                        -
clarks, PA 18411

                                                                                                                                                              592.20

           437 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,185.45
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 439 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6143                                                                                                                     E
                                                                                                                                        D

Munkres, David
MIT Inc. 1151 Eagle Dr. #177                                                -
Loveland, CO 80537

                                                                                                                                                              625.00
Account No. xxx2605

Munoz, Antonio
1129 SW 27th Street                                                         -
Oklahoma City, OK 73109

                                                                                                                                                              599.00
Account No. xxx4425

Murry, Galima
716 E Wright Ave                                                            -
Tacoma, WA 98404

                                                                                                                                                              361.20
Account No. xxx0434

Murtha, Paul
4353 Shimerville Rd                                                         -
Emmaus, PA 18049

                                                                                                                                                              414.45
Account No. xxx5699

Murton, Dennis
801 Dry Run Road                                                            -
Grantville, PA 17028

                                                                                                                                                            1,087.13

           438 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,086.78
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 440 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4015                                                                                                                    E
                                                                                                                                        D

Muthyala, Harsha
11250 Santa Monica Blvd                                                     -
Santa Monica, CA 90205

                                                                                                                                                              343.80
Account No. xxx9478

Mutschler, Larry
3703 Conquer Pike                                                           -
Wilmington, DE 19803

                                                                                                                                                            1,329.90
Account No. xxx4556

Myers, Amanda 1
419 W Piedont St.                                                           -
Keyser, WV 26726

                                                                                                                                                              276.35
Account No. xxx9271

Myers, Jared 1
751 pinellas bay way south. unit 201                                        -
St. Petersburg, FL 33715

                                                                                                                                                            1,924.00
Account No. xxx7319

Myers, Robert
Po Box 690                                                                  -
Southern Pines, NC 28388

                                                                                                                                                            2,437.00

           439 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,311.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 441 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9155                                                                                                                     E
                                                                                                                                        D

Myrick, Robert G.
100 Jacquelyn Way                                                           -
Pensacola, FL 32505

                                                                                                                                                            1,348.50
Account No. xxx3827

Nader, Jennifer
10185 Lake side dr                                                          -
Coral gables, FL 33156

                                                                                                                                                              949.51
Account No. xxx2976

Naef, Tamara
25413 North 71st Drive                                                      -
Peoria, AZ 85383

                                                                                                                                                              192.55
Account No. xxxx2116

Nash, Lee A
1085 Ga Hwy 338                                                             -
Dudley, GA 31022

                                                                                                                                                            1,409.50
Account No. xxx7135

Nash, Susan 1
1060 Olde Roswell Grove                                                     -
Roswell, GA 30075

                                                                                                                                                              134.75

           440 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,034.81
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 442 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3701                                                                                                                    E
                                                                                                                                        D

Nathan, Terry
P.O. Box 1422                                                               -
Forestville, CA 95436

                                                                                                                                                              305.17
Account No. xxxx3589

Navas, Barbara
275 NE 18th St., Apt. 2108                                                  -
Miami, FL 33132

                                                                                                                                                              233.80
Account No. xxxx3272

Nazal, Christopher, W
3303 Sumter Dr                                                              -
High Point, NC 27265

                                                                                                                                                              323.70
Account No. xxx4391

Nehgher, Kacey
1110 S.E. 9th St.                                                           -
Ft. Lauderdale, FL 33316

                                                                                                                                                              895.00
Account No. xxx9074

nelemans, adriaen
kondensgate 84                                                              -
trondheim norway 07012

                                                                                                                                                              786.49

           441 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,544.16
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 443 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1476                                                                                                                     E
                                                                                                                                        D

Nelson, Deborah
51 Lacosta Dr                                                               -
Montgomery, TX 77356

                                                                                                                                                              664.83
Account No. xxxx3423

neu, Stacey
312 S Hustis street                                                         -
Hustisford, WI 53034

                                                                                                                                                            3,466.50
Account No. xxx9825

Neubauer, Adam
1635 Kings Pond Rd                                                          -
Cordova, TN 38016

                                                                                                                                                              205.00
Account No. xxx0109

Neugebauer, Toby R
1036 Nunnery lane                                                           -
nasville, TN 37221

                                                                                                                                                            6,882.00
Account No. xxx2977

Neugroschel, Rose A
2730 south veitch st                                                        -
Arlington, VA 22206

                                                                                                                                                              111.84

           442 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          11,330.17
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 444 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8681                                                                                                                     E
                                                                                                                                        D

Newell, Dishawnn
1001 Bear Island Rd. Apt. 201                                               -
Summerville, SC 29483

                                                                                                                                                              465.10
Account No. xxxx3552

Newhams, Noelle
229 N. Dithridge St                                                         -
Pittsburgh, PA 15213

                                                                                                                                                              504.80
Account No. xxx6804

Newman, Frank
945 Broken Arrow Cove                                                       -
Collierville, TN 38017

                                                                                                                                                              134.80
Account No. xxxx4761

Nguyen, Alina
9712 Hastings Mill Dr                                                       -
Glen Allen, VA 23060

                                                                                                                                                              199.94
Account No. xxx7604

Nguyen, Anna
159 Lucerne Blvd                                                            -
Terry Hill, NJ 08003

                                                                                                                                                              359.97

           443 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,664.61
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 445 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4699                                                                                                                     E
                                                                                                                                        D

Nguyen, Jeanna T
706 Grove St                                                                -
Worcester, MA 01605

                                                                                                                                                              136.00
Account No. xxx2695

Nguyen, Kim 1
1501 SE 17th Street                                                         -
Ft Lauderdale, FL 33316

                                                                                                                                                              211.00
Account No. xxx5701

Nguyen, Nicholas
2199 Briarcliff Road NE #15                                                 -
Atlanta, GA 30329

                                                                                                                                                              152.22
Account No. xxxx3955

Nguyenloc, Frank
4411 Kleinway Dr                                                            -
Houston, TX 77066

                                                                                                                                                              702.00
Account No. xxx3711

Nichols, James 1
205 Top Hand                                                                -
Lavernia, TX 78121

                                                                                                                                                            1,450.40

           444 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,651.62
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 446 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3443                                                                                                                     E
                                                                                                                                        D

Nichols, Joe
5192 Ocaso Ave.                                                             -
Buena Park, CA 90621

                                                                                                                                                              483.74
Account No. xxx4838

Nichols, Ralph
4211 124th st                                                               -
Pleasant Prairie, WI 53158

                                                                                                                                                              341.25
Account No. xxxx4922

Nido, Thomas
14305 Sheronbrook Avenue                                                    -
Hartville, OH 44632

                                                                                                                                                              179.44
Account No. xxx7221

Nido, Vanessa
1778 West Camino Dey Torrenon                                               -
Tuscon, AZ 85704

                                                                                                                                                              268.00
Account No.

No Limits Skydiving
P.O. Box 1608                                                               -
Hopewell, VA 23860

                                                                                                                                                            1,240.00

           445 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,512.43
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 447 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3895                                                                                                                     E
                                                                                                                                        D

Nobles, stacey
500 E. Wallace                                                              -
Llano, TX 78643

                                                                                                                                                            5,256.40
Account No. xxx9634

Noguier, Laurence
2400 North Lakeview Ave                                                     -
Chicago, IL 60614

                                                                                                                                                              656.00
Account No.

Nor Cal Skydiving Center
31215 Hwy 128                                                               -
Cloverdale, CA 95425

                                                                                                                                                              169.00
Account No. xxx0718

Nordvall, Steven
1705 Halyle Dr.                                                             -
Hanover, MD 21076

                                                                                                                                                              620.00
Account No. xxx9039

Norsworthy, Angela
2624 Old Hwy 90                                                             -
Zinton, LA 70668

                                                                                                                                                              596.25

           446 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,297.65
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 448 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7320                                                                                                                     E
                                                                                                                                        D

Norwood, Dominiece K
10521 S.W. 158 court apt. 105                                               -
Miami, FL 33196

                                                                                                                                                                66.50
Account No. xxx1903

Notley, Christopher
161 W. Kinzie Apt 2201                                                      -
Chicago 60654

                                                                                                                                                            1,289.76
Account No. xxx8944

Nouraee, Faye
7475 Kimberly Lane                                                          -
Eden Praire, MN 55346

                                                                                                                                                              288.80
Account No. xxx4973

nowlin, gail
20 hartwell place                                                           -
searcy, AR 72143

                                                                                                                                                              260.85
Account No. xxx6205

Nowling, Amy
8944 Spider Bay Court                                                       -
Indianapolis, IN 46236

                                                                                                                                                              230.44

           447 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,136.35
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 449 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8612                                                                                                                     E
                                                                                                                                        D

Nussbeck, Chris 1
8220 E 130th cir                                                            -
Thornton, CO 80602

                                                                                                                                                            1,512.00
Account No. xxx3755

O'Brien, Joanna
P.O. Box 207                                                                -
Brooklyn, NY 11236

                                                                                                                                                              254.57
Account No. xxx4041

o'connor, Joshua
6810 antioch rd 157                                                         -
merriam, KS 66204

                                                                                                                                                              723.19
Account No. xxx3054

O'Dea, Molly
5241 Magnolia Walk Circle                                                   -
Dunwoody, GA 30338

                                                                                                                                                              137.24
Account No. xxx6586

O'dom, James
26 County Rd 613A                                                           -
Lynn, MO 65051

                                                                                                                                                              936.61

           448 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,563.61
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 450 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1732                                                                                                                     E
                                                                                                                                        D

O'Steen, Mark
4720 Ortega Forest Dr                                                       -
jacksonville, FL 32210

                                                                                                                                                              789.44
Account No. xxx0489

Oakley, Cara
4251 Antler Dr                                                              -
Greenwood, AR 72936

                                                                                                                                                              198.99
Account No. xxx6940

Oates, Charlotte
1131 Four Tops Drive                                                        -
Detroit, MI 48201

                                                                                                                                                              757.38
Account No. xxx0618

Obi, Chinwe
2004 Randolph Ave                                                           -
Saint Paul, MN 55105

                                                                                                                                                              559.00
Account No. xxx2237

Oblasser, Erik
P.O. Box 1595                                                               -
Dawsonville, GA 30534

                                                                                                                                                                88.45

           449 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,393.26
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 451 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1558                                                                                                                    E
                                                                                                                                        D

Obrien, Stephanie
1162 E 4500 S                                                               -
Salt Lake City, UT 84117

                                                                                                                                                              749.95
Account No. xxx9256

Odegard, Liv
1212 Ave Of the Americas                                                    -
New York, NY 10036

                                                                                                                                                            2,542.50
Account No. xxx7632

Odonnell, John
1000 W Wilshire Blvd                                                        -
Oklahoma City, OK 73116

                                                                                                                                                            1,450.00
Account No. xxx0005

Officer Jr, Timothy Alan
2514 Abercorn St Suite 205                                                  -
Savannah, GA 31401

                                                                                                                                                              200.74
Account No. xxx4290

Ogude, Cecilia
596 Prospect Ave. Box 4                                                     -
Bronx, NY 10455

                                                                                                                                                              207.90

           450 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,151.09
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 452 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0387                                                                                                                     E
                                                                                                                                        D

Ohara, Kevin
3236 W 97th St                                                              -
Evergreen Park, IL 60805

                                                                                                                                                              164.40
Account No.

Ohio Powered Paragliding
20683 Hull Prairie Rd                                                       -
Bowling Green, OH 43402

                                                                                                                                                              200.00
Account No. xxx8998

OLAM
205 E. River Park Cir Suite 310                                             -
Fresno, CA 93720

                                                                                                                                                            3,077.50
Account No.

Old South Ballooning
11811 Wentling Avenue                                                       -
Baton Rouge, LA 70816-6055

                                                                                                                                                              425.00
Account No.

Old World Balloonery
11640 Cody Street                                                           -
Overland Park, KS 66210

                                                                                                                                                            1,425.00

           451 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,291.90
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 453 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4140                                                                                                                     E
                                                                                                                                        D

Oleinikoff, Dianne
4018 Providence Church Rd                                                   -
Henry, VA 24102

                                                                                                                                                                98.90
Account No. xxx1624

Oliver, Allyn
6404 Sunbow Lane                                                            -
Charlotte, NC 28277

                                                                                                                                                              715.45
Account No. xxx1885

Oliver, Barry
4029 Industrial Way                                                         -
Long View, WA 98632

                                                                                                                                                            1,098.00
Account No. xxx5801

Oliver, Dawn Marie
3874 Mallard Street                                                         -
Highland Ranch, CO 80126

                                                                                                                                                              206.49
Account No. xxx4557

Olson, Adam
203 White Cedar Blvd                                                        -
Portsmith, NH 03801

                                                                                                                                                              253.12

           452 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,371.96
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 454 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7275                                                                                                                     E
                                                                                                                                        D

Olson, Blake
1108 Ellis Court                                                            -
Chatnamsboro, TN 37035

                                                                                                                                                              207.51
Account No. xxx9966

Oncer, Onur
8B Washington Drive                                                         -
West Paterson, NJ 07424

                                                                                                                                                              938.42
Account No. xxx7705

Ong, Kristle
312 Brahan Blvd Apt 6                                                       -
San Antonio, TX 78215

                                                                                                                                                            1,012.00
Account No. xxx0529

Ordonez, Joshua E.
7165 465 Aardvark Ave                                                       -
Mt. Home AFB, ID 83648

                                                                                                                                                            2,109.00
Account No. xxx7793

Orgill, Jayson
2610 paseo olives                                                           -
west covina, CA 91792

                                                                                                                                                              642.40

           453 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,909.33
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 455 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Orlando Balloon Adventures, LLC
1449 Bethesda Street                                                        -
Apopka, FL 32703

                                                                                                                                                              290.00
Account No. xxxx3229

Orth, Joel
P.O.Box 2490                                                                -
Orland Park, IL 60462

                                                                                                                                                                97.70
Account No. xxx4141

Ortiz, Edgardo
2343 York ST                                                                -
Des Moines, IA 50316

                                                                                                                                                              789.00
Account No. xxx4939

Oshea, Tom
1014 Bowlin Ave                                                             -
Port Neches, TX 77651

                                                                                                                                                              364.75
Account No. xxxx3884

Ostrowski, Robert
1674 Carlyle Dr Apt K                                                       -
Croston, MD 21114

                                                                                                                                                              249.80

           454 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,791.25
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 456 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3014                                                                                                                     E
                                                                                                                                        D

Otero, Carlos
307 NW 1st St Ave Apt 508                                                   -
Fort Lauderdale, FL 33301

                                                                                                                                                              392.35
Account No. xxx3349

Otto, Robert
35 Whittier Rd                                                              -
Wellesley, MA 02481

                                                                                                                                                            1,587.60
Account No. xxx6933

Owens, Kristine
One Design Center Place Suite 800                                           -
Boston, MA 02210

                                                                                                                                                            7,680.00
Account No. xxxx3590

Owens, Richard
2910 Curis Drive                                                            -
Copperas Cove, TX 76522

                                                                                                                                                              220.78
Account No. xxx4765

Oyewo, Abiola O
1100 Hussa Street                                                           -
Linden, NJ 07036

                                                                                                                                                              652.29

           455 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          10,533.02
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 457 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2171                                                                                                                     E
                                                                                                                                        D

Pabon, Angel
194 N Union Street                                                          -
Rochester, NY 14605

                                                                                                                                                                88.89
Account No. xxx6917

Pacheco, Joshua
577 Icum St apt 1c                                                          -
New York City, NY 10034

                                                                                                                                                              301.10
Account No. xxxx1983

Packard, Desiree
3400 N Maryland Ave                                                         -
Milwaukee, WI 53211

                                                                                                                                                              500.20
Account No. xxx2238

Padgett, Lisa
12975 Worldgate Dr                                                          -
Herndon, VA 20170

                                                                                                                                                            3,750.00
Account No. xxx8982

Padilla, Amanda
2942 W Watercress Dr                                                        -
Tucson, AZ 85741

                                                                                                                                                              102.80

           456 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,742.99
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 458 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3890                                                                                                                     E
                                                                                                                                        D

Page, Austin
3032 Bedford Rd                                                             -
Bedford, TX 76021

                                                                                                                                                              255.40
Account No. xxx1603

Page, Jeff
1608 Marget Street                                                          -
Houston, TX 77093

                                                                                                                                                            1,417.00
Account No. xxxx3592

Page, Linda
645 Upper Trutle Creek Rd                                                   -
Kerrville, TX 78028

                                                                                                                                                              896.91
Account No. xxx3015

Pahlke, Karin
3522 Lafayette Pkwy                                                         -
Floyd Knob, IN 47119

                                                                                                                                                              216.65
Account No. xxx9102

palagova, Irina
23 whitney place apartment 2E                                               -
Brooklyn, NY 11223

                                                                                                                                                            1,394.25

           457 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,180.21
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 459 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5321                                                                                                                     E
                                                                                                                                        D

Palmer, Helen A.
9051 E. Calle Norlo                                                         -
Tucson, AZ 85710

                                                                                                                                                              679.32
Account No. xxxx3726

Palmer, Natasha
3066 Quentin Lane                                                           -
Chipley, FL 32428

                                                                                                                                                              601.60
Account No. xxxx3464

Palmer, Shawna
1334 West Sands Ct                                                          -
Gilbert, AZ 85233

                                                                                                                                                              149.48
Account No. xxx3842

Panduranga, Gopinath
7575 Linda Vista Rd Apt 100                                                 -
San Diego, CA 92111

                                                                                                                                                              534.35
Account No. xxx4187

Pandya, Jennifer
908 Wessex Way                                                              -
Austin, TX 78748

                                                                                                                                                              177.26

           458 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,142.01
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 460 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8394                                                                                                                     E
                                                                                                                                        D

Panikar, Vineet V
350 Parsippany Rd                                                           -
Parsippany, NJ 07054

                                                                                                                                                              368.88
Account No. xxx6683

Pant, Sudhanshu
9 Brentwood Rd                                                              -
Holmdel, NJ 07733

                                                                                                                                                            1,278.75
Account No. xxx5301

Paprosky, Stephanie
11 E Walton st. apt 3901                                                    -
Chicago, IL 60611

                                                                                                                                                            6,804.00
Account No. xxx7913

Parab, Purushottam
819 Windy Ridge lane                                                        -
atlanta, GA 30339

                                                                                                                                                              617.52
Account No.

Parabolic, LLC
493 Airport Rd                                                              -
Cedartown, GA 30125

                                                                                                                                                            2,312.00

           459 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          11,381.15
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 461 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Parachute Center
P.O. Box 423                                                                -
Acampo, CA 95220

                                                                                                                                                            2,500.00
Account No.

Parachutes Over Carmi
P.O. Box 94                                                                 -
Carmi, IL 62821

                                                                                                                                                              430.00
Account No.

Paraglide Utah
#9 Manilla Circle                                                           -
Draper, UT 84020

                                                                                                                                                              640.00
Account No. xxx7568

Paredes, Eric
3421 South G Street                                                         -
Oxnard, CA 93033

                                                                                                                                                              449.60
Account No. xxx6449

Pariente, Simon
5553 West Sixth St.                                                         -
Los Angeles, CA 90036

                                                                                                                                                                97.88

           460 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,117.48
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 462 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2876                                                                                                                     E
                                                                                                                                        D

Parker Jr., Walter
17453 Beasley Lane                                                          -
Milford, VA 22514

                                                                                                                                                              101.80
Account No. xxx8519

Parker, Brian
620 County Rd 4430                                                          -
Whitewright, TX 75491

                                                                                                                                                            1,764.00
Account No. xxx1740

Parker, Debbra
10201 Rhett Butler Dr                                                       -
Austin, TX 78739

                                                                                                                                                              518.77
Account No. xxx6927

Parker, John 1
2710 Wycliff Road                                                           -
Raleigh, NC 27607

                                                                                                                                                            3,390.63
Account No. xxxx3958

Parker, John 2
7200 US 158 HWY                                                             -
Jackson, NC 27845

                                                                                                                                                                71.00

           461 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,846.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 463 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3908                                                                                                                    E
                                                                                                                                        D

Parkhurst, Tonia R.
307 Beth Lane                                                               -
Elk City, OK 73644

                                                                                                                                                              457.80
Account No. xxx1619

Parks, Dana
2121 South Pantano Rd.                                                      -
Tucson, AZ 85710

                                                                                                                                                              417.99
Account No. xxx0034

Parry, Sara M.
916 Cottonroad Dr                                                           -
Lansing, KS 66043

                                                                                                                                                              475.24
Account No. xxx9284

Partain, Derek
5305 Pine ridge Dr                                                          -
arlington, TX 76016

                                                                                                                                                              255.80
Account No. xxx5153

Partners, Chesapeake Realty
225 green Spring Valley Road                                                -
Owings Mills, MD 21117

                                                                                                                                                            6,673.82

           462 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,280.65
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 464 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7398                                                                                                                     E
                                                                                                                                        D

Patat, John
6619 plantation reserve                                                     -
fort myere, FL 33966

                                                                                                                                                            1,215.00
Account No. xxx1132

Patel, Chandrakant
77 Christable st                                                            -
Lynbrook, NY 11563

                                                                                                                                                            1,312.50
Account No. xxxx2868

Patel, Hetalben, M
570 Main St #C                                                              -
Hackensack, NJ 07601

                                                                                                                                                              426.25
Account No. xxx1219

Patel, Krushit
434 West Vine Apt d204                                                      -
Hatfield, PA 19440

                                                                                                                                                              310.31
Account No. xxxx3273

Patel, Pinal
100 Walnut Ave Suite 304                                                    -
Clark, NJ 07066

                                                                                                                                                            1,342.08

           463 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,606.14
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 465 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3196                                                                                                                     E
                                                                                                                                        D

Patel, Sameer
542 NW 39th Rd                                                              -
Gainesville, FL 32607

                                                                                                                                                              256.00
Account No. xxx9791

Patel, Suraj 1
760 south stillwater ln                                                     -
anaheim, CA 92807

                                                                                                                                                                88.20
Account No. xxx9073

Paterson-brown, Willy
117 east louisa street number 308                                           -
seatle, WA 98102

                                                                                                                                                            6,300.00
Account No. xxx4671

Patil, Arjun
908 Road Island street                                                      -
San Fransico, CA 94107

                                                                                                                                                              206.25
Account No. xxx6481

patrick, nikolai j
4263 millwood lane                                                          -
tallahassee, FL 32312

                                                                                                                                                              259.08

           464 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,109.53
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 466 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4045                                                                                                                     E
                                                                                                                                        D

Patten, Charles
5885 Trinity Pkwy Suite 120                                                 -
Centerville, VA 20120

                                                                                                                                                            2,690.52
Account No. xxxx4140

Payne, Jay
431 rifle range rd.                                                         -
monterey, CA 93944

                                                                                                                                                              534.40
Account No.

PC Skydiving
6810 Curan Street                                                           -
San Diego, CA 92154

                                                                                                                                                            2,010.00
Account No. xxxx3759

Pearson, Evan
10593 Blockade Dr.                                                          -
Reno, NV 89521

                                                                                                                                                              771.75
Account No. xxx2750

Pedroza Ortiz, Juanita
920 northwest smith drive                                                   -
Mountain Home, ID 83647

                                                                                                                                                              199.99

           465 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,206.66
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 467 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3593                                                                                                                    E
                                                                                                                                        D

Pedroza, Tanya
280 O'Keese Street                                                          -
East Palo Alto, CA 94303

                                                                                                                                                              562.00
Account No. xxx6924

Peebles, Paul 1
P.O.Box 83                                                                  -
Claremont, VA 23899

                                                                                                                                                            1,090.00
Account No. xxx4893

PELTZ, KAREN
816 LINDA LANE                                                              -
PITTSBURGH, PA 17243

                                                                                                                                                              126.20
Account No. xxx7971

Penafiel, martha D
7506 North sanibel circle                                                   -
tampa, FL 33637

                                                                                                                                                            1,244.10
Account No. xxx1186

Pender, Joseph D
208 rocky point drive                                                       -
columbia, SC 29212

                                                                                                                                                                99.70

           466 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,122.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 468 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3831                                                                                                                     E
                                                                                                                                        D

Perez Salva, Carmen
350 Torre Chardon Ave                                                       -
San Juan 00918

                                                                                                                                                            1,463.20
Account No. xxx8367

Perez, Dalila
145 S St # A62                                                              -
San Luis Obisto, CA 93401

                                                                                                                                                              879.99
Account No. xxx1409

Perez, Marlene
7226 Leaning Oak Drive                                                      -
Houston, TX 77088

                                                                                                                                                              145.53
Account No. xxx1110

Perez, Martha
15169 NW 7th Street                                                         -
Pembroke Pines, FL 33028

                                                                                                                                                              234.50
Account No. xxx2094

Perkins, Christopher 1
12 Church St.                                                               -
Canaan, CT 06018

                                                                                                                                                              623.50

           467 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,346.72
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 469 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx0676                                                                                                                    E
                                                                                                                                        D

Perkins, Michael
245 North View Rd                                                           -
Fleetwood, PA 19522

                                                                                                                                                              106.65
Account No. xxx0722

Perkins, Sandra
155 Annadd Drive                                                            -
Flemingsburg, KY 41041

                                                                                                                                                              649.99
Account No.

Perris Valley Skydive Center
P.O. Box 1824                                                               -
Perris, CA 92572

                                                                                                                                                            9,043.00
Account No. xxx9828

Perry, Barbara
PO BOX 188                                                                  -
Overgaard, AZ 89533

                                                                                                                                                            1,112.00
Account No. xxx1662

Perry, Richard
4600 Blue Creek Rd                                                          -
Lynnville, TN 38472

                                                                                                                                                            2,550.00

           468 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          13,461.64
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 470 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8657                                                                                                                     E
                                                                                                                                        D

Perzan, William
57 Westridge Road                                                           -
New London, CT 06320

                                                                                                                                                              171.95
Account No. xxx7951

Petersen, Greg
1342 Dakota Street                                                          -
Walla Walla, WA 99362

                                                                                                                                                              752.00
Account No. xxx5302

Peterson, Anne E
3640 SW Lake Helena rd                                                      -
Port Orchard, WA 98367

                                                                                                                                                                95.90
Account No. xxxx1988

Petratis, Megan
4167 S. Four Mile Run Dr. Unit 401                                          -
Arlington, VA 22204

                                                                                                                                                              149.40
Account No. xxx2136

Pettit, Reba
3941 Mary Ann Point Rd                                                      -
Johns Island, SC 29455

                                                                                                                                                              222.55

           469 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,391.80
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 471 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3614                                                                                                                    E
                                                                                                                                        D

Pfaff, Kevin
1763 Chandlier Cir, W                                                       -
Jacksonville, FL 32225

                                                                                                                                                              742.74
Account No. xxx9178

Pham, Dan Q.
1774 NE 9th St                                                              -
Fort Lauderdale, FL 33304

                                                                                                                                                              401.30
Account No. xxxx3338

pham, danny
1524 Cuming Street Apt 402                                                  -
Omaha, NE 68102

                                                                                                                                                                75.96
Account No. xxx0687

phelps, cara
714 lemay drive                                                             -
bellevue, NE 68005

                                                                                                                                                            1,000.48
Account No. xxxx4026

Phillips, Adam
5025 Hetherington PLace                                                     -
The Colony, TX 75056

                                                                                                                                                              321.00

           470 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,541.48
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 472 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5164                                                                                                                     E
                                                                                                                                        D

Phillips, Johnny
503 D North wood drive                                                      -
murray, KY 42071

                                                                                                                                                              406.25
Account No. xxx2851

Phillips, N William
103 North Market Street                                                     -
Mylan, MO 63556

                                                                                                                                                              780.80
Account No.

Phoenix Area Skydiving
Charlevoix State Bank                                                       -
111 State Street
Charlevoix, MI 49720
                                                                                                                                                            1,545.00
Account No. xxx5017

Pico, Monica
12153 Cimbria Way                                                           -
Lakeside, CA 92040

                                                                                                                                                              233.00
Account No.

Piedmont Skydiving
675 Adrian Road                                                             -
Salisbury, NC 28146

                                                                                                                                                            2,455.00

           471 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,420.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 473 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3703                                                                                                                    E
                                                                                                                                        D

Pierce, James
600 Lucille St                                                              -
S. Elgin, IL 60177

                                                                                                                                                              807.00
Account No. xxx8853

Pierce, Shane
1806 Todd Lane                                                              -
Peter Park, TX 78613

                                                                                                                                                              455.15
Account No. xxx8854

Pierre, Johnathan
PO Box 8481                                                                 -
Camp Lejeune, NC 28547

                                                                                                                                                              468.98
Account No. xxx7513

Pike, Allison M
1500 6th Ave SW                                                             -
Rochester, MN 55902

                                                                                                                                                              547.20
Account No. xxx1283

Pillai, Vinod
6624 Aintree Park Dr Apt 104                                                -
Mayfield Village, OH 44143

                                                                                                                                                              182.65

           472 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,460.98
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 474 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9091                                                                                                                     E
                                                                                                                                        D

Pina, Greggory
919 Milam St.                                                               -
Houston, TX 77002

                                                                                                                                                            3,637.50
Account No. xxx3368

Pineda, Ricardo
2120 Cedar Crest Dr                                                         -
Carollton, TX 75007

                                                                                                                                                              490.00
Account No. xxx7255

Pinney, Dorothy
305 Altera Way                                                              -
Colorado Springs, CO 80906

                                                                                                                                                              431.00
Account No. xxx2810

Pipilas, Dan
17 Boylston Ave                                                             -
Nashua, NH 03064

                                                                                                                                                              108.75
Account No. xxx9352

pit, sandra
9112 capobella                                                              -
alisoviejo, CA 92656

                                                                                                                                                              747.10

           473 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,414.35
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 475 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9167                                                                                                                     E
                                                                                                                                        D

Pittman, Lori
14165 West Banff Lane                                                       -
Surprise, AZ 85379

                                                                                                                                                              129.35
Account No. xxx4405

Plum, Spencer
42w074 Copperwood Lane                                                      -
Saint Charles, IL 60175

                                                                                                                                                              451.20
Account No. xxx7241

Pollard, Jen
6349 NE Radford Drive #3614                                                 -
Seattle, WA 98115

                                                                                                                                                              321.61
Account No. xxx4863

Pollman, Zachary
P.O box 2430                                                                -
Pensacola, FL 32513

                                                                                                                                                              767.91
Account No. xxx3974

Pollock, Hamilton
2807 Norfolk Ave                                                            -
Baltimore, MD 21215

                                                                                                                                                              499.20

           474 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,169.27
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 476 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0754                                                                                                                     E
                                                                                                                                        D

Pomerance, Norman
6021 English Manor Road                                                     -
Denton, TX 76210

                                                                                                                                                              425.88
Account No. xxx0588

Popoff, Janaina
7843 Red Mahogany Rd.                                                       -
Boyton Beach, FL 33437

                                                                                                                                                              480.30
Account No. xxx3666

Porter, Chris
10678 High Beam Ct                                                          -
Columbia, MD 21044

                                                                                                                                                              499.04
Account No. xxx8915

Porter, Jermaine
4643 Seminary Road # T2                                                     -
Alexandria, VA 22304

                                                                                                                                                              204.66
Account No. xxx4046

Porto, Rachael
534 East 83 rd street aprt 4C                                               -
New York, NY 10028

                                                                                                                                                              833.70

           475 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,443.58
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 477 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8616                                                                                                                     E
                                                                                                                                        D

Posey, Gregory C.
4228 Turkey Island Rd                                                       -
Crewe, VA 23930

                                                                                                                                                            6,298.50
Account No. xxx7255

Post, Glen G.
806 tramway ln ne                                                           -
albuquerque, NM 87122

                                                                                                                                                              480.24
Account No. xxx5383

Potter, Clark
3050 St Anne Dr                                                             -
Debuque, IA 52001

                                                                                                                                                            1,127.70
Account No. xxx7360

Potts, Chavonne L.
7950 Henry Ave apt 25A                                                      -
Philadelphia, PA 19128

                                                                                                                                                              829.70
Account No. xxxx4734

Potuzco, Melany
501 point drive                                                             -
greensburg, PA 15601

                                                                                                                                                              138.40

           476 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,874.54
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 478 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6938                                                                                                                     E
                                                                                                                                        D

Pouliot, Charles
29 Galloway apt 2                                                           -
Liverpool, NY 13090

                                                                                                                                                              319.70
Account No. xxx4337

Powell, Jana
208 White Popular St                                                        -
Sebring, FL 33876

                                                                                                                                                              404.00
Account No. xxx1284

Power, Nev
Po Box 6915                                                                 -
East Perth, WA 06892

                                                                                                                                                            5,100.00
Account No.

Prairie Sky inc
Kay West                                                                    -
6908 Pine Lake Drive
Sioux Falls, SD 57110
                                                                                                                                                              464.20
Account No. xxx6525

Price, Jenny
202 N Lapeer Dr #4                                                          -
Beverly Hills, CA 90211

                                                                                                                                                              822.15

           477 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,110.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 479 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7362                                                                                                                     E
                                                                                                                                        D

Price, Kim
5989 W. McNab Rd.                                                           -
Nort Lauderdale, FL 33068

                                                                                                                                                              213.50
Account No. xxx4510

Prichard, Clyde
3220 W Marconi Ave                                                          -
Phoenix, AZ 85053

                                                                                                                                                                94.60
Account No. xxx3874

Prilutskiy, Lydia
11326 Pagewynne Drive                                                       -
Frisco, TX 75035

                                                                                                                                                              472.86
Account No. xxx9782

Primiano, John Paul
48-50 210th St                                                              -
Oakland Gardens, NY 11364

                                                                                                                                                            1,472.60
Account No.

Private Balloon Flights
4620 Plume Road, NW                                                         -
Albuquerque, NM 87120

                                                                                                                                                              450.00

           478 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,703.56
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 480 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0668                                                                                                                     E
                                                                                                                                        D

Pulsipher, Douglas
109 W. 1000 N.                                                              -
Salt Lake City, UT 84116

                                                                                                                                                              776.31
Account No. xxx3081

Puri, Abitya
905 Cherokee St                                                             -
Pittsburg, PA 15219

                                                                                                                                                              702.42
Account No. xxx9185

Purification, Avelash P.
14307 Kenny Street                                                          -
Beltsville, MD 20705

                                                                                                                                                              237.40
Account No. xxxx0241

Putrino, Lauren
80 Central Park West                                                        -
New York, NY 10023

                                                                                                                                                            4,810.00
Account No. xxx8184

Pypiak, Desiray
1036 Woodberry Dr                                                           -
Mountain Top, PA 18707

                                                                                                                                                              360.40

           479 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,886.53
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 481 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3642                                                                                                                     E
                                                                                                                                        D

Qualle, Jalana
15723 103rd St SE                                                           -
Becker, MN 55308

                                                                                                                                                            1,074.00
Account No.

Quest Air Force Hang Gliding
6548 Groveland Airport Rd.                                                  -
Groveland, FL 34736

                                                                                                                                                              970.00
Account No.

Quill Corp.
PO Box 37600                                                                -
Philadelphia, PA 19101-0600

                                                                                                                                                              294.55
Account No. xxx0061

Quinlan, Darcy
631 Fenton Ave                                                              -
Coniat, OH 44030

                                                                                                                                                              233.09
Account No. xxx6588

QUINLAN, JOE
296 mcmurray rd                                                             -
pittspurge, PA 15241

                                                                                                                                                              513.54

           480 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,085.18
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 482 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5257                                                                                                                     E
                                                                                                                                        D

Rackley, Sean
10710 Academy Ave.                                                          -
Bakersfield, CA 93312

                                                                                                                                                              214.14
Account No. xxx4192

Rahbary, Mr. K
49 lauderdale rd.                                                           -
fort, FL 32771

                                                                                                                                                              729.46
Account No. xxx8301

Raivo, Jason
313 Billy Mitchell Blvd                                                     -
Savannah, GA 31409

                                                                                                                                                              685.80
Account No. xxxx3027

Rajut, Jaideep
230 Anderson St. Apt 5L                                                     -
Hackensack, NJ 07601

                                                                                                                                                              157.15
Account No. xxx8979

Rakers, Robert
12975 Laurel Gate Dr                                                        -
Herndon, VA 20170

                                                                                                                                                            5,450.00

           481 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,236.55
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 483 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9750                                                                                                                     E
                                                                                                                                        D

Rame, Michelle
1 alvin street                                                              -
ludlow, MA 01056

                                                                                                                                                              200.37
Account No. xxx1044

Ramirez, David 1
7745 Rocky Ridge dr                                                         -
frisco, TX 75035

                                                                                                                                                              189.98
Account No. xxxx3577

Ramirez, Veronica
7237 Pellet Street                                                          -
Downey, CA 90241

                                                                                                                                                              240.62
Account No. xxx8947

Rammohan, Hari
658 Main St                                                                 -
Haverhill, MA 01830

                                                                                                                                                                92.22
Account No. xxx7260

Ramos, Daily
4871 South west 6th st                                                      -
coral gables, FL 33134

                                                                                                                                                              255.50

           482 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                              978.69
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 484 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2612                                                                                                                     E
                                                                                                                                        D

Ramos, Daniella
1301 Marcilles Dr                                                           -
Miami Beach, FL 33141

                                                                                                                                                              143.65
Account No. xxx7054

Ramos, Francisco
815 Greenfel St                                                             -
Kew Gardens, NY 11415

                                                                                                                                                              265.99
Account No. xxx8586

ramos, mark
amalfi 2705                                                                 -
chowchilla, CA 93610

                                                                                                                                                              227.25
Account No. xxx2756

Ramprasad, Sharmila
4510 Heathrow Ct NW                                                         -
Kennesaw, GA 30152

                                                                                                                                                                65.75
Account No. xxx1285

Ramsey, Todd
98 Mill Unit 102                                                            -
Woonsocket, RI 02895

                                                                                                                                                              281.55

           483 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                              984.19
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 485 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9578                                                                                                                     E
                                                                                                                                        D

Raslan, Monica
#2 Frontidnac Ave                                                           -
Wattle Park, SC 05066

                                                                                                                                                            1,020.60
Account No. xxx8857

Rathke, Matthew
1400 S michigan ave                                                         -
chicago, IL 60605

                                                                                                                                                                87.00
Account No. xxx8948

Rauschiet, Rachel
330 north east adamsville way                                               -
Hilsboro, OR 97124

                                                                                                                                                                78.83
Account No. xxx2666

Rawlani, Ashish
1211 south prarrie unit 705                                                 -
Chicago, IL 60605

                                                                                                                                                              197.50
Account No. xxx9096

ray, stephanie m
332 west crescent street                                                    -
marquette, MI 49855

                                                                                                                                                              234.89

           484 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,618.82
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 486 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6922                                                                                                                     E
                                                                                                                                        D

Rayborn, Todd
352 Virginia Avenue                                                         -
San Mateao, CA 94402

                                                                                                                                                              293.25
Account No. xxx8070

Raymond, Dylan A.
3344 shasta dam blvd                                                        -
shasta lake, CA 96019

                                                                                                                                                              222.14
Account No. xxx5768

Raynan, Elise
4200 54th avenue south                                                      -
st. petersburg, FL 33711

                                                                                                                                                              207.33
Account No. xxx4193

Rea, Austin
833 Heathcliff Ct                                                           -
Houston, TX 77024

                                                                                                                                                              703.94
Account No. xxxx3922

Reale, Sue
1740 Broadway Apt 504                                                       -
San Francisco, CA 94109

                                                                                                                                                              163.40

           485 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,590.06
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 487 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2703                                                                                                                     E
                                                                                                                                        D

Reaugh, Larry
530-228-4605 51                                                             -
jbagshaw@goldrea.com

                                                                                                                                                            4,373.00
Account No. xxx2262

Red, Stuart
9210 Roy Bean st                                                            -
Houston, TX 77041

                                                                                                                                                            1,125.75
Account No. xxxx3990

Redd, Charles
7245 Maryland Avenue                                                        -
University City, MO 63130

                                                                                                                                                                85.52
Account No. xxxx0292

Redding , Theodore
403 Crittenden St                                                           -
Yoakum, TX 77995

                                                                                                                                                              293.15
Account No. xxx1222

Reddy, Narender
9410 Compubill Dr                                                           -
Orland Park, IL 60462

                                                                                                                                                            1,012.50

           486 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,889.92
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 488 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5575                                                                                                                     E
                                                                                                                                        D

Redman, Cecilia
1513 Riverreach dr apt 232                                                  -
orlando, FL 32828

                                                                                                                                                              224.60
Account No. xxx8121

Reed, Cameron
161 mason lane                                                              -
thomasville, GA 31792

                                                                                                                                                              239.87
Account No. xxx8109

Reed, Donovan
5455 Campground Road                                                        -
Cumming, GA 30040

                                                                                                                                                              649.00
Account No. xxx2048

Reeder, Todd
1280 Auruba Ct                                                              -
Marco Island, FL 34145

                                                                                                                                                            4,058.34
Account No. xxxx3991

Reid, Lisa
11805 Latigo Lane                                                           -
Oakton, VA 22124

                                                                                                                                                            1,174.52

           487 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,346.33
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 489 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4783                                                                                                                     E
                                                                                                                                        D

Reidy, Michael
5383 Greggs Landing Dr                                                      -
N. Charelston, SC 29420

                                                                                                                                                              423.50
Account No. xxx9118

Reiner, Russell
2851 Park Marina dr                                                         -
Readding, CA 96001

                                                                                                                                                            1,243.20
Account No. xxx8986

Reinker, Ted E
3414 Ave P1/2                                                               -
Galveston, TX 77550

                                                                                                                                                            1,582.80
Account No. xxx4461

Restrepo, David
5850 SW 156 Ct                                                              -
Miami, FL 33193

                                                                                                                                                              468.36
Account No. xxx8741

Rethorn, Peter B.
539 S Main St                                                               -
Findley, OH 45840

                                                                                                                                                            4,689.01

           488 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,406.87
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 490 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6575                                                                                                                     E
                                                                                                                                        D

Rey-talley, Kristopher
647 East 14th st 4G                                                         -
New york, NY 10009

                                                                                                                                                              925.25
Account No. xxx6543

Rezash, Timothy M
5443 Bud wilson road                                                        -
gastonia, NC 28056

                                                                                                                                                              293.76
Account No. xxxx0916

Rhee, Dennis
385 International Pk Suite 100                                              -
Newnan, GA 30265

                                                                                                                                                            2,119.20
Account No. xxxx1178

Rhines, Joseph D
6904 Cordially Way                                                          -
Elk Grove, CA 95757

                                                                                                                                                              661.00
Account No. xxx4204

Rhodes, Lori
1212 Ave Of the Americas                                                    -
New York, NY 10036

                                                                                                                                                            2,472.15

           489 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,471.36
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 491 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7838                                                                                                                     E
                                                                                                                                        D

Rhoees, Brian
133 N St                                                                    -
Los Banos, CA 93635

                                                                                                                                                              156.75
Account No. xxx9237

Ribbeck, Carlos
14335 SW 120 Street #205                                                    -
Miami, FL 33186

                                                                                                                                                              393.70
Account No. xxx0671

Rich, Lori
42 Greenbriar Road                                                          -
Oxford, CT 06478

                                                                                                                                                              389.86
Account No. xxx7325

Richard, Robert C.
314 S. Main Street                                                          -
Jennings, LA 70546

                                                                                                                                                              208.03
Account No. xxx2405

Richards, Tom
26 Spear St.                                                                -
Metuchen, NJ 08840

                                                                                                                                                              960.18

           490 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,108.52
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 492 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2007                                                                                                                     E
                                                                                                                                        D

Richardson, Johanna
869 S Main Street                                                           -
Winchester, IN 47394

                                                                                                                                                              861.00
Account No. xxx0493

Richter-Hill, JoAnn
5908 Erie Station Road                                                      -
Belleville, IL 62223

                                                                                                                                                              179.99
Account No. xxxx2202

Rickert, Joseph
1541 Castle Way                                                             -
Lemoore, CA 93245

                                                                                                                                                            1,426.43
Account No. xxx3895

Ricks, Brenda
2825 East Cotton Wood pkwy suite                                            -
360
Salt Lake City, UT 84121
                                                                                                                                                            4,378.75
Account No. xxx5123

Rieck, Drew
696 Fort Riley                                                              -
fort riley, KS 66442

                                                                                                                                                              196.65

           491 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,042.82
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 493 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3403                                                                                                                    E
                                                                                                                                        D

Riley, Chris E
2317 Solar Plaza                                                            -
Fort Lauderdale, FL 33301

                                                                                                                                                              211.64
Account No. xxx9187

Rincon, Michael
4727 E lowe                                                                 -
Fresno, CA 93702

                                                                                                                                                              308.56
Account No. xxx3897

Rinehart, Kathie
116 Redsky Ct                                                               -
Lake Mary, FL 32746

                                                                                                                                                              458.78
Account No. xxx9535

Riordan, Megan A.
3325 Calle Del Torre                                                        -
Las Vegas, NV 89102

                                                                                                                                                              236.55
Account No. xxx5717

Rios, Christina
824 Bowditch                                                                -
Aurora, IL 60506

                                                                                                                                                              668.35

           492 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,883.88
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 494 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3185                                                                                                                     E
                                                                                                                                        D

Ripley, Christopher
425 West Dickens Ave Unit I                                                 -
Chicago, IL 60614

                                                                                                                                                              757.55
Account No. xxx8670

Rittenbaugh, Brooke
20 Stone Rd                                                                 -
Pingrove, PA 17963

                                                                                                                                                              413.15
Account No. xxx1504

Roach, Anda
po box 321                                                                  -
Judson, TX 75660

                                                                                                                                                            2,625.00
Account No. xxx7865

Robbins, Jacob
509 S.Ella                                                                  -
Sandpoint, ID 83864

                                                                                                                                                              476.28
Account No. xxx2210

Robbins, Jeniffer
1875 66th ave north                                                         -
Saint pete, FL 33702

                                                                                                                                                              449.54

           493 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,721.52
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 495 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3760                                                                                                                    E
                                                                                                                                        D

Roberts, Adam S.
428 E. Main St., Apt. D                                                     -
Sommerset, PA 15501

                                                                                                                                                              569.24
Account No. xxx9421

Roberts, Rochelle
1668 Babcock St. Suite A                                                    -
Costa Mesa, CA 92627

                                                                                                                                                              843.75
Account No. xxx9697

Robertson, Norman
3305 Grape Rd.                                                              -
Mishawaka, IN 46530

                                                                                                                                                              446.10
Account No. xxxx1825

Robertson, Tori
3516 Cheyenne Street                                                        -
Round Rock, TX 78665

                                                                                                                                                              201.15
Account No. xxx7369

Robinson, Cary
616 Hollywood Ave.                                                          -
Cherry Hill, NJ 08002

                                                                                                                                                            4,320.00

           494 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,380.24
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 496 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5324                                                                                                                     E
                                                                                                                                        D

Robinson, Lisa 1
1641 Mable ave                                                              -
Denver, CO 80229

                                                                                                                                                              393.75
Account No. xxx1032

Robinson, Robert C.
439 McCormick St.                                                           -
Shreveport, LA 71104

                                                                                                                                                              579.15
Account No. xxx2263

Rodas, Rodrigo
5900 Collins Ave                                                            -
Miami Beach, FL 33140

                                                                                                                                                              476.30
Account No. xxxx3885

Rodgers, Trae
1078 Maiden Lane                                                            -
Rochester, NY 14615

                                                                                                                                                            1,178.62
Account No. xxxx4271

Rodriguez, Eurana
435 Bridham Trail                                                           -
Augusta, GA 30909

                                                                                                                                                              214.95

           495 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,842.77
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 497 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5255                                                                                                                     E
                                                                                                                                        D

Rodriguez, Francesca
112 Ardmore Place Apt #A13                                                  -
Atlanta, GA 30309

                                                                                                                                                              191.40
Account No. xxx6116

Rodriguez, Kevin 1
6 15th ASB 1ACB 1CD                                                         -
Fort Hood, TX 76544

                                                                                                                                                              238.20
Account No. xxx4771

Rodriguez, Matthew
55 Washington St Suite 658                                                  -
Brooklyn, NY 11201

                                                                                                                                                            1,922.13
Account No. xxx8052

Rodriquez, Brianna
1429 Austin St                                                              -
San Angelo, TX 76903

                                                                                                                                                              458.16
Account No. xxx9890

Roeca, Wesliegh
2202 california street                                                      -
san fransico, CA 94115

                                                                                                                                                              231.74

           496 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,041.63
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 498 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1431                                                                                                                     E
                                                                                                                                        D

Rogers, Charlene
500 East Northside Drive Apt H3                                             -
Clinton, MS 39056

                                                                                                                                                              111.54
Account No. xxxx3171

Rogers, Colin
80 Maple St                                                                 -
Norton, MA 02766

                                                                                                                                                            1,144.00
Account No. xxx2629

Rogers, Nate
187 30 Cordata St                                                           -
Fountain Valley, CA 92708

                                                                                                                                                              760.00
Account No. xxxx3509

Rogers, Patricia
3103 Alder Dr                                                               -
Pickerington, OH 43147

                                                                                                                                                              320.95
Account No.

Rohr Balloons {Texas}
Brian Rohr                                                                  -
9380 Lakeridge Drive
Princeton, TX 75407
                                                                                                                                                            1,550.00

           497 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,886.49
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 499 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3048                                                                                                                     E
                                                                                                                                        D

Rolhfing, Rick
103 Elm Street                                                              -
Washington, MO 63090

                                                                                                                                                            2,880.00
Account No. xxx4636

Romano, Edgardo
6767 Collins Ave Apt 902                                                    -
Miami, FL 33141

                                                                                                                                                              194.20
Account No. xxx2724

Romeo, Alain
11050 Biscayne Blvd Apt 13                                                  -
Miami, FL 33161

                                                                                                                                                              302.00
Account No. xxx0280

Romo, Shawna
P O Box 813                                                                 -
Leakey, TX 78873

                                                                                                                                                              443.23
Account No. xxx8745

Root, Dan
1620 jennifer lane                                                          -
yuba, CA 95993

                                                                                                                                                              889.44

           498 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,708.87
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 500 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6841                                                                                                                     E
                                                                                                                                        D

Rose, Judith E
PO Box 351                                                                  -
South Yarmouth, MA 02664

                                                                                                                                                                64.00
Account No. xxx5559

Rosenfeld, Adrian
181 Powers St.                                                              -
Brooklyn, NY 11211

                                                                                                                                                            5,426.52
Account No. xxx5021

Rosenthal, Cara
4439 Volta Street NW                                                        -
Washington, DC 20007

                                                                                                                                                                83.80
Account No. xxx6214

Ross, Richard
Route 2 box 2062                                                            -
Roosevelt, UT 84066

                                                                                                                                                            2,600.00
Account No. xxx1190

Rost, Gunnar
50 Maple Trace                                                              -
Dookeville, TN 38501

                                                                                                                                                              128.25

           499 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,302.57
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 501 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0729                                                                                                                     E
                                                                                                                                        D

rosterolla, carina
po box 767                                                                  -
gillchrist, OR 97737

                                                                                                                                                            1,422.85
Account No. xxx9761

Roth Production Co.
P.O BOX 14487                                                               -
SCOTTSDALE, AZ 85267

                                                                                                                                                              695.92
Account No. xxxx4256

Roth, Tina Marie
531 Latham Road                                                             -
Mineola, NY 11501

                                                                                                                                                              780.33
Account No. xxx4143

Rouse, Jillian
109 Brookside Lane                                                          -
Seven Fields, PA 16046

                                                                                                                                                              667.50
Account No. xxx8421

Rowen, Brad
1060 Brickell Ave                                                           -
Miami, FL 33131

                                                                                                                                                            1,241.20

           500 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,807.80
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 502 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6090                                                                                                                     E
                                                                                                                                        D

Rowlands, Ann Marie
126 Business park drive                                                     -
Utica, NY 13502

                                                                                                                                                            4,575.00
Account No.

Royal Air
6902 Broad Acres Rd.                                                        -
Shreveport, LA 71129

                                                                                                                                                                90.00
Account No. xxx6184

rubino, salvatore
10872 e via cortana rd                                                      -
scottsdale, AZ 85262

                                                                                                                                                            1,029.00
Account No. xxx2916

Rudder, Ashlea
26 Pinto Point                                                              -
Little Rock, AR 72211

                                                                                                                                                              208.90
Account No. xxx0746

Rudowski, Rene
2951 Winter Drive                                                           -
Troy, MI 48083

                                                                                                                                                              235.16

           501 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,138.06
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 503 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3289                                                                                                                     E
                                                                                                                                        D

Russell, Gordon
14 Pacquette Pl.                                                            -
Saint Albert, AB T8N5K9

                                                                                                                                                            1,695.00
Account No. xxx0953

Russell, John G
2909 East Little Cottonwood Road                                            -
Sandy, UT 84092

                                                                                                                                                            4,860.00
Account No. xxx4342

Russell, Jonathan
114 NW 6th St. Suite 206                                                    -
Oklahoma City, OK 73102

                                                                                                                                                              421.20
Account No. xxx8374

Russell, Patricia
764 Elkmont Dr. NE 2nd Floor                                                -
Atlanta, GA 30306

                                                                                                                                                              189.60
Account No. xxx4138

Russo, Theresa
P.O box 5843                                                                -
Goodyear, AZ 85338

                                                                                                                                                                67.55

           502 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,233.35
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 504 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8642                                                                                                                     E
                                                                                                                                        D

Ryan, Amy 1
7707 S AIH 35 Apt #1022                                                     -
Austin, TX 78744

                                                                                                                                                              189.47
Account No. xxx2471

Rychley, David
545 W. Crockett Ave.                                                        -
Elmhurst, IL 60126

                                                                                                                                                            2,645.94
Account No. xxxx3426

Sabourin, Christopher
1829 Shaw ave. apt 104                                                      -
Clovis, CA 93611

                                                                                                                                                            1,044.88
Account No. xxx9902

Sadananda, Vinay K.
3500 Granada Ave, Apt 209                                                   -
Santa Claire, CA 95051

                                                                                                                                                            1,759.80
Account No. xxx9350

Saffold, David
2001 Cedar Lane                                                             -
Nashville, TN 37212

                                                                                                                                                              446.56

           503 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,086.65
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 505 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1828                                                                                                                    E
                                                                                                                                        D

Saindon, Patrick A
105 King Aurthur Place                                                      -
Alabaster, AL 35007

                                                                                                                                                              253.75
Account No. xxx9352

Salmans, Skeeter
12369 Jasmine St                                                            -
Brighton, CO 80602

                                                                                                                                                              423.95
Account No. xxxx3594

Samigullin, Roman
1002 University Dr                                                          -
Plano, TX 75075

                                                                                                                                                              461.20
Account No.

San Antonio Soaring Society, Inc.
100 Boerne Stage Airfield                                                   -
Boerne, TX 78006-5149

                                                                                                                                                              200.00
Account No. xxx2308

Sandefur, Heather
1401 E. Patriot Ave Apt.15102                                               -
Derby, KS 67037

                                                                                                                                                              829.50

           504 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,168.40
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 506 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0187                                                                                                                     E
                                                                                                                                        D

Sanders, Andre
6702 Gulf Blvd                                                              -
St Pete Beach, FL 33706

                                                                                                                                                              283.50
Account No. xxxx3555

Sanders, Jerald
2855 Peachtree Rd NE, Unit 120                                              -
Atlanta, GA 30305

                                                                                                                                                              646.87
Account No. xxxx3762

Sanders, Jill
3016 Via la Selva                                                           -
Palos Verde, CA 90274

                                                                                                                                                              458.40
Account No. xxx3899

Sanders, Monique 1
188 Midland Pkwy #402                                                       -
Summerville, SC 29485

                                                                                                                                                              161.70
Account No. xxx1134

Sandford, Brian
7767 Linda Vista Rd.                                                        -
San Diego, CA 92111

                                                                                                                                                              667.33

           505 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,217.80
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 507 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3841                                                                                                                    E
                                                                                                                                        D

Sandlow, Joan
305 riverside dr apt 7a                                                     -
new york, NY 10025

                                                                                                                                                              836.60
Account No. xxx8423

Sandoval, Hugo
11808 Lewisia Ave                                                           -
Moreno Valley, CA 92557

                                                                                                                                                                61.67
Account No.

Santa Cruz Skydiving
P.O. Box 484                                                                -
Freedom, CA 95019

                                                                                                                                                            4,682.00
Account No.

Santa Fe Ballooning
8830 US Highway 277 S.                                                      -
Hawley, TX 17679-7264

                                                                                                                                                              500.00
Account No. xxxx3285

Santamour, Jamie
436 Union Ave                                                               -
Brooklyn, NY 11211

                                                                                                                                                              184.99

           506 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,265.26
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 508 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx0906                                                                                                                    E
                                                                                                                                        D

Santos, Ronal 1
1512 Monroe St                                                              -
Omaha, NE 68107

                                                                                                                                                              130.25
Account No. xxx3237

Sarofim, Phillup
10 Eaton Square                                                             -
Houston, TX 77027

                                                                                                                                                            1,543.50
Account No. xxx4222

Sarsal, Areej
6240 West 3rd St                                                            -
Los Angeles, CA 90036

                                                                                                                                                            1,852.20
Account No. xxxx3446

Sasser, Sondra
11446 East Quintana Ave                                                     -
Masa, AZ 85212

                                                                                                                                                              159.00
Account No. xxxx3427

Satish, Shriran
913 Coastal Marsh rd #189                                                   -
Mt. Pleasant, SC 29464

                                                                                                                                                              611.34

           507 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,296.29
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 509 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3731                                                                                                                    E
                                                                                                                                        D

Saunders, Cadie
P.O. Box 1144                                                               -
Weillington, CO 80549

                                                                                                                                                              459.00
Account No. xxx2763

Sayuna, Jorge
1441 Sheridan Ave                                                           -
Pomona, CA 91767

                                                                                                                                                            1,061.00
Account No. xxx3018

Schaedel, Kurt
9501 S I-35 Service Road Unit 905                                           -
Moore, OK 73160

                                                                                                                                                              141.29
Account No. xxx2337

Schafer, Noel
5620 SW Third                                                               -
Plantation, FL 33317

                                                                                                                                                              496.53
Account No. xxxx4740

Schafer, Tim
925 EAST DESERT FLOWER LN.                                                  -
PHOENIX, AZ 00085-0448

                                                                                                                                                              235.10

           508 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,392.92
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 510 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1863                                                                                                                     E
                                                                                                                                        D

Schaunaman, Chris
3844 Bennett Court                                                          -
Indianapolis, IN 46254

                                                                                                                                                              305.20
Account No. xxx2242

Scheid, Zach
197 Tibton Circle                                                           -
Myrtle Beach, SC 29588

                                                                                                                                                              269.80
Account No. xxx8746

Schembre, Bobby J.
1005 West Ash                                                               -
Columbia, MO 65203

                                                                                                                                                              418.52
Account No. xxx7839

Scherff, Jill
23930 481st Ave.                                                            -
Trent, SD 57065

                                                                                                                                                              189.20
Account No. xxx6852

Schlagel, Domenick
113 glenn heather street                                                    -
dacono, CO 80514

                                                                                                                                                              672.48

           509 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,855.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 511 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3674                                                                                                                    E
                                                                                                                                        D

Schlegel, Danielle
1011 Canal St.                                                              -
Oxnard, CA 90613

                                                                                                                                                              463.98
Account No. xxx9709

Schluter, Darren L
221 Trumble Street                                                          -
Hartford, CT 06103

                                                                                                                                                              246.20
Account No. xxx4000

Schneider, Aubrey
3489 S River Terrace                                                        -
Edgewater, MD 21037

                                                                                                                                                              300.26
Account No. xxx9600

schneider, ryan
1226 Thresher Dr.                                                           -
dell rapids, SD 57022

                                                                                                                                                            1,188.00
Account No. xxxx3501

Schnell, Nicole
3706 W. Idlewile Ave, # 205                                                 -
Tampa, FL 33614

                                                                                                                                                              210.57

           510 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,409.01
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 512 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1927                                                                                                                    E
                                                                                                                                        D

Schoenherr, Scott
3314 56th St.                                                               -
Eau Claire, WI 54703

                                                                                                                                                            8,149.37
Account No. xxx9189

Schultz, Michael
6661 Warrior Trail Bldg 350                                                 -
Ft Polk, LA 71459

                                                                                                                                                            3,045.60
Account No. xxx0767

Schweiger, James
1101 Remount rd 500                                                         -
North Charleston, SC 29406

                                                                                                                                                            5,820.00
Account No. xxx9190

Scott, Christopher
30243 audoblan st                                                           -
hayward, CA 94544

                                                                                                                                                              459.99
Account No. xxx8620

Scott, Susan
327 Neeting Street                                                          -
Georgetown, SC 29440

                                                                                                                                                                74.25

           511 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          17,549.21
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 513 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8802                                                                                                                     E
                                                                                                                                        D

Scupham, Charles
500 Washington Avenue                                                       -
Glenco, IL 60022

                                                                                                                                                            3,315.00
Account No. xxx8119

Sczytko, Steven
27175 Energy Way                                                            -
Novi, MI 48377

                                                                                                                                                            7,538.00
Account No. xxx8050

Seargent, Steve
1097 US Route 22 West                                                       -
Circleville, OH 43113

                                                                                                                                                              539.00
Account No. xxx1946

Seeton, Corey
5324 Yampa Trail                                                            -
Watauga, TX 76137

                                                                                                                                                              244.53
Account No. xxx2066

Seiler, Pat
1718 Claymont Estates Drive                                                 -
Chesterfield, MO 63017

                                                                                                                                                                69.52

           512 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          11,706.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 514 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9213                                                                                                                     E
                                                                                                                                        D

Seitz, Greg
2850 Landon Way.                                                            -
Marietta, GA 30066

                                                                                                                                                                80.22
Account No. xxx4205

Self, Jena
36 Sunset Lane                                                              -
Babot, AR 72023

                                                                                                                                                              418.27
Account No. xxx7875

Sell, Tyler
8950 County Rd F                                                            -
Newton, WI 53063

                                                                                                                                                            1,089.25
Account No. xxxx0988

Senechal, Michel A
75 Park Drive                                                               -
Clancy, MT 59634

                                                                                                                                                              886.60
Account No. xxx5022

Serban, Oana
785 High Street                                                             -
Bath, ME 04530

                                                                                                                                                                82.80

           513 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,557.14
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 515 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3604                                                                                                                    E
                                                                                                                                        D

Serrano, Rocio
2406 Dickens Dr                                                             -
Killeen, TX 76543

                                                                                                                                                              712.24
Account No. xxx3523

Sexton, Charles
P.O Box 1155                                                                -
Paducah, KY 42002

                                                                                                                                                            5,582.50
Account No. xxx9539

Shaffer, Katelin
3808 Polk Street                                                            -
Hollywood, FL 33021

                                                                                                                                                              186.48
Account No. xxx5190

Shahin, Gabriel
1022 Anderson Wy                                                            -
San Gabriel, CA 91776

                                                                                                                                                              373.00
Account No. xxx9970

Sharell, Gilbert
8120 Blakie Ct                                                              -
Sarasota, FL 34240

                                                                                                                                                              633.95

           514 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,488.17
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 516 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0442                                                                                                                     E
                                                                                                                                        D

Sharkey, Kevin
8929 S. Sepulveda Blvd Suite 510                                            -
Los angeles, CA 90045

                                                                                                                                                            1,370.00
Account No. xxx8678

Shaun Ellingson, Northwest Aerial
Servic                                                                      -
Northwest Aerial Services
Tacoma, WA 98444
                                                                                                                                                            1,170.40
Account No. xxx6227

Shaw, Erica
202 Jamestown Oaks Drive                                                    -
Jamestown, NC 27282

                                                                                                                                                              337.00
Account No. xxx1271

Shaw, Lynnette
121 Lone Tree Ln                                                            -
Decatur, TX 76234

                                                                                                                                                              409.00
Account No. xxx1913

Sheehan, Padraic
8112 FlowerTown Ave                                                         -
Wyndmoor, PA 19038

                                                                                                                                                                76.56

           515 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,362.96
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 517 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx2552                                                                                                                    E
                                                                                                                                        D

Sheldon, Preston
300 Addison Way #7-1E                                                       -
Petersburg, VT 23805

                                                                                                                                                              228.87
Account No. xxx1052

Shelton, Haley
21627 South West Cedar Brook                                                -
Sherwood, OR 97140

                                                                                                                                                              617.00
Account No. xxx2033

Shenandoah, Kyle
1307 South Grove Street                                                     -
philadelphia, PA 19416

                                                                                                                                                              217.95
Account No. xxxx3647

Shepard, Chad E.
11538 Rock Hampton Dr.                                                      -
St. Louis, MO 63138

                                                                                                                                                              502.00
Account No. xxx8134

Shepherd, John
31 mewton st                                                                -
fort jones, CA 96032

                                                                                                                                                              340.34

           516 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,906.16
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 518 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0630                                                                                                                     E
                                                                                                                                        D

Sheridan , Melissa
16665 J Hunters Ridge Ln                                                    -
St. Robert, MO 65584

                                                                                                                                                              486.48
Account No. xxx1517

Shifrin, Neil
37 Hawthorne lane                                                           -
Weston, MA 02493

                                                                                                                                                            3,780.00
Account No. xxx6961

Shimizu, Stacy
5541 W. 123rd Place                                                         -
Hawthorne, CA 90250

                                                                                                                                                              384.82
Account No. xxx7803

Shinneman, Joel
6632 escalloonia                                                            -
Rockland, CA 95765

                                                                                                                                                              164.99
Account No. xxx6051

Shirey, Linda
4120 Endicott Dr.                                                           -
Grand Prairie, TX 75052

                                                                                                                                                              449.16

           517 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,265.45
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 519 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4895                                                                                                                     E
                                                                                                                                        D

Shirley, Caitlin
421 Delmar Street                                                           -
Philadelphia, PA 19128

                                                                                                                                                              174.82
Account No. xxxx2746

Shover, Steven
710 West Cooper Ave.                                                        -
Lancaster, OH 43130

                                                                                                                                                              854.10
Account No. xxx7293

Shown, Noah
1644 B Market Loop                                                          -
Clovis, NM 88101

                                                                                                                                                              465.30
Account No. xxx7362

Shrestha, Sujen
7417 Grant Villiage Dr.                                                     -
St. Louis, MO 63123

                                                                                                                                                              454.50
Account No. xxx5257

Shulman, Micky
2000 Crystal Springs Road                                                   -
San Bernadino, CA 94066

                                                                                                                                                              115.75

           518 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,064.47
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 520 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4763                                                                                                                    E
                                                                                                                                        D

Shultz, Jamie
650 West Clinton Street                                                     -
Deblin, TX 76446

                                                                                                                                                              193.95
Account No. xxx8117

Sichanpheng, Ivy
257 E. 200 SOUTH SUITE350                                                   -
SALT LAKE, UT 84111

                                                                                                                                                              589.50
Account No. xxx6942

Sidwell, Josh
7034 S. 127th st.                                                           -
Seattle, WA 98178

                                                                                                                                                              787.50
Account No. xxxx3031

Siebert, Jacqueline E.
3000 NE 48th Court 306                                                      -
Lighthouse Point, FL 33064

                                                                                                                                                              105.60
Account No. xxx7238

Sierra, Diana
7930 Jones Branch Drive                                                     -
Mclain, VA 22102

                                                                                                                                                            5,880.00

           519 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,556.55
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 521 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7857                                                                                                                     E
                                                                                                                                        D

Silverman, Jed
1017 Heights Blvd                                                           -
Houston, TX 77008

                                                                                                                                                            4,958.50
Account No. xxx9005

Sima, Mike
6905 Cunningham Drive                                                       -
New Albany, OH 43054

                                                                                                                                                              212.29
Account No. xxx7071

Simon, Carrie C
739 Chidester Ave                                                           -
Glen Ellen, IL 60137

                                                                                                                                                            1,501.50
Account No. xxx4518

Simonitsch, William
335 S. Biscayne Blvd Unit 3809                                              -
Miami, FL 33131

                                                                                                                                                              305.50
Account No. xxxx1907

Simpson, Juliana S
3854 oak hills circle                                                       -
Port heron, MI 48060

                                                                                                                                                            1,712.00

           520 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,689.79
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 522 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8464                                                                                                                     E
                                                                                                                                        D

Simpson, Keely
1426 Castlewood Drive                                                       -
Wheaton, IL 60189

                                                                                                                                                              274.97
Account No.

Sin City Skydiving
Attn: Brad Wedge                                                            -
4339 Spencer #10
Las Vegas, NV 89119
                                                                                                                                                              687.00
Account No. xxx2455

Singh, Parul
99 Myrtle st apt. 7                                                         -
Boston, MA 08114

                                                                                                                                                              259.98
Account No. xxx5860

Singh, Satbir
4029 Meadows Ln                                                             -
Oakley, CA 94561

                                                                                                                                                              498.80
Account No. xxx5265

Sizer, Steven K
10947 Bloomfield St Apt 103                                                 -
North Hollywood, CA 91602

                                                                                                                                                              249.60

           521 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,970.35
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 523 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8087                                                                                                                     E
                                                                                                                                        D

Skidmore, Beth
4931 North 300 West                                                         -
Provo, UT 84604

                                                                                                                                                            4,200.00
Account No.

Sky Adventures
4191 Locust Valley Lane                                                     -
Oxford, MI 48370

                                                                                                                                                            1,360.00
Account No.

Sky High Hot Air Balloons
9251 Garbow Road                                                            -
Middleville, MI 49333

                                                                                                                                                            1,200.00
Account No.

Skybound Aviation
2000 Airport Rd                                                             -
Ste 125
Chamblee, GA 30341
                                                                                                                                                              105.93
Account No.

Skydive 35
550 Brigman Road                                                            -
Maple, TX 76064

                                                                                                                                                              145.65

           522 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,011.58
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 524 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Skydive Canyonlands
d/b/a Skydive Canyonlands                                                   -
577 Bittle Lane, # 3
Moab, UT 84532
                                                                                                                                                            1,780.00
Account No.

Skydive Coastal California
Charlevoix State Bank                                                       -
111 State Street
Charlevoix, MI 49720
                                                                                                                                                          10,645.00
Account No.

Skydive Coastal Carolinas
dba Skydive Coastal Carolinas                                               -
4019 Long Beach Road
Southport, NC 28461
                                                                                                                                                          13,400.00
Account No.

Skydive Columbus
774 Manchester Cirvle, N.                                                   -
Pickerington, OH 43147

                                                                                                                                                            2,627.00
Account No.

Skydive Cowtown
P.O. Box 683                                                                -
Rhome, TX 76078

                                                                                                                                                            3,705.00

           523 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          32,157.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 525 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Skydive Delmarva, Inc.
32524 Aero Drive                                                            -
Laurel, DE 19956

                                                                                                                                                            2,120.00
Account No.

Skydive Door County
2986 Lake Forest Park Road                                                  -
Sturgeon Bay, WI 54235

                                                                                                                                                              735.00
Account No.

Skydive Eagle Creek
dba Skydive Eagle Creek                                                     -
29388 SE Heiple Rd
Eagle Creek, OR 97022
                                                                                                                                                            2,220.00
Account No.

Skydive Eagles Nest
3303 Dentcrest Drive                                                        -
Midland, TX 79707

                                                                                                                                                            1,800.00
Account No.

Skydive Empire
dba Skydive Empire                                                          -
P.O. Box 18321
Boulder, CO 80308
                                                                                                                                                            3,740.00

           524 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          10,615.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 526 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Skydive Georgetown LLC
5630 Kent Rd                                                                -
Andrews, SC 29510

                                                                                                                                                            3,680.00
Account No.

Skydive Houston
dba Skydive Houston                                                         -
15411 Turning Tree Way
Cypress, TX 77433
                                                                                                                                                            1,078.00
Account No.

Skydive Indianapolis
P.O. Box 663                                                                -
Carmel, IN 46082

                                                                                                                                                            2,939.00
Account No.

Skydive Jacksonville
476 North Williams Ave                                                      -
Titusville, FL 32796

                                                                                                                                                            1,542.00
Account No.

Skydive Jersey
P O Box 139                                                                 -
Pittstown, NJ 08867

                                                                                                                                                            8,145.00

           525 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          17,384.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 527 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Skydive Lake Wales
P.O. Box 1616                                                               -
Lake Wales, FL 33859

                                                                                                                                                            1,557.00
Account No.

Skydive Las Vegas
P.O. Box 61426                                                              -
Boulder City, NV 89006

                                                                                                                                                          42,430.00
Account No.

Skydive Monroe
P.O. Box 676                                                                -
Monroe, GA 30655

                                                                                                                                                            2,127.00
Account No.

Skydive Monterey Bay
476 North Williams Ave                                                      -
Titusville, FL 32796

                                                                                                                                                              229.00
Account No.

Skydive Myrtle Beach
2800 Terminal Street                                                        -
N. Myrtle Beach, SC 29582

                                                                                                                                                            3,015.00

           526 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          49,358.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 528 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Skydive New England, LLC
40 Skydive Lane                                                             -
Lebanon, ME 04027

                                                                                                                                                            4,347.00
Account No.

Skydive OBX
P O Box 210                                                                 -
Kitty Hawk, NC 27949

                                                                                                                                                            3,442.08
Account No.

Skydive Palm Beach
15555 Grumman Court                                                         -
Wellington, FL 33414

                                                                                                                                                            4,405.00
Account No.

Skydive Panama City
122 Bel Aire Dr                                                             -
Dothan, AL 36303

                                                                                                                                                              994.00
Account No.

Skydive Pennsylvania
Attn: Cecil Smith                                                           -
496 Old Ash Rd
Meroga, PA 16137
                                                                                                                                                            7,793.00

           527 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          20,981.08
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 529 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Skydive Sacramento
Pat Garcia                                                                  -
1404 Flightline Dr.
Lincoln, CA 95648
                                                                                                                                                              398.00
Account No.

Skydive San Diego
13531 Otay Lakes Rd                                                         -
Jamul, CA 91935

                                                                                                                                                          10,745.00
Account No.

Skydive Spaceland
PO Box 1121                                                                 -
Rosharon, TX 77583

                                                                                                                                                            1,530.00
Account No.

Skydive Superior
4804 Hammond Avenue                                                         -
Hanger #A-7
Superior, WI 54880
                                                                                                                                                              760.00
Account No.

Skydive Tampa Bay
825 Leeward Way                                                             -
Palm Harbor, FL 00034-6851

                                                                                                                                                            1,740.00

           528 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          15,173.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 530 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Skydive Tandem Greenville, LLC
2241 CR 3303                                                                -
Greenville, TX 75402

                                                                                                                                                              830.00
Account No.

Skydive Temple
15771 South I-35                                                            -
Salado, TX 76751

                                                                                                                                                            1,880.00
Account No.

Skydive Texas Beaches
8908 Keymill Dr.                                                            -
Houston, TX 77064

                                                                                                                                                            1,130.00
Account No.

Skydive The Farm
1195 Grady Road                                                             -
Rockmart, GA 30153

                                                                                                                                                              720.00
Account No.

Skydive Toledo LLC
134 McCormick                                                               -
Castle Rock, WA 98611

                                                                                                                                                            1,630.00

           529 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,190.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 531 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Skydive Warren County, Inc.
Attn: Jaime Praeter                                                         -
4499 North State Route 42
Waynesville, OH 45068
                                                                                                                                                            1,457.00
Account No.

Skydown Sport Skydiving
5111 Aviation Way                                                           -
Caldwell, ID 83605

                                                                                                                                                            1,650.00
Account No.

Skyscapes of America
3300-D North Main St.                                                       -
PMB 310
Anderson, SC 29621
                                                                                                                                                            1,400.00
Account No. xxx5716

Sledge, Ryan
1911 Bering Drive Apt 18                                                    -
Houston, TX 77057

                                                                                                                                                                69.48
Account No. xxxx4696

Sloan, Kayla
1632 rochester Street                                                       -
Lima, NY 14485

                                                                                                                                                              278.30

           530 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,854.78
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 532 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5266                                                                                                                     E
                                                                                                                                        D

Sloan, Nicholas G
626 Fairway Dr                                                              -
Royal Oak, MI 48073

                                                                                                                                                              231.08
Account No. xxx7902

Sloan, Rees D
15125 Romalong Lane                                                         -
Carmenl, IN 46032

                                                                                                                                                              497.64
Account No. xxx3544

Slovick, Joel
5020 Buck Thorn Ct                                                          -
Santa Rosa, CA 95404

                                                                                                                                                            1,175.00
Account No. xxx2490

Smith, Cameron O
1 Great Elm Drive                                                           -
Sharon, CT 06069

                                                                                                                                                            2,990.00
Account No. xxx3471

Smith, Cody
1724 Danciger                                                               -
Fort Woth, TX 76112

                                                                                                                                                              712.20

           531 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,605.92
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 533 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3107                                                                                                                     E
                                                                                                                                        D

Smith, Dylan S
1361 S Greenfield Rd Apt 1057                                               -
Mesa, AZ 85206

                                                                                                                                                              445.10
Account No. xxx9699

Smith, Hamilton
2410 Albatross St. unit 1                                                   -
San Diego, CA 92101

                                                                                                                                                              562.12
Account No. xxx9307

Smith, Hanna
327 Silver Canyon Dr                                                        -
Ft. Worth, TX 76108

                                                                                                                                                              110.25
Account No. xxxx0300

Smith, Jerod
6810 Northwest 122                                                          -
Oklahoma City, OK 73142

                                                                                                                                                              659.00
Account No. xxx6313

Smith, Kenny
22854 Forestridge drive                                                     -
estero, FL 33928

                                                                                                                                                              567.58

           532 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,344.05
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 534 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4849                                                                                                                     E
                                                                                                                                        D

Smith, Mark 2
5041 Singleton Dr.                                                          -
Billiard, OH 43026

                                                                                                                                                              367.86
Account No. xxx8090

Smith, Michael 4
315 West 29th st                                                            -
New York, NY 10001

                                                                                                                                                              458.50
Account No. xxx9275

Smith, Nathan 2
113 N Main St                                                               -
Lawrenceburg, KY 40342

                                                                                                                                                              424.71
Account No. xxx8866

Smith, Paul
3033 West Galgrith Rd                                                       -
Cincinnati, OH 45239

                                                                                                                                                              722.96
Account No. xxxx4917

Smith, Rachel B
133 West Sunset Drive                                                       -
Rittman, OH 44270

                                                                                                                                                              269.16

           533 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,243.19
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 535 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5025                                                                                                                     E
                                                                                                                                        D

Smith, Rustin
21 Quail Ridge                                                              -
Ponca City, OK 74604

                                                                                                                                                              774.00
Account No. xxx1996

Smith, Sara G.
1206 Pike Path                                                              -
Round Rock, TX

                                                                                                                                                              106.56
Account No. xxx6399

Smith, Thomas 1
1493 Crane Creek Blvd                                                       -
Melbourne, FL 32940

                                                                                                                                                              458.20
Account No. xxx5521

Smith, Tracy
170 Diminish Drive                                                          -
Newark, DE 19713

                                                                                                                                                              210.31
Account No. xxx0896

Smolij, Walter
23 Stoney Hill Lane                                                         -
Moun Laurel, NJ 08054

                                                                                                                                                              454.75

           534 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,003.82
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 536 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8738                                                                                                                     E
                                                                                                                                        D

Snapp, Anthony
507 Florence Dr.                                                            -
Albany, GA 31707

                                                                                                                                                              449.49
Account No. xxx3743

Snead, Matthew
665 Cindy Dr                                                                -
Canyon Lake, TX 78133

                                                                                                                                                              485.08
Account No. xxx9000

Snedden, Bradley
3480 Dairy Lane                                                             -
idaho falls, ID 83404

                                                                                                                                                              290.05
Account No. xxx6054

Snyder, Jennifer 1
8520 Hawthorne Rd                                                           -
Frisco, TX 75034

                                                                                                                                                              100.50
Account No. xxx5174

Solano, Richard
901 15th Street South Apt 525                                               -
Arlington, VA 22202

                                                                                                                                                              585.75

           535 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,910.87
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 537 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1526                                                                                                                     E
                                                                                                                                        D

Solarbee, Inc
3225 Hwy 22 North                                                           -
Dickinson, CA 58601

                                                                                                                                                            3,029.00
Account No. xxxx3556

Sommer, Ross
2100 Marion Drive                                                           -
Lexington, NC 27296

                                                                                                                                                            1,980.00
Account No.

Sonora Wings LLC
Mark J Knight                                                               -
5635 S. Outrigger Road
Tempe, AZ 85283
                                                                                                                                                            1,950.00
Account No. xxx8381

Soriano, Sandra
40 Graywood Rd.                                                             -
Washington, NY 11050

                                                                                                                                                              410.85
Account No.

Southern Minnesota Skydiving, LLC.
2502 6th Street, NE                                                         -
Waseca, MN 56093

                                                                                                                                                              140.00

           536 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,509.85
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 538 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0754                                                                                                                     E
                                                                                                                                        D

Sowell, Thomas
1007 Misty Lane                                                             -
Belmont, CA 94002

                                                                                                                                                              726.15
Account No. xxx3376

Spence, Gavin
12101 199th St                                                              -
Springfield Garden, NY 11413

                                                                                                                                                            1,182.50
Account No. xxx9773

Spiewak, Jackie R.
10800 Old St Augustine Rd unit 201                                          -
Jacksonville, FL 32257

                                                                                                                                                              453.20
Account No. xxx9494

SPINKS, JOSHUA
9253 Gary St                                                                -
Denham Springs, LA 70726

                                                                                                                                                            2,085.00
Account No. xxx5117

Spresser, Michael G
373 S. Franklin St.                                                         -
Denver, CO 80209

                                                                                                                                                              221.95

           537 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,668.80
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 539 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3591                                                                                                                    E
                                                                                                                                        D

St. Elair, Amx W.
2501 Macon Ranch Rd., Apt. 625                                              -
Salaine, TX 76542

                                                                                                                                                              710.00
Account No. xxx4786

Staggs, Linda
604 South Park Avenue                                                       -
Seymore, IA 52590

                                                                                                                                                              416.00
Account No. xxx8848

Staie, Melissa
9056 River Bend Court                                                       -
Villa Rica, GA 30180

                                                                                                                                                              191.84
Account No. xxx6839

Standford, Evan
Po box 1210                                                                 -
Summerland, CA 93067

                                                                                                                                                              513.51
Account No. xxx4388

Stanunathan, Aditya
300 Wembley Cir.                                                            -
Atlanta, GA 30328

                                                                                                                                                              138.00

           538 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,969.35
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 540 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0758                                                                                                                     E
                                                                                                                                        D

Stapp, Brion
PO Box 688                                                                  -
Longmont, CO 80502

                                                                                                                                                            1,056.20
Account No. xxx7037

Stauch, Christopher
2952 northeast david loop                                                   -
Issaquah, WA 98029

                                                                                                                                                              415.50
Account No. xxx9505

Steibe, Josh
12303 County road 29                                                        -
Stearling, CO 80751

                                                                                                                                                              469.04
Account No. xxxx0358

Steigele, Jenny
216 Piedmont Ave                                                            -
Atlanta, GA 30308

                                                                                                                                                            1,081.08
Account No. xxx7859

Steinhoff, rebecca A
2134 Linden ave                                                             -
madison, WI 53704

                                                                                                                                                              148.72

           539 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,170.54
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 541 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4787                                                                                                                     E
                                                                                                                                        D

Stenson, Tasia L
2014 Oliver Street                                                          -
Sandiego, CA 92109

                                                                                                                                                              382.95
Account No. xxx3856

Sternbach, Lea
3502 Glen Ave                                                               -
Baltimore, MD 21215

                                                                                                                                                              177.32
Account No. xxx3042

Stevens, Albert
701 Merytlewood Lane                                                        -
Key Biscayne, FL 33149

                                                                                                                                                                94.62
Account No. xxxx0233

Stevenson, Darrell
4058 E. Kensington                                                          -
Springfield, MO 65809

                                                                                                                                                            6,451.50
Account No. xxx7103

Stewart, Ashley N.
2503 Whitis Ave, LittleField 204                                            -
Austin, TX 78705

                                                                                                                                                              120.54

           540 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,226.93
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 542 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5102                                                                                                                     E
                                                                                                                                        D

Stobo, Robert
841 Princeton St                                                            -
Sana Monica, CA 90403

                                                                                                                                                            1,246.00
Account No. xxx8882

Stoenciu, Melina
pscq 338                                                                    -
Litttle Rock A.F.B, AR 72099

                                                                                                                                                              529.90
Account No. xxx6142

Storry Fuchs, Alison
6200 Circle Drive                                                           -
Indian Trails, NC 28079

                                                                                                                                                            1,704.00
Account No. xxx8021

Stover, Ron
501 North west woodson dr                                                   -
Grants pass, OR 97526

                                                                                                                                                            4,095.00
Account No. xxxx1383

Straw, Sean
2413 Ridgewood                                                              -
Wichita, KS 67220

                                                                                                                                                            1,201.20

           541 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            8,776.10
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 543 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8022                                                                                                                     E
                                                                                                                                        D

Strickland, Lauren Nicole
24377 5th ave                                                               -
florala, AL 36442

                                                                                                                                                              260.27
Account No. xxx2670

Stull, Erin
75 Camden St.                                                               -
Rochester, NY 14612

                                                                                                                                                              150.30
Account No. xxx0792

stusano, Joseph
394 violet street                                                           -
massapequa park, NY 11762

                                                                                                                                                            1,787.50
Account No. xxx6221

STUTES, KELLY
16505 LA CANTERA PARKWAY                                                    -
SAN ANTONIO, TX 78256

                                                                                                                                                              619.50
Account No. xxx5433

Styno, Connie
5 Rustyville Rd                                                             -
Albany, NY 12211

                                                                                                                                                              118.66

           542 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,936.23
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 544 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4225                                                                                                                     E
                                                                                                                                        D

Suchenko, Nina
13 Green Twigg Dr.                                                          -
Toms River, NJ 08753

                                                                                                                                                              321.12
Account No. xxx4311

Sullivan, Tammy R
PO Box 1322                                                                 -
Tallevast, FL 34270

                                                                                                                                                              217.55
Account No. xxxx3649

Sumner, Regina
242 Pheasant Run Dr                                                         -
Blacksburg, VA 24060

                                                                                                                                                              300.40
Account No.

Sunny Day Come Fly Away, Inc.
276 Greenway Circle, E.                                                     -
Broomfield, CO 80020

                                                                                                                                                              300.00
Account No.

Sunrise Balloons Miami LLC
1881 Washington Ave                                                         -
# 15B
Miami Beach, FL 33139
                                                                                                                                                            2,700.00

           543 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,839.07
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 545 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9945                                                                                                                     E
                                                                                                                                        D

Surita, Tracey
700 sylvan avenue                                                           -
englewood cliffs, NJ 07632

                                                                                                                                                            1,709.40
Account No. xxx8478

Swan, Katie
15175 SW Royalty Prkwy J27                                                  -
Tigard, OR 97224

                                                                                                                                                                83.00
Account No. xxxx4127

Sweeney, Joseph
544 Central Ave. Apt. 107                                                   -
Alameta, CA 94501

                                                                                                                                                                85.70
Account No. xxx8785

SYNESIOU, ANDREW
20548 VENTURA BLVD APT 123                                                  -
WOODLAND HILLS, CA 91364

                                                                                                                                                              887.00
Account No. xxx0400

Sysko, Ryan
206 Alapocas dr                                                             -
Wilmington, DE 19803

                                                                                                                                                            4,950.00

           544 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,715.10
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 546 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2123                                                                                                                     E
                                                                                                                                        D

Szilagyi, Tammy
15608 Carril Court                                                          -
Monte Sereno, CA 95030

                                                                                                                                                              502.80
Account No. xxx3058

Taberner, Jose
2655 Collins Ave                                                            -
Miami, FL 33140

                                                                                                                                                                83.60
Account No. xxx8686

Tagliati, Michele
14631 Bestor Blvd                                                           -
Pacific Palisades, CA 90272

                                                                                                                                                            1,316.40
Account No.

Taking Off Hot Air Balloon Co.
Tommy Rachel                                                                -
P.O. Box 113
Magnolia Spings, AL 36555
                                                                                                                                                            1,650.00
Account No. xxx9444

Talamantez, Christy
1911 Londonberry Drive                                                      -
Leander, TX 78641

                                                                                                                                                              204.24

           545 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,757.04
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 547 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4505                                                                                                                     E
                                                                                                                                        D

Talic, Fouad
13900 Marques Way                                                           -
Marina del Ray, CA 90292

                                                                                                                                                              268.04
Account No. xxx6321

Tang, Jia-Peng
130 Descanso Dr.                                                            -
San Jose, CA 95134

                                                                                                                                                              554.40
Account No. xxx8868

Tarkir, Ashley
9070 baber drive                                                            -
Manassas, VA 20112

                                                                                                                                                              190.54
Account No. xxx4675

Tass, Steve
182 W. Lake St Suite 2105                                                   -
Chicago, IL 60601

                                                                                                                                                            1,312.00
Account No. xxxx3513

Tate, Russ
628 Crestview Court                                                         -
Saginaw, TX 76179

                                                                                                                                                              542.10

           546 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,867.08
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 548 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7861                                                                                                                     E
                                                                                                                                        D

Taylor, Matthew 1
13249 FM 830                                                                -
Willis, TX 77318

                                                                                                                                                              500.40
Account No. xxx3932

Taylor, Mike 1
411 County rd 281                                                           -
Woodland park, CO 80863

                                                                                                                                                              143.25
Account No. xxx3109

Taylor, Sheila 1
11 perillo ct.                                                              -
pearl river, NY 10965

                                                                                                                                                              199.60
Account No. xxxx1298

Tebby, Christopher
15346 Becker Lane                                                           -
Dyersville, IA 52040

                                                                                                                                                              502.20
Account No. xxx2266

Teem, Michael
6621 Wilbanks Rd                                                            -
Knoxville, TN 37912

                                                                                                                                                            1,557.50

           547 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,902.95
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 549 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9911                                                                                                                     E
                                                                                                                                        D

Tefera, Esterlin
5555 amsbury drive                                                          -
dallas, TX 75206

                                                                                                                                                              462.50
Account No. xxx9590

Tessner, R L
220 Marilyn Dr                                                              -
East Fayetteville, GA 30214

                                                                                                                                                              112.00
Account No. xxx4410

Tew Jr. , Vernon
3611 Industrial Blvd.                                                       -
Laurel, MS 39440

                                                                                                                                                            5,952.70
Account No.

Texas Balloon Rides
P.O. Box 1508                                                               -
Blanco, TX 78606

                                                                                                                                                              875.00
Account No.

Texas Freefall
251-C Harbin Drive                                                          -
Stephenville, TX 76401

                                                                                                                                                              340.00

           548 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,742.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 550 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5962                                                                                                                     E
                                                                                                                                        D

Thakar, Varspa
2964 Cashel Ln                                                              -
Vienna, VA 22181

                                                                                                                                                              298.97
Account No.

The Skydive Experience
Donnie D. Cockrell                                                          -
2009 Pine Ridge Way
Benton, LA 71006
                                                                                                                                                            4,595.00
Account No. xxx9888

Theriault, Elizabeth
76 15th Ct                                                                  -
Hermosa Beach, CA 90254

                                                                                                                                                                60.90
Account No. xxx8460

Thigpen, James
po box 8142                                                                 -
Tyler, TX 75701

                                                                                                                                                            1,705.50
Account No. xxx3233

Thomas, Julien
37 Marks Place                                                              -
New York, NY 10003

                                                                                                                                                              203.99

           549 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            6,864.36
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 551 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx4469                                                                                                                     E
                                                                                                                                        D

Thomas, Mark L
spc usa 1952 barkley ave                                                    -
ft carson, CO 80913

                                                                                                                                                              232.42
Account No. xxx7172

Thomas, Reda G.
2091 FM 600 Road                                                            -
Haskell, TX 79521

                                                                                                                                                              262.81
Account No. xxx8852

Thomas, Yulanda A
404 Conley Dr                                                               -
Hinesville, GA 31313

                                                                                                                                                              619.66
Account No.

Thompson Aire Ballooning
13825 Avalon Road                                                           -
Winter Garden, FL 34787

                                                                                                                                                            7,595.00
Account No. xxx9446

Thompson, Arden
8 Cherryfield Court                                                         -
Greer, SC 29651

                                                                                                                                                              427.10

           550 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,136.99
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 552 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3194                                                                                                                     E
                                                                                                                                        D

Thompson, Justin 1
721 A Cranbury Cross Road                                                   -
North Brunswick, NJ 08902

                                                                                                                                                              309.70
Account No. xxx2552

Thompson, Rebecca
8434 Red Oak Dr                                                             -
Eden Prarie, MN 55347

                                                                                                                                                              451.75
Account No. xxx5866

Thornton, Sarah
3737 Laurel Cherry Lane                                                     -
indianapolis, IN 46239

                                                                                                                                                              259.35
Account No. xxx9047

Thorsen, Jim
1505 Blackberry Ct                                                          -
Eustis, FL 32726

                                                                                                                                                              448.30
Account No.

Thrill a Minute Hang Gliding
1444 Window Rock Road                                                       -
Dunlap, TN 37327

                                                                                                                                                              320.00

           551 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,789.10
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 553 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8667                                                                                                                     E
                                                                                                                                        D

Thunderbird, Norman W
3405 Old Seguin luling Rd                                                   -
Seguin, TX 78155

                                                                                                                                                            2,547.00
Account No. xxx4228

Thurmer, ulrik
30 river road                                                               -
Manhatten, NY 10044

                                                                                                                                                              174.00
Account No. xxx8480

Tibbitts, Dustin
661 E Technology Ave Building B                                             -
Orem, UT 84097

                                                                                                                                                            1,716.80
Account No. xxx7127

tice, eli
103 mary lee drive                                                          -
charlestown, WV 25414

                                                                                                                                                              449.79
Account No. xxx4046

Tighe, Julie
7378 Childsdale Ave NE                                                      -
Rockford, MI 49341

                                                                                                                                                                83.87

           552 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,971.46
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 554 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3711                                                                                                                     E
                                                                                                                                        D

Tilden, Carolyn
3783 Shaddock Creek Lane                                                    -
Frisco, TX 75034

                                                                                                                                                            1,142.10
Account No. xxx2564

Tillman, Jon
3744 pershang Ave Apt 4                                                     -
san Diego, CA 92104

                                                                                                                                                              155.00
Account No. xxx8872

Tinney, Dakota
804 N. Chancery St.                                                         -
Mcminnville, TN 37110

                                                                                                                                                              415.00
Account No. xxx9703

Tipton, Chris 1
370 North Argyle                                                            -
Clovis, CA 93612

                                                                                                                                                            2,205.20
Account No. xxxx3909

Tiwari, Abhishek
801 Monte Cruz                                                              -
Mission, TX 78574

                                                                                                                                                                85.08

           553 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,002.38
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 555 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2632                                                                                                                     E
                                                                                                                                        D

Tiwari, Rahul
605 Hidden Vally Club Dr Apt 102                                            -
Ann arbor, MI 48104

                                                                                                                                                                96.90
Account No. xxx3540

To, Trang
172 Glencoe Rd                                                              -
Upper Darby, OH 19082

                                                                                                                                                            1,749.30
Account No. xxx6323

Tobin, Loriann
8 Club Vista                                                                -
Trabuoco Canyon, CA 92679

                                                                                                                                                              729.53
Account No. xxx8812

Todkar, Kativa
1036 polaris crossing blvd                                                  -
Westerville, OH 43081

                                                                                                                                                                98.70
Account No. xxx2102

Toloui, Ramin
759 promontory point                                                        -
newport beach, CA 92660

                                                                                                                                                              915.96

           554 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,590.39
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 556 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2710                                                                                                                     E
                                                                                                                                        D

Torres, Veronica 1
2487 Alum Rock Ave Apt 38                                                   -
San Jose, CA 95116

                                                                                                                                                              247.25
Account No. xxx8203

Tory, Kooyman,
8912 Spanish Ridge Ave                                                      -
Las Vegas, NV 89148

                                                                                                                                                            3,445.00
Account No.

Tracer Hot Air Balloon
4858 Mahan Drive                                                            -
Tallahassee, FL 32308-5823

                                                                                                                                                            1,680.00
Account No. xxx9191

tran , Nhi t
520 madison ave                                                             -
new york, NY 10022

                                                                                                                                                            5,130.00
Account No. xxx8874

Tran, Cuong
4704 4th St.                                                                -
Marrero, LA 70072

                                                                                                                                                              421.65

           555 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          10,923.90
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 557 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Tranquility Balloon Rides
5400 Joyner Avenue                                                          -
Springhill, FL 34608

                                                                                                                                                              300.00
Account No. xxx9700

Traxler, Meghan
15777 Quorum Dr Apt.1119                                                    -
Addison, TX 75001

                                                                                                                                                              493.60
Account No. xxx2571

Trefry, Allen
14939 Palmwood Road                                                         -
Palm Beach Gardens, FL 33410

                                                                                                                                                                80.42
Account No. xxxx3408

Tretasco, Montishia
1026 Catalina Place                                                         -
Corpus Christi, TX 78411

                                                                                                                                                              236.10
Account No.

Triangle Skydiving Center
480 Airport Drive, Suite 200                                                -
Louisburg, NC 27549

                                                                                                                                                            7,937.00

           556 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,047.12
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 558 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3910                                                                                                                    E
                                                                                                                                        D

Triplet, Billie
148 Hawley Ridge                                                            -
Dunn, NC 28334

                                                                                                                                                            1,084.00
Account No. xxx8600

Trisha, Lewis
3375 Tumbleweed Drive                                                       -
Bozeman, MT 59715

                                                                                                                                                                89.30
Account No. xxx9557

Troneld, Michelle Marie
1205 Britolmoor Dr                                                          -
Winterville, NC 28590

                                                                                                                                                              375.40
Account No. xxx6068

Trujillo, Alma
13003 W Tara Ln.                                                            -
Surprise, AZ 85374

                                                                                                                                                              171.20
Account No. xxx5032

Truong-Cao, Steven
63-37 Austin Street Apt 2E                                                  -
Rego Park, NY 11374

                                                                                                                                                              100.72

           557 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,820.62
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 559 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2772                                                                                                                     E
                                                                                                                                        D

Tucker, James 1
152 Plunk Lane                                                              -
El Dorado, AR 71730

                                                                                                                                                                99.54
Account No. xxxx2877

Tucker, Suzie
2611 Sand Jacinto                                                           -
Semi Valley, CA 93063

                                                                                                                                                              946.00
Account No. xxx2931

Tuckett, Philip
2152 San Juan                                                               -
St. George, UT 81790

                                                                                                                                                              765.62
Account No. xxx6359

Tunnell, Jonathon
1286 Meredith Way                                                           -
Clarksville, TN 37042

                                                                                                                                                              821.22
Account No. xxx3200

Turner, Conni
409 Grist Mill                                                              -
Bentonville, AR 72712

                                                                                                                                                            2,112.65

           558 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,745.03
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 560 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9197                                                                                                                     E
                                                                                                                                        D

Turner, McKenna
501 E Pine St                                                               -
Seattle, WA 98122

                                                                                                                                                            1,989.40
Account No. xxx4473

Turnipseed, Mary Jane
3648 tiger point blvd                                                       -
Gulf Breeze, FL 32563

                                                                                                                                                              499.21
Account No. xxx4393

Tutini, Jessica
20637 Blueberrry Lane                                                       -
Fairhope, AL 36532

                                                                                                                                                                68.00
Account No. xxx7867

Ueno, Miyuki
495 Log Barn Rd                                                             -
Pittsboro, NC 27312

                                                                                                                                                              724.80
Account No. xxx8024

Uhlman, Steven
5814 Hickory Springs Dr.                                                    -
Kingwood, TX 77345

                                                                                                                                                              457.08

           559 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,738.49
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 561 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7193                                                                                                                     E
                                                                                                                                        D

Umphrey, Terrellee
1044 West 3rd Street                                                        -
Weiser, ID 83672

                                                                                                                                                              233.25
Account No. xxx2824

Underwood, Dave
60 South                                                                    -
Lamant Circle, NY 13045

                                                                                                                                                                74.85
Account No. xxx7814

Upper Level Fitness Inc
PO BOX 25335                                                                -
Rochester, NY 14625

                                                                                                                                                              249.00
Account No.

UPtimal Paragliding
642 Tico Road                                                               -
Ojai, CA 93023

                                                                                                                                                              360.00
Account No. xxx2557

Usilton, Blake
1092 Salem Dr.                                                              -
corona, CA 92881

                                                                                                                                                              372.50

           560 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,289.60
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 562 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9838                                                                                                                     E
                                                                                                                                        D

Valdez, Liesel
808 Deleware Ave                                                            -
Virginia Beach, VA 23451

                                                                                                                                                              197.57
Account No. xxx4474

Vallejo, Siomara
1494 NW 42nd St.                                                            -
Miami, FL 33142

                                                                                                                                                                90.60
Account No.

Valley Ballooning
16350 Old Valley Pike                                                       -
Edinburg, VA 22824

                                                                                                                                                            1,720.00
Account No. xxx9010

Valley, Diane
5125 Azule Lane                                                             -
Crowley, TX 76036

                                                                                                                                                              735.00
Account No. xxx8721

Vandenberg, Cody
450 Rock afeller Road                                                       -
Lake Forest, IL 60045

                                                                                                                                                            1,089.28

           561 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,832.45
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 563 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1874                                                                                                                     E
                                                                                                                                        D

Vandyke, Stephany
1013 Juniper Drive                                                          -
Lexington, KY 40504

                                                                                                                                                              123.98
Account No. xxx2125

VanHoove, Betty
119 Grace St                                                                -
Reading, PA 19611

                                                                                                                                                              420.74
Account No. xxxx3508

Vanhorn, Stephan
906 Peach Tree Rd., SE                                                      -
Rio Rancho, NM 87124

                                                                                                                                                              450.55
Account No. xxx8386

VanPamel, Mike
12955 23 Mile road                                                          -
Shelby Township, MI 48315

                                                                                                                                                            2,200.00
Account No. xxxx3428

Vaughn, Douglas A.
4641 Hillside dr.                                                           -
N. Richland Hills, TX 76180

                                                                                                                                                              286.30

           562 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,481.57
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 564 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3421                                                                                                                     E
                                                                                                                                        D

Vaughn, Thomas
778 Manatee Bay Dr                                                          -
Boynton Beach, FL 33435

                                                                                                                                                              100.02
Account No. xxx6773

Vega, Ana A
723 north gilden                                                            -
midland, TX 79701

                                                                                                                                                            1,790.25
Account No. xxx5213

Vickers, Janae
19717 Grace Way                                                             -
Sonoma, CA 95370

                                                                                                                                                              204.63
Account No. xxx9144

Vijh, Aarohi
4841 Mount Airy Rd                                                          -
Sylvania, OH 43560

                                                                                                                                                              950.00
Account No. xxx2893

Vilensky, Vadim
54 Roundhill Rd.                                                            -
Dobbsferry, NY 10522

                                                                                                                                                              104.32

           563 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,149.22
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 565 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx6471                                                                                                                     E
                                                                                                                                        D

Villanueva, Rex R.
1307 Byfield St                                                             -
Allentown, PA 18103

                                                                                                                                                              220.85
Account No. xxxx3117

Villars, Doug
555 17th St Suite 500                                                       -
Denver, CO 80202

                                                                                                                                                            1,113.00
Account No. xxxx2592

villegas, sonya
1719 dondrey ave                                                            -
baldwin park, CA 91706

                                                                                                                                                              266.66
Account No. xxxx3652

Vindrak, Alen
8910 Cardwell St.                                                           -
Lovinia, MI 48150

                                                                                                                                                              510.80
Account No.

Virginia Ballooning
William N Nelson                                                            -
7501 River Rd Unit 11D
Newport News, VA 23607-1770
                                                                                                                                                            2,900.00

           564 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,011.31
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 566 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx3765                                                                                                                    E
                                                                                                                                        D

Vizkelety, Kevin
5250 Columbia Rd., Apt. 143                                                 -
Olmstead, OH 44070

                                                                                                                                                              237.41
Account No. xxxx3184

Voors, Daniel J
8609 Wave Circle Apt C                                                      -
Ft. Wayne, IN 46825

                                                                                                                                                              340.80
Account No. xxx1019

Vuich, Fred
137 Oak View                                                                -
Cranberry township, PA 16066

                                                                                                                                                              903.50
Account No. xxx3236

Waite, Andrew
4440 Grissom St suite 100                                                   -
Bakersfield, CA 93313

                                                                                                                                                            1,218.73
Account No. xxx6822

Waldman, Linda
2717 NE 26th AVE                                                            -
Lighthouse Point, FL 33064

                                                                                                                                                            2,322.99

           565 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,023.43
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 567 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx4116                                                                                                                    E
                                                                                                                                        D

Waldorf, John
101 holland ln                                                              -
little rock, AR 07223

                                                                                                                                                                88.10
Account No. xxx3118

Walker, Matthew
4728 East Stetson Ln                                                        -
Orange, CA 92869

                                                                                                                                                            1,650.00
Account No. xxx2504

Walker, Michael
702 Birdsall dr                                                             -
Cedar Falls, IA 50613

                                                                                                                                                              232.80
Account No. xxx5667

Walker, Oliver
2208 Kent St                                                                -
Los Angelas, CA 90026

                                                                                                                                                            1,155.00
Account No.

Wall to Wall Cleaners
3990 Tamarack Drive                                                         -
Kennesaw, GA 30152

                                                                                                                                                              780.86

           566 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,906.76
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 568 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8402                                                                                                                     E
                                                                                                                                        D

Walsh, Brian
238 Davidson Ave                                                            -
Ramsey, NJ 07446

                                                                                                                                                              229.85
Account No. xxx3379

Walsh, Evan
8109 Golfers Oasis Drive                                                    -
Las Vegas, NV 89149

                                                                                                                                                              203.90
Account No. xxx7079

Wang, Bin
13353 Rhoda Dr.                                                             -
Los Altos, CA 94022

                                                                                                                                                              464.29
Account No. xxx7303

Wang, Huaile
6529 Dalzell Place                                                          -
Pittsburgh, PA 15217

                                                                                                                                                              337.70
Account No. xxx0756

Wang, Qing
155 Miami St                                                                -
Tiffin, OH 44883

                                                                                                                                                              566.00

           567 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,801.74
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 569 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx3304                                                                                                                     E
                                                                                                                                        D

Wantye, Neal
2512 Goldsmith Ln                                                           -
Louisville, KY 40218

                                                                                                                                                              290.25
Account No. xxx4982

Ward, Maureen 1
15864 Sanctuary Dr                                                          -
Tampa, FL 33647

                                                                                                                                                                99.40
Account No. xxx6048

Warganich, Tibor
6041 Arrow Head Ct                                                          -
Forest Hill, CA 95631

                                                                                                                                                            2,128.75
Account No. xxx3940

Warne, Hannah
6905 waverly st.                                                            -
sarasota, FL 34243

                                                                                                                                                            1,109.99
Account No. xxx0956

Warren, Dickie K
214 Purple Plum Ln                                                          -
Houston, TX 77062

                                                                                                                                                              884.40

           568 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,512.79
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 570 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9201                                                                                                                     E
                                                                                                                                        D

Warren, Glen E.
4807 Day Shore blvd                                                         -
Tampa, FL 33611

                                                                                                                                                              733.60
Account No. xxxx4705

Warywoda, Kenneth
4215 Sheilds St.                                                            -
Pittsburg, PA 15207

                                                                                                                                                              124.00
Account No. xxx0138

Waterman, Robert
720 East E St                                                               -
Wilimington, CA 90744

                                                                                                                                                            1,548.75
Account No. xxxx2298

Waters, Quinton
1462 Dean Street                                                            -
Brookyn, NY 11213

                                                                                                                                                            5,397.60
Account No. xxx9501

Watkins, Johnna
1207 North Maple Street                                                     -
Benton, IL 62812

                                                                                                                                                              104.67

           569 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,908.62
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 571 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1596                                                                                                                     E
                                                                                                                                        D

Watson, Ryan
6501 Sabrosa Court East                                                     -
Fort Worth, TX 76133

                                                                                                                                                            3,367.00
Account No. xxx9839

watterworth, randy
7393 old howard rd                                                          -
temple, TX 76504

                                                                                                                                                            1,430.00
Account No. xxxx2559

waupoose, alecia
720 abrams st                                                               -
green bay, WI 54302

                                                                                                                                                              251.10
Account No.

Wayne's Air Toys LLC
2346 NW Dallas Street                                                       -
Grand Prairie, TX 75050

                                                                                                                                                            1,800.00
Account No. xxx7901

Webb, Laverne
33121 Kathryn                                                               -
Garden City, MI 48135

                                                                                                                                                              421.73

           570 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,269.83
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 572 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2378                                                                                                                     E
                                                                                                                                        D

Weber, David
1701 E. 167th ave                                                           -
Thorton, CO 80602

                                                                                                                                                              379.20
Account No. xxx3713

Weber, Steuart
7280 18th Street NE                                                         -
St. Petersburg, FL 33702

                                                                                                                                                              502.66
Account No. xxx2792

Weddle, Nicholas
1023 LANARIE ST. APT A                                                      -
MANHATTEN, KS 66502

                                                                                                                                                              957.50
Account No. xxx9368

Weiers, Amanda
8525 S Upham Wy                                                             -
Littleton, CO 80128

                                                                                                                                                              751.53
Account No. xxx6326

Weinhold, Kristen
16 Bannister                                                                -
Salem, NH 03079

                                                                                                                                                                65.60

           571 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,656.49
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 573 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7801                                                                                                                     E
                                                                                                                                        D

Weisman, Elizabeth A.
451 N. Bista Street                                                         -
Los Angeles, CA 90036

                                                                                                                                                            1,004.40
Account No. xxx3942

Welch, Corby
573 Schoolhouse Circle                                                      -
Haysville, KS 67060

                                                                                                                                                              404.46
Account No. xxx8693

Welch, Robert
670 Blue Oaks Dr                                                            -
Ukiah, CA 95482

                                                                                                                                                              733.95
Account No. xxx5015

Weldeln, Dan
504 Dooley Ct                                                               -
Grapevine, TX 76051

                                                                                                                                                              450.45
Account No. xxx4208

Weller, Kelly
8272 Acadian Lane                                                           -
Seminole, FL 33777

                                                                                                                                                              185.42

           572 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,778.68
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 574 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8202                                                                                                                     E
                                                                                                                                        D

Wells, Daniel
1230 Lawrence Way                                                           -
Oxnard, CA 93035

                                                                                                                                                                78.93
Account No. xxx7711

Wells, Joshua A.
1015 Walker Lane                                                            -
Summitt, MS 39666

                                                                                                                                                              596.60
Account No. xxx0453

Welsh, Eva
2710 vancouver street                                                       -
irving, TX 75062

                                                                                                                                                                86.33
Account No. xxx1197

Welsh, Tom
vancouver street                                                            -
Irving, TX 75062

                                                                                                                                                                86.35
Account No. xxx9772

Wendt, Michelle
8059 Clinton St                                                             -
Los Angeles, CA 90048

                                                                                                                                                              375.20

           573 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,223.41
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 575 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8043                                                                                                                     E
                                                                                                                                        D

Wenning, Karis Page
212 Summerhill Crt.                                                         -
Fayetteville, NC 28303

                                                                                                                                                              283.99
Account No. xxx7579

Westdale, Leonard
6279 Sun Blvd #606                                                          -
St Petersburg, FL 33715

                                                                                                                                                              217.79
Account No.

Western New York Skydiving
P.O. Box 283                                                                -
Alden, NY 14004

                                                                                                                                                            2,310.00
Account No. xxx7220

Weston, Trisha
104 Red Cedar Place                                                         -
Chaple Hill, NC 27514

                                                                                                                                                            3,789.49
Account No. xxx4398

wetter, Jennifer
2890 Bridhton blvd                                                          -
denver, CO 80216

                                                                                                                                                              972.40

           574 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            7,573.67
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 576 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7254                                                                                                                     E
                                                                                                                                        D

Whetstone, Marcus G.
2714 Crestwood Dr.                                                          -
Flint, MI 48503

                                                                                                                                                              450.01
Account No. xxx5892

Whipple, Dianne
2115 NE 42nd st                                                             -
Ocala, FL 34479

                                                                                                                                                              343.28
Account No. xxxx4141

Whisenant, Kimara
1040 Seminole Dr Apt 1556                                                   -
Ft. Lauderdale, FL 33304

                                                                                                                                                            1,282.10
Account No. xxxx3843

Whitcraft, Joel D.
2211 Kerrigans Way                                                          -
Ft. Wayne, IN 46815

                                                                                                                                                                77.00
Account No. xxx6956

White, Alyssa
511 Belmeade Way Trail                                                      -
Louisville, NC 27023

                                                                                                                                                            1,120.00

           575 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,272.39
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 577 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1507                                                                                                                    E
                                                                                                                                        D

White, Anthony
2191 Memorial Drive # A7                                                    -
Clarksville, TN 37043

                                                                                                                                                              473.81
Account No. xxx3803

White, Helen
1358 Phoenixville Pike                                                      -
Westchester, PA 19380

                                                                                                                                                              383.99
Account No. xxx8487

White, JHames
179 CO. Rd 3441                                                             -
Atlanta, TX 75551

                                                                                                                                                              379.62
Account No. xxx1764

White, Johnny
583 Broadway                                                                -
Carle Place, NY 11514

                                                                                                                                                              121.05
Account No. xxx1608

White, Josh 1
307 Vanier Dr.                                                              -
Newark, DE 19711

                                                                                                                                                              306.31

           576 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,664.78
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 578 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9163                                                                                                                     E
                                                                                                                                        D

White, Martin R
130 Riverchase Ln                                                           -
Moresville, NC 28115

                                                                                                                                                              178.96
Account No. xxxx0476

White, Melissa
4207 King Wood Ct                                                           -
Midland, TX 79707

                                                                                                                                                              682.11
Account No. xxx5790

Whittle, Keedar H
5062 Lankershim Blvd Suite 3013                                             -
North Hollywood, CA 51601

                                                                                                                                                              219.80
Account No. xxx7500

Whitworth, Annie
23332 Haynes St                                                             -
West Hills, CA 91307

                                                                                                                                                            1,173.20
Account No.

Wild Wind Skydivers
2270 Smith Crossing Road                                                    -
Midland, MI 48640

                                                                                                                                                            1,250.00

           577 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,504.07
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 579 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx1374                                                                                                                     E
                                                                                                                                        D

Wiles, Lori A
18716 Keedysville Rd                                                        -
Keedysville, MD 21756

                                                                                                                                                              191.65
Account No. xxx3993

Wilison, Karen
7927 North West Hawkins blvd                                                -
Portland, OR 97229

                                                                                                                                                            2,062.50
Account No. xxx2140

Wilkins, Rhonda
2778 Quail hollow rd west                                                   -
Clearwater, FL 33761

                                                                                                                                                                65.85
Account No. xxx9967

williams , Albert M
7814 myers drive                                                            -
glenburnie, MD 21061

                                                                                                                                                              461.80
Account No. xxx4476

Williams, Cameron
414 Sutterton Drive                                                         -
Gahanna, OH 43230

                                                                                                                                                            1,998.00

           578 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,779.80
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 580 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx8113                                                                                                                     E
                                                                                                                                        D

Williams, Cari
3429 Sertana                                                                -
Antonia, CA 92024

                                                                                                                                                                77.20
Account No. xxx8882

Williams, Devin
13113 Noack Rd                                                              -
Magnolia, TX 77355

                                                                                                                                                            1,042.50
Account No. xxx6920

Williams, Kenneth
150 West 174th St Apt 9c                                                    -
Bronx, NY 10453

                                                                                                                                                              516.24
Account No. xxx3738

Wilson, Brian 3
24 Willie Mays Plaza                                                        -
San Francisco, CA 94107

                                                                                                                                                            3,562.75
Account No. xxx6264

Wilson, Melissa Marie
536 Mercer Road                                                             -
Butler, PA 16001

                                                                                                                                                              675.01

           579 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,873.70
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 581 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7916                                                                                                                     E
                                                                                                                                        D

Wilton, Edward
17106 county road 136                                                       -
live oak, FL 32060

                                                                                                                                                              480.35
Account No.

Wind Favor
Skydive Philadelphia                                                        -
1100 North Ridge Road
Perkasie, PA 18944-1799
                                                                                                                                                          72,487.25
Account No.

Windspirit
Windspirit                                                                  -
32 Peachtree Dr
Seale, AL 36875
                                                                                                                                                              780.00
Account No.

Wings To Fly
1049 S Washington Avenue                                                    -
Columbus, OH 43206

                                                                                                                                                              600.00
Account No. xxx1394

Wintersdorff, Lisa
5210 joan court                                                             -
san diego, CA 92115

                                                                                                                                                              283.13

           580 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                          74,630.73
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 582 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0510                                                                                                                     E
                                                                                                                                        D

Wire, Coy
3303 Perimiter Loft Circle                                                  -
Atlanta, GA 30346

                                                                                                                                                            1,073.75
Account No.

Wisconsin Hang Gliding
Hendrikus P. Bouwmeester                                                    -
P O Box 242
Waunakee, WI 53597
                                                                                                                                                              900.00
Account No. xxx8260

Wise, Jason L
520 Glen Crest Drive                                                        -
san Diego, CA 92139

                                                                                                                                                                88.80
Account No. xxx9711

Wiselogel, Arthur
246 Zang St.                                                                -
Lakewood, CO 80228

                                                                                                                                                              491.00
Account No. xxxx1390

Wissbaum, Brandon M
7818 mccarron way                                                           -
charlotte, NC 28215

                                                                                                                                                              133.00

           581 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            2,686.55
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 583 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1782                                                                                                                    E
                                                                                                                                        D

Witters, Vincent
13454 Sunrise Valley Dr                                                     -
Herndon, VA 20171

                                                                                                                                                            3,160.00
Account No. xxx6319

Wittwer, Jay
463 Benedict Dr.                                                            -
Las Vegas, NV 89110

                                                                                                                                                                95.50
Account No. xxx8252

Wolta, Robert
5446 West 100th Place                                                       -
Westminster, CO 80020

                                                                                                                                                              676.00
Account No. xxx0734

Wong, Corey
91-1047 Kekaiholo St.                                                       -
Ewa Beach, HI 96706

                                                                                                                                                            1,117.20
Account No. xxx3879

Wong, Lee 1
2420 83rd                                                                   -
Edmonton t6k3g8

                                                                                                                                                              929.50

           582 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            5,978.20
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 584 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2343                                                                                                                     E
                                                                                                                                        D

Wong, Oi Kwan
600 North Fairbanks Court Apt 3004                                          -
Chicago, IL 60611

                                                                                                                                                              367.50
Account No. xxx4149

Wong, Wendy
8807 Bay 16th ST                                                            -
Brooklyn, NY 11914

                                                                                                                                                              191.52
Account No. xxx4908

Wong, Ying
3465 Samson St                                                              -
Philadelphia, PA 19104

                                                                                                                                                                90.92
Account No. xxx1155

Woodfill, Lindsey M
125 Dallas St                                                               -
Angleton, TX 77515

                                                                                                                                                              161.59
Account No. xxx4397

Woodrow, Stephanie
4814 Willowbrooke Ln.                                                       -
Summerville, SC 29485

                                                                                                                                                              478.30

           583 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            1,289.83
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 585 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5813                                                                                                                     E
                                                                                                                                        D

Woods, Robert M.
2555 Main St. No3031                                                        -
Irvine, CA 92614

                                                                                                                                                              111.74
Account No. xxx5977

Woolfolk, Robert G
PO Box 116                                                                  -
Beaverdam, VA 23015

                                                                                                                                                              171.70
Account No. xxx9620

WORTH, KIMBERLY
18851 River Road                                                            -
Poolesville, MD 20837

                                                                                                                                                            1,087.80
Account No. xxx2505

Wozniak, John
13225 104th Ave                                                             -
Grand Haven, MI 49417

                                                                                                                                                              401.00
Account No. xxx3209

Wright, Darren
1783 West University Drive                                                  -
Tempe, AZ 85281

                                                                                                                                                            2,847.00

           584 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            4,619.24
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 586 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx2623                                                                                                                     E
                                                                                                                                        D

Wright, Emily
2030 North Providince Rd.                                                   -
Media, PA 19063

                                                                                                                                                              244.85
Account No. xxxx2409

Wright, Ken 1
324 Pinewood Drive                                                          -
Beckley, WV 25801

                                                                                                                                                            1,470.00
Account No. xxx2380

wright, paul 1
4627 east imperial view court                                               -
rocklin, CA 95677

                                                                                                                                                              899.61
Account No. xxx5637

Wurst, Laura
1404 Nye Street                                                             -
Capital Heights, MD 20743

                                                                                                                                                              316.00
Account No. xxx3848

Xu, Kang
302 Marina Way                                                              -
Novato, CA 94945

                                                                                                                                                              429.83

           585 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,360.29
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 587 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx0193                                                                                                                     E
                                                                                                                                        D

Yang, Young
1880 Century Pk e. 16th fl                                                  -
Century city, CA 90067

                                                                                                                                                            1,819.00
Account No. xxx2417

Yarbrough, Carol
30120 Valley Glen street                                                    -
Castaic, CA 91384

                                                                                                                                                            1,857.60
Account No. xxx7166

Yates, Nicholas
200 Harbor Dr #3701                                                         -
San Diego, CA 92101

                                                                                                                                                            2,783.87
Account No. xxx8569

Yessayian, Benjamin
1555 mesa verde dr e apt 50b                                                -
costa mesa, CA 92626

                                                                                                                                                            1,273.00
Account No. xxx1083

Yingling, Charles
39 University Dr Box J254                                                   -
Bethlehem, PA 18015

                                                                                                                                                            1,609.50

           586 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,342.97
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 588 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx7757                                                                                                                     E
                                                                                                                                        D

Yoon, Sarah J
2887 Homestead Dr                                                           -
Pomona, CA 91767

                                                                                                                                                              400.50
Account No. xxx9322

Yoshizawa, Motoko
107 N. 3rd St. unit 3D                                                      -
Brooklyn, NY 11211

                                                                                                                                                            2,125.34
Account No. xxx2482

Youn, Sooryun
312 Beechwood Rd                                                            -
Ridgewood, NJ 07450

                                                                                                                                                              235.48
Account No. xxx0230

Young, Anne
4001 Bowser Ave Unit A                                                      -
Dallas, TX 75219

                                                                                                                                                              616.40
Account No. xxx5526

Yount, Denise
320 Lindenhurst Dr. Apt 16103                                               -
lexington, KY 40509

                                                                                                                                                              464.00

           587 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,841.72
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 589 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx0704                                                                                                                    E
                                                                                                                                        D

Yuvonne, Yowell
2905 Willow Drive                                                           -
Bettendorf, IA 52722

                                                                                                                                                                72.20
Account No. xxxx3738

Zafar, Firoza
45797 Smokefree Terr                                                        -
Sterling, VA 20166

                                                                                                                                                              235.70
Account No. xxx8758

Zalcman, Barry
17 sass drive                                                               -
manchester, CT 06042

                                                                                                                                                                72.80
Account No. xxxx3899

Zamora, Rafael
319 SW 192nd Ave                                                            -
Pembrooke Pines, FL 33029

                                                                                                                                                              264.65
Account No. xxx1765

Zarkos, Tim
PO Box 70001                                                                -
Boise, ID 83707

                                                                                                                                                            3,220.00

           588 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            3,865.35
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                   Desc Main
                                                                Document    Page 590 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                       Case No.     13-42659
                                                                                                                 ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx5253                                                                                                                     E
                                                                                                                                        D

Zeal, James
7026 Santa Monica Blvd                                                      -
Los Angeles, CA 90038

                                                                                                                                                            7,500.00
Account No. xxx2323

Zeldes, Steven
40655 Paisley Circle                                                        -
Novi, MI 48377

                                                                                                                                                                81.25
Account No. xxx2052

Zenener, Robert P.
5336 Barritt Ave                                                            -
El Cerrito, CA 94530

                                                                                                                                                              472.80
Account No. xxx3639

Ziegler, Katie
5196 Lone Star Place                                                        -
Colorado Springs, CO 80922

                                                                                                                                                              461.90
Account No. xxx4117

Zimmermann, Jason
7201 Lennox ave                                                             -
Van Nuys, CA 91405

                                                                                                                                                              497.16

           589 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            9,013.11
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-42659-mgd                          Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                                          Desc Main
                                                                Document    Page 591 of 924
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Headband, LLC                                                                                             Case No.      13-42659
                                                                                                                  ,
                                                                                               Debtor

                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                        B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxx3206                                                                                                                            E
                                                                                                                                               D

Zinelis, Andreas
1400 North Fairfax Ave #10                                                  -
Las Angelas, CA 90046

                                                                                                                                                                     589.00
Account No. xxx9119

Zion, Adam G
3240 Henry Hudson Pkwy Apt 6d                                               -
Bronx, NY 10463

                                                                                                                                                                     122.84
Account No. xxx3433

Zugan, Steve
230 Butternut Cr                                                            -
Carver, MN 55315

                                                                                                                                                                   1,145.55
Account No.




Account No.




           590 of _____
Sheet no. _____    590 sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                   1,857.39
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)            2,662,793.96


 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                Case 13-42659-mgd                        Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                        Desc Main
                                                               Document    Page 592 of 924
B6 Summary (Official Form 6 - Summary) (12/07)


          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
  In re          Headband, LLC                                                                                 Case No.    13-42659
                                                                                                        ,
                                                                                       Debtor
                                                                                                               Chapter                    7




                                                      SUMMARY OF SCHEDULES - AMENDED
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED           NO. OF          ASSETS                 LIABILITIES              OTHER
                                                         (YES/NO)          SHEETS

A - Real Property                                              Yes            1                         0.00


B - Personal Property                                          Yes            3                 850,000.00


C - Property Claimed as Exempt                                 No             0


D - Creditors Holding Secured Claims                           Yes            1                                              0.00


E - Creditors Holding Unsecured                                Yes            1                                              0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            591                                    2,662,793.96
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               No             0                                                                     N/A
    Debtor(s)

J - Current Expenditures of Individual                         No             0                                                                     N/A
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    599


                                                                        Total Assets            850,000.00


                                                                                         Total Liabilities           2,662,793.96




Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                Case 13-42659-mgd                        Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                        Desc Main
                                                               Document    Page 593 of 924
Form 6 - Statistical Summary (12/07)


          }
          e
          b
          k
          r
          {
          t
          1
          a
          i
          F
          n
          o
          L
          m
          6
          .
          l
          S
          s
          c
          d
          R
          u
          y
          D
          f
          C




                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
  In re           Headband, LLC                                                                               Case No.   13-42659
                                                                                                          ,
                                                                                        Debtor
                                                                                                              Chapter                      7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                              TOTAL


              State the following:

              Average Income (from Schedule I, Line 16)


              Average Expenses (from Schedule J, Line 18)

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
    Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                              Document    Page 594 of 924

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                         417 Skydive
                         P.O. Box 319
                         Rogersville, MO 65742



                         Aandahl, Joel
                         14 Via Terviso
                         American Canyons, CA 94503



                         Abair, Michelle
                         1511 Broadnax Mill Rd
                         Loganville, GA 30052



                         Abare, David
                         42 Newark St
                         Haverhill, MA 01832



                         Abbott, Kirk
                         5501 Legacy Oaks Parkway Apt. 1015
                         Schertz, TX 78154



                         Abbott, Melissa
                         401 E 33rd St
                         Joplin, MO 64804



                         Abbott, Todd
                         2325 Huntington Loop se
                         Lacey, WA 98513



                         ABC Balloon Adventures
                         1845 South Yuma St.
                         Denver, CO 80223



                         Abdalaziz, Walid, T
                         Darkwood Tr #2A
                         Maryville, IN 46410
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 595 of 924


                     abdelahmid, nadeen
                     5806 lindley cresent drive
                     indian trail, NC 28079



                     Abdelkader, Khaled
                     5435 Claybourne Street Apt 203
                     Pittsburgh, PA 15232



                     Abdoulah, Alexandra M.
                     19 S Busch Lane.
                     Longmont, CO 80501



                     Abdulsattar, Ahmed
                     2302 Twin Lakes Dr
                     Ypsilanti, MI 48197



                     Abel, Amanda
                     120 S 2nd St Apt 4C
                     Brooklyn, NY 11211



                     Abell, Jon
                     700 Aztec circle 11D
                     Mesquite, NV 89027



                     Abercrombie, Cheryl
                     po box 512
                     Baser, KS 66007



                     Abernathy, Andrew N.
                     7726 Mill Pond Drive
                     Waxhaw, NC 28173



                     Abernathy, Eric
                     4519 Boxford Rd.
                     Greensboro, NC 27406
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 596 of 924


                     Abernathy, Samuel J.
                     4175 Spyglass Hill
                     Mason, OH 45040



                     Abernathy, William
                     700 West Bittersweet Place Apt 610
                     Chicago, IL 60613



                     Abeyounis, Elizabeth
                     408 Chadwick Pl
                     Newport news, VA 23606



                     Abichandani, Pramod
                     2200 ben franklin pwy apt west108
                     Philadelphia, PA 19130



                     Abisror, Jackie
                     201 North 8th Street
                     Philadelphia, PA 19106



                     Ablorhmcgregor, Jennifer
                     7 Salvi dr
                     Sramingham, MA 01701



                     Abner, Monica
                     1035 Lakeshore Dr
                     West Point, MS 39773



                     Aboneaaj, Mais
                     1360 Chadwick Dr.
                     Lawrencville, GA 30043



                     Aboulhosn, Susie M
                     713 Winsley Place
                     Brentwood, TN 37027
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 597 of 924


                     Above The Wine Country Balloons
                     11137 Cherry Ridge Rd.
                     Sebastopol, CA 95472



                     Abraham, Zach G
                     470 16th St NW unit 4019
                     Atlanta, GA 30363



                     Abrahamson, Andrew
                     101 north normande ave Apartment 210
                     los angeles, CA 90004



                     Abram, Maria
                     178 Augusta Course Ave
                     Las Vegas, NV 89148



                     Abrams, Martin D
                     702 Thistle Drive
                     Seffner, FL 33584



                     Abramson, Brett
                     1100 Northeast 1st Court
                     Hollandale, FL 30039



                     Abrantes, Edward
                     43760 Farmstead dr
                     Lansdowne, VA 20176



                     Abrego, DaisyLee
                     417 Lilac Dr
                     Lososos, CA 93402



                     Abrokwa, Kwasi Aning
                     230 Roberta Ave
                     Collendale, PA 19023
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 598 of 924


                     Abshier, Melody
                     7900 Viscount Blvd Apt 440
                     El Paso, TX 79925



                     Abul-saud, Maen
                     11316 Jollyville rd. apt 364
                     Austin, TX 78759



                     Abundis , Dave
                     1497 15th Avenue
                     San Fransisco, CA 94122



                     Abushanad, Saji
                     6525 Greenwigh Dr #2601
                     Indianappolis, IN 46237



                     Accad, Gracy
                     1150 E 8th St
                     Brooklyn, NY 11230



                     Acciani, Marissa
                     12204 Jasmine Cove Way
                     Raleigh, NC 27614



                     Ace High Ballooning
                     1849 Bethbirei Road
                     Lewisburg, TN 37091



                     Aces High Balloon Adventures, LLC
                     15626 S Lewis Ave
                     Bixby, OK 74008



                     Acevedo, Alexis
                     1304 s fulton way apt c106
                     denver, CO 80247
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 599 of 924


                     Acevedo, Andres F.
                     9042 SW 157th Ave Road
                     Miami, FL 33196



                     Acevedo, Julio
                     5601 East Orange Thorpe Ave
                     Anahiem Hills, CA 92807



                     Acevedo, Oscar
                     8282 Calvine Rd Apt 2055
                     Sacremento, CA 95828



                     Acheampong, George
                     1002 Frankfurt Ave.
                     Lubbock, TX 79416



                     Achille, Jessica
                     5636 Morton Street
                     Philidelphia, PA 19144



                     ackerman, nicole
                     Po box 6498
                     Ketchum, ID 83340



                     Ackley, Riana
                     1900 S. Eads Street, Apt. 1214
                     Arlington, VA 22202



                     Ackley, Robert
                     2567 covey run court
                     Manakin sabot, VA 23103



                     Ackley, Rose Marie
                     394 S Flora Dr.
                     Spring Creek, NV 89815
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 600 of 924


                     Acosta Soto, Ellison E
                     PO Box 2844
                     Guaynabo 00970



                     Acosta, Kenia
                     5935 Cabotage Road
                     Johns Creeks, GA 30097



                     Acotpe, Tierney
                     576 Earl Drive
                     Northfield, IL 60093



                     Acuapa, David B
                     16 zircon drive
                     maumelle, AR 72113



                     Acuff, Susan
                     3293 Kinderhill Circle
                     Germantown, TN 38138



                     Acuff, Thomas
                     25 sunbean Ln
                     Hyannis, MA 02601



                     adagiri, rohit
                     300 restnots st.
                     wasika, WI 53188



                     Adair, Johnathan
                     2609 Ridgecrest Dr.
                     Farmington, NM 87401



                     adair, renee
                     128 first avenue
                     enderlin, ND 58027
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 601 of 924


                     Adamczyk, Eric
                     2020 Keast Drive
                     Clarklake, MI 49234



                     Adame, Greta M
                     951 East Railroad Ave
                     Giddings, TX 78942



                     adamin, katherine
                     17607 cotton wood trail lane
                     huston, TX 77095



                     Adams, Betty
                     1509 Davis Ave
                     Grinnell, IA 50112



                     Adams, Dale
                     Box 512 Crompond
                     New York, NY 10517



                     Adams, Denise
                     4152 Woodcrest Ct.
                     Douglasville, GA 30135



                     Adams, Jason
                     407 north dr.
                     abernathy, TX 79311



                     Adams, Jill
                     2004 Rugby Dr
                     Murry, KY 42071



                     Adams, John 1
                     818 West 17th Place
                     Tempe, AZ 85281
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 602 of 924


                     Adams, Katherine
                     1006 Lawerence St
                     Emporia, KS 66801



                     Adams, Marcia
                     3150 Berry Road
                     Loganville, GA 30052



                     ADAMS, MILDRED W
                     1074-4 TOMBER CREEK DRIVE
                     CARMEL, IN 46032



                     Adams, Patrick
                     3362 Bellota Way
                     Los Angelas, CA 90027



                     Adams, Ronnie
                     800 St Francis Drive
                     Santa Fe, NM 87505



                     Adams, Stanley T
                     974 Skyline Drive
                     Jackson, TN 38301



                     Adams, Taylor
                     700 Green springs dr
                     Columbia, SC 29223



                     adams, William g
                     9677 page ave
                     st louis, MO 63132



                     Adamson, Quory
                     220 Marquis Way
                     Morrow, GA 30260
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 603 of 924


                     Adan Zuniga, Araceli
                     4205 Dunleaf Pky
                     Norcross, GA 30093



                     Adcock, Megan
                     3460 14th St. NW Apt 215
                     Washington, DC 21010



                     Addis, Nena
                     25 Aspen Ln
                     Glencoe, IL 60022



                     Addison, Christy
                     1422 west sipers forest
                     houston, TX 77070



                     Addo, Christopher
                     7904 Thouron Avenue
                     Philadelphia, PA 19150



                     Adeleke, Kehinde
                     15615 Gillmore Greens Court
                     Brandywine, MD 20613



                     adella, rasha
                     633 green ave 2
                     san bruno, CA 94066



                     Adelman, Leon
                     102 Queensberry St #12A
                     Boston, MA 02215



                     aden, kristina
                     8011 spaulding cir
                     omaha, NE 68134
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 604 of 924


                     Adepu, Prashant
                     919 W Rdige Dr #7-6
                     Dekalb, IL 60115



                     Adewumi, David
                     1405 Wendy Way
                     Medlow park, CA 54025



                     Adhikari, Bhaskar
                     3412 Tulane Drive Apt 11
                     Hidesville, MD 20783



                     Adiaz, Karen
                     2447 Sugar Mill Lake
                     Herndon, VA 20171



                     Adinata, Harry
                     195 14th Street NE #1007
                     Atlanta, GA 30309



                     Adji, Nii
                     65 Industrial South
                     Cleston, NJ 10019



                     Adkins, Newton
                     2228 Grey Cliff Dr,
                     Franklin, TN 37064



                     Adkison, Amy
                     1702 east hining road
                     Garrison, TX 75946



                     Adkisson, Justin
                     1304 Beech Street
                     Westlake, LA 70669
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 605 of 924


                     Adler, Cheryl A.
                     P.O. Box 601802
                     San Diego, CA 92160



                     Adler, nicholas
                     3147 Bellwood Lane
                     glenview, IL 60026



                     Adler, Seth T.
                     PO BOX 4342
                     Long Beach, CA 90804



                     adnon, saris
                     154 mantucket place
                     Newport News 23606



                     Adolphus, Janet
                     5586 Jamerson Dr.
                     Atlanta, GA 30349



                     Adoutte, David
                     30 Karen Way
                     Summit, NJ 07901



                     Adrian, Burton
                     1710 Willow bend road
                     cedar falls, IA 50613



                     Adriano, Ruth
                     211 Barclay Dr.
                     Stamford, CT 06903



                     Adrong, Y Thuo
                     1321 East Cone Blvd
                     Greensboro, NC 27405
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 606 of 924


                     Adventure Balloon Sport
                     4560 Martin Drive
                     Boulder, CO 80305



                     Adventure Skydiving TN
                     716 William Howard Place
                     Nashville, TN 37209



                     Aer Blarney Ballooning, LLC
                     P.O. Box 1528
                     Litchfield, CT 06759-1528



                     afroze, farhana
                     35-47 93rd st 2nd fl
                     jackson hieghts, NY 11372



                     Afsharian, Andre
                     1127 Bella vista avenue
                     Pasadena, CA 91107



                     Aga, Joseph
                     1433 West Lawrence Dr
                     Spokane, WA 99218



                     Aga, Merrie
                     532 Kentucky Street
                     Valejo, CA 94590



                     Agababyan , Sandra
                     370 wood trace dr.
                     Alpharetta, GA 30022



                     Agalov, Liyl
                     3490 Winter wood Court
                     Marietta, GA 30062
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 607 of 924


                     Agantovich, Jacinda
                     150 Southfield Avenue Apt 1426
                     Stanford, CT 06902



                     Agarwal, Abhinav 1
                     3512 nandina dr
                     Flower Mound, TX 75022



                     Agarwal, Prerna
                     3540 S Figueroa St Radson Hotel #421
                     Los Angelas, CA 90007



                     Agarwal, Shikhanshu
                     8550 Cost Verde
                     San Diego, CA 92122



                     Agarwal, Utsav
                     701 Moore Avenue, C 1902
                     Louisburg, PA 17837



                     Agate, Gary J
                     419 Shelboune Drive
                     Pittsburgh, PA 15239



                     Agee, Jeffrey
                     9428 Carlton Oaks Drive Aprt. C
                     Santee, CA 92071



                     Agee, Tammy R
                     331 Brentmead Dr
                     Murfreesboro, TN 37130



                     Aggarwal, Nikhil
                     5308 Lake Washington Blvd Apt J
                     Kirkland, WA 98033
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 608 of 924


                     Agin, Marjorie
                     11 Headwaters Rd
                     Bluffton, SC 29910



                     Agrawal, Sugandh G.
                     4630 Center Blvd Apt 105
                     Long Island, NY 11109



                     Aguayo, Ricardo
                     3713 Kales Lane
                     Flowermound, TX 75022



                     agudelO, edna
                     1085 COOPER AVE
                     TEANECK, NJ 07666



                     Aguilar, Billy
                     2207 Marcie lane
                     Midland, TX 79707



                     Aguilar, Lisa
                     301 Acapulco drive
                     Bakersfield, CA 93314



                     Aguirre, Luis
                     19801 SW 114th Court
                     Miami, FL 33157



                     Agumbefureshmahima
                     401 stasney st.
                     college station, TX 77840



                     Ahern, Daniel
                     4311 N Winchester Apt. 3
                     Chicago, IL 60613
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 609 of 924


                     ahlrichs, Alicia
                     7609 11th street north
                     oakdale, MN 55128



                     Ahmad, Farrah
                     6278 Moonstone Drive
                     Grand Blanc, MI 48439



                     Ahmavieh, Bassel E.
                     1261 9th Street
                     Monterey, CA 93940



                     Ahmed, Omran
                     1800 Holleman Dr.
                     College Station, TX 77850



                     Ahmed, Shahzad
                     8300 Red Bluff Rd Apt 827
                     Pasadena, TX 77507



                     Ahn, yikyung A
                     965 S Westgate dr
                     Fort Lee, NJ 07024



                     Ahuja, Vikram
                     3066 25th St.
                     San Francisco, CA 94110



                     Aiello, Jenny
                     4005 English Laurel Ln.
                     Raleigh, NC 27612



                     Ailes, Daniel
                     3485 Beech Street
                     San Diego, CA 92102
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 610 of 924


                     Air Addiction Balloon Company
                     709 West 2nd Ave
                     Indianola, IA 50125



                     Air Texas Balloon Adventures
                     15714 Downford Dr.
                     Tomball, TX 77377



                     Airoldi, Harold
                     15029 South east Monner rd
                     Happy valley, OR 97086



                     Aitharaju, Vasu dev
                     36 Dogwood Drive
                     Edison, NJ 08820



                     Akers, Dean
                     2552 W. Palm Dr
                     Tampa, FL 33629



                     Akey, Matthew
                     2890 south gaylord street
                     Denver, CO 80210



                     Akilov, Emily
                     4395 Garland Ct
                     Las Vegas, NV 89121



                     akimushkin, Pavel S
                     473 Central park west apartment 2a
                     new york, NY 10025



                     Akinmuyisan, Oluwatayo
                     9522 Kilimanjaro Rd
                     Columbia, MD 21045
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 611 of 924


                     Akins, Robert D
                     183 Filo rd
                     Madison, AL 35758



                     Akjaya, Hakki
                     1267 New York Ave
                     Elmont, NY 11003



                     Akrawi, Marina
                     43264 Winterfield Drive
                     Sterling Heights, MI 48314



                     Al Bushidi, Salsabeel B
                     1 Longfellow Pl apt 3808
                     Boston, MA 02114



                     Alabdulkarim, Sultan
                     6300 E Hampden Ave Apt 3426
                     Denver, CO 80222



                     Alabiooani, Salman
                     1515 Aggie Rd Apt F4
                     Jonesboro, AR 72401



                     alahmadi, noran
                     3131 east alameda ave
                     denver, CO 80209



                     Alajluni, Muhanna
                     1078 E. Ocean Blvd., # 21
                     Long Beach, CA 90802



                     Alalfey, Nagat
                     6846 Sewells Orchard Dr
                     Columbia, MD 21045
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 612 of 924


                     Alameri, Mohammed
                     516 cardiss
                     CA 92606



                     alamillo, Amy
                     1401 First street apartment a
                     indian rocks beach, FL 33785



                     Alan, Darion
                     406 Noble Street
                     Kutztown, PA 19530



                     Alapati, Kalyan
                     821 Park summit blvd
                     Apex, NC 27523



                     Alardo, Darleen
                     80 Coolidge Street
                     Haversgraw, NY 10927



                     Alasiri / Alaseeir, Khalifa
                     4279 Spectrum
                     Irvine, CA 92618



                     alasousi, ali
                     5005 west century blv
                     los angeles, CA 90304



                     Alba, Eric
                     5225 Redwood Rd.
                     San Marcos, TX 78666



                     Alban, Hugh
                     1920 Bay Dr.
                     Miami beach, FL 33141
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 613 of 924


                     Albano, Anderdson R
                     5021 Windflower drive
                     fayetteville, NC 28314



                     Albattal, Nais
                     13603 Marina Pointe DR #c533
                     Marina Del Ray, CA 90292



                     Albaugh, Jennifer L
                     6720 W 128th Place
                     Overland Park, KS 66209



                     Albeesh, Deena
                     12213 5th Ave
                     Lakewood, CO 80228



                     Albers, Jeri S.
                     9600 Drambuie crt
                     Loomis, CA 95650



                     Albertie, Belinda
                     218 Hollow Grove
                     San Antonio, TX 78253



                     Albertsen, Robert
                     408 East Washington St
                     Elk Point, SD 57025



                     Albertson, Sierra
                     1309 nw 157th st
                     edmond, OK 73013



                     Albini, Donald J
                     P.o. Box 2121
                     Sanoma, CA 95476
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 614 of 924


                     Alby, Amanda
                     1541 Lincoln Way #201
                     McLean, VA 22102



                     Alcala, Gabriel
                     2750 Figorola Blvd Apt 6
                     San Diego, CA 92109



                     alcamo, benedetto
                     71-02 80TH st
                     glenndale, NY 11385



                     Alcaraz, Federico
                     3506 Diamond St.
                     El Paso, TX 79904



                     Alcazar, Roberta
                     5640 Heffernan St
                     Houston, TX 77087



                     ALCORN, KATHRYN A
                     593 BRIARWOOD AVE
                     PITTSBURG, PA 15228



                     Alderete, Amanda
                     6515 Ridge Circle
                     San Antonio, TX 78233



                     Aldrich, Jessica
                     1978 Seville Street
                     Santa Rosa, CA 95403



                     Aldrich, Kelly L.
                     Route 2 Box 242
                     Sumner, IL 62466
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 615 of 924


                     Aldrige, Garrett
                     161 West 300 South
                     Knabe, UT 84741



                     Alecantara, Ian
                     21511 Moneta Ave
                     Carson, CA 90745



                     alemadi, Mohammed Quassem
                     2207 Riva row 3404
                     woodlands, TX 77380



                     Alemayehu, Wintana
                     733 Sligo Ave. apt 310
                     Silver Spring, MD 20910



                     Alemetson, Billy
                     41763 W Park Hill Ct
                     Marcopa, AZ 85138



                     Alengadan, John
                     6530 Independence ave
                     Canoga Park, CA 91303



                     Aleshire, Evan
                     531 Larchmont Dr
                     Wyoming, OH 45215



                     Alewine, Ross
                     98 Benett St
                     Piedmont, SC 29673



                     Alexander, Brian
                     8960 Cynthia Street #105
                     West Hollywood, CA 90069
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 616 of 924


                     Alexander, Brooke L.
                     772 W Essex St
                     Washington, UT 84780



                     alexander, daniel
                     5514 west 149th place unit 2
                     hawthorn, CA



                     Alexander, Jobie
                     3775 Hoods Branch Rd
                     Springfield, TN 37172



                     Alexander, Melissa
                     7033 E Kessler Ave
                     Mesa, AZ 85209



                     Alexander, Patricia
                     7612 Woodbine Dr
                     Laurel, MD 20707



                     Alexander, Tavonnee
                     15024 nordhoff unit 14
                     North hills, CA 91343



                     Alexender, Brian
                     529 Columus Ave
                     Boston, MA 02118



                     Alfaro, Carlos
                     1900 Ray Dr.
                     Burlingame, CA 95010



                     Alfi, Yaron
                     3081 hayes ave
                     Costa Nesa, CA 92626
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 617 of 924


                     Alford, Colby
                     445 4th St Box #80
                     Delrio, TX 78843



                     Alford, Neal E.
                     4434 North FM 148
                     Crandall, TX 75114



                     Algadhi, Majed
                     2680 Grande Isle
                     Orange City, FL 32763



                     algattan, Sarah
                     150 51st ST Apt 1632
                     New York, NY 10019



                     Alhammadi, Ahmed
                     30 arthur ave. SE apt. 5
                     minneapolois, MN 55414



                     Alharbi, Abdullah
                     3480 Mckenna Drive Apt 3
                     Eugene, OR 97401



                     Alhouti, Abdulrahman
                     6941 SW 56 S.t
                     Miami, FL 33155



                     Alhowaish, Abdul N
                     5440 North Cujunga Ave
                     North Hollywood, CA 91601



                     Alhuayen, Sattan
                     West Beach Dr
                     Panama City, FL 33122
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 618 of 924


                     Alhuseini, Mishael
                     2250 Clarendon Blvd
                     Arlington, VA 22201



                     Ali, Ahmed 2
                     1008 Foulkrod St.
                     Philadelphia, PA 19124



                     Aliberti, William
                     363 Daniel Webster Hwy
                     Northwood Stock, NH 03262



                     Alibin, Ali
                     171 Moultrie Street
                     Charleston, SC 29409



                     Alicea, Ileana
                     269 West Cornwall St
                     Philadelphia, PA 19140



                     Alioto, Aniello
                     1009 Samantha Lane
                     Odenton, MD 21113



                     Alisher, Shavali
                     11017 sw park ave apt 224
                     portland, OR 97201



                     Aljaber, Abdulla
                     11302 10th ave Nantucket Gate apt F 103
                     Tacoma, WA 98445



                     Aljumah, Saud
                     1710 Multnomah St
                     Portland, OR 97232
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 619 of 924


                     Alkoraishi, Abdullah
                     4348 9th Avenue
                     Seatle, WA 98105



                     Allara, Kara
                     9020 heather trace lane
                     Gastonia, NC 28056



                     Allardyce, Lindsay S.
                     3991 Baynard Court
                     Southport, NC 28461



                     Alldredge, Sherry
                     1105 Breanne Court
                     Bureson, TX 76028



                     Allen , Mary
                     10227 Knockaderry Dr
                     Grand Ledge, MI 48837



                     Allen Jr., Joesph R
                     1409 Davidson Ct
                     Auburn, IN 46706



                     Allen, Alton
                     2131 W.ontario apt. 2
                     philadelphia, PA 19140



                     allen, brady
                     PO Box 5917
                     Breckinridge, CO 80424



                     Allen, Charles D.
                     111 Poplar Dr
                     Washington, GA 30673
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 620 of 924


                     Allen, Cheri
                     18 Tremont apt12
                     Kingston, MA 02364



                     Allen, Chrissy
                     PO Box 552
                     Starke, FL 32091



                     Allen, Christian T.
                     19777 N 76st st unit 1196
                     Scottsdale, AZ 85255



                     Allen, Christina M
                     8743 West Clarendon Ave
                     Pheonix, AZ 85037



                     Allen, Christopher 1
                     333 Deepwood Trail
                     Clarksville, TN 37042



                     Allen, Cricket
                     1503 Sahara Dr.
                     Crosby, TX 77532



                     Allen, Heather
                     221 pine valley drive
                     Wilmington, NC 28412



                     Allen, Jeffrey C
                     4530 Dakota Trail
                     St Charles, MO 63304



                     Allen, Jolene
                     5618 Grassy Bank Drive
                     Indianapolis, IN 46237
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 621 of 924


                     Allen, Kelly
                     1159 Saint Pauls Parish
                     Johns Island, CA 29455



                     Allen, Laura
                     350 Dearbourne Ave
                     , ON L7B 1A3



                     Allen, Lauren
                     4606 Bennett Avenue
                     Austin, TX 78751



                     Allen, Matthew 1
                     1615 Lindsay Way
                     Waukesha, WI 53186



                     Allen, Michael 2
                     PO Box 698
                     Bullard, TX 75757



                     Allen, Risty
                     5912 Collins Ct
                     Granbury, TX 76048



                     Allen, Trichele
                     P O Box 754
                     Bertram, TX 78605



                     Allen, Tyler
                     4530 Dakota Trail
                     St. Charles, MO 63304



                     Allender, Brandon
                     1208 south west 13th avenue
                     portland, OR 97205
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 622 of 924


                     Alley, Kevin M.
                     6301 Stonewood Drive, #528
                     Plano, TX 75024



                     Allian, Charles
                     608 Cornwall Road
                     Lebanon, PA 17042



                     Allituram, Chandra Shekar
                     200 Castlewood Drive Apt 638
                     Salisbury, NC 28147



                     Allnutt, Wesley
                     22615 Blackwater Dr.
                     Blackwater, MO 65322



                     Allocca, Ryanne
                     2412 holloway terrace
                     raleigh, NC 27608



                     Allouche, Ram
                     3802 Knicker Bocker Place
                     Indiananapolis, IN 46240



                     Allred, Justin
                     1432 3rd Street
                     Auogden, UT 84404



                     Allred, Tanner
                     110 E. Broad St
                     Groveland, FL 34736



                     Almallah, Sarah Waled
                     4417 Sweetbriar Drive
                     Garland, TX 75042
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 623 of 924


                     Almansoori, Fahad
                     1 Jefferson Pkwy Apt # 291
                     Lake Oswego, OR 97031



                     Almansour, Ahmed
                     509 Hunt Club Rd.
                     Blacksburg, VA 24060



                     Almanza, Matthew
                     1714 Alston Avenue
                     Colton, CA 92324



                     Almazan, Claudia
                     1741 S Clearview Ave
                     Mesa, AZ 85209



                     Almeida, Alailva
                     62 Lakeville Cr
                     Petaluma, CA 94954



                     Almoaither, Abdulaziz
                     8838 Dugas Road
                     San Antonio, TX 78251



                     Almohammadi, Nazih
                     265 North 7th street Aprt. 151
                     Laramie, WY 82072



                     Almuaooem, Mojtaba
                     3223 S 68th court
                     Omaho, NE 68106



                     Alnajjab, Hana
                     604 Summit Pointe Way NE
                     Atlanta, GA 30329
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 624 of 924


                     Alonzo, Ricardo
                     3119 NW 30 th St
                     Forth Worth, TX 76106



                     Alphonse, Nesskens
                     204 SW 22nd Avenue
                     Ft Lauderdale, FL 33312



                     alqwaisly, mawas
                     4 Lmrie road
                     aooston, ME 02134



                     Alsahlani, Hussam
                     1784 Taper Drive
                     Pittsburgh, PA 15241



                     Alsaleh, Ruaa
                     13228 Brookside Dr
                     Sugarland, TX 77478



                     alserkal, saleh
                     13900 marqueses
                     warina del ray, CA 90292



                     Alshamlan, Mai
                     1010 Regancy Pkwy Apt 311
                     Omaha, NE 68114



                     Alshawaf, Yaqoub
                     7051 W Blvd
                     youngstown, OH 44512



                     Alshenaisi, Abdulaziz
                     4158 Dakota Street
                     San Diego, CA 92122
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 625 of 924


                     Alston, Katrina
                     269 E Villa
                     Pasadena, CA 91101



                     Alsubaie, Nais
                     144 Gooch Hall
                     Martin, TN 38238



                     Alter, Cerna
                     1412 Oldbury Place
                     Westlake Village, CA 91361



                     Altieri, Dominick
                     329 Adams Avenue
                     Cuyahoga Falls, OH 44221



                     Altourah, Kelly
                     1103 SW 28th St #307
                     Ankeny, OH 50023



                     Alvarado, Jennifer M
                     11699 216th Street
                     Lakewood, CA 90715



                     Alvarado, Tracie 1
                     P O Box 332
                     Denver City, TX 79323



                     Alvarez Jr. , Ralph
                     6442 Reef Circle
                     Tampa, FL 33625



                     Alvarez, Kelly R
                     6 Grove Circle
                     Sellersville, PA 18960
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 626 of 924


                     Alwadhi, Humaid
                     116 Bailey St #1
                     East lansing, MI 48823



                     Alwahibi, Mohammed N
                     4480 Hagadorn Rd Apt 205
                     Okemos, MI 48864



                     Alyufus, Yousaf
                     600 West 26th street apt 2316
                     Austin, TX 78705



                     Ament, Matthew
                     7726 East La Junta Road
                     Scottsdale, AZ 85255



                     Amenta, Justin
                     335 Kensington Rd
                     Southington, CT 06489



                     America's Unknown Destinations
                     4187 Lynwood Drive
                     Kent, OH 44240



                     American Balloons - FL
                     4906 Land-O-Lakes Blvd
                     Land-O-Lakes, FL 34639



                     American Balloons Intl. - NJ
                     218 Dove Cote Court
                     Whitehouse Station, NJ 08889



                     American Freedom Ballooning
                     617 Briarwood Drive
                     Elverson, PA 19520
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 627 of 924


                     Ames, Cynthia E
                     350 Santa Cruz St
                     Boulder Creek, CA 95006



                     Amin, Aakash
                     12352 Bluewing Ct
                     Poway, CA 92064



                     Amitrano, Carolyn S
                     8 Wildwood Rd
                     Narragansett, RI 02882



                     Amon, Bret
                     Po Box 2740
                     Dillion, CO 80435



                     Amos, David J.
                     P.O. Box 714
                     Greenville, CA 95947



                     Amos, Korey
                     269 Black Lane
                     Calhoun, LA 71225



                     Anantha, Ravindra
                     1425 South Wols Road
                     Prospect Heights, IL 60070



                     Ananthanarayanan, Ponnani
                     303 Minuteman Dr
                     Collegeville, PA 19426



                     Anastasopoulos, Roula
                     2566 48th Street
                     Queens, NY 11103
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 628 of 924


                     Anaya, Isabel
                     13838 The Lakes Blvd
                     sluggerville, TX 78660



                     Anaya, Jonathon
                     507 South Ross
                     Mountainair, NM 87036



                     Anaya, Melissa
                     2015 Herst Dr
                     Allen, TX 75013



                     Andachter, Anne
                     1512 W Wicklow Lane
                     Sioux Falls, SD 57108



                     Andersen, Andrea
                     900 South Forest Ave
                     Sioux Falls, SD 57104



                     Anderson, Ashley 3
                     4735 route 60
                     derry, NY 14740



                     Anderson, Blake
                     3107 NE 40TH cT
                     fT lAUDERDALE, FL 33308



                     Anderson, Carol L
                     720 Michigan ave
                     washington, PA 15301



                     anderson, daix
                     17414 poplar canyon
                     richmond, TX 77407
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 629 of 924


                     Anderson, eric 1
                     Box 424
                     Delta Junction, AK 99737



                     Anderson, floyd j
                     4703 46 ave north
                     st. pete, FL 33709



                     Anderson, Jefferey B.
                     200 Crest
                     Spicewood, TX 78669



                     Anderson, Katarina
                     Coast Highway 101
                     South Beach, OR 97366



                     Anderson, Keith 1
                     1335 Summit ave 216
                     Oshkosh, WI 54901



                     Anderson, Kristian
                     13266 Meander Cove Drive
                     Germantown, MD 20874



                     Anderson, Krystal
                     5019 East 600 North
                     Kokomo, IN 46901



                     Anderson, Megan
                     93 willow creek dr
                     battlecreek, MI 49015



                     Anderson, Mitchell L
                     803 Sawgrass Place
                     Ft Smith, VA 23703
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 630 of 924


                     Anderson, Nicole 1
                     7c Gorman St
                     Moosup, CT 06354



                     Anderson, Nina
                     59 lakeland drive
                     atlanta, GA 30305



                     Anderson, Paul W
                     3000 Clubhouse Road
                     Costa Mesa, CA 92626



                     Anderson, Ryan 1
                     315 Carona St. Apt. B
                     Winston Salem, NC 27103



                     Anderson, Sean 1
                     po box 181138
                     Coronado, CA 92178



                     Anderson, Sean 3
                     4216 Logansport rd
                     Logansport, IN 46947



                     Anderson, Shane
                     6033 Sycamore Ave NW
                     Seattle, WA 98107



                     Andino, Joseph
                     3110 South west 120 road
                     miami, FL 33175



                     Andrade, Roberto
                     1508 Bay Road Apt 35
                     Miami Beach, FL 33139
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 631 of 924


                     Andre, Ruth L.
                     35086 Sr 27
                     Hector, AR 72843



                     Andre, Sarah
                     3115 Sunset Bulv.
                     Houston, TX 77005



                     Andreas, Andrew K
                     10412 Flint St
                     Overland Park, KS 66214



                     Andren, Kerri
                     96 Edgewood Dr.
                     Florham Park, NJ 07932



                     Andreus, Eric
                     305 Nestle Way
                     Breinigsville, PA 18031



                     Andrew, Jon
                     1190 Arbor Hill Drive
                     Woodstock, GA 30189



                     Andrews, Donna
                     4223 Abby Ridge
                     Quincy, IL 62305



                     Andrews, Helen
                     18131 Langlois Rd Apt D-13
                     Desert Hot Springs, CA 92241



                     Andrews, Kevin
                     4022 Towne Lakes Circle #3108
                     Appleton, WI 54913
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 632 of 924


                     Andrews, Shawn
                     15811 Gordon cummins
                     canyon, TX 79015



                     Andrews, Taylor R.
                     2447 Cowart St
                     Jena, LA 71342



                     Angel, Douglas P.
                     62020 mount vernon
                     washington, MI 48094



                     Angel, Mason
                     2539 West HWY 18
                     Paradise, KS 67658



                     Angelakos, B. Dean
                     132 East 35th street apt. 11-G
                     New York, NY 10016



                     Anghel, Susan
                     5 Columbia Place
                     Merrick, NY 01156



                     Anikin, Aleksey
                     622 Waldon lane
                     Savannah, GA 31405



                     Anisha, Shanoral
                     615 saint ives lane
                     goose creek, SC 29445



                     Anrig, Chris
                     141 Blu Lake Blvd
                     Pooler, GA 31322
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 633 of 924


                     Antinori, Pablo
                     3901 Accent Drive
                     Dallas, TX 75287



                     Antuma, Mike
                     4647 Shearwood Court
                     Grand Rapids, MI 49525



                     Anwar Tajuddin, Abdul W.
                     S80 1 Castle Point Terrace
                     Hoboken, NJ 07030



                     Aoki, Risa
                     8152 Patterson Woods Dr. Apt 3107
                     Orlando, FL 32821



                     Apakuri, Ramakiran
                     4545 Ladder Rd
                     Spring, TX 77388



                     Apeles, Paul
                     5 Fletcher Court
                     Spring Valley, NY 10977



                     apelis, alexander p
                     29 east 6th street
                     clifton, NJ 07011



                     Aphelion Aviation, LLC
                     82 Hartfield Rd, Ste 214
                     Morgantown, WV 26505



                     Apodaca, Jeffrey
                     PO Box 3346
                     fremont, CA 94539
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 634 of 924


                     Apodaca, Justin
                     8431 Hope Ct
                     Thornton, CO 80229



                     Appleberry, Charles
                     332 South 4th St
                     Steelton, PA 17113



                     Applegate, Kelli
                     1211 east cumberland ave 2504
                     Tampa, FL 33602



                     Appleyard, Jordan
                     6140 Sagamore Ln
                     Kalmazoo, MI 49004



                     ARABOLE, MAHESH ISHWAR
                     1177 S Northpoint Blvd
                     Waukegan, IL 60085



                     Aranda, Genaro
                     147 West Theo Aven.
                     San Antonio, TX 78214



                     Aranguren-langston, Sandra
                     40 Bank St.
                     New york, NY 10014



                     Aravindam, Rajagopal
                     134 -A, 5th st Ram Nagar
                     Tamin Nadu



                     Arboleda, Patricia
                     16500 Collins Ave. Apt. 355
                     Sunny Isle, FL 33160
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 635 of 924


                     Arcara, Vanessa
                     109 Wheatley Rd.
                     Glen Head, NY 11545



                     Archer, Lori
                     222 E American Rd
                     Gillette, WY 82716



                     Archer, Sarah A
                     4431 Stewart Avenue
                     Los Angeles, CA 90066



                     Archuleta, Billy
                     5460 Alteza Drive
                     Colorado Springs, CO 80917



                     Archuleta, Cori
                     1534 NW 37th Ave
                     Camas, WA 98607



                     Ard, Eunice M
                     PO Box 433
                     East Point, FL 32328



                     Ardizzone, Michael
                     868 south morgan town road
                     greenwood, IN 46143



                     Ardoin, Matthew
                     1607 Tiger Ln.
                     Villplatte, LA 70586



                     Ardolino, Joseph J
                     281 Kings Road
                     Madison, NJ 07940
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 636 of 924


                     Arellno, Bertha
                     8350 US Hwy 87 E # 2
                     San Antonio, TX 78263



                     Arguello, Johanna
                     1606 Heather Springs Ln
                     League city, TX 77573



                     Argueta, Magda
                     1 Quentin Ave.
                     New Brunswick, NJ 08901



                     Arieh , Nitanel
                     6900 lachland circle
                     baltimore, MD 21239



                     Arizona Hot Air Balloon Company, LLC
                     3913 W. Woodridge Dr
                     Glendale, AZ 85308



                     Armand, Jon
                     9121 Sweetbrook Lane
                     Riley, NC 27615



                     Armentrout, John
                     6930 Sandia Dr.
                     Reno, NV 89523



                     Armiger, zachary
                     9 andrews court
                     parkton, MD 21120



                     Armour, Warren
                     6475 Canyon Vista Ct.
                     San Diego, CA 92111
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 637 of 924


                     Armstrong , Susan A
                     764 High Street
                     Lancaster, PA 17603



                     Armstrong, Andra
                     3214 Centenary Bulvd.
                     Shreveport, LA 71104



                     Armstrong, Brooke
                     PO Box 447
                     Merlin, OR 97532



                     Armstrong, Janette
                     15232 Moringside Drive
                     Chino Hills, CA 91709



                     Armstrong, Lisa
                     1227 Sedgewood Ln.
                     Lincolnton, NC 28092



                     Armstrong, Ryan
                     1515 east broadway
                     Monmouth, IL 61462



                     Armstrong, Travis
                     300 Archibald close
                     Ft. McMurray, AB T9K 2P5



                     arnaud, patrick
                     53 riverview ln
                     cocoa beach, FL 32931



                     Arndt, Renee
                     1216 Blairwood Drive
                     Flowermound, TX 75028
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 638 of 924


                     Arnold, Mark
                     4791-B Quailwood Terrace
                     Boynton Beach, FL 33436



                     Arnold, Matt
                     4617 Summer Oak Avenue East Aprt.832
                     Sarasota, FL 34243



                     Arnolde, Jason
                     1525 Graves Ave 139
                     El Cahone, CO 92021



                     Arora, Karan
                     7308 West 27th St Apt 9
                     Las Angelos, CA 90007



                     Arreola, Crystal
                     2507 west madison ave
                     Montabella, CA 90640



                     Arrietta, Elise
                     5707 Gaston Ave Apt 205
                     Dallas, TX 75214



                     Arrigo, Vince
                     242 S Washington Blvd
                     Sarasota, FL 34236



                     Arrington, Michael
                     2804 graham blvd
                     Pittsburgh, PA 15235



                     Arseneault, Patrick
                     1509 Route 315 Dunlop south
                     New brunswick
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 639 of 924


                     Arteaga, Emillo
                     1102 W. Mc Fadden
                     Santa Anna, CA 92707



                     Arteche, Markus
                     335 Goosecreek Dr.
                     Winter Springs, FL 32708



                     Arter, Shawn N
                     2806 Mcgill Blvd
                     San Angelo, TX 76905



                     Arterburn, Stephen
                     401 gleneyrie street
                     laguna beach, CA 92651



                     Arthur, Sidney
                     P O Box 280
                     Fredonia, WI 53021



                     Artzibushev, Constantine
                     5111 West Homer Ave
                     Tampa, FL 33621



                     arul, Jerome
                     2 college street 31
                     providence, RI 02903



                     Arwindekar, Amit
                     1600 N. Marshfield Ave.
                     Chicago, IL 60622



                     Ascha, Mona
                     6950 Norvale Circle West
                     Gates Mills, OH 44040
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 640 of 924


                     Asencio, Blanco A
                     1011 Godwin Ave
                     Chesapeake, VA 23324



                     Ashby, Holly
                     8010 Sandi Court
                     Indianapolis, IN 46260



                     Ashby, Matthew E
                     2 Carpenter Place
                     Pueblo, CO 81001



                     Asheville Hot Air Balloons
                     P.O. BOX 2319
                     Candler, NC 28715



                     Ashley, Adrienne
                     9407 waterfall cove dr
                     cesterfield, VA 23832



                     Ashley, Cristina
                     8900 Holly Hill Rd
                     Quinton, VA 23141



                     Ashner, Sandra
                     3200 Jasmine rd
                     montgomery, AL 36111



                     Ashworth, Eric
                     17Farm Lane
                     Carlisle, PA 17015



                     Askew, Charles
                     9 weathers field dr
                     Medford, NJ 08055
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 641 of 924


                     Asses, Carlos H
                     Rua Francisco Paulo
                     Brazil Saint Paula 00952-4080



                     Assouline, Tom
                     110 North Federal Hwy
                     Ft. Lauderdale, FL 33301



                     Asthana, Vivek
                     2404 Heritage Way
                     Union City, CA 94587



                     Astramecki, Ross
                     2999 Oak Rd #200
                     Walnut Creek, CA 94597



                     AT&T 678-567-1731-156-1887
                     P.O. BOX 105262
                     Atlanta, GA 30348-5262



                     Ateng-Attakora, George
                     1505 Mydeck Place
                     Crown Point, IN 46307



                     Athanasiou, George
                     61-47 146 place
                     Flushing, NY 11367-1211



                     Athanta, Srikanth
                     13644 Legacy Circle APt b
                     Herrendon, VA 20171



                     Atkins, William
                     3551 7th st
                     Moline, IL 61265
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 642 of 924


                     Atkinson, Lorna
                     10 Highview Dr
                     Wayne, PA 19087



                     Atkinson, Mario C
                     P.O BOx 180754
                     Austin, TX 78718



                     Atkinson, Patrick 1
                     12300 Marion Lane West #2205
                     Minnetonka, MN 55305



                     Aton, Ron
                     829 Lassen
                     Vallejo, CA 94591



                     Atwood, Jason C.
                     833 West Buena Ave Apt 1701
                     Chicago, IL 60613



                     Atwood, Jeff
                     1627 S 1220 W
                     Uintah, UT 84078



                     Atwood, Jerry
                     PO Box 770
                     Ferndale, WA 98248



                     Auck, Jenne
                     820 Travis Circle
                     Centralia, MO 65240



                     Audu, Ayuba
                     4604 Crosswind Court
                     Melbourn, FL 32904
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 643 of 924


                     Aughenbaugh, Mildred A
                     400 Highway 1283
                     Loris, SC 29569



                     Augustin, Scott M
                     102 South 5th Street
                     Perkasie, PA 18944



                     Aukes, Gary
                     359 100 11th street
                     beaver creek, MN 56116



                     Ault, Keith A
                     2132 Alt Rd
                     Chillicothe, OH 45601



                     Ausmus, Kendra
                     202 W Washington St
                     Macon, MO 63552



                     Austin Aeronauts
                     1700 Elmhurst Drive
                     Austin, TX 78741



                     Austin Skydiving Center
                     1055 PR 7022
                     Lexington, TX 78947



                     Austin, Tommy D
                     155 Mississippi Loop
                     Jacksonville, AR 72076



                     Avila, Jose 1
                     4429 North Eddy
                     Fresno, CA
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 644 of 924


                     Avila, Nathan
                     167 Jackson street
                     brooklyn, NY 11211



                     avsalud, Melchor
                     40-36 74th St
                     Elmhurst, NY 11373



                     awe, ade
                     205 watts cir.
                     nashville, TN 37209



                     Awesome Ascensions
                     24716 Streit Road
                     Harvard, IL 60033



                     Awishus, Phalaine
                     800 E Beau Apt 8H
                     Washington, PA 15301



                     Aycinena, Mariano
                     5 6th ave 1170 zone 1 Edificio Herraera
                     Guatamala City, Guatamala



                     Aydelotte, James
                     22 Leprechaun lane
                     Boise, ID 83617



                     Azam, Shaina
                     395 New Castle Dr
                     Alpharetta, GA 30009



                     Aziz, Walid
                     2060 Dogwood Trail Apt 2A
                     Marvel, IN 46410
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 645 of 924


                     Azza, Kalyn
                     8400 B Streamview Dr
                     Huntersville, NC 28078



                     Azzarone, Colleen
                     4390 SE Scotland Cay Way
                     Stuart, FL 34997



                     Babas, JC
                     943 N Standley Ave
                     West Hollywood, CA 90046



                     Babb, Mathew
                     9300 Treasure Hill Rd Apt. 1108
                     Little Rock, AR 72227



                     babcock, Brandon
                     1109 Willowind trail
                     ft. wayne, IN 46845



                     Babcock, Lori
                     2025 E Campbell Ave Apt 321
                     Phoenix, AZ 85016



                     Baber, Kim
                     10132 N Baird Ave
                     Fresno, CA 93720



                     Baca, Hugo
                     3206 Embercrest Lane
                     garland, TX 75044



                     Baca, Nancy C
                     1536 Clermont st
                     Denver, CO 80220
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 646 of 924


                     Bach, Duane
                     330 Spring Creek Rd.
                     Rockford, IL 61107



                     bachand, david
                     570 c ave
                     coronado, CA 92118



                     Badalamenti, Ariadna
                     1330 Rivera Ct
                     Santa Rosa, CA 95409



                     Badel, Krunal
                     628 Norriston Rd.
                     Horsham, PA 19044



                     Bader, John C.
                     429 Cypress View
                     Oldsmar, FL 34677



                     Badgi, Amit
                     429 Enclave Circle apt:301
                     Costa Mesa, CA 92626



                     Badgley, Emily A
                     683 Tremont St. Apt 3
                     Boston, MA 02118



                     Badkook, Mohannad
                     75 Station Landing
                     Medford, MA 02155



                     Bag, Rupak
                     249 Washington St apt B
                     Jersey city, NJ 07302
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 647 of 924


                     Baggett, Holly
                     474 White Road
                     Chatsworth, GA 30705



                     Baghdady, Mohammed
                     310 9th Street
                     Jersey City, NJ 07302



                     Baharimehr, Shahin
                     1835 Arch Apt 1604
                     Philidelphia, PA 19103



                     Bahmanpour, Mitra
                     51 Martinique St.
                     Laguena Miguel, CA 92677



                     Bahr, Corinna, J
                     1711 Rustric Oak Lane
                     Seabrook, TX 77586



                     Bailey , Rod
                     3617 Vincent Ct
                     Bakersfield, CA 93304



                     Bailey, Alicen
                     561 Sunset school rd.
                     Sunset, TX 76270



                     Bailey, April
                     510 Valley View Rd. SW
                     Oronoco, MN 55960



                     Bailey, Cathi
                     3077 Summit ct
                     Newburgh, IN 47630
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 648 of 924


                     Bailey, Melissa 1
                     3027 S 300 W
                     Bountiful, UT 84010



                     Bailey, Michael 1
                     3027 S 300W Bountiful
                     Bountiful, UT 84010



                     Bailey, Tokuda
                     1700 Fountain Court
                     Columbus, GA 31904



                     Baker, Abby
                     13504 copper head drive
                     riverview, FL 33569



                     Baker, Chris
                     8811 Staghorn ml
                     converse, TX 78109



                     Baker, Kay F
                     234 Stock Farm Rd
                     Jackson Center, PA 16133



                     Baker, Larry 1
                     3412 Willow Lake Dr Apt 411
                     Kalamazoo, MI 49008



                     Bakkejord, Dag
                     Surras Gata 35 4010
                     Statanger



                     Balahadia, Brian
                     153 boyd ave
                     Jersey city, NJ 07304
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 649 of 924


                     Balch, Jim
                     P.O BOX 0678
                     EAST WINDSOR, CT 06088-0678



                     Balderrama, Jonathon
                     4840 Fruitridge Rd
                     Sacramento, CA 95820



                     Baldev, Eric
                     1422 north greenview apt. 2
                     chicago, IL 60642



                     Baley, Randy
                     4501 Indian Lopes trail
                     Arlington, TX 76017



                     Ball, Renae G
                     2117 Old Indian Rd
                     Richmond, VA 23235



                     Ballard, Christopher
                     933 Neptewn Ct
                     Mountain View, CA 94043



                     Ballard, Diana
                     1803 Courtney Cove
                     Round Rock, TX 78664



                     Balloon Hollow
                     1112 Merrywood Court
                     Mooresville, NC 28115



                     Balloon Masters
                     7644 N Oakbrook Drive
                     Reynoldsburg, OH 43068
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 650 of 924


                     Balloon Quest Inc
                     2470 Grange Hall Rd
                     Fenton, MI 48430



                     Balloon Stormers
                     PO Box 368
                     Ashland, MO 65010



                     Balloons Above the Valley
                     603 California Blvd.
                     Napa, CA 94559



                     Balloons and Beyond
                     533 Edgewater Dr
                     Polk City, FL 33868



                     Balloons Over Georgia
                     112 Jason Lane
                     Cumming, GA 30040



                     Balloons Unlimited
                     P.O. Box 762
                     Middleburg, VA 20118



                     Balsie, Lauren
                     6745 Cow Hollow Dr
                     Charlotte, NC 28226



                     Baltimore Steel Erectors, LLC
                     11006 Red Lion rd
                     White Marsh, MD 21162



                     Baltzer, Adam
                     2001 Hillston Ridge Rd #308
                     Raleigh, NC 27617
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 651 of 924


                     Baluch, Kevin S
                     1175 woods crossing road suite 8
                     greenville, SC 29607



                     Bandurraga, Savanah
                     122 Cannon Street
                     Charleston, SC 29403



                     bangiyev, boris
                     649 greeley ave
                     Staten Island, NY 10306



                     Bankoski, Linda
                     793 SparkDale Rd
                     Newark, NJ 19711



                     Baranets, Zhanna
                     125-10 Queens Blvd Apt 714
                     Qu Gardens, NY 11415



                     Barattini, Winnie
                     10008 Leaf Wood Drive
                     Talahasee, FL 32312



                     Barbato, Carl
                     5 west 13th st apt 17A
                     New York, NY 10011



                     barber, charles 1
                     5325 south 9th ave
                     countryside, IL 60525



                     Barbier, Guy Thomas
                     260 E. Chestnut St, unit 4401
                     Chicago, IL 60611
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 652 of 924


                     Barbour, Kareem
                     5643 Harpers Farm Road Unit F
                     Columbia, MD 21044



                     BARGER, ALICE
                     30172 FM 3009
                     New Braumfels, TX 78132



                     Baricelli, Joseph
                     5515 Wissahickon Ave Apt 101A
                     Philadelphia, PA 19144



                     barker, Edward A
                     626 Heather lane
                     bryn mawr, PA 19010



                     Barker, Lacey 1
                     3374 Ridgeview Dr
                     Holdenville, OK 74848



                     Barksdale, Chelsea D
                     2300 Shrewsbury
                     Burlington, OH 43221



                     Barksdale, John
                     8523 Greenbelt Rd Apt T1
                     Greenbelt, MD 20770



                     Barkus, Elizabeth
                     152 8th ave apt 6n
                     new york, NY 10011



                     Barnes, Kevin
                     185 Oakland aveSuite 150
                     Birmingham, MI 48009
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 653 of 924


                     Barnes, Violet
                     703 West Lisbon Lane
                     Clovis, CA 93619



                     Barnet, Lisa E
                     8925 Beverlywood St
                     Loa Angeles, CA 90034



                     Barnett, Taryn
                     929 Natchez Valley Trace
                     Grayson, GA 30017



                     Barnhart, Melissa
                     8628 Black Rock Harbour
                     Pasadena, MD 21122



                     Barniak, Adrian T
                     32 Preli Ct
                     Southington, CT 06489



                     Barnum, Lela A
                     4630 E Mount Vernon
                     Witchita, KS 67218



                     Barnwell, Sharon
                     12709 NW 15th St.
                     Coral Springs, FL 33071



                     Barone, Andrew
                     30 Russell Terrace
                     Eaton Town, NJ 07724



                     Barr, Patricia A
                     1850 Gibson Dr
                     Hatboro, PA 19040
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 654 of 924


                     Barr, Richard
                     2801 Powhattan
                     Kettering, OH 45420



                     Barrantes, Anna C
                     329 Hayes St
                     Sanfransico, CA 94102



                     BarrCLOUGH, Gavin
                     1725 Wright Ave Apt 17
                     Mountain View, CA 94043



                     Barreto, Juan
                     10455 Palmerello Rd
                     San Diego, CA 92131



                     Barrie, David
                     1000 Eulalia Rd.
                     Atlanta, GA 30319



                     Barrilleaux, Jaime
                     12468 Sirchia Ln
                     Independence, LA 70443



                     Barrios, Rogelio
                     P O Box 219
                     Sebastian, TX 78594



                     Bartch, Patrick
                     4651 Gann Ct SW
                     Smryna, GA 30082



                     Bartell, Christopher J.
                     3924 Terrace St.
                     Philadelphia, PA 19128
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 655 of 924


                     Bartolomeo, Ymoli
                     626 Coral Way
                     Coral Gables, FL 33134



                     Bartolotta, Joseph L
                     219 38th St
                     Pittsburgh, PA 15201



                     Barton, Mindy A.
                     5 Sandlewood Dr 17 B
                     Fort Walton Beach, FL 32548



                     Bartunek, Jane Renee
                     523 Pier 2
                     Lincoln, NE 68528



                     Bascon, Monette
                     723 Anchor Cove
                     San Diego, CA 92154



                     Baseer, Sana
                     1813 Marian Drive
                     Elezebith City, NC 27909



                     Bash, Rebecca
                     1464 Carol Drive
                     Napa, CA 94558



                     Baskett, Ray
                     109 Commerce St
                     Lake Mary, FL 32746



                     Bass, Beverly
                     319 E. Hickory Ridge Cir
                     Argyle, TX 76226
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 656 of 924


                     bassett, charmaine
                     3344 Secor Rd suite b106
                     Toledo, OH 43606



                     Bassett, Charmaine R
                     3344 Secor Rd suite b106
                     Toledo, OH 43606



                     Batchelor, Jillian
                     7274 Parading Pokey Street
                     Las Vegas, NV 89131



                     Bateman, Sandra
                     8725 east longlake circ.
                     Witchita, KS 67207



                     Bates, Graham C.
                     747 Runway Bay
                     Chandler, AZ 85240



                     Bates, Kay
                     7211 Stonebridge Rd
                     Newbrugh, IN 47630



                     Bates, Mr. John R.
                     6307 Waterford Blvd. Suite 155
                     Oklahoma City, OK 73118



                     Batley, Jason
                     519 spring street
                     davidson, NC 28036



                     battersby, gregg
                     1666 county rd 8
                     south woodslee, 51
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 657 of 924


                     bauckman, brandon
                     7330 Canadian Drive
                     Erving, TX 75039



                     Baudhuin, David J.
                     P.O. Box 436
                     Lakeville, MN 55044



                     Baudoin, Anne
                     2520 oak Cliff drive
                     baton rouge, LA 70810



                     Bauer, Sheila
                     2775 N Lake Shore Dr
                     Holland, MI 49424



                     Baughman, Leonard F.
                     2160 E. Fry Blvd.
                     Sierra Vista, AZ 85635



                     Baum, Lynn
                     P.O. Box 20459
                     Sarasota, FL 34276



                     Baumbach, Jillian
                     po box 806
                     sudbury, MA 01776



                     Baumer, Gregory
                     1930 Ridge Ave. Apt C411
                     Evanston, IL 60201



                     Baumgart, Andrea
                     3255 Buffalo Run
                     tarpon springs, FL 34688
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 658 of 924


                     Baumgart, William
                     3255 Buffalo Run
                     Taron Springs, FL 34688



                     Baumhoer, Nicholas R
                     6600 concord dr
                     newburgh, IN 47630



                     Bautista, Elsa
                     5151 North Lake Drive
                     Whitefish Bay, WI 53217



                     Bawden, Nicholas E
                     1407 C Orleander Lane
                     Dauphin Island, AL 36528



                     Baxani, Marie
                     72 Wynondley Rd.
                     Hitchin Herts SG49PT



                     Baxter, Dana A.
                     4020 Porte La Pav, Unit 103
                     San Diego, CA 92122



                     Bay Area Skydiving
                     P.O. Box 88
                     Byron, CA 94514



                     Bayha, Jennifer
                     980 Crestview Dr
                     Pasadena, CA 91107



                     Baylis, Robert
                     3825 Bryan Street
                     Dallas, TX 75204
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 659 of 924


                     bayliss, Ryan A
                     5761 Robbie rd apt 3406
                     Plano, TX 75024



                     Baynes, Darryl
                     Brookside Dr
                     Wheeling, WV 26003



                     Bazan, Joel
                     Po Box 84
                     Concopcion, TN 78349



                     Bazin, Nancy L
                     334 Sabin Ave
                     West Minster, VT 05158



                     Bazinet, Yvonne
                     5234 Hollister Ave
                     Santa Barbara, CA 93111



                     Bbaaha, Arastao
                     1701 nichols cannon rd #103
                     los angeles, CA 90046



                     Beach, Joseph
                     450 Pitts Rd.
                     Hixson, TN 37343



                     Beale, April
                     744 La Charles Dr NE
                     Albequerque, NM 87123



                     Beall, Donna
                     225 helen street
                     midland, MI 48640
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 660 of 924


                     Beard, Matthew
                     179 North Royal Oaks Blvd Apt H3
                     Franklin, TN 37067



                     Beard, Michael
                     8180 Nicholson Dr
                     Frisco, TX 75034



                     Bears, Aaron
                     422 Soth 11th
                     Manhattan, KS 66502



                     Beasely, Derek
                     1326 Beachmont Street
                     Ventura, CA 93001



                     Beason, Steven Wayne
                     1500 Blue grass Lake Pkwy
                     Alpharetta, GA 30004



                     Beaton, Dax R
                     6803 Palomino Ridge Ct
                     Summerfield, NC 27358



                     Beauclair, Carla
                     3001 McCart Ave
                     Fort Worth, TX 76110



                     Beaudetpe, Sarah
                     5804 15th Aveune NE apt 9
                     Seattle, WA 98105



                     Beaudin, Paul
                     997 Jockey Hill Rd
                     Landaff, NH 03585
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 661 of 924


                     Beaumarchais, Dave
                     2933 E. Highlands Rd.
                     Highland, MI 48356



                     Beccu, Nadine
                     514 Bryant St
                     San Fransico, CA 94107



                     Bechtel, Amy
                     1313 Wheatlande Way
                     Las Vegas, NV 89128



                     Beck, Jamilyn
                     6924 Cumberland Terrace
                     University Park, FL 34201



                     Beck, Richard
                     2353 150th Street
                     Sharpsburg, IA 50862



                     Beckendorf, Houston
                     25883 Stonehenge
                     Denham Springs, LA 70726



                     Beckman, Erin
                     9355 Harroway Rd.
                     Summerville, SC 29485



                     Beckwith, Diane
                     4405 Kim St.
                     Snellville, GA 30039



                     Bedi, Kanwar
                     3925 Walnut St Apt 611
                     Philadelphia, PA 19104
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 662 of 924


                     Bedoya, Sebastian
                     3859 American Drive
                     Abilene, TX 79606



                     Behymer, Cheryl
                     12824 Park Hill Rd
                     Oklahoma City, OK 73142



                     Beil, Maggie
                     3400 Edloe St Apt 1532
                     Houston, TX 77027



                     Beiler Jr, Elmer B
                     137 North New Holland Rd
                     Gordanville, PA 17529



                     Belardo, Mardel
                     1531 Hemmingway Lane
                     Roswell, GA 30075



                     Bell, Charles 1
                     2725 Mimosa Park
                     Richland Hills, TX 76118



                     Bell, Gregory M
                     1020 North 2nd St
                     Atchison, KS 66002



                     Bell, Jalisa S
                     10810 Sherwood Hill Rd
                     Owings Mill, MD 21117



                     Bell, Patsy J
                     6070 Sea Isle
                     Galveston, TX 77554
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 663 of 924


                     Bell, Stacie
                     624 NW 18th Place
                     Moore, OK 73160



                     Bellegarde, Valerie
                     330 East 39th Street Apt 4L
                     New York, NY 10016



                     Bellini, Maria
                     923 Dunkirk
                     Arlington, TX 76017



                     Bement, Courtney
                     427 Buckeye lane
                     Westchester, PA 19382



                     Bench, Hollie
                     4368 Foxhaven Ave
                     Canton, OH 44718



                     Benditz, Daniel
                     44 Gleannloch Estates Dr
                     Spring, TX 77379



                     Bene, Rami
                     rahal 55
                     telaviv, 51



                     Benedetti, Francesca
                     609 se 58th ave
                     portland, OR 97215



                     Beneville, Christine
                     86 SHINNECOCK AVE
                     MASSAPEQUA, NY 11758
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 664 of 924


                     beng, fiona
                     20084 east shadyridge rd
                     parker, CO 80134



                     Benitez, David
                     21 Spruce St
                     Pompton Lakes, NJ 07442



                     Benner, Michael
                     634 E Leray St Apt 2
                     Watertown, NY 13601



                     Bennett, Alison
                     4556 country glen circle
                     grovetown, GA 30813



                     Bennett, Atalia
                     151 Boylston street
                     jamacia plain, MA 02130



                     Bennett, Chip
                     537 Latitude Ln.
                     Ospray, FL 34229



                     Bennett, Deborah
                     62 Moprior Lane
                     North Augusta, SC 29860



                     Bennette, Jennifer
                     9241 Northedge dr
                     Springfield, VA 22153



                     Benson, Jason R
                     1254 Lake Rd
                     Hiram, GA 30141
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 665 of 924


                     Benson, John 1
                     7609 June Grass Ln.
                     Frisco, TX 75035



                     Bent, Michael
                     6827 mill rd
                     Egg Harbor Township, NJ 08234



                     bentley, gregg
                     567 biello vista court
                     greenwood, IN 46143



                     Benton, Richard
                     1299 Ocean Ave
                     Santa Monica, CA 90401



                     Bentzlin-Smith, Ashley
                     8110 East Fairmount Drive
                     Denver, CO 80230



                     beplay, ryan c
                     54547 sagewood drive
                     mishawauka, IN 46545



                     Bequillard, Aldena
                     5215 Live Oak Rd
                     Lakekland, FL 33813



                     Berfond, Danielle
                     85 John St., Apt. 3L
                     New York, NY 10038



                     Berg, Alexandria M
                     po box 1513
                     monroe, WA 98272
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 666 of 924


                     Berg, Esther
                     270 Neskowin Way
                     Eagle, ID 83616



                     Berge, Steve
                     5095 Norseman Circle
                     Marrieta, GA 30068



                     Bergemann, Brittney
                     5028 Voltaire St
                     San Diego, CA 92107



                     Berger, Les
                     325 Sharon Park Dive
                     Minlow Park, CA 94025



                     Bergersen, Brad
                     102 Foxtrap Drive
                     Glen Burnie, MD 20161



                     Bergman, Daniel
                     14428 Lake Jessup Drive
                     Jacksonville, FL 32258



                     Bergmann, Angela K. D.
                     5710 SE Lloyd Street
                     Milwaukee, OR 97222



                     Beriger, Lisa
                     1705 W Woodbridge Ct #194
                     Tucson, AZ 85746



                     Berisha, Doruntina
                     4028 Viapicaposte
                     pales verdes, CA 90274
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 667 of 924


                     Berlingeri, Anthony
                     52 dawn heath cir
                     littleton, CO 80127



                     Berna, Charlette
                     1757 Bryn Mawr Ave
                     Santa Monica, CA 90405



                     Bernard, Kimberly
                     424b Salem st
                     Lexington, NC 27292



                     Berry, Raymond
                     15922 Countrybrook Street
                     Tampa, FL 33624



                     Bertrand, Brad
                     6367 Rancho Mission Road
                     San diago, CA 92108



                     bertrand, willam
                     900 NORTH WALLNUT CREEK SWEET 100
                     MANSFIELD, TX 76063



                     Berus, Joy
                     333 city blvd west Suite 2050
                     Orange, CA 92868



                     Bessette, Alan
                     9281 SW 197 Circle
                     Dunnellon, FL 34432



                     Best, Don
                     1333 Britton Av
                     Ft. Worth, TX 76115
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 668 of 924


                     Beswick, Tammy S
                     13623 Hoffma Ct
                     Grand Haven, MI 49417



                     Bevill, George
                     5659 Wigton Drive
                     Houston, TX 77096



                     Bewick, Brent
                     66 State St.
                     Culver, IN 46511



                     Bezjak, Yvonne L
                     9751 Stagpenn road
                     chesterfield, VA 23832



                     Bezwada, Anuritha
                     5330 Bent Forest Dr.
                     Dallas, TX 75244



                     bhachu mohan, manikandan
                     cjoseph cupler 108 poplar street
                     jersey city, NJ 07307



                     Bhaijee, Ummema
                     64 Evanspark Circle NW
                     , 51



                     Bhatia, Abhishek
                     2650 Durand Ave., Cheney Hall rm204
                     Berkeley, CA 94720



                     Bhatt, Hiren, P
                     586 Main St #G
                     Hackensack, NJ 07601
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 669 of 924


                     Bhingarkar, Preeti
                     409 Grovehurst Drive
                     Alpharetta, GA 30022



                     Bibus, Arnaud
                     510 North Ocean BLVD
                     Pansan Beach, FL 33062



                     Bicaku, Elona
                     4829 Port Narnock Way
                     Wesley Chapel, GA 33543



                     Bice, Richard
                     4141 Commons Drive, W
                     Destin, FL 32541



                     Bielema, Joshua D
                     2016 N Rockton Ave
                     Rockford, IL 61103



                     Bierle, Nick
                     47794 Julie Drive
                     Sioux Falls, SD 50178



                     Bierman, Brendan
                     420 S Maine St apt 705
                     Tulsa, OK 74103



                     biesek, Ricardo
                     1021 concord chase circle
                     concord, NC 28025



                     Bigelow, Dustin
                     511 iowa ave
                     iowa city, IA 52240
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 670 of 924


                     Biller, Christine
                     451 NW 11th Rd
                     Warrensberg, MO 64093



                     Billheimer, Robert
                     PO Box 914
                     Tybee Island, SC 31328



                     Bilohlavek, Brittany
                     1520 Rebecca Dailiey Drive Apt 1001A
                     Charlotte, NC 28262



                     Bilyk, Vyacheslav
                     1300 SW 8th Avenue
                     Battleground, WA 98604



                     Bimi, Migen
                     2307 Salem Village Rd #D
                     Parkville, MD 21234



                     Birchfield, Michael L.
                     115 Rockland Drive
                     Sharpburg, GA 30277



                     Birsen, Terri
                     147 Prospect Hill Rd
                     Waverly, NY 14892



                     Bisesi, Ashley
                     628 Baylor Rd
                     Glen Burnie, MD 21061



                     Bishop, Kim for Joe
                     5105 Crane Dr
                     West Richland, WA 99353
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 671 of 924


                     Bissell, Joseph
                     13 Stewart
                     Greenville, PA 16125



                     Bittan, Andrew
                     P.O. Box 2265
                     Rockville, MD 20847



                     Bitter Jr., Todd A
                     400 Lakeview Dr.
                     Wilder, KY 41071



                     Black JR, Robert
                     6528 Chadwick Ct
                     Savage, MN 55378



                     Black, Austin
                     10416 Lake Carroll Way
                     Tampa, FL 33618



                     black, michael
                     3115 north 1175 east
                     layton, UT 84040



                     Blackorby, Bryan J
                     1234 Briarhill Lane
                     Atlanta, GA 30324



                     Blair, Frantzen
                     302 Knight Run Ave
                     Tampa, FL 33602



                     Blake, Kevin
                     1025 purdew avenue apt c
                     ridgecrest, CA 93555
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 672 of 924


                     BLANCHARD, CECILE
                     2122 YORK RD
                     OAK BROOK, IL 60523



                     Blanchard, Michael
                     710 State Route 821 Unit 32
                     Yakima, WA 98901



                     Blanche, Jamie
                     2602 Dogwood Terrace
                     Atlanta, GA 30319



                     Blattler, Jennifer
                     1 American Square #1300
                     Indianapolis, IN 46282



                     Blevins, Libby
                     5615 Pine Valley Drive
                     Zanesville, OH 43701



                     Blicker, Joseph A
                     500 Webster Rd Lot 224
                     Auburn, AL 36832



                     Blom, Catherine
                     637 Phillips Dr.
                     Coppell, TX 75019



                     Blondin, Brian
                     P.O. Box 159
                     Kodiak, AK 99615



                     bloszies, alicia
                     1712 springfield dr
                     ft collins, CO 80521
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 673 of 924


                     Blue Dragon Balloons
                     301 East Prospect Avenue
                     North Wales, PA 19454



                     Blue Ridge Skydiving Adventures
                     P.O. Box 144
                     Middletown, VA 22645



                     Blue Skies Balloon KY
                     17554 Aiken Rd
                     Louisville, KY 40245



                     Blume, Rudy
                     2151 Cumberland Pky Apt 538
                     Atlanta, GA 30339



                     Bob's Balloon Charters, LLC
                     729 Deen Still Rd
                     Davenport, FL 33897



                     Boczkiewicz, Roberta
                     19160 Ashbourne Lane
                     Brookfield, WI 53045



                     Bodkin, Cynthia
                     Rt 2 Box 27
                     Montroes, WV 26283



                     Boehn, Anne
                     1130 SW Santa Fe Dr.
                     Lee Summit, MO 64081



                     Boga, Srisanctosh
                     4047 145th Ave NE
                     Bellvue, WA 98007
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 674 of 924


                     Bogart, Derrick
                     2840 N Canterbury Lake Drive
                     Hernando, FL 34442



                     Bogart, Jordan
                     2214 Spanishmoss Dr
                     Jacksonville, FL 32246



                     Bogas, Ryan
                     306 Mcculland rd.
                     Cannonsburg, PA 15317



                     Bogdanoff, Scott
                     2798 Wexford Dr.
                     San Jose, CA 95132



                     Bogden, Robert
                     2345 NE Hopkens Court
                     Pullman, WA 91163



                     Boggs, Evonne
                     5902 Pace Bend Rd N Box2
                     Spicewood, TX 78669



                     Bohigas, Laura
                     2430 Mlk Way Apt 4
                     Berkley, CA 94704



                     Bohrer, Antonia
                     3708 Highland Dr
                     Garnett Valley, PA 19061



                     Boin, Marc
                     511 Woodbend Lane
                     Houston, TX 77079
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 675 of 924


                     Boise Hot Air Balloon Company
                     3340 Lake Harbor K304
                     Boise, ID 83703



                     bolduc, annie
                     3350 george busbee
                     kennesaw, GA 30144



                     Boler, Nathaniel
                     184 Mayfair Cir W
                     Palm Harbor, FL 34683



                     Bolzeniu, Patrick D
                     100 Lakeshore dr apt. 126
                     Lexington, KY 40502



                     Bond, Penni A
                     8931 North Rhoad Avenue #207
                     Kansas City, MO 64153



                     Bond, William
                     3601 west broadway ave.
                     Colombia, MO 65203



                     Bonfini, Catherine
                     3637 Mountshannon Rd.
                     Columbus, OH 43221



                     Bonilla, Julian
                     6 Blyth Ct
                     Columbia, SC 29210



                     Bonior, Samantha
                     29904 Oak Grove
                     Sinclair Shores, MI 48082
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 676 of 924


                     Bonner, Serrell J
                     2009 Beechwood Street
                     Little Rock, AR 72207



                     Bonnett, Joel
                     14822 south cedar lake rd.
                     kiel, WI 53042



                     Boone, Norman
                     3423 Waycross Lane
                     Frisco, TX 75034



                     Bor, Simona
                     17391 El Cajon Ave
                     Yorba Linda, CA 92886



                     Borcik, Teresa
                     PO Box 6837
                     Abilene, TX 79608



                     Borgia, Ann
                     5462 Greenridge drive
                     Toledo, OH 43615



                     Boron, Michael
                     706 Napoleon Rd. Apt 211
                     Bowling Green, OH 43402



                     Borrajo, Jeremiah
                     3207 Maxwell st
                     Murfreesboro, TN 37130



                     Borst, Larissa
                     61 St. Paul Street
                     Hamilton, VA 20158
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 677 of 924


                     Boswell, Jennifer
                     1229 shooting star court
                     North pole, AK 99705



                     Botelho, George M.
                     875 Meadows Rd
                     Boca Raton, FL 33648



                     Botero, Carlos
                     2810 Kensington Cir
                     Weston, FL 33332



                     Botero, Carlos 1
                     3680 Inverrary Dr. #2J
                     Lauderhill, FL 33319



                     Botonis, Athina
                     3731 W Melinda Ln.
                     Glendale, AZ 85308



                     Boudreaux, Troy 1
                     119 W Tyler Lane
                     Leesville, LA 71446



                     Bouhnik, Joseph
                     91 Bal Cross Dr
                     Bal Harbor, FL 33154



                     Bourboun, Amira
                     7 Rowley Avenue
                     Ottawa K2G1L7



                     Bourne, David
                     10655 Woodstock Rd
                     Roswell, GA 30075
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 678 of 924


                     Bowen, Nanci
                     1409 New Mexico St.
                     Boulder City, NV 89005



                     Bowen, Richard
                     930 Barbara Ann Lane
                     Ellisville, MO 63021



                     Bowen, Sonja
                     2352 Gallard St.
                     Lawrenceville, GA 30043



                     Bowers, Brian
                     85 shelly lane
                     Sharpsburg, GA 30377



                     Bowers, Josh
                     3657 Stryker Ave
                     Tacoma, WA 98433



                     Bowker, Andrew
                     3rd Aabn B.company buliding 210632
                     Camp Pendalton, CA 92055



                     Bowman, Karly
                     2926 Greenhill Crt.
                     Ijamsville, MD 21754



                     Boyce, Nelson
                     23 Hunt Path
                     New Rochelle, NY 10804



                     Boyer, Karey
                     2448 Arbor Drive
                     Round Rock, TX 78681
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 679 of 924


                     Boylan, Pete
                     185 Oakland Ave Suite 150
                     Birmingham, MI 48009



                     Boyle, Kenana
                     918 Clayres Court
                     Nashville, TN 37211



                     Boz, Vivian
                     7402 43rd Ave
                     Elmhearst, NY 11373



                     Braa, Michael
                     4033 Northview Terrace
                     Eagan, MN 55123



                     Bradley, Daniel
                     5022 S. 193rd ave
                     Sand Springs, OK 74063



                     Bradley, Thomas A.
                     498 Old Oran Rd.
                     Perrin, TX 76486



                     Brady, James
                     265 Elverton
                     Staton Island, NY 10308



                     Brand, Cynthia
                     9800 carmel valley dr.
                     frisco, TX 75035



                     brandell, anthony
                     2780 South Jones blvd
                     las vegas, NV 89146
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 680 of 924


                     Brann, Christopher
                     933 West Vanburen 605
                     Chicago, IL 60607



                     Branum, Terri
                     1410 Hillcrest dr.
                     Canyon, TX 79015



                     Brauer, Brandon
                     18 Cameo Drive
                     Richboro, PA 18954



                     Bravo, Manuel A
                     4132 Casey Trail
                     Norcross, GA 30093



                     Brazel, John
                     7806 5th ave NE
                     Seattle, WA 98115



                     Breard, Dominica
                     1450 Lincoln rd. apt. 608
                     Miami beach, FL 33139



                     Breeze Balloons LLC
                     3634 Long Prairie Road
                     Suite 108-216
                     Flower Mound, TX 75022



                     Brei, Brenda
                     3646 Medina Rd
                     Medina, OH 44256



                     Breitweiser, elaine
                     13316 WEST CENTER DR
                     LAKEWOOD, CO 80228
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 681 of 924


                     Brenner, Howard
                     524 West 57th street
                     New york, NY 10019



                     Brett, Levi
                     835-6th st.
                     Clarkston, WA 99403



                     Brett, Patricia L.
                     590 Miramar Drive
                     Half Moon Bay, CA 94019



                     Bretthauer, Daniela
                     Rua Itapaiuna 1800 apt 51d
                     Sao Paulo 00570-7000



                     Brickner, Chris
                     45211 deepwood ct
                     shelby township, MI 48317



                     Briggs, Aaron
                     1650 west roscoe street apt. 308
                     chicago, IL 60657



                     Brignac, Schquay
                     12666 Herron
                     Sylmar, CA 91342



                     Brillantes, Augusto M
                     1232 Bell Tour Artch
                     Chesepeke, VA 23324



                     Brinberg, Gary N.
                     7108 Ventnor Gardens Plaza
                     Ventnor, NJ 08406
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 682 of 924


                     Brindisi, Lauren
                     322 Quail Street
                     Albany, NY 12208



                     Brinkley, Jeffrey
                     6523 Drylog st
                     Capitol Heights, MD 20743



                     Brinser, Angela J.
                     310 Twelve Oaks Dr
                     Warner Robbins, GA 31088



                     Brison, Jody
                     1006 South Liberty Ave
                     Independance, MO 64050



                     Bristow, Grant
                     555 E. 5th St. Apt 2822
                     Austin, TX 78701



                     Bristow, Martin
                     910 2nd St.
                     Manhatten Beach, CA 90266



                     Britton, John
                     500 Cedar Knoll Court
                     Roswell, GA 30076



                     Brlit, Frances
                     3100 W Rolling hills cir apt609
                     Davie, FL 33328



                     Brock, Martin
                     260 Bay St Apt 210
                     San Francisco, CA 94133
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 683 of 924


                     Brody, Daniel
                     253 W 91st Apt 2A
                     New York, NY 10024



                     Bronez, Michael
                     265 south liberty
                     harrisonburg, VA 22801



                     Bronner, Liliana
                     2806 Crawfrod St
                     Belleview, NE 68005



                     Brooks, Angela
                     6123 Auth Rd.
                     Suitland, MD 20746



                     Brooks, Jonathan M
                     6205 Farrington Road #L9
                     Chapel Hill, NC 27517



                     Brooks, Kristopher W
                     105 S. Boggs St
                     Virginia Beach, VA 23452



                     Brothers, Jonathan
                     1627 reflection st
                     san marcos, CA 92078



                     Brotzman, Sara
                     2854 Woodmont drive
                     York, PA 17404



                     Brouhard, Jennifer
                     8300 signal avenue ne
                     albuquerque, NM 87122
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 684 of 924


                     Brown, Alyssia
                     639 Linden Ave
                     Long Beach, CA 90802



                     Brown, Andrea 1
                     2630 Old Columbus Rd.
                     London, OH 43140



                     Brown, Angela G.
                     2521 104 Dr SE
                     Lake Steveson, WA 98258



                     Brown, Don R
                     1100 Louisiana Street
                     Houston, TX 77002



                     Brown, Douglas
                     15402 White Chapel Ct
                     Centreville, VA 20120



                     Brown, John 1
                     7200 US Hwy 158
                     Jackson, NC 27845



                     Brown, Josh 2
                     323 Chelsie Ln
                     Poultney, VT 05764



                     Brown, Kellie G
                     53 East Water St
                     Smithsburg, MD 21783



                     Brown, Kurtis
                     1902 13th st
                     Viola, IL 61486
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 685 of 924


                     Brown, Laquandra
                     1445 S. Sherwood Drive
                     Charleston, SC 29407



                     Brown, Linda A
                     9500 tonkin drive
                     orange vale, CA 95662



                     Brown, Lindsey H.
                     717 Monroe Ave
                     Glensdale, PA 10198



                     brown, lisa 2
                     385 crimson dr
                     idaho falls, ID 83401



                     Brown, Markeisha
                     22 South Congress St
                     Summerville, GA 60747



                     Brown, Marshall
                     3040 Post Oak Blvd suite 1020
                     Houston, TX 77056



                     Brown, Matthew S
                     7370 NW 51st Street
                     Lauderhill, FL 33319



                     Brown, Melissa D.
                     9577 High Cliffe St
                     Hghlands Ranch, CO 80129



                     Brown, Mr. Michael
                     65 Clarkenwell RD
                     London, UK, ec1r5bl
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 686 of 924


                     Brown, Patrick 2
                     7700 N 71st ave
                     Glendale, AZ 85303



                     Brown, Shanda
                     80 Pittston Circle
                     Owens Mills, MD 21117



                     Brown, Sharon R
                     605 chesnut walk pl.
                     grayson, GA 30017



                     Brown, Sheila T
                     205 Weatherstone Point Drive
                     Woodstock, GA 30188



                     Brown, Tia
                     1218 Ling Way
                     Austell, GA 30168



                     Brown, Tyler
                     6237 Serene Court
                     Chino, CA 91710



                     Brown-Morris, Donica
                     3505 Mountain Dr
                     Virginia Beach, VA 23453



                     Brownell, Christopher A
                     5 grant ave
                     rensselaer, NY 12144



                     Bruce, Lauren
                     po box 465
                     parishville, NY 13672
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 687 of 924


                     Brudno, Michael
                     30 shalva Herzliya
                     Isreal 46705



                     Bruning, Carla
                     711 W Almay Ave
                     Flandranu, SD 57028



                     Bryan, Rod
                     183 Old Damascus Rd
                     Colquitt, GA 39837



                     Bryant, Stacey
                     102 Hart St.
                     Statesboro, GA 30458



                     Bryja, Tanya
                     6485 Ellington Ln
                     Beaumont, TX 77706



                     Bsouza, Sharon
                     5202 Texana Drive
                     San Antonio, TX 78249



                     Buck, Nicholas
                     706 North Wayne Street Apt 102
                     Arlington, VA 22201



                     Buck, Sarah
                     1518 Sequoia Trail
                     Alabaster, AL 35007



                     Buckley, Sharon
                     6658 4th ave. N
                     St. Petersburg, FL 33710
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 688 of 924


                     Buckowing, Matthew
                     735 Rodeo St
                     Oceanside, CA 92058



                     Buffum, Karin
                     4140 65th st
                     holland, MI 49423



                     Bui, Hanh
                     1779 S. Charlemont Ave.
                     Hacienda Heights, CA 91745



                     Bui, Kim
                     po box 3012
                     Union city, CA 94587



                     Bullicer, Maryann
                     4539 Presidio Drive
                     Los Angeles, CA 90008



                     Bulthuis, Kerri
                     100 East 14th Street
                     Chicago, IL 60605



                     bumgardner, angela
                     982 villagebrook drive
                     henderson, KY 42420



                     Bumgarner, Amy
                     1921 Blue Mountain Rd
                     Longmont, CO 80504



                     bumting, rosemary
                     603 n river ave
                     glendive, MT 59330
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 689 of 924


                     Bundy, Dean
                     10550 S. Kelland Ct.
                     Oregon City, OR 97045



                     Bunker, Lisa 1
                     219 Oakley Place
                     Grand Rapids, MI 49503



                     Bunker, Paul
                     PO Box 690
                     Southern Pines, NC 28388



                     Bunker, Paul C.
                     PO Box 690
                     Southern Pines, NC 28388



                     Burdak, Sara
                     8187 Trillium Ln
                     Victoria, MN 55386



                     Burgan, Gary
                     233 Treherne Rd.
                     Timonium, MD 21093



                     Burkart, Sarah
                     7165 Shoe Rd
                     Burlington, NC 27215



                     Burke, JoAnn
                     4971 St. Josephs Road
                     Coopersburg, PA 18036



                     Burkes, Nigel
                     1452 Temple St
                     Clearwater, FL 33756
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 690 of 924


                     Burkhardt, Sandra
                     4715 S Street
                     Lincoln, NE 68506



                     Burkstein, Sivan
                     26 devra lane
                     Framington, MA 01701



                     Burnell, Neil
                     14817 darby dale
                     woodbridge, VA 22193



                     Burnett, Kevin
                     15 Donna Drive
                     Sheridan, AR 72150



                     Burns, J.Warren
                     3707 Carlyle Court
                     Fredericksburg, VA 22408



                     Burrington, Chad
                     2603 South 374th Place
                     Federal Way, WA 98003



                     busscher, ryan
                     5884 84th ave
                     zeeland, MI 49464



                     Bussell, Scott
                     116 Canal St.
                     Lebanon, OH 45036



                     Busselman, Kelly
                     109 Christopher Circle
                     Jonathan, NE 68832
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 691 of 924


                     Butler, Jason
                     314 Foltz Lane
                     Muskogee, OK 74403



                     Butris, Batoul
                     199 Partidrige Drive
                     Troy, MI 48098



                     Butts, Rob
                     229 Buffalo Dr
                     Indianapolis, IN 46217



                     Byassee, Amy
                     3512 Maxon Road
                     Paducah, KY 42001



                     Cabrera, Lisa Maria
                     255 W. 10th street #4RS
                     New York, NY 10014



                     Cacho, Sebastian
                     10017 Jessica Street
                     Keller, TX 76244



                     Cahill, Caroline
                     232 Front Street Aprt. 3A
                     New York, NY 10038



                     Caine, Laurel L.
                     217 Bryce Ave.
                     San Francisco, CA 94080



                     Calamia, Steven
                     7042 Blackridge
                     El Paso, TX 79912
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 692 of 924


                     Calarco, Kristen A.
                     622 Vista Grande Dr
                     Colorado Springs, CO 80906



                     calderin, Luis
                     22 lincon street
                     new britain, CT 06052



                     California Dreamin'
                     33133 Vista Del Monte Rd.
                     Temecula, CA 92591



                     Callinan, Ryan
                     6300 Milgen Road Aprt. 1442
                     Columbus, GA 31907



                     Calvery Road Baptist Church
                     6811 Beulah St
                     Alexzandria, VA 22310



                     Camarena, Rachelle
                     3301 Lone Hill Lane
                     Encinitas, CA 92024



                     Camargo, Francisco
                     1324 West 6th St
                     Belvedere, IL 61008



                     Cameron, Joseph
                     2501 Pinetree Lane
                     Columbia, MO 65203



                     Camilleri, Derek
                     1201 38th St. #6
                     Rapid City, SD 57702
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 693 of 924


                     Campbell, Kevin 1
                     4611 West 72nd Street
                     Prairie Village, KS 66208



                     Campbell, Pamela
                     2509 N 15th St
                     Adel, IA 50003



                     Campbell, Richard
                     2836 Beachnut Rd
                     Charlotte, NC 28208



                     Campbell, Taylor
                     6763 desert storm ave
                     Fort Campbell, KY 42223



                     Canady, Tiffanee 1
                     1918 Fieldstone Way
                     Fredrick, MD 21702



                     Candalaria, Nathan
                     27 Valentine Rd
                     Warminster, PA 18974



                     Candies, Nelda M
                     158 Boras Lane
                     DesAllemands, LA 70030



                     Canfield, David J.
                     1122 Oakwood Dr
                     DeWitt, MI 48820



                     Canhos, Tara
                     1815 N Surf Road Apt 704
                     Hollywood, FL 33019
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 694 of 924


                     Cannata, Joanne
                     1900 burlington cir
                     columbia, TN 38401



                     Cannon, Stephen
                     210 East Continental Blvd
                     South Lake, TX 76092



                     Canter, Lenny
                     19A east cir dr
                     Key west, FL 33040



                     Cantey, Jocelyn
                     432 S 47th St.
                     Philadelphia, PA 19143



                     Canton Air Sports
                     14008 Union Ave. NE
                     Alliance, OH 44601



                     Cantwell, Valerie
                     24006 Canvasback Circle
                     Leguna Negel, CA 92677



                     Capital City Skydiving MI
                     Charleviox State Bank
                     111 State Street
                     Charlevoix, MI 49720



                     CARBAUGH, JR, HARRY
                     1616 Howell Road
                     Hagerstown, MD 21740



                     Cardenas, Nereida
                     606 San Antonio street Apartment 9
                     Mission, TX 78572
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 695 of 924


                     Cardona, Mildred
                     530 Audubon Ave Apt 26
                     New York, NY 10040



                     Carey, Catherine
                     323 East 43rd Street
                     New York, NY 10036



                     Carignan, Jake
                     4468 Lewis Tempest Way
                     Meridian, ID 83646



                     Carillo, Maria T
                     19010 Bryant Street Apt 2
                     Northridge, CA 91324



                     Carlone, Joseph
                     P.O BOX 238
                     WOODSTOCK, CT 06281



                     Carlson, Kevin
                     144 Blue Pine dr
                     Springlake, NC 28390



                     Carlson, Sarah
                     5007 Cottage Glen CT
                     Kingwood, TX 77345



                     Carlson, Stanley
                     15579 Liberty Road
                     Lapine, OR 97739



                     Carlton, Cole
                     4457 Debracy PL
                     Tucker, GA 30084
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 696 of 924


                     Carlyle, Roy H
                     PO Box 841
                     Warrensburg, MO 64093



                     Carmichael, Kelly
                     8081 E. Springview Ct
                     Anaheim Hills, CA 92808



                     Carr, Ron
                     1235 West St.
                     Spartanburg, SC 29301



                     carrillo, robert
                     1020 grand concourse blvd apt 17f
                     bronx, NY 10451



                     Carrington, Tiffany L.
                     2806 Southcrest Dr
                     Arlington, TX 76016



                     Carstens, Larry
                     3305 N Illinois Route 23
                     Ottowa, IL 61350



                     Carswell, Jeffrey
                     9526 Greenel Rd
                     Damascus, MD 20872



                     Carter, Allison
                     70 Indigo Point Drive
                     Charleston, SC 29407



                     Carter, Lawrence
                     19861 Futura Dr
                     Yorba Linda, CA 92886
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 697 of 924


                     Carter, Nicholas
                     6325 Faulkner DR
                     Jacksonville, FL 32244



                     Carwell, John
                     301 Spring Mist Ct
                     Lexington, SC 29072



                     Cascone, Vincent M.
                     1700 S Ann Ct
                     Independance, MO 64057



                     Casey, Gia
                     37 powderhorn drive
                     kinnelon, NJ 07405



                     Cash, Whitney
                     657 Ward St.
                     Eastman, GA 31023



                     Cassibry, Tomi
                     1723 State Street
                     Biloxi, MS 39531



                     Castaneda, Joe
                     13443 Mulberry Dr., Apt. 5
                     Whittier, CA 90605



                     Castaneda, Jose
                     3148
                     El paso, TX 79938



                     Castillo, Erich
                     967 Singing Hills Drive
                     Round Lake, IL 60073
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 698 of 924


                     Castillo, Miguel C.
                     937 B. Kingsbury Rd.
                     Clarksville, TN 37043



                     Castillo, Otto
                     8290 Lake Dr apt 235
                     Miami, FL 33166



                     Castillo, Pearl
                     44045 15 th street west
                     Lancaster, CA 93534



                     Castillr, Carlos
                     2005 Champions Pkwy
                     Lawrenceville, GA 30044



                     Catelli, Declan A
                     183 W Anderson Rd
                     Sequim, WA 98382



                     Cation, Monica
                     109 Las Lomas Dr
                     Austin, TX 78746



                     Catskill Mountain Balloon
                     Michael Ranievi
                     PO Box 446
                     Oneonta, NY 13820



                     Cegielski, Scott
                     12214 Ferncrest CT
                     Houston, TX 77070



                     Cen, Jeny
                     14816 56ST RD
                     Flushing, NY 11355
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 699 of 924


                     Cenci, Max
                     2110 Grand Ave
                     West Des Moines, IA 50265



                     Cerne, Melanie
                     5210 Pine Needle Ct.
                     Durham, NC 27705



                     Cervantes, Sammy
                     423 S. College St
                     Waxahachie, TX 75165



                     Chachondia, Shwetal
                     1504 flintwood dr
                     Richardson, TX 75081



                     Chaggar, Inderpreet
                     3582 Crawdad Ct
                     Union City, CA 94587



                     Chambers, Kayla
                     46 Orpah Drive
                     Elkton, MD 21921



                     Champagne, Robert G
                     18635 Hosmer Mill Rd
                     Covington, LA 70435



                     Chan, Elizabeth
                     355 South End Ave Apt 29K
                     New York, NY 10280



                     Chan, Ivy-Lai Yi
                     25 Boerum St Apt 12k
                     Brooklyn, NY 11206
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 700 of 924


                     Chan, Jenkins
                     1501 Calais Drive
                     Miami Beach, FL 33141



                     Chan, Jonathan
                     14453 SW 96 Terr
                     Miami, FL 33186



                     Chandlee, Thomas
                     5521 Pleasent View Road
                     Red Lion, PA 17356



                     Chandra, Mala
                     4144 244th Ave. NE
                     Redmond, WA 98053



                     Chandra, Rahul
                     441 North Pas Ave Apt 90
                     Burbank, CA 91505



                     Chaney, Justin
                     43355 Hay Road
                     Ashburn, VA 20147



                     Chang, Barbara
                     18 S Rd.
                     Port Washington, NY 11050



                     Chang, David C
                     984 Old Abbott Mountain Rd
                     Prestonsburg, KY 41653



                     Chantasi, Kenny
                     42 Dillingham Place
                     Englewood Cliffs, NJ 07632
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 701 of 924


                     Chao, Chiahsien
                     PO BOX 3042
                     USAFA, CO 80841



                     chaparro, Daniel
                     5214 75th St.
                     Lubbock, TX 09424



                     Chapman, Anthony
                     10 Rock Haven
                     Emangeni 03880



                     Chappuis, Rick
                     7743 Brookgrove ct.
                     Atlanta, GA 30339



                     Charania, Shams
                     3084 River Brook Trail
                     Atlanta, GA 30339



                     Charantharayil, Rohit
                     280 Marin Blvd Apt 5H
                     Jersey City, NJ 07302



                     Charlotte County Public Schools
                     Marcia Louden
                     Pt. Charlotte, FL 33945



                     Chase, Derek
                     1233 Winston Ave
                     Baltimore, MD 21239



                     Chatham, Jessica
                     357 Country Club Cir.
                     Minden, LA 71055
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 702 of 924


                     Chattanooga Skydiving Company
                     d/b/a Chattanooga Skydiving Company
                     10 Abelia Lane
                     Chattanooga, TN 37415



                     Chatur, Siddhant
                     8581 Sturbridge Dr
                     Cincinatti, OH 45236



                     Chau, Alex
                     3789 clayston cove
                     New haven, IN 46774



                     Chavez, Michael A
                     11457 Genova Rd
                     Rancho Cucamonga, CA 91701



                     Chehal-Camp, Sirat
                     279 Rugged Earth Dr
                     Austin, TX 78737



                     Chekka, Sesha
                     11117 S. Racine Ave Apt 3 F
                     Chicago, IL 60607



                     Chelkowski, Anne
                     1836 Greenpoint Ave.
                     Schenetady, NY 12303



                     Chen, HAIWAH ANGELA
                     44 HILL ST, APT 1H
                     MORRISTOWN, NJ 07960



                     Chen, Kanchen
                     103 north College
                     Muncie, IN 47303
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 703 of 924


                     Chen, Lin
                     3650 Chestnut Street
                     Philadelphia, PA 19104



                     Chen, Ying
                     131 Eldridge St Apt 4B
                     New York, NY 10002



                     Chenkin, Amanda
                     118 9th St. NE
                     Washington, DC 20002



                     Chenna, Ravi
                     1328 Hidden Rdg Apt. 1129
                     Irving, TX 75038



                     Chernick, John
                     8 Rocky Ledge Road
                     Marimax, NH 03054



                     Chertavian, Gerald C.
                     95 Irving St
                     Cambridge, MA 02138



                     Chesley, Kurtis
                     4011 Silver Beach Road
                     Ballston Spa, NY 12020



                     Chester, Katrina
                     1131 12th St. Apt 103
                     Santa Monica, CA 90403



                     Chester, Margie
                     3110 Thousand Oaks, Apt. 1227
                     San Antonio, TX 78247
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 704 of 924


                     Cheung, Charis
                     349 Pointe Dr.
                     Brea, CA 92821



                     Child, Carolyn
                     5080 W 4400 S
                     westhaven, UT 84401



                     Chimento, Megan I
                     288 East Main Street #10
                     Branford, CT 06405



                     Chisholm, Sherri
                     2202 abby Lane
                     Atlanta, GA 30345



                     Cho, Nino
                     24780 Stone Pillar Drive
                     Aldie, VA 00020-1205



                     Choi, Peter
                     444 Lucas Avenue, Apt. 18
                     Los Angeles, CA 90017



                     Choudhry, Nashwa
                     1 Richmond St Apt 3067
                     New Brunswick, NJ 08901



                     Christian, Steve
                     13723 Chenault Lane
                     College Station, TX 77845



                     Christine, DeeAnne
                     421 Enclave Circle Apt 306
                     Costa Mesa, CA 92626
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 705 of 924


                     Chrzanowski, Laurie
                     221 Parade St
                     Erie, PA 16507



                     Chu, Chia-Yueh
                     257 Rollins Anve
                     Rockville, MD 20852



                     Church, Michael F
                     2888 Britt drive
                     argyle, TX 76226



                     Church, Pathways
                     311 W Evergreen DR
                     Appleton, WI 54913



                     chylak, matt
                     20 south 39th street apt s 3
                     philadelphia, PA 19014



                     ciabattoni, Dornino M
                     2303 A south 12th street
                     st louis, MO 63104



                     Ciccarella, Richard
                     5239 Eisenhauer Road Aprt. 2022
                     San Antonio, TX 78218



                     Cilurzo, Sheila
                     132 Sontab Drive
                     Franklin, TN 30764



                     Cinzano, Michael
                     2925 Beiber Wood Lane
                     Silver Springs, MD 20906
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 706 of 924


                     Cioffi, Gary
                     25 Bloomingdale rd
                     hicksville, NY 11801



                     Cismeros, Ricardo
                     3405 tea rose place
                     el paso, TX 79936



                     Claar, Jennifer B
                     15414 Raystown Rd
                     Jemes Creek, PA 76657



                     Clark, Brian Austin
                     5126 Meadows Del Mar
                     San Diego, CA 92130



                     Clark, Christopher 2
                     P.O. Box 2071
                     Robbinsville, NC 28771



                     clark, clint
                     77 rockys place
                     kingland, GA 31548



                     Clark, Gary 1
                     706 Defiance St.
                     Wapakoneta, OH 45895



                     Clark, Heather 1
                     3141 Amherst
                     Dallas, TX 75225



                     Clark, Jennie
                     1030 Windarce Tr
                     Sanford, NC 27332
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 707 of 924


                     Clark, Jennie 1
                     4516 SE Milwakie Ave
                     Portland, OR 97202



                     Clark, John 2
                     1116 S. Patterson Dr
                     Moore, OK 73160



                     Clark, Marsha
                     4588 Fig St.
                     Golden, CO 80403



                     Clark, Robert G.
                     2199 Innerbelt Business Center Drive
                     St. Louis, MO 63114



                     Clarke, Anna
                     901 Langley Rd
                     Glen Burnie, MD 21060



                     Clarkson, Zayna
                     11 Bald Eagle Dr
                     Paron, AR 72122



                     Classen, Kristin E
                     1306 N King
                     Liberal, KS 67901



                     Claton, Sean T
                     168 Long Branch Dr
                     Henrietta, NY 14467



                     clayton, kimberly k
                     106 north greenway street
                     henrietta, TX 76365
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 708 of 924


                     Cleary, William
                     1340 Stroud Ct
                     New Port Richey, FL 34655



                     Clement, Daniel
                     4515 Phurston Lane
                     Fitzburg, WI 53711



                     Clemente, Mark A
                     8520 Charleston Ridge Dr
                     Mason, OH 45040



                     Clerico, Ryan
                     2825 E Cottonwood Pkwy Ste 505
                     Salt Lake City, UT 84121



                     Cleveland Soaring Society, Inc
                     814 S Prospect Rd
                     Hartsville, OH 44632



                     Clevenger, Cliff
                     po ox
                     Ranchester, WY 82839



                     Clevenger, Jonathan
                     1201 s joyce st
                     arlington, VA 22202



                     Clevenger, Madeline
                     2317 Deaudion St
                     Marquette, MI 49855



                     Clifford, Michael
                     12364 Harvey Rd
                     Clear Spring, MD 21722
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 709 of 924


                     cline, amy
                     po box 111
                     zullinger, PA 17272



                     Cloud 9 Adventures
                     14155 Hwy 73, # 9
                     Prairieville, LA 70769



                     Cloud Chasers
                     3755 Heritage Crest Parkway
                     Buford, GA 30519



                     Clouse, Katherine
                     5537 Mesa Ridge Ln. Apt. F
                     Columbus, OH 43231



                     Co, Alistair
                     7417 Heatherwood Dr Apt 1A
                     Grand Blanc, MO 48439



                     Coates, Karen
                     217 Hickory Ridge Ct
                     Argyle, TX 76226



                     Coates, Scott
                     13311 Woodmar Place
                     Cedar Lake, IN 46303



                     Cobds, Roosevelt
                     8003 S Colfax Ave
                     Chicago, IL 60617



                     Cochran, Christopher 1
                     6 Canal St
                     Chickasaw, AL 36611
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 710 of 924


                     Cochran, Wayne
                     554 Congress Hill Rd.
                     Franklin, PA 16323



                     Coe, Kati
                     140 Co. Rd 216
                     Sweetwater, TX 79556



                     Coetzee, Gerhard
                     2083 SW Panther Trace
                     Sturat, FL 34997



                     Cogan, Ali
                     1946 Greymont Street
                     Philidelphia, PA 19116



                     Cogburn, John
                     3200 lenox rd
                     atlanta, GA 30324



                     Cogent Communications - HB
                     P.O. Box 791087
                     Baltimore, MD 21279-1087



                     Cohn, Adam
                     434 Grand Ave
                     Lake Zurich, IL 60047



                     Colburn, Mary E
                     4907 Indian wood road unit 106
                     Culver city, CA 90230



                     Cole, Gary C
                     115 Pinewood Rd
                     Virginia Beach, VA 23451
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 711 of 924


                     Cole, Neil
                     1450 Broadway 3rd Fl
                     New York, NY 10018



                     Cole, Ronald
                     1896 Surrey Trail
                     Conyers, GA 30013



                     Colell Brandan, Guillermo
                     251 Crandon Bulvd Aprt. 105
                     Key Biscayne, FL 33149



                     Collins, Frank
                     483 Granger Drive
                     Bear, DE 19701



                     Collins, Patrick 2
                     624 B Fleming Street
                     Key West, FL 33040



                     Collins, Susan G
                     186 Wilson Way
                     South Elgin, IL 60177



                     Collins, Wesley
                     352 Conventry Rd.
                     Virginia Beach, VA 23462



                     Comcast 0760693
                     PO Box 530098
                     Atlanta, GA 30353-0098



                     Commerce Company One
                     P.O. Box 757
                     Commerce, GA 30529
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 712 of 924


                     Compton, Christel
                     8125 Keeler St
                     Alexandria, VA 22309



                     comtois, ray
                     2940 falcon street
                     washoe valley, NV 89704



                     Conaway, Sarena
                     8822 Indigo Lane
                     Ypsilanti, MI 48197



                     Conboy, Michael
                     4 Ward Ave
                     South Deerfield, MA 01373



                     Conkright, Robert K
                     11909 Arabian Trail
                     Austin, TX 78759



                     Conlon, Josh
                     2577 North Stowell Ave. aptB
                     Milwaukee, WI 53211



                     Connery, Mimi
                     336 Canal Street 2W
                     New York, NY 10013



                     Connolly, Lonna
                     PO BOx 726
                     Heber, AZ 85928



                     Connor, Martin
                     13474 Robleda Road
                     Los Altos Hills, CA 94022
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 713 of 924


                     connor, martin 1
                     112 cumberland place
                     bryn mart, PA 19010



                     Conover, Dawn
                     403 Jackson Ave
                     Dunellen, NJ 08812



                     Conoway, Gary
                     2900 E Lincoln Ave unit 246
                     Anaheim, CA 92806



                     Conrad, Gunnar
                     P.O. Box 2606
                     Durango, CO 81302



                     Contenco, Dean
                     620 Busch Garden Lane
                     Pasadena, CA 91105



                     Contreras, Lucy
                     927 valley view circle
                     Red oak, TX 75154



                     Cook, Jeffrey
                     1200 C Buena Vista St.
                     Pittsburgh, PA 15212



                     Cook, Jeffrey T.
                     3249 Randall Street
                     Jacksonville, FL 32205



                     Cook, Kassidy
                     3615 N. Union ave
                     Shawnee, OK 74804
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 714 of 924


                     Cook, Kelli R
                     224 40th Ave NE
                     Great Falls, MT 59404



                     Cook, Michael 1
                     8001 Winding stream drive
                     Denton, TX 76210



                     cool, peter matthew
                     1156 east maide marian
                     willamston, MI 48895



                     Cooper, Brea
                     1018 Woodcrest Walk
                     Lithonia, GA 30058



                     Cooper, Danielle
                     181 Autumn Wind Ct
                     Warrenton, VA 20186



                     Cooper, Jill
                     506 Leef St. Apt D
                     Mt. Gilead, OH 43338



                     cooper, jody
                     206 galaxy
                     lafayette, LA 70506



                     Copacino, Allyson L
                     722 NE Shaver St
                     Portland, OR 97212



                     copland, wallace h
                     1574 penniman road
                     williamsburg, VA 23185
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 715 of 924


                     Coppinger, Jon
                     5424 Cassandra Smith
                     Hixson, TN 37343



                     Coppolino, Joseph
                     11 Rosewood Dr.
                     Saco, ME 04072



                     Cordes, Arron
                     293 Hudson Ave No.1
                     Albany, NY 12210



                     Cordova, Ron
                     2695 Pine Run Road
                     Las Vegas, NV 89135



                     Corley, Deannie
                     55 Sharp Dr
                     Carrolton, GA 30117



                     Corman, Roger
                     3007 north beaverly glen circle
                     los angeles, CA 90077



                     Corona Diago, Carmen N.
                     5531 E 81st st
                     Indianapolis, IN 46250



                     Corrigan, Randy
                     5569 Caminito Mundano
                     San Diego, CA 92130



                     Cortez, Pedro
                     2239 Cromwell Cir Apt 1111
                     Austin, TX 78741
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 716 of 924


                     Cortinas, Jose
                     365 CR 672 West
                     Natalia, TX 78059



                     Costell, Jeffrey l
                     5575 bill cody road
                     Hidden hills, CA 91302



                     Costilow, Chrystal
                     153 New Hope Road
                     Winona, MS 38967



                     Cotnoir, Preston
                     14640 Timber Point
                     Milton, GA 30004



                     Cotter, Daniel
                     202 Park Terrace Court Apt 20
                     Vienna, VA 22180



                     Cotterman, Kathleen
                     1320 Buena Vista Blvd
                     Panama City, FL 32401



                     Cottrell, Brandon
                     9482 west stargazer dr.
                     penelton, IN 46064



                     Coulibaly, Charles
                     3901 Parkview Lane
                     Irvine, CA 92612



                     Cousin, Jaime
                     348 Roedling St #17
                     Brooklyn, NY 11211
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 717 of 924


                     Coveney, Patrick
                     18218 North 52nd St.
                     Scottsdale, AZ 85254



                     Covert, Travis
                     6910 Cansfield
                     Katy, TX 77494



                     Cowart, Sean
                     2470 East Sierra Avenue
                     Fresno, CA 93710



                     Cox, Christopher
                     405 West Viola Ave
                     Yakima, WA 98902



                     Cox, Daniel 1
                     55 pharr rd apt #f 201
                     atlanta, GA 30305



                     Cox, Dennis
                     7453 Telegraph Rd
                     Temperance, MI 48182



                     Cox, Diane
                     13631 Brandy Oaks rd
                     Chesterfield, VA 23832



                     Cox, Jason
                     679 Dillon Dr
                     Spring Creek, NV 89815



                     Cozad, Deven
                     10310 Short Lane SW
                     Lakewood, WA 98490
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 718 of 924


                     Crabtree, Barry
                     700 Martins Lane
                     Evansville, IN 47715



                     Craig, Chase
                     3025 Hydrus Dr
                     Orlando, FL 32828



                     Cram, Susan
                     2032 Main Street
                     Warheese, NJ 08043



                     Cranford, Derek C
                     7008 Andalucia Ln
                     Killeen, TX 76542



                     Craven, Daniel
                     2301 S. Mopach Apt 1033
                     Austin, TX 78746



                     Crawford, Greg
                     3557 Glenn Hwy
                     Cambridge, OH 43725



                     Crawford, Josiah
                     5406 1/2 Lemon Grove Ave.
                     Los Angeles, CA 90038



                     Crawford, Traci
                     423 Silver Creek dr
                     Duncanville, TX 75137



                     Crawley, Brian
                     885 stonechase
                     lake mary, FL 32746
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 719 of 924


                     Crisanti, Matthew 1
                     6256 Winterfred drive
                     Fort Worth, TX 76133



                     Cristelli, Shane
                     230 N Broadway
                     Ada, OK 74820



                     Crocco, Kim
                     2693 South Bamby Lane
                     Atlanta, GA 30319



                     Croft, Michelle
                     900 SE Centerpointe Dr p106
                     Corvallis, OR 97333



                     Crone, Andrew
                     1671 8th street drive nw
                     hickory, NC 28601



                     Crook, Jesse
                     5620 S. Colony Apt 1105
                     The Colony, TX 75035



                     Crook, Joy
                     186 Oonoga Way
                     Loudon, TN 37774



                     Crooks, Julian
                     840 Del Mont Dr.
                     Winwood, PA 19096



                     Cropper, Jessica
                     4325 Ocean drive
                     Corpus, TX 78412
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 720 of 924


                     Crosby, Thomas
                     7753 High Village Dr
                     Houston, TN 77095



                     Cross, Joshua
                     1409 whispering cove trl
                     fort worth, TX 76134



                     Crouse, Josh
                     10 Kingsbury Way
                     Hampton, VA 23666



                     Crow, Lynn
                     1900 E. Ocean Blvd Apt 1517
                     Long Beach, CA 90802



                     Crow, Phillip
                     2651 South Polaris Dr
                     Fort Worth, TX 76137



                     Crowder, Walt
                     2006 San Miguel Dr.
                     Friendswood, TX 77546



                     Crowe , Justin W
                     600 Willow Oak Drive
                     Dardanelle, AR 72834



                     Crozier, Jonathan
                     PO Box 721
                     San Clemente, CA 92674



                     Crum, Kyle J
                     4807 somerset rd
                     riverdale, MD 20737
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 721 of 924


                     Cruz, Francisco
                     8405 North Hines Ave.
                     Tampa, FL 33614



                     Cuellar, Miguel
                     406 1/2 North Alisos Street
                     Santa Barbara, CA 93013



                     Culbreath, Corey
                     113 W Monument st
                     Baltimore, MD 21201



                     Culhane, Daniell
                     1541 upingham Drive
                     Thousand Oaks, CA 91360



                     Cumbo, Christopher
                     417 Texas Ave
                     Hewitt, TX 76643



                     Cummings, John 1
                     10 perimeter summit 4108
                     atlanta, GA 30319



                     Curbelo, Kimberly
                     2045 Holland Ave.
                     Bronx, NY 10462



                     Curby, Sarah
                     1721 North Hoyne Ave
                     Chicago, IL 60647



                     Currence, Eric
                     824 Oak Arbor Court
                     Clarksville, TN 37040
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 722 of 924


                     Curry, Jarius
                     203 Lincoln St. Apt. a
                     Jackson, TN 38301



                     Curry, Thomas
                     28676 East 138th St South
                     Coweta, OK 74429



                     Curtis, Angela
                     203 Dickenson Ct
                     Pemberton, NJ 08068



                     Cusack, Liam
                     1 Gate Court
                     Billington Township, NJ 08016



                     Cutshaw, Kenneth
                     980 Hammond Dr. Suit 1100
                     Atlanta, GA 30328



                     cvetkov, radoslav r
                     305 West willow road
                     prospect heights, IL 60070



                     D&R Balloons
                     5025 Allen Lane
                     North Las Vegas, NV 89031



                     Dace, Joshua
                     19622 Cypress Drive
                     Morrison, CO 80465



                     Dacus, Callie
                     102 Tonkawa trail
                     buffalo gap, TX 79508
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 723 of 924


                     Dadeo, Richard
                     1020 Lake Sumter Landing
                     The Villages, FL 32162



                     Dalrymple, Robert
                     9000 W Sunset Blvd
                     W. Hollywood, CA 90069



                     Damato, Gary
                     510 Tysens Ln.
                     Staton Island, NY 10306



                     Damn Yankee Balloons
                     241 Weld Street
                     Dixfield, ME 04224



                     Damon, Heidi
                     2021 N Lemans Blvd.#7207
                     Tampa, FL 33607



                     Damti, Clara
                     3600 Amla Rd Apt 4514
                     Richardson, TX 75080



                     Dancer, Sheilah
                     16207 South 26th St
                     Phoenix, AZ 85408



                     Dancing On Air Balloons
                     70 Plum Brook Road
                     Flemington, NJ 08822



                     Daniels, Thomas
                     740 Seminole Ave
                     Orlando, FL 32804
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 724 of 924


                     Dardenne, Yves
                     3403 200 West Central
                     Tracey, CA 95376



                     Darreira, Lourdes
                     845 SW 148 Place
                     Miami, FL 33194



                     Dart, Dennis
                     11415 NE 128th St suite 110
                     Kirkland, WA 98034



                     Darwin, Courtney
                     6489 Stags Leap Rd.
                     Fanger, TX 76266



                     Datte, Chuck
                     8916 Calliandra Rd
                     San Diego, CA 92126



                     Daudelin, Douglas
                     1967 Red Oak dr.
                     Franklin, IN 46131



                     Daugherty, Joseph
                     902 Kings grant rd
                     Willmington, NC 28405



                     David Beardslee Hang Gliding
                     18860 Dexter Avenue
                     Lake Elsinore, CA 92532



                     davidson, colleen
                     201 garrison cresent
                     fafkapoon, 51 s7h27
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 725 of 924


                     Davies, Robert E
                     3505 Timberwood Road
                     Munhall, PA 15120



                     Davis, April 1
                     13198 W Palm Lane
                     Goodyear, AZ 85395



                     Davis, Jared A.
                     9232 W Viking rd
                     Las Vegas, NV 89147



                     Davis, Matthew 2
                     4372 Roscommon Way
                     Dublin, CA 94568



                     Davis, Norm
                     819 Grant St
                     Endicott, NY 13760



                     Davis, Ronisha
                     9335 S 8th Ave.
                     Inglewood, CA 90305



                     Davis, Roy
                     PO Box 131
                     Leroy, TX 76654



                     Davis, William 3
                     1772 Harcor drive
                     Pittsburgh, PA 15226



                     Davis-Warren, Makhira
                     1320 Truemper st
                     San Antonio, TX 78236
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 726 of 924


                     Day, Conney
                     180 county rd 850
                     buna, TX 77612



                     Day, Dewayne A.
                     8123 Heatherton Lane 202
                     Vienna, VA 22180



                     Daybreak Ballooning
                     626 Thomasville Drive
                     Medford, OR 97504



                     DC Skydiving Center
                     Charlevoix State Bank
                     111 State Street
                     Charlevoix, MI 49720



                     De Guzman, Alma
                     10980 Chambeau Way
                     Elk Grove, CA 95624



                     De Los Santos, Goodrich Dizon
                     1 E Julian St. Apt 212
                     San Jose, CA 95112



                     De Mott, John
                     5602 Woodrow Avenue #204
                     Austin, TX 78756



                     Dean, Derek
                     206 Shades Crest Road
                     Birmingham, AL 35226



                     Dean, Melinda 1
                     130 Century Ln
                     Clyde, TX 79510
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 727 of 924


                     Deck, Eric
                     1391 saxony sw
                     palm bay, FL 32908



                     Decker, Crystal
                     152 East Lake Street
                     Camden, TN 38320



                     Deckert, Lori J
                     6912 Spelman Dr
                     Springfield, VA 22153



                     Deep, Martha
                     256 kobert avenue
                     lebanon, KY 40033-1430



                     DEFREITAS, LISA
                     20100 Hardwood Ter
                     Ashburn, VA 20147



                     DeHaas, Jeanne 1
                     126 Jenjo Dr
                     Bellfonte, PA 16823



                     Dehart, Chris
                     8046 High Crost ne drive
                     leland, NC 28451



                     Deines, Robert
                     2151 East Broadway Rd Suite 111
                     Tempe, AZ 85282



                     Deitrich, Mitchell C.
                     1837 barnard rd
                     wooster, OH 44691
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 728 of 924


                     Delamar, Marguerite
                     169 Marlow Ln.
                     Albany, GA 31721



                     Delaney, Daniel
                     185 S. Fourth St apt . 5B
                     Brooklyn, NY 11211



                     Delaney, Patricia
                     2167 Alexander Drive
                     Norrtispown, PA 19403



                     Deleon, Brandy
                     102 Country village drive
                     Youngville, LA 70592



                     Delgadillo, lilia
                     2505 Fernandez Dr
                     sacramento, CA 95822



                     Dell, Benjamin
                     143 Read St
                     New York, NY 10013



                     Dellorso, Philip
                     2586 running wolf trail
                     Odenton, MD 21113



                     Dempsey, Connie
                     5009 Pacific hwy East Suite 10-0
                     Fife, WA 98424



                     Dempsey, Sara
                     804 Washington St. S
                     Twin Falls, ID 83301
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 729 of 924


                     Den-Hamou, Danielle
                     1504 West Ave
                     Miami Beach, FL 33139



                     Denmark, Inga
                     27020 104th Ave SE
                     Kent, WA 98030



                     Dennison, Lisa
                     6501 se 157th place
                     oklahoma city, OK 73165



                     Denton, Ramona
                     5042 wilshire blvd. #15666
                     Los Angeles, CA 90036



                     Desai, Hardik
                     204 Arbor Lake Blvd
                     Hermitage, TN 37076



                     Devereaux, Anna
                     3506 East Copper Kettle Way
                     Orange, CA 92867



                     Devers, Jenna
                     8915 Distant Woods Drive
                     Houston, TX 77095



                     Dewaard, Kaitlyn
                     275 Grove St. Suite 2-130
                     Newton, MA 02466



                     Dewitt, Stephanie A
                     3398 shire cirlce
                     castle rock, CO 80104
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 730 of 924


                     dhang, jing
                     1034 southwest taylor street
                     portland, OR 97205



                     Dhru, Shailini
                     2450 West Pecos Rd. Apt 2027
                     Chandler, AZ 85224



                     Dial, Scott 1
                     1011 Harness
                     Richardson, TX 75081



                     Dials, Meghann
                     3231 Van Tassell Drive
                     Indianapolis, IN 46240



                     Dias, Phil
                     3702 42ND AVE
                     BRENTWOOD, MD 20722



                     Diaz, Frank
                     13941 south west 16th street
                     Miami, FL 33175



                     Dibernardo, Lisa
                     610 Dover Chase Blvd.
                     Toms River, NJ 08755



                     Dickinson, Elizabeth
                     1010 Delta Blvd Apt 105
                     Atlanta, GA 30354



                     dickson, gregory
                     2920 signal creek place
                     Thornton, CO 80241
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 731 of 924


                     Dickson, Lisa 1
                     3884 Brigadoon DR
                     Cincinnati, OH 45255



                     Diekema, Laura
                     2400 El Camino Real
                     Seirra Vista, AZ 85635



                     Diesbourg, Terrie
                     19801 Lookout Lane
                     Eustis, FL 32726



                     Diez, Claudia
                     6019 Chipola Circle
                     Orlano, FL 32809



                     Diggins, Ashlye
                     10600 Davis Ave apt2
                     woodstock, MD 21163



                     Dillon, Brandy
                     2491 Ledgewood Dr.
                     West Jordan, UT 84084



                     Dimare, Thomas
                     PO Box 517
                     Newman, CA 95360



                     Dimsey, Esmeralda O
                     4403 Battery Hill Ln
                     Fredricksburg, VA 22408



                     Dinapoli, Elvira Rose
                     23 Merrimac Way Unit G
                     Tyngsboro, MA 01079
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 732 of 924


                     Dinsey, Esmeralda O
                     4403 Battery Hill Ln
                     Fredricksburg, VA 22408



                     dinzeo, joseph l
                     909 centerbrook drive
                     brandon, FL 33511



                     Dippolito, Benjamin
                     14623 Murrey Rd SW Apt 13
                     Lakewood, WA 98439



                     Dirksen, Scott
                     2300 Highland Rd
                     Batesfield, AR 72501



                     DiRocco, Anthony G
                     655 Deep Valley Dr Unit 125 F
                     Rolling Hills Estates, CA 90274



                     Dlugas, Amanda
                     9342 south hawley park rd
                     West jordon, UT 84081



                     Doan, Angie
                     990 Lewis Ridge Cir.
                     Lawrencville, GA 30045



                     Dobbins, Michelle
                     105 Kenwood court apt 1
                     normal, IL 61760



                     Dodson, Dan
                     2761 Carmon on Wesley
                     Atlanta, GA 30327
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 733 of 924


                     Dodt, Brian
                     1901 East Mineral Road
                     Gilbert, AZ 85234



                     Doggett, Christopher
                     1600 Arch St #1921
                     Philadelphia, PA 19103



                     Doherty, Julian
                     4750 Rosebank Drive
                     LaCanada, CA 91011



                     Dohrenwend, Michael W
                     519 A Main Street
                     Toms River, NJ 08753



                     Donadio, Mahassti
                     18 Nottingham way
                     Cohoes, NY 12047



                     Donato, Jacob
                     3677 Cochran St
                     Simi Valley, CA 93063



                     Donley, Amy
                     103 Singer Road
                     Abbingdon, MD 21009



                     Dontula, Rakesh
                     4500 Sojourn Drive #611
                     Addison, TX 75001



                     Doricko, Brian
                     90 Iroquois Rd Apt A
                     stamford, CT 06902
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 734 of 924


                     Dorris, Michael
                     970 montgomery st
                     mandeville, LA 70448



                     Dorriss, Ronulus
                     209 N. 19 Street
                     Bismark, ND 58501



                     Dorsey, Brittany
                     170 E Center St.
                     Marion, OH 43302



                     Dorvee, John
                     8036 James Court
                     Niwot, CO 80503



                     Dos Santos, Veronica A
                     2700 Oakbrook lane
                     Weston, FL 33332



                     Doss, Marilyn
                     19203 Hillford Ave.
                     Carson, CA 90746



                     Doss, Thomas
                     413 Mossyleaf drive
                     Huntsville, AL 35824



                     Dougan esq, Steve
                     433 fuente place
                     Lincoln, CA 95648



                     Douglas, Natalie
                     1446 Montgomery St
                     Tustin, CA 92782
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 735 of 924


                     Douyon, Barbara
                     2911 Railroad Av
                     Yuba city, CA 95991



                     Dowe, Nancy
                     5023 72nd Street E
                     Bradenton, FL 34203



                     Dowell, Paula
                     2685 Hosea Williams Dr
                     Atlanta, GA 30317



                     Downton, Kate
                     1017 E Mcclarnon Dr
                     Greenfield, IN 46140



                     Dozier, Jeffery
                     298 South Niagra Court
                     Centenial, CO 80111



                     Draper, Brandy
                     218 West Lincoln Ave
                     Orange, CA 92865



                     Draughn, Thomas L
                     3776 interstate 55 south
                     jackson, MS 39212



                     dreidert, john
                     3305 Terrace drive
                     Erlanger, KY 41018



                     Drescher, Mark
                     1601 8th Ave
                     Watervliet, NY 12189
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 736 of 924


                     Drew, Carol
                     P.O. 190 Riverwood
                     2210 New South Wales



                     Drew, Cathy
                     67 Vestry Street
                     New York, NY 10013



                     Drobinski, Darin
                     175 Court Street
                     Prescott, WI 54021



                     Drumm-Boyd, Christina
                     2528 las corrales court
                     virgina beach, VA 23456



                     Du Puis, Arlene
                     47341 Pinewood Dr
                     chesterfield township, MI 48051



                     Duarte, Misha
                     421 Madison Street
                     Denver, CO 80206



                     Duchamp, Stephanie
                     8697 Night Watch Ct
                     Bristow, VA 20136



                     Dudley, Joseph L
                     402 Digley Ave
                     Baltimore, MD 21227



                     Duer, Jerry
                     825 E Moon Vista st
                     Apache Junction, AZ 85119
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 737 of 924


                     Duey, Eric R.
                     2000 Art School rd
                     Chester Springs, PA 19425



                     Dufrene, Kristopher
                     236 Lorranie Drive
                     DesAllemands, LA 70030



                     Duncan, Capucine
                     10232 south torrente ave
                     Chicago, IL 60617



                     Dunn, Emily
                     1338 Emerald Street NE
                     Washington, CT 20002



                     Dunn, Matthew
                     marine co 29
                     palms, CA 92278



                     Dunnavant, Virginia
                     14922 Brotherly Lane
                     Charlotte, NC 28278



                     Duong, Nimi
                     901 Washington St. Apt. 107
                     Denver, CO 80203



                     Dupras, Jessica
                     474 Bay De Noc
                     Nedaunee, MI 49866



                     Durbin, Edward M
                     744 Inverness Ln
                     Itasca, IL 60143
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 738 of 924


                     Durden, Linda
                     1018 W Lumsden Rd
                     Brandon, FL 33511



                     Dutch Wings, LLC
                     503 McKeever Rd.
                     Suite 1520
                     Arcola, TX 77582



                     Dutcher, Nicole
                     19 Ashmont Ave
                     Newton, MA 02458



                     Duterte, Sarah
                     160 Killarney Rd
                     Winfield, WV 25213



                     Dzhasheev, Ruslan
                     PO Box 1650
                     Des Plaines, IL 60017



                     Ealy, Albert E
                     891 Zandenberg Drive unit 309
                     Travis Air Force Base, CA 94535



                     Earles, David
                     1970 Columbia Street Unit 517
                     San Diego, CA 92101



                     East Texas Skydiving Club
                     P.O. Box 1147
                     Gladewater, TX 75647



                     Eastes, Jean B.
                     102 Bluff View
                     Kerrvie, TX 78028
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 739 of 924


                     Echel, Pedro
                     1254 Pacific Beach Drive
                     San Diego, CA 92109



                     echeverri, bladinir
                     892 north west 84th drive
                     coral springs, FL 33071



                     Eden, Tera
                     21801 NE Overholt RD
                     Bountstown, FL 32424



                     Edmundson, Frankie
                     325 South Broad Street
                     Edenton, NC 27932



                     Edwards, Jeffrey 1
                     99 Station ave
                     North hills, PA 19038



                     Edwards, Marlon
                     12316-A North May Ave
                     Oklahoma City, OK 73120



                     Ege, Camden
                     4710 Mountain Rd #104
                     Cheyenne, WY 82009



                     Eglin Inc, William
                     PO Box 110 265
                     Research Triangle Park, NC 27709



                     Eisenberg, Alisha
                     1267 E. 72nd St.
                     Brooklyn, NY 11234
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 740 of 924


                     Elaraj, Manuel
                     1209 Vista Hills Dr.
                     Lakeland, FL 33813



                     Elizalde, William
                     670 F Street Apt 76
                     Chula Vista, CA 91910



                     Elkheriji, Khalid
                     2626 Monte place
                     belmont, CA 94002



                     Elliott, Ashley 1
                     3113 W. Rose Crest Dr.
                     Sioux Falls, SD 57108



                     elliott, matthew j
                     8360 cottscorners rd
                     cattaraudus, NY 14719



                     Ellis, Anthony
                     12959 Pelican Lane
                     Maderia Beach, FL 33708



                     Elrod, Sondra
                     12808 10th St
                     Chino, CA 91710



                     Elsasser, Stanley
                     2020 Texas Ave. Apt 1419
                     Houston, TX 77003



                     Emert, Barb
                     109 East Summit St
                     Jersey Shore, PA 17740
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 741 of 924


                     Emilio, Jessica
                     644 Leigh High Road Apt K6
                     Newark, DE 19711



                     Enchanted Balloons
                     103 County Route 12
                     Westtown, NY 10998



                     Endicott, Travis
                     1912 Bogue Circle
                     Ridgecrest, CA 93555



                     endodontics, apex
                     3303 south lindsey Suite 127
                     gilbert, AZ 85297



                     Engels, Caitlin
                     79 Homestead place
                     New Rochelle, NY 10801



                     England, Christopher
                     P.O. box 521
                     Blowing Rock, NC 28605



                     Englander, Michael
                     1000 park ave.
                     New Yrok, NY 10028



                     English, Brittany E
                     2716 Twinflower Drive
                     Keller, TX 76244



                     Epling, Jacob E.
                     626 Watkins Glen Blvd
                     Marysville, OH 43040
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 742 of 924


                     Erazo, Alejandra
                     83152 Jackson Street
                     San Fransico, CA 94115



                     Erb-Orengo, Brigitte
                     3765 Alcanatara Ave.
                     Miami, FL 33178



                     Eryce, Leslie
                     6426 Lagunitas Ave
                     El Cerrito, CA 94530



                     Escareno, Joseph
                     6430 Sunset Blvd Suite 800
                     Hollywood, CA 90028



                     Eschberger, Russell
                     3120 N. Mill Bend
                     The Woodlands, TX 77380



                     eshraghi, arman
                     2542 banshire dr
                     herndon, VA 20171



                     Esparza, Jose
                     421 SW 125th Ave
                     Miami, FL 33184



                     Esposito, Brandon S
                     2904 Holt Way
                     Sacramento, CA 95864



                     Esquia, Michael
                     12236 Dawn Vista Dr.
                     Riverview, FL 33578
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 743 of 924


                     Esquibel, Angelita
                     8313 Summerfield Ave
                     Wittier, CA 90606



                     Estep, Brett
                     5329 Paladium Dr
                     Addison, TX 75254



                     Estinova, Emiliano
                     8285 Fillmore St.
                     Allendale, MI 49401



                     Euphoria The Nebraska Balloon
                     1633 Lafayette St.
                     Blair, NE 68008



                     Eusebi, Ricardo
                     4050 Pendleton Dr Apt 933
                     Bryan, TX 77802



                     Evans, Jacob
                     443 Chaplian Magsig Avenue
                     Monterey, CA 93944



                     Evans, Roger
                     2550 Sand Hill Rd 2nd Floor
                     Menlo Park, CA 94025



                     Everhart, Eric
                     2274 Wolfboro Dr SE
                     Kentwood, MI 49508



                     Everling, Laura
                     3711 Medical Dr. Apt 2311
                     San Antonio, TX 78229
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 744 of 924


                     Evers, Patricia
                     3470 Lori Lane
                     Atlanta, GA 30340



                     Ewers, John
                     5435 Claybourne Dr. apt 706
                     Pittsburgh, PA 15232



                     Faccio, Barbara
                     2709 Margaret Drive
                     Arlington, TX 76012



                     Faherty, Mike
                     237 Bay View Rd
                     Williams Bay, WI 53191



                     Fall, Thomas E
                     5455 Suder ave
                     toledo, OH 43611



                     Fantasy Balloon Flights
                     74181 Parosella St
                     Palm Desert, CA 92260



                     Farr, Stephen
                     1414 Ivie St.
                     Stewartsville, MO 64490



                     Farrell, Daniel
                     Po Box 24
                     Riverton, UT 84065



                     Farris, Karyn
                     3150 Bernath Drive
                     Milton, FL 32583
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 745 of 924


                     Faubus, Stoney
                     1329 Hwy 395 N. Ste 10-242
                     Gardnerville, NV 89410



                     Faust, Matthew
                     118 dupont st
                     toronto, ON



                     Fay, Jillian
                     895 Meriweather Dr.
                     Calera, AL 35040



                     FedEx - 3074-3324-9
                     P.O. Box 94515
                     Palatine, IL 60094-4515



                     Feighner, Dustin S.
                     13970 Cole Crossing Ct.
                     Platte City, MO 64079



                     felder, preston
                     Po box 26689
                     Fort worth, TX 76126



                     Feldes, Inge
                     835 chinidhe St.
                     St. Louis, MS



                     Felix, Raul
                     1524 S. Glencroft
                     Glendora, CA 91704



                     Fellows, Nickolas J.
                     15147 Monterey Rd
                     Morgan Hill, CA 95037
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 746 of 924


                     Feltman, Mike
                     4404 Omni Place
                     Raliegh, NC 27613



                     Ferrara, Mary
                     12835 Preston Rd suite 312
                     Dallas, TX 75230



                     Ferrin-oconnell, Bridgette
                     4016 West 99th place
                     westminster, CO 80021



                     ferris, norman
                     1813 hide brook
                     columbia, SC 29212



                     Fessenden, Patrick
                     5908 Jameson Rd.
                     Rougemont, NC 27572



                     Fey, Eric
                     5075 Nicholson Dr. Apt. 0137 C
                     Baton Rouge, LA 70820



                     Fiedler, Christine
                     18 West St.
                     Oakville, ON L6L2Y7



                     Fiegfried, Kelly
                     6655 Dunbarton drive
                     horn lake, MS 38637



                     fields, Catherine M
                     16573 Ferris Ave
                     Losgatos, CA 95032
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 747 of 924


                     Fields, John
                     513 East Main Street
                     Mount Vernan, IL 62864



                     Figueroa, Melissa
                     130 St.paul rd North
                     Hempstead, NY 11550



                     Filittone, Michael J
                     71 Johnathan Rd
                     Pelham, NH 03076



                     Finch, Renee
                     10340 Kadumba Street
                     Las Vegas, NV 89178



                     Finney, Linda
                     85 South Garlind st
                     Lake wood, CO 80226



                     Fiorica, Audrey
                     2017 Miller Ave
                     Chesepeke, VA 23320



                     Fischer, Stanley
                     1301 Custer Rd
                     Plano, TX 75075



                     Fisher, John
                     7826 Fergusson Rd
                     Streetboro, OH 44241



                     Flager, Megan
                     344 West 620 North
                     Orem, UT 84057
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 748 of 924


                     Flammang, Michael
                     126 Sumac Ridge
                     Foristell, MO 63348



                     Fleagle, Andrew
                     1515 Osceola St
                     Denver, CO 80204



                     Fleary, Danan
                     210 E 55th St
                     Brooklyn, NY 11203



                     Fleming, Deborah
                     5648 tangelo rd.
                     seminole, FL 33772



                     Fleming, Deirdre
                     920 Highland Ter
                     Atlanta, GA 30306



                     Flores, Maria
                     4626 Tunisia St
                     Fort Irwin, CA 92310



                     Flores, Yesenia
                     673 West Sierra Avenue
                     Cotati, CA 94931



                     Flowers, Daniel
                     3582 Patterson Lane
                     Cleveland, TN 37323



                     Flying V Ranch
                     11101 Old US Hwy 40
                     Montgomery City, MO 63361
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 749 of 924


                     Foisy, Johnothan
                     345 Caminito Mindy street
                     San Diego, CA 92105



                     Foley, Eva
                     3110 Hawthorne st
                     Washington, DC 20008



                     Ford , Brian
                     4134 west viewpoint dr.
                     Highland, UT 84003



                     Ford, Blake
                     2010 Pequeno Street
                     Austin, TX 78757



                     Ford, Stephen
                     501 West Hines St
                     Republic, MO 65738



                     Foreh, Tarick
                     1223 Augusta Dr Apt 6
                     Houston, TX 77057



                     Forget, Florence
                     2731 Franklin St
                     San Francisco, CA 94123



                     Fornal, Dominic
                     2750 Abbots Ford St
                     North Port, FL 34287



                     Fornari, Jennifer L
                     216 Centennial
                     Chico, CA 95928
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 750 of 924


                     Fornasier, Brandon
                     6917 Cottentale Run Ave
                     Tuscon, AZ 85756



                     Forteza, Rosanna
                     7600 SW 78th Court
                     miami, FL 33143



                     Fortney, Jeffrey L.
                     1213 Lakecrest Drive
                     Norman, OK 73071



                     Fortune, Beth
                     9574 Hampton Reserve drive
                     Brentwood, TN 37027



                     foster, andrew 1
                     11092 croine ave.
                     cincinatti, OH 45242



                     Foster, Eric
                     42854 Churchill Downs Dr.
                     Ashburn, VA 20147



                     Foster, Jackson
                     228 N Layton Dr
                     Los Angeles, CA 90049



                     Foster, Teresa
                     20210 woodland
                     Harper woods, MI 48225



                     Fotta, Thomas
                     2807 Pearl St. Apt 280
                     Nacogdoches, TX 75965
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 751 of 924


                     fournier, Matthew
                     9400 lake natoma dr
                     orangeville, CA 95662



                     Fowler, Jennifer
                     803 Janice St
                     Junction City, KS 66441



                     Fowler, Matthew
                     1775 Silvernere Ct
                     Duluth, GA 30097



                     Fox, Donna
                     3007 SE Military #2604
                     San Antonio, TX 78223



                     Fox, Jennifer 2
                     5745 Pale Rock Terrace
                     Colorado Springs, CO 80919



                     Francesco, Peter
                     73 Bennett Cove Lane PO BOX I
                     Holderness, NH 03245



                     Franco, Hugo
                     P O box 319
                     Palestine, TX 75802



                     Francois, Theresa
                     1113 1st Ave
                     Kinder, LA 70648



                     Frederick, Terry
                     2119 Eastland Street
                     League City, TX 77573
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 752 of 924


                     Fredrick, Melissa T
                     616 Coolidge St
                     Lafyette, LA 70503



                     Freeborg, Jenny
                     6956 Albanese St
                     Colorado Springs, CO 80902



                     Freedman, Mark
                     1509 Van Cleve Lane
                     Murphysboro, TN 37129



                     Freedom Flyer Ballooning
                     3233 120th Street
                     Amana, IA 52203



                     Freedom Helicopters
                     P O Box 501821
                     Indianapolis, IN 46250-6821



                     Freefall Adventures, Inc
                     300 Dahlia Avenue
                     Williamstown, NJ 08094



                     Freeman, Christopher
                     Po Box 1017
                     Libby, MT 59923



                     Frei, Garrett
                     15335 Shirly St.
                     Omaha, NE 68144



                     Fremming, Steve
                     644 NE 17th Ave
                     Fort Lauderdale, FL 33304
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 753 of 924


                     French, Aaron
                     106 E . 7th Apt . D
                     Hayes, KS 67601



                     Freyermuth, Barbara
                     30317 133 Ave West
                     Ilinois City, IL 61259



                     Fricke, Schenel
                     9017 danube st
                     bay st. loius, MS 39520



                     Friedland, Alexander
                     7 Kovach Court
                     West Orange, NJ 07052



                     Friedman, Liliana
                     12390 rock spring court
                     Garden grove, CA 92843



                     Fries, Robert
                     50 Randolph Rd
                     Newport News, VA 23601



                     Fromm, Chrissy
                     19 Copley Court
                     Anapolis, MD 21403



                     Fuentes, Millicent
                     9830 Sunrise Blvd. S18
                     North Royalton, OH 44136



                     Fulper, Cynthia
                     8226 East 10th street
                     Indinapolis, IN 46219
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 754 of 924


                     Fuqua, Amanda
                     291 Wright Rd
                     Jonesville, LA 71343



                     Furtick, Cary
                     4032 Homeplace Ln
                     Kaufman, TX 75142



                     Futrell, Joey
                     4236 Hwy 452
                     Marksville, LA 71351



                     Gabel, Randall J.
                     7181 Grand Prairie Drive
                     Colorado Springs, CO 80923



                     Gaebay, Shamayim
                     1341 North Ave apt 90
                     Elizabeth, NJ 07208



                     Gaertner, Johnny L
                     200 Properity Dr
                     Knoxville, TN 37923



                     Gaetani, Frank
                     430 Chevron St. Unit 53215
                     Dover AFB, DE 19902



                     Gager, Shelly
                     1017 Ridefield Dr.
                     Plano, TX 75075



                     Gale, David
                     11405 Hudson St
                     Thornton, CO 80233
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 755 of 924


                     Galimidi, Danielle
                     3307 East Island Road
                     Cooper City, FL 33026



                     Gallagher, John
                     25 14th St. NW Apt. 910
                     Washing D.C., DC 20009



                     Gallagher, Ron
                     406 S 84th At
                     Omaha, NE 68114



                     Gamboa, Jessica
                     5122 east shea blvd #2160
                     scottsdale, AZ 85254



                     Ganje, Shenan
                     4880 east Kentuky Ave Unit B
                     Glendale, CO 80246



                     Gann, Joseph R
                     65 Cale st
                     Mcglendale, TN 37110



                     Garcia, Annette
                     22034 Kenton Knoll
                     San Antonio, TX 78258



                     Garcia, Blanca
                     180 High St
                     North Attleboro, AL 02760



                     Garcia, Jeffrey
                     716 Edge Lake Rd
                     Slidell, LA 70458
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 756 of 924


                     Garcia, Joan
                     1749 Toro Creek Road
                     Morro Bay, CA 93442



                     garcia, luis 1
                     11719 carvel ln
                     houston, TX 77072



                     Garcia, Mary 1
                     839 South Ellison Dr.
                     San Antonio, TX 78245



                     Gardner, Bradley P.
                     284 Brookside Drive
                     Idaho Falls, ID 83404



                     Gardner, Tara J
                     2001 S. Marion St.
                     Denver, CO 80210



                     Garfia, Freddie
                     1516 mathias Place
                     rohnert park, CA 94928



                     Gariffo, Steven
                     703 Irish Ln.
                     Media, PA 19063



                     Garisapati, Anita
                     779 East Mead Dr
                     Chandler, AZ 85249



                     Garmon, Van A
                     3943 Welker Avenue
                     Demoine, IA 50312
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 757 of 924


                     Garner, William
                     6703 cuculu drive
                     fort worth, TX 76133



                     Garrett, Courtney
                     6826 East Solocito Lane
                     Paradise Valley, AZ 85253



                     Garrison, Amanda
                     83347 calypso cir
                     Indio, CA 92201



                     Gartrell, Kevin
                     1604 Pierpont Dr.
                     Westerville, OH 43081



                     Gatautis, Giedrius
                     1113 Liberty Pkwy
                     Atlanta, GA 30318



                     Gatti, Stefanie
                     2110 Naegele RD
                     Colorado Springs, CO 80904



                     gatus, kristina
                     20615 cantlay st
                     winnetka, CA 91306



                     Gauger, David
                     360 Post street #900
                     San Fansico, CA 94108



                     Gaughran, Jana
                     4900 Eric Lane
                     Mustang, OK 73064
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 758 of 924


                     Gaur, Amit
                     7611 Knox avenue south apt 116
                     Richfield, MN 55423



                     Gee, Gregory W.
                     1771 Deloit Ave
                     Los Angeles, CA 90025



                     Geilman, Autumn
                     231 Ave
                     Redondo Beach, CA 90277



                     Gelesky, Katie
                     22110 Majestic Wood Way
                     Boca Raton, FL 33428



                     Gelinas, John E.
                     1680 NE 135 Street
                     Miami, FL 33181



                     Generali, Michael
                     21 Hollins dr.
                     Cranston, RI 02920



                     Genereux, Valerie
                     110 Brooklyn Rd
                     Canterbury, CT 06331



                     Gentle Breeze Hot Air Balloon Co.
                     2460 Greentree Rd.
                     Lebanon, OH 45036



                     Gentry, Brandon
                     PO Box 164
                     Nice, CA 95464
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 759 of 924


                     George, Dan
                     102 Valley Rd apt .20
                     Cos Cob, CT 06807



                     George, Joyce
                     5456 Kim Way # 4
                     Indianapolis, IN 46237



                     George, Reshma
                     719 Lincol Court Ave.
                     Atlanta, GA 30329



                     Gerbic, Theresa Marion
                     825 Ramsey St apt. B
                     Nashville, TN 37206



                     Germany, Isaac
                     1419 West 104th St.
                     Los Angeles, CA 90047



                     Gernert, Margaret L
                     950 Woodcliffe Ave
                     Media, PA 19063



                     Geske, Andre
                     555 NE 15th St., Suite 200
                     Miami, FL 33132



                     Gheorghe, Dragos
                     829 Fairview Dr Unit 1
                     Fort Walton Beach, FL 32547



                     Gibbons, Cindy
                     1750 Lucile Lane
                     Pleasant Hill, CA 94523
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 760 of 924


                     Gibson, Michelle 1
                     9209 Brian Drive
                     Viana, VA 22180



                     GIERSZEWSKI, MAXWEL J
                     W50 21 HARVEST LANE
                     LA CROSSE, WI 54601



                     Gilbert, Susan
                     225 Helaman Road
                     Walla Walla, WA 99362



                     Gilbert, Thomas L.
                     4273 route 310
                     reynoldsville, PA 15851



                     Gill, Michael
                     1804 N Quinn St.
                     Arlington, VA 22209



                     Gillespie, Terrence
                     2020 artesia blvd apt #15
                     Radondo Beach, CA 90278



                     Gillette, Denise
                     3641 Ridgewater Trail
                     Marietta, GA 30068



                     Ginoya, Jyotsna K.
                     6643 Imperial Oak Lane
                     Orlando, FL 32819



                     Giovanni's Pizza
                     2671 Dogwood Ridge
                     Wheelersburg, OH 45694
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 761 of 924


                     Gipson, Terry L
                     500 Gipson manor
                     Crowley, TX 76036



                     Giraldo, Nora
                     221 Community Circle
                     Old Bridge, NJ 08857



                     Gish, Kristy
                     4513 Copperfield Dr.
                     Grapevine, TX 76051



                     Givens, Brian
                     411 Tradewinds Dr. Apt. N
                     Fayetteville, NC 28314



                     Glasgow, DeShaun M
                     1 Old Presedio Dr
                     Manvel, TX 07578



                     Glass, William 1
                     86 Chastain Circle
                     Richmond Hill, GA 31324



                     Gleason, David
                     221 Walnut
                     Ocean Springs, MS 39564



                     Gleason-Glowacki, Nancy
                     3960 Sugarbush Rd.
                     Lena, WI 54139



                     Glenn O'Connell
                     1588 Junior Place
                     Elgin, IL 60123
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 762 of 924


                     Glenn, Tenisha
                     7601 Hammond Drive
                     Biloxi, MS 39532



                     Gober, Justin
                     1580 Mira Lago Blvd. Apt. 303
                     Farmers Branch, TX 75234



                     Godbout, Jeff
                     8701 W Bradley Road
                     Milwaukee, WI 53224



                     Godwin, Bradley R
                     2903 Firewalk Trace
                     Katy, TX 77494



                     Goff, Justin
                     9861 Beauclare Terrace
                     Jacksonville, FL 32257



                     Goff, katherine
                     125 amaryllis drive apt204
                     wilmington, NC 28411



                     Gogol, Philip
                     43 Highland
                     Ilion, NY 13357



                     Gold Coast Skydivers
                     5400 Cross Creek Drive
                     Mobile, AL 03669-3269



                     Gold Star Aviation
                     200 Commander Road
                     Suite H2NC
                     Ft. Worth, TX 76106
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 763 of 924


                     Goldberg, Lisa
                     2042 Ward Parkway
                     Ft. Worth, TX 76110



                     Gone with the Wind Balloon - Alabama
                     1705 Monroe Road
                     Toney, AL 35773



                     Gonzales, Jesus
                     111 Southill Rd
                     San Antonio, TX 78201



                     Gonzalez, Abdel
                     2661 29th St. Apt 3
                     Estoria, NY 11102



                     Gonzalez, Christopher W
                     1028 Venice Drive
                     Bryan, TX 77808



                     Gonzalez, Efrain
                     3910 Mariela Ct
                     Rocklin, CA 95765



                     Gonzalez, Georgette
                     158 Princeton Road
                     Elizabeth, NJ 07208



                     Gonzalez, Ramone
                     5113 Benjamin Ct
                     Kernercville, NC 27284



                     Gonzalez, Vanessa H
                     2400 West Madison St Apt 409
                     Chicago, IL 60612
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 764 of 924


                     Goodale, Gregory
                     5814 Petty Street
                     Houston, TX 77007



                     Goodhue, Kristi
                     150 East 52nd St.
                     New York, NY 10022



                     Goodin, Richard
                     43 Rainey Dr #1792
                     Austin, TX 78701



                     Goodwyn, George T.
                     5603 Ash Grove Ct
                     Montgomery, AL 36116



                     Gopinath, Prasad
                     65 Overlea Blvd
                     Toronto, 51



                     Gopisetty, Pramod
                     898 Carton Bay Dr E
                     West Palm Beach, FL 33406



                     Gordon, Luke
                     3133 Chula Brookfield Rd
                     Tifton, GA 31794



                     Gordon, Theodore
                     27 Wallingford Ave., Apt. F2
                     Wallingford, PA 19086



                     Gordon, Valerie
                     20809 NE 141st Street
                     Woodinville, WA 98077
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 765 of 924


                     Gosain, D. J.
                     Aviation Blvd
                     Inglewood, CA 90304



                     Goulart, Joe A
                     PO Box 3850
                     Fort Stuart, GA 31315



                     Gozariu, Vasile
                     3925 Us Hwy 92 West
                     Plant City, FL 33563



                     Grabham, Lorie
                     7268 West FireBird Dr
                     Glendale, AZ 85308



                     Grace, Robert
                     Po Box 3579
                     Shawnee, OK 74801



                     Graper, Liz
                     11144 Flosonville Rd
                     Tennyson, IN 47637



                     Gray, Caitlin 1
                     1202 Tree line Drive
                     Allentown, PA 18103



                     Gray, Danielle
                     4840 Heron Dr. Apt. 924
                     Tampa, FL 33616



                     Graza, Selix Anthony
                     1525 Del Rancho Dr
                     Irving, TX 75061
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 766 of 924


                     Greene, Trevor
                     25 night boxx road
                     orange park, FL 32065



                     Greenrock Holdings
                     3907 Park Dr. Suite 235
                     El Dorado Hills, CA 95762



                     Greens, Ryan
                     P.O.Box 12722
                     Annapolis, MD 21402



                     Greiner, Doris
                     7 Red Cedar Dr.
                     Levittown, PA 19055



                     Greiner, Haley
                     4248 Taylor rd.
                     Chasapeake, VA 23321



                     Greves, Maddy
                     815 Lanier Dr.
                     Madison, IN 47250



                     Griego, Lucas J.
                     1929 7 Street
                     Las Vegas, NM 87701



                     Griffeth, Kevin
                     6204 Bandera Blvd
                     dallas, TX 75225



                     Grigsby, Bob
                     889 W Wesly Rd
                     Atlanta, GA 30327
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 767 of 924


                     Grimme, Michael
                     1965 mulsanne Drive
                     Zionsville, IN 46077



                     Grischuk, William
                     74 Pine Dr.
                     Rosevelt, NJ 08555



                     Grossman, Katherine
                     1427 Downington Overlook
                     Acworth, GA 30101



                     Grove, Anthony
                     111 sherman st
                     kent, OH 44240



                     Grunst, Gary
                     19376 Hazelgrove Dr.
                     Oregon city, OR 97045



                     Gruskin, Karen
                     8 Cypress St.
                     Marblehead, MA 09145



                     Gudis, Malcolm
                     6101 St Andrews Dr
                     Dallas, TX 75205



                     Gudmundson, Bryan
                     11531 Wild Flower Court
                     Moorpark, CA 93021



                     Guelcher, Charles J
                     2nd PSC Box 20183
                     Camplejeune, NC 28542
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 768 of 924


                     Guevara, Johana
                     990 Ridgemont Ave Apt 101
                     Houston, TX 77042



                     Guevara, Julissa
                     277 Park Ave 45 floor
                     new york, NY 10172



                     Guidon, Micha
                     1736 State Street
                     San Diego, CA 92101



                     Gulker, Michael T.
                     2740 Adrain Street
                     San Dieago, CA 92110



                     Gulledge, Pam
                     218 Main Street
                     Crossett, AR 71635



                     Gundlah, Lori
                     Route 103 301
                     York, ME 03909



                     Gunn, Lauren
                     5069 Dakota Ave.
                     Castlerock, CO 80104



                     Gunter, Phillip
                     9043 Walnut Meadow Drive
                     Indianapolis, IN 46234



                     Gupta, Gaurav 2
                     1133 Huff Rd. NW Apt. 312
                     Atlanta, GA 30318
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 769 of 924


                     Gusev, Oleg S
                     63 Wall St Apt 3604
                     New York, NY 10005



                     Guth, Susan
                     2905 University drive
                     Lawerence, KS 66049



                     Gutierrez, Carlos
                     20 Pinebrook Cir
                     Brandy, MA 01033



                     Gutierrez, Israel
                     12160 NE Miami Place
                     Miami, FL 33161



                     Guyton, Christopher
                     112 Nomad Lane
                     Lancaster, SC 29720



                     Ha, Molly
                     6250 W Arby Ave Unit 170
                     Las Vegas, NV 89118



                     Habig, Whitney
                     6622 Cape Neddick Ct. Apt G
                     Indianapolis, IN 46217



                     Hader, TJ
                     209 Smokerise Lane
                     Tom's River, NJ 08755



                     Hadlock, Stan
                     9056 Heights Dr
                     Sandy, UT 84094
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 770 of 924


                     Haerle, Marybeth
                     34300 Lantern A Dr Unit 50
                     Dana Pointe, CA 92629



                     Hagan, Kenneth
                     3384 Spruce St
                     Avon, OH 44011



                     Haidous, Loutfi
                     3554 Mayfair St.
                     Dearborn, MI 48124



                     Haines, James
                     1 Sedarbrook, Apt. 2W
                     St. Charles, MO 63301



                     Halbert, Douglas
                     435 Hudson ST 3rd Fl
                     New York, NY 10014



                     Hall, Delvin
                     854 Issaqueena Trails Rd
                     Central, SC 29630



                     Hall, Jennifer 1
                     250 pennsylvania ave
                     shreveport, LA 71105



                     Hall, Meredith
                     7600 south rainbow blvd, apt 2103
                     Las vagas, NV 89139



                     Hall, Patty
                     1401 Circle Dr.
                     Roundrock, TX 71664
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 771 of 924


                     Hall, Ronald
                     703 thomas boyland st
                     Brooklyn, NY 11212



                     Hallisy, Beth
                     471-10 Antler Point Drive
                     Aurora, OH 44202



                     Hallock, Paul
                     6124 Blue Ash
                     Charlotte, NC 28215



                     Halper, Rob
                     271 Central Park West 9E
                     New York, NY 10024



                     Hamed, Ibrahim
                     332 Porter Rd
                     Clarksdale, MS 38614



                     Hamilton, Steven A.
                     622 forest ridge drive
                     noblesville, IN 46060



                     Hamm, Kimberly G
                     3544 Chelsea Dr
                     Rocky Mount, NC 27803



                     Hammes, Jerrod
                     15217 Windward Drive
                     Corpus Cristi, TX 78418



                     Hampton, Jeron
                     3201 S 23rd St apt 141
                     Abilene, TX 79605
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 772 of 924


                     Hanan, Priscilla
                     5191 Cheney Dr. Apt 7
                     S. Beloit, IL 61080



                     Hancock, David
                     1621 White Oak Cove
                     Loganville, GA 30052



                     Haney, William
                     A Company 138 INF BN 4-2 DDE
                     Fort Lewis, WA 98333



                     Hanford, David
                     2716 Zambia Dr.
                     Cedar Park, TX 78613



                     Hangar 3
                     Hangar 3
                     67 Meserole Ave
                     Brooklyn, NY 11222



                     Hankee, Patrick 1
                     2069 Argyle Avenue apt 305
                     Los Angeles, CA 90068



                     Hanna, Martin
                     6012 Marsham Ct. Apt 301
                     alexandria, VA 22315



                     Hansel-Burgdorf, Sandra
                     330 E 82nd Drive
                     Denver, CO 80229



                     Hansen, Jenet
                     PO BOX 14
                     Joseph, OR 97846
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 773 of 924


                     Hansen, Regina
                     5149 East laurel lane
                     Scottsdale, AZ 85254



                     Harb, Yousses
                     40 Horner Ave
                     184X5 Toronto, ON



                     Hardgrove, Matthew
                     11 Mulberry Drive
                     Oldsbridge, NJ 08857



                     hardgrove, seth
                     1720 State road 331
                     Tippecanoe, IN 46570



                     Harmon, Alex
                     2801 W Glen Drive
                     Falls Church, VA 22046



                     Harmon, Barbara
                     P.O. Box 594
                     S. Chatham, MA 02659



                     Harper, Donald
                     5 Winslow Dr
                     Windham, ME 04062



                     Harper, Sheila I.
                     1860 S 250 W
                     Perry, UT 84302



                     Harris, Jacqueline S.
                     154 Sharkey Rd
                     Charleston, MS 38921
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 774 of 924


                     Harris, Lenard L N construction
                     2170 highway 51 suite 1
                     Hernando, MS 38632



                     Harris, Marika
                     19 Technology drive suite 200
                     Irvine, CA 92618



                     Harrison, Guy
                     7419 Sandhurst Rd South
                     Jacksonville, FL 32277



                     Harrison, Jennifer J.
                     606 Resinwood Road
                     Moncks Corner 29461



                     Harrison, Jessica
                     5733 bevis ave
                     van nuys, CA 91411



                     harsimran, hersim
                     9200 merrick dr
                     pechtree city, GA 30269



                     Hart , Jessica
                     5839 West Bloomfield Rd.
                     Glendale, AZ 85304



                     Hart, Adrian
                     31 Chelsea Ridge
                     Vernon, CT 06066



                     Hart, Elizabeth
                     990 6th Ave Apt p10
                     New York, NY 10018
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 775 of 924


                     Hartdegen, Alice
                     1425 Forest Creek Dr
                     Lewisville, TX 75067



                     Hartman, Lucas 1
                     815 Hardscrabble Road
                     Chappaqua, NY 10514



                     Hartung, Rebecca
                     14943 Forward Pass
                     San Antonio, TX 78248



                     Hartwick, Heather
                     1611 Elbridge Rd
                     Harrisburg, PA 17112



                     Hasuck, Thelma
                     3102 Haine Dr apt 517
                     Harlingen, TX 78550



                     Haug, Steven J.
                     20 West View Dr.
                     Lloyd Harbor, NY 11743



                     Hawk, Steven
                     7050 Windhaven Pkwy
                     The Colony, TX 75056



                     Hawkins, Brandon M.
                     310 Middlebridge Rd.
                     Stough Kingstown, RI 02879



                     hawkins, phillip
                     152 west 120th st
                     new york, NY 10027
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 776 of 924


                     Hayden, Christina
                     8820 West Imnaha court
                     Kennewick, WA 99336



                     Haygood, Jameson
                     600 North Park Drive
                     Springhill, LA 71075



                     Haynes, Tyrone
                     12202 Arlington Place
                     Chino, CA 91710



                     Hazlett, Ann
                     180 Varick Room 1012
                     New York, NY 10014



                     Head, Hillary
                     305 W Fayette Street #1410
                     Baltimore, MD 21201



                     Healy, Jason
                     2022 Springdale Ave
                     Charolette, NC 28203



                     Heaven Bound Ascensions
                     66 North Villageview Road
                     Tallmadge, OH 44278



                     Hebson, Elicia
                     2921 Park Harbor Ct
                     fort worth, TX 76116



                     Heck, Leah
                     2301 S. 5th St. suite 14
                     Austin, TX 78704
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 777 of 924


                     Heckenberg, Brad
                     8750-3 cherry lane
                     laurel, MD 20707



                     Hedberg, Timothy
                     11885 Buck creek circle
                     Noblesville, IN 46060



                     Hedrick, Barry
                     500 East Border Street, 7th Floor
                     Arlington, TX 76010



                     Heinrich, Donovan
                     5441 Deep Canyon
                     Garland, TX 85043



                     HEINS, RALPH
                     1445 Ross Ave. Suite 5150
                     Dallas, TX 75202



                     Helicopters, Inc.
                     993 River Currents Dr.
                     Memphis, TN 38103



                     Henderson, Scott A
                     4109 Woodfox St
                     Houston, TX 77025



                     Hendrix, Mark
                     541 Hill Street apartment D
                     San Fransico, CA 94114



                     HENMAN, KIRT
                     22797 Ellsworth Ave
                     Menerva, OH 44657
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 778 of 924


                     Hensen, Erica
                     1045 Church Rd
                     Green Lane, PA 18054



                     Hensgens, Hans
                     11632 Grandview Road
                     Kansas City, MO 64137



                     Henslin, Scott C.
                     424 16th avenue North
                     South St Paul, MN 55075



                     Hermida, Daniel J.
                     110 Sumter Ln Apt I
                     Central, SC 29630



                     Hermida, Jazkhlan
                     7474 east arkansas ave apt.1702
                     denver, CO 80231



                     Hernandez, Michael 2
                     312 29th St., NE
                     Cedar Rapids, IA 52406



                     Herndon, Chad
                     606 Hyde Park
                     Cleburne, TX 06033



                     Herrin, Michael
                     871 Buttonwood Lane
                     Altamonte Spring, FL 32714



                     Hersholt, Brian
                     415 N. Ogden Dr apt 2
                     Los Angels, CA 90036
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 779 of 924


                     Herweyer, Nicholas J
                     261 11th Ave
                     Vero Beach, FL 32962



                     Hester, Mary J.
                     5305 Meltow Rock Ave
                     Las Vegas, NV 89130



                     Hewko, Terri
                     3223 Camarie Ave
                     Midland, TX 79705



                     Hiatt, Jason M
                     1104 East 49th Street
                     Marion, IN 46953



                     Hicks, Thomas
                     11308 Jefferson Way
                     Alpharetta, GA 30005



                     Higgins, David A.
                     754 Thicket Lane
                     Housten, TX 77079



                     Higgins, Justin
                     PO BOX 13051
                     Evansville, IN 47728



                     High But Dry Balloons
                     4164 Austin Bluffs Parkway
                     #146
                     Colorado Springs, CO 80918



                     Highsmith, Carol
                     7501 Carol Avenue
                     Tacoma Park, MD 20912
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 780 of 924


                     Hild, Jeff
                     1444 W street
                     DC, DC 20009



                     hildreth, clinton
                     6552 la mirada drive
                     jacksonville, FL 32217



                     Hill, Fred
                     3147 wolf club dribe
                     atlanta, GA 30349



                     Hillier, Luke
                     5000 Ocean Front ave
                     Virginia Beach, VA 23451



                     HIMES, JENNIFER
                     769 HIDDEN SPRINGS DRIVE
                     LEWIS CENTER, OH 43035



                     Hinrichs, Roger
                     208 Morning Side Dr.
                     Hopkinsville, KY 42240



                     Hinson, Courtney
                     145 Lake E 8 Trail
                     Longview, TX 75605



                     Hirsch, Adam
                     8421 N 76th E Ave
                     Owasso, OK 74055



                     Hitt, Ricky
                     430 S.Bryan Beltline
                     Mesquite, TX 75149
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 781 of 924


                     Hnath, Jenna
                     12812 W Old Baltimore Road
                     Boyds, MD 20841



                     Ho, Nancy
                     535 Owasso Hills Drive
                     Roseville, MN 55113



                     Hocker, LaDonna
                     1073 Meadowbrook Dr
                     Woodstock, GA 30188



                     Hodge, Lynda
                     351 King st. Apt C
                     Charleston, SC 29401



                     Hodgson, Jill G
                     803 Ivy Dr
                     Pflugerville, TX 78660



                     Hoeldt, Joshua
                     18827 Citation Road Unit A
                     Eagle River, AK 99577



                     Hoelzle, Brian
                     917 W. Dakin #109
                     Chicago, IL 60613



                     Hoffman, Gary
                     2189 Andorra St
                     Navarre, FL 32556



                     Hoffman, Mathew
                     5014 West The Riviera Street
                     Tampa, FL 33609
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 782 of 924


                     Hoffner, James C
                     43 Orchard Ln James Hoffner
                     Kirkwood, MO 63122



                     Hoffner, Sandra J
                     1017 Quarterpath Drive
                     Winterville, NC 28590



                     Hoffpauir, Dale
                     PO Box 82561
                     Lafayette, LA 70598



                     Holiday, Justin
                     1704 Wallace St.
                     Philadelphia, PA 19130



                     Hollister, Thomas
                     14 Renee Lane
                     Newark, DE 19711



                     Holloman Corporation
                     Jimmy Brannon
                     Odessa, TX 79762



                     Holloway, Jason
                     2575 Blessed Place
                     Pinewood, SC 29125



                     Holthofer, August
                     813 High Meadow Ct.
                     Louisville, TX 75077



                     Hooks, Allison
                     3720 west alabama #5209
                     houston, TX 77027
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 783 of 924


                     Hooper, Lawrence
                     106 3rd street
                     saratoga, NY 12866



                     Hoover, Donna M
                     11424 East Ereyfus Ave
                     scottsdale, AZ 85259



                     Hope, Crystal D
                     2066 Callaway Ct NW
                     Atlanta, GA 30318



                     Hope, Jason
                     po box 10195 dept 858
                     Palo Alto, CA 94303



                     Hoppe, Nicholas
                     3009 Barksdale Court
                     Bellevue, NE 68123



                     Horgan, Erin
                     741 E 9th Street
                     New York, NY 10009



                     Hormaza, Margarita
                     5701 NW 114th court apt 107
                     Doral, FL 33178



                     Hosftetter, Erin
                     20 Sea point way
                     Pitsburg, CA 94565



                     Hot Air Balloon Port, LLC
                     42093 Preston Landry Rd
                     Gonzales, LA 70737
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 784 of 924


                     Hot Air Expeditions, Inc.
                     2243 E. Rose Garden Loop
                     Suite One
                     Phoenix, AZ 85024



                     Housley, Tamika
                     511 N. Virginia Ave
                     Glenwood, IL 60425



                     Hovis, Andrew
                     15995 North Barkers Landing
                     Houston, TX 77079



                     Howard, Jacquline
                     5304 Wendley Rd
                     Baltimore, MD 21229



                     Howat, Christopher
                     8107 Augusta Pines PKWY W
                     Spring, TX 77389



                     Howe, Amanda
                     430 South Capital St SE
                     Washington, DC 20003



                     Howell, Robert T.
                     525 Chapman Ln.
                     Marietta, GA 30066



                     Hoyles, Jennifer
                     8661 SE 17th Court
                     Ocala, FL 34480



                     Huang, Lei
                     2644 Hunt St. Unit 2
                     Ames, IA 50014
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 785 of 924


                     Huber, Kelly
                     4640 Teresa Trail
                     Midlothian, TX 76065



                     Hudak, Andrew
                     2765 Preston Club
                     Columbus, OH 43219



                     Hudak, Stephen
                     3124 Bel Aire Road
                     Des Moines, IA 50310



                     Hudgins, Melissa
                     11336 Copper Hill Dr
                     Hammond, LA 70403



                     hueneman, kent
                     575 highway 69
                     garner, IA 50438



                     Huffman, Hailey 1
                     225 Shady Grove Road
                     Nashville, TN 37214



                     Hughes, Curtis 1
                     1920 Exchange Dr
                     Greenville, NC 27858



                     Hughes, Nancy
                     5141 Eastlake Dr.
                     Pompano Beach, FL 33064



                     Hughes, Ocee
                     1411 Hillandale Ave. Apt 6
                     La Habra, CA 90631
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 786 of 924


                     Hughes, Ryan 1
                     714 KINWOOD PORRT SE.
                     LACEY, WA 98503



                     Humphries, Bob
                     2319 W. Cedar Bayou Linchburg
                     Baytown, TX 77521



                     Hunt, Antoine
                     P.O. Box DV 737
                     Devonshire, 51



                     Huntington, Kate
                     585 north main st. apt 10
                     tooele, UT 84074



                     Hurlburt, John R
                     2793 Pre Emption Street
                     Geneva, NY 14456



                     hussey , michelle
                     2046 hollis rd
                     lansdale, PA 19446



                     Hutson, James
                     806 WAshington Ave
                     albany, NY 12203



                     Hutton, Sean
                     200 East St
                     Southington, CT 06489



                     Hwang, Sunghyun
                     3762 S Flower St Apt.1
                     Los Angeles, CA 90007
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 787 of 924


                     Ihrig, Matthew
                     20115 Tom Lee Ave
                     Torrance, CA 90503



                     Ilagan , Michaelangelo
                     208 Lenape Ave.
                     Melrose Park, PA 19027



                     In Flight Balloon Adventures
                     P.O. Box 5339
                     Clinton, NJ 08809



                     Ince, Richard
                     1053 Wyndhan
                     Lansing, KS 66043



                     Independent Skydive Company
                     Jeremy Divan
                     3335 Airport Rd, Unit E
                     Boulder, CO 80301



                     Indy Balloon Rides
                     405 E. New York
                     Fortville, IN 46040



                     Infinity & Beyond
                     78 Warner Hill Road
                     Derry, NH 03038



                     Isaias, Ambres
                     1728 Sw Coral Way
                     Miami, FL 32145



                     Isidro, Claire
                     73 Trabuco Oak Drive
                     Simi Valley, CA 93065
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 788 of 924


                     Island Balloons, Inc.
                     Reed Basley
                     8530 Hicks Island Rd.
                     Lanexa, VA 23089



                     Island, Jason
                     1203 Peacham Ct.
                     Fresno, TX 77545



                     Israel, Nathan
                     102 Michele Dr
                     Hampton, VA 23669



                     ITC Holdings
                     27175 Energy Way
                     Novi, MI 48377



                     Ivey, Stefani
                     650 North Leora Lane apt 925
                     vacollony, TX 75056



                     Izehi, Isleo
                     1 tridon cir box 677
                     fort dodge, IA 50501



                     Jackson, James G.
                     9 S Silverview Ln.
                     Greer, SC 29651



                     Jacob, Patricia M.
                     22 Golden Ash way
                     Gaithersburg, MD 20878



                     Jaeger, Chris
                     3400 Ave of the Arts
                     Costa Mesa, CA 92626
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 789 of 924


                     Jagusch, Dean
                     5220 Pennington ave
                     Baltimore, MD 21226



                     jaimes, martin e
                     715 west foothill blvd
                     Mongrovin, CA 91016



                     James, Max 1
                     101 Convention Center Drive # 1225
                     Las Vegas, NV 89109



                     Jara, Jacyln
                     10105 Elm Cirle Drive
                     Oak Lawn, IL 60453



                     Javid, Hassan
                     46 gallop lane
                     somerset, NJ 08873



                     Jayaram, Nandish
                     908 Greek Rd Dr. Apt 246
                     Arlington, TX 76013



                     Jenkins, Neil
                     2046 Brown Rd
                     Aurburn Hills, MI 48326



                     Jennings, Jerry
                     104 Blue Steam St.
                     Brighton, CO 80601



                     Jensen, Sabrina
                     165 E 400 N
                     Bountiful, UT 84010
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 790 of 924


                     Jha, Rohan
                     17180 Big Oak Lane
                     Yorba Linda, CA 92886



                     Jhaveri, Nishant
                     12817 Shadow Oak Ln
                     Fairfax, VA 22033



                     Jiang, Honglei
                     3239 Armour Court
                     Mason, OH 45040



                     Jiao, Chao L.
                     901 Sumter BreyrresSt 207
                     Columbia, SC 29208



                     Jimenez, Perla
                     1411 N Cockrell Hill Rd
                     Dallas, TX 75211



                     jiwani, amynah
                     112 Sugarstone Dr
                     Lawrenceville, GA 30043



                     Johanson, Dave
                     2122 York Rd
                     Oakbrook, IL 60523



                     John, Ashish
                     426 Arkansaw st apt3
                     San Francisco, CA 94107



                     Johns, Michael T.
                     3695 Norman Scott Rd.
                     San Diego, CA 92136
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 791 of 924


                     Johnson, Adam 1
                     510 Westridge Dr
                     Ofallon, MO 63366



                     Johnson, Allen K
                     1084 Brielle Court
                     Oviedo, FL 32765



                     Johnson, Ana 1
                     5009 West Equestrian Pl Apt 1124
                     Sioux Falls, SD 57106



                     Johnson, Chris 1
                     805 Corss timbers dr
                     Mckenney, TX 75069



                     Johnson, Debron
                     2520 North 3000 West
                     Delta, UT 84624



                     Johnson, Douglas
                     109 Silverdale Garden
                     Fort Mcmurray Alburta T9H3S6



                     Johnson, Herbie
                     501 Home Ave
                     Norton, KS 67654



                     Johnson, Jeff 3
                     919 Milam St
                     Houston, TX 77002



                     Johnson, Jeranica
                     505 Pecan Grove Loop
                     Hopemills, NC 28348
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 792 of 924


                     Johnson, Nancy 1
                     85 Adam st
                     Fairhaven, MA 02719



                     Johnson, Shannon C
                     2006 Newbury Drive
                     Arlington, TX 76014



                     Johnson, Shanti
                     116 Dearplace
                     Pagsa springs, CO 81147



                     Johnston, April A.
                     4316 summercrest blvd
                     Antioch, TN 37013



                     Johnston, Jacob D
                     387 Hareing Highway West
                     Marion, OH 43302



                     Jonas, Nicholas
                     250 West 57th street
                     New York, NY 10107



                     Jones, Aarin
                     4214 Washington rd.apt 203
                     Kenosha, WI 53144



                     Jones, Brent
                     413 S 180th Place
                     Seattle, WA 98148



                     Jones, Jackie
                     3500 North Star Road apt 218
                     Richardson, TX 75082
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 793 of 924


                     Jones, Melissa
                     302 Marietta Road
                     Mooresville, NC 28117



                     Jones, Michael 1
                     9016 N. Wyandotte Ave
                     Kansas City, MO 64155



                     Jones, Peggy
                     152 Heritage Village Ln
                     Columbia, SC 29212



                     Jones, Sarah E
                     3870 Kelly green Place
                     MD 20602



                     Jones, Tyler 1
                     6703 Chevy Ray
                     Tallahassee, FL 32317



                     Jordan, Thomas E.
                     528 Rua Dematta
                     San Antonio, TX 78232



                     Joseph, Nerlande
                     119 Matrix Prkwy
                     Peidmont, SC 29673



                     Juarez, Martin
                     702 S Bellrose
                     Whichita, KS 67218



                     Judd, Trevor
                     5810 Osage Ave
                     Cheyanne, WY 82009
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 794 of 924


                     Julio, Moreo
                     PO BOX 2095
                     Santa Rosa, CA 95405



                     Jump Florida Skydiving LLC.
                     3800 Chalet Suzanne Drive
                     Lake Wales, FL 33859



                     Jurrema, Peter
                     4325 Persimmon Ct
                     Columbus, IN 47201



                     Justice, Janet
                     583 Indian Springs Dr
                     Kerriville, TX 78028



                     Justiniano, Jessica
                     2478 SW 177th Ave
                     Mirimar, FL 33029



                     Jutzi, Jack
                     6741 Amber Crest Dr.
                     Arlington, TX 76002



                     Kaczmarek, John
                     3501 Edgewood Drive
                     Amarillo, TX 79109



                     Kaiser, James
                     4670 shearwood ct NE
                     grand rapids, MI 49525



                     Kakkad, Rishi
                     5450 wissahickon ave.
                     Philadelphia, PA 19144
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 795 of 924


                     Kalali, Chandra
                     4117 Stevenson Blvd
                     Fremont 94538



                     Kalimullina, Gazul
                     199 Acacia Ave.
                     Statin Island, NY 10308



                     kamdar, devyani
                     695 riviera circle
                     larkstur, CA 94939



                     Kanakis, Heather
                     45447 Blue Sage pl
                     Great Mills, MD 20634



                     Kanter, Lauren
                     4500 Woodfield Bulv.
                     Boca Raton, FL 33434



                     Karen Kent Balloons
                     4128 Rougon Road
                     Port Allen, LA 70767



                     Katikaneni, Sreerama
                     1901 Crossing Place 2204
                     Austin, TX 78741



                     Kauffman, Kent
                     700 north patton
                     harrisonville, MO 64701



                     Kaur, Manjet
                     1414 Burrero Way
                     Corona, CA 92882
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 796 of 924


                     Kedrowski, Michelle
                     15129 45 Rd
                     Arlington, WA 98223



                     Keen, Bradley T
                     2601 Jeff Neely Drive
                     nashville, TN 37212



                     Keenan, Lisa
                     11275 110th Ave.
                     Largo, FL 33778



                     Kelly, Eileen
                     18 Elstone Dr.
                     Glen Mills, PA 19342



                     Kelly, Julie 1
                     3901 Dovina Dr
                     Raleigh, NC 27613



                     Kelly, Richard
                     1875 Newport Blvd
                     costa Mesas, CA 92627



                     Kelly, Stephen
                     P.O. Box 1472
                     Seally Lake, MT 59868



                     Kenderdine, joshua
                     8119
                     albuquerque, NM 87120



                     Kendrick, Edward R
                     253 Highland Falls Dr
                     Hiram, GA 30141
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 797 of 924


                     Kenkelen, Ryann
                     927 cummings Ave.
                     Blackwood, NJ 08012



                     Kennedy, Chloe
                     1 macquarie
                     tennerisse 04001



                     Kenyon, Carol A.
                     21329 Old Bellamy Road
                     Alachua, FL 32615



                     Kerr, Steve
                     8624 donnywood circle
                     britt, MN 55710



                     Kerschner, Erica
                     5389 Verne Rd.
                     Mohrsville, PA 19541



                     kestler, jacquelyn
                     2202 may wine ln
                     ofallon, MO 63368



                     Kettani, Eric
                     8105 Eagle Rd
                     Kirtland, OH 44094



                     Kettlewell, Mathew
                     146 Clearview Avenue
                     Wheeling, WV 26003



                     Khadake, Pramod
                     3435 Waterford Forest Cir
                     Cary, NC 27513
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 798 of 924


                     Khalsa, Carol
                     12 Foote St
                     Berington, SC 02806



                     Kidd, Stephanie
                     1600 Sherri Way
                     Richamond, IN 47374



                     Kilpatrick, Charles
                     105 Spindal Ln
                     Lugoff, SC 29078



                     Kim, Amy
                     1525 Addison Circle Apt 2430
                     Addison, TX 75001



                     Kimball, Jill
                     1507 Ancor Court
                     Orlando, FL 32804



                     King, Donald 1
                     508 Tucker Way Ct
                     Nashville, TN 37205



                     Kinney, Elizabeth
                     7116 Blairview Dr
                     Dallas, TX 75230



                     Kirchberg, Chris
                     385 peaceful court
                     Simi Valley, CA 93065



                     Kirwan, Greg
                     605 Oak Hill Rd.
                     N. Kingstown, RI 02852
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 799 of 924


                     Kite Enterprises
                     203 Whisenant Dr
                     Allen, TX 75013



                     Klaus, Brian
                     470 waterson School Rd
                     Redrock, TX 78662



                     Klein, Mark E.
                     2411 SW 27th Ave
                     Fort Lauderdale, FL 33316



                     Kline, Alexander
                     198 Wildwood Drive
                     North Aurora, IL 60542



                     Kline, Heather
                     3805 Courtland cir
                     Alexandria, VA 22305



                     Kline, Jody
                     214 Hastings Dr
                     Goose Creek, SC 29445



                     Knapp, Raymond
                     414 2nd St
                     Perry, IA 50220



                     Knepp, Melissa
                     8 S Locke Ave.
                     Yeagertown, PA 17099



                     Knight, Austin
                     92 summer tree drive
                     Nicholasville, KY 40356
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 800 of 924


                     Knight, Elizabeth
                     46 Arlington St.
                     Burnside Christchurch 08



                     Knopinski, Diana
                     250 Central Avenue, Apt. 811
                     Newark, NJ 07103



                     Knott, Edmond
                     524 south 4th street
                     albion, NE 68620



                     Knowling, Brittney
                     205 N Davis Dr
                     Charleston, SC 29404



                     Knuth, Shelley
                     1709 Apelles Cir
                     Lafeyette, CO 80026



                     Kodkani, Yogeeta
                     1511 noble pointe dr
                     Spring, TX 77379



                     Koenig, Maxwell
                     221 Summit
                     Mount Vernon, NY 10552



                     Koerner, Lukes
                     2412 S.Valley Dr. lot 12
                     Rapid City, SD 57703



                     Koerth, Andrea
                     224 S. Mccampbell St.
                     Aransas Pass, TX 78336
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 801 of 924


                     Kohlhepp, Joe
                     1507 Woodridge Lane
                     Sykesville, MD 21784



                     Kokaisl, Colleen
                     3508 N Sheffield Rd
                     Chicago, IL 60657



                     Kolowich, Brian
                     854 Issaqueena Trail #602
                     Clemson, SC 29630



                     Kolz, James
                     607 S Knight Ave
                     Park Ridege, IL 60068



                     Konopka, Douglas
                     1736 Milford St
                     Huston, TX 77098



                     Kooiman, Cheryl
                     2379 N 65th Street
                     Wauwatosa, WI 53213



                     Koontz, Kristy
                     610 Ivenhoe
                     Marion, IN 46952



                     Kopec, Joanna
                     2066 Cedar Park Ln
                     Orlando, FL 32824



                     Korelitz, Michael
                     25450 Pleasant Valley Rd
                     Chantilly, VA 20152
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 802 of 924


                     korin, brad
                     22 normal lane.
                     kingspark, NY 11754



                     Kostakis, Edward
                     489 Emory Rd
                     Mineola, NY 11501



                     Koster, Rick
                     2031 Eighth Ave
                     Byron Center, MI 49315



                     Kotlerman, Jenny
                     3121 Colorado ave unit T
                     santa monica, CA 90404



                     Kotova, Marina
                     8410 Brookwood Ct.
                     Mclean, VA 22102



                     kotsinonos, john R
                     324 East 35th street apartment 3D
                     new york, NY 10016



                     Kowalko, Len
                     505 Juego St
                     Oxnard, CA 93030



                     KRABACHER, PAUL
                     235 weber street
                     woodland, CA 95695



                     Kraimer, Joyce M
                     826 Loxford Terrace
                     Silver Springs, MD 20901
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 803 of 924


                     Kramer, Kurt L.
                     36 Ledyard Avenue
                     New York, NY 14043



                     Kramer, Paul
                     4133 Birch Drive
                     Huntingtown, MD 20639



                     Kramer, Sean J.
                     516 West Polk
                     Houston, TX 77019



                     Krammer, Angel
                     11070 SE 196th st
                     Inglis, FL 34449



                     Kraus, Yoanna
                     318 Plymouth St
                     Silverspring, MD 20901



                     Krawl, Sherry
                     11982 Handrich Dr
                     San Diego, CA 92131



                     Krivan, Gail
                     3588 Harvard Dr
                     Carson City, NV 89703



                     Krokos, Olga
                     8736 Hanna Ave
                     Canoga Park, CA 91304



                     Krueger, Anita
                     1100 Pagedale Dr
                     Cedar Park, FL 78613
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 804 of 924


                     Kruger, Robert
                     8819 W 3rd Avenue
                     Kennewick, WA 99336



                     Kukla, Mary K
                     3625 W Windsor Ct
                     La Porte, IN 46350



                     Kulikowski, Patricia
                     512 Wemberly Ln
                     Simpsonville, SC 29681



                     Kulkarni, Dhawal, V
                     2193 Summer Pkwy
                     Duluth, GA 30096



                     Kunkel, Kathleen
                     22W103 Sheffield Ct
                     GlenEllyb, IL 60137



                     Kurepa, Cheryl
                     100 W Big Beaver
                     Troy, MI 48084



                     Kyle, camilia
                     4521 mellwood ave
                     cinnati, OH 45232



                     Labrada, Dayana
                     325 S Biscayne Blvd Apt 1223
                     Miami, FL 33131



                     Lacey, Jaime A.
                     27069-4 crossglade ave
                     canyon contry, CA 91351
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 805 of 924


                     Lachance, Adam
                     507 Churchhill Downs Dr
                     Aberdeen, NC 28315



                     Ladd, Clare
                     2843 S Kenwood.
                     Tempe, AZ 85282



                     Ladino, Jennifer E
                     21 Lake St
                     Groton, CT 06340



                     Lalumiere, Eric
                     2037 Burton Street
                     San Diego, CA 92109



                     Lamb, Isabel
                     550 Salmon
                     Beaumont, TX 77701



                     Landry, Kirk
                     4924 Hastings St
                     Metairie, LA 70006



                     Landry, Sharon
                     218 New Castle dr
                     Valejo, CA 94591



                     Lane, Douglas
                     255 Old Loudon Rd
                     Latham, NY 12110



                     Lane, Gunilla
                     4150 NE 23rd Avenue
                     Lighthouse Point, FL 33064
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 806 of 924


                     Lane, John 1
                     3500 American Dr
                     Sacramento, CA 95864



                     Lang, Becky
                     1050 Pheasant Dr
                     Genoa City, WI 53128



                     Langford, David
                     P.o box 701
                     winnebago, MN 56098



                     langner, jennifer
                     43803 county rd 1
                     rice, MN



                     Larie, Tammy
                     1500 June Ln
                     Columbia, MO 65202



                     Larios, Salvador
                     1818 Letts Ave.
                     Corcoran, CA 93212



                     Larkins, Jamail
                     3108 Peach Orchard
                     Augusta, GA 30906



                     Larkins, James
                     503 jasper st
                     Isherning, MI 49849



                     Larrabee, Lewis
                     2220 McLean Blvd
                     Eugene, OR 97405
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 807 of 924


                     Larson, Keegan
                     416 N Shelly Ave
                     Fresno, CA 93727



                     Lasner, Ryan
                     18414 North west 9th court
                     Pembrook pines, FL 33029



                     Last, Robert R
                     1153 Bergen Parkway #178
                     Evergreen, CO 80439



                     Laub, Thomas
                     628 south Redding Ave.
                     Boyertown, PA 19512



                     Laurin, Nicholas W
                     13540 Short drive
                     crestwood, IL 60445



                     Lax, Kelsey
                     6201 Ocean Breeze
                     Malibu, CA 90265



                     Le, Christine 1
                     3433 Rosetree Dr
                     Jacksonville, FL 32207



                     Le, Hong
                     410 Bloedel Reserve Way Apt 204
                     Martinez, GA 30907



                     Le, Loan K
                     1066 12th Ave Drive NW
                     Hickory, NC 28601
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 808 of 924


                     Leahy, Bruce
                     3906 Niblick St
                     Longmont, CO 80503



                     Leandro, Guillermo
                     7715 NW 46th St.
                     Doral, FL 33166



                     Leanillo, Ricarda, A
                     13945 12th St.
                     Dade City, FL



                     Leano, Jocelyn
                     8336 W. Buckhorn Trail
                     Peoria, AZ 85383



                     Leavens, Gregory
                     405 Pershing Street
                     Elwood City, PA 16117



                     Lee, Diana
                     1414 Harbour Way S
                     Richmond, CA 94804



                     Lee, Joshua 1
                     50 Northern Turnpike
                     Johnsonville, NY 12094



                     Lee, Matthew B.
                     1078 Fortner pond rd
                     kite, GA 31045



                     Lee, Sang M.
                     4614 La Escalona Drive
                     League, TX 77573
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 809 of 924


                     Lee, Teri
                     P.O. Box 393
                     Arkadelphia, AR 71923



                     Leemasters, Bryan
                     21 ashberry woods dr 101
                     huntsville, AL 35824



                     Leesam, Sandy
                     3154 Laird Dr.
                     Newport Richey, FL 34655



                     Leidholt, Krista
                     1520 Riveroak Ave
                     Brandon, SD 57005



                     Leishman, Greg
                     9 pond veiw drive
                     springflied, MA 01118



                     Lemus, Eleimar
                     614 South West 1st lane
                     Pompano Beach, FL 33060



                     Lena, Vasi
                     255 Broken Point
                     Clearwater Beach, FL 33767



                     Lenihan, Erin
                     39 Oak Drive
                     Roseland, NJ 07068



                     Lentz, Chris
                     90 Elizabeth St Apt 3
                     Atlanta, GA 30307
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 810 of 924


                     Lentz, Christopher
                     90 Elizabeth street apartment 3
                     Atlanta, GA 30307



                     Lenz, Gean
                     23655 620th St
                     Pomeroy, IA 50575



                     Leonarczyk, Gregory E.
                     145 Juniper Dr
                     Yorktown Heights, NY 10598



                     Leonard, Kala
                     1914 Frankford Ave Apt 133
                     Panama City, FL 32045



                     Leonard, Zackary
                     26 mary's rd
                     sunapee, NH 03782



                     Leous, Courtney
                     180 Summer Street
                     Buffalo, NY 14222



                     Lesage, Lawrence
                     10 Morgan Rd
                     Selkirk, NY 12158



                     Leverett, Steve
                     463 mountfort rd
                     n yarmouth, ME 04097



                     Levitan, Nomi
                     10 Golar Dr
                     Munci, NY 10952
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 811 of 924


                     Levy, Michel
                     524 North Poinsettia place
                     Los Angles, CA 90036



                     Lewis, Kelly
                     16022 pedlar mills road
                     charltte, NC 28278



                     Lezinska, Dimi
                     65 C Chesson Rd
                     London W149QR



                     Li, Binbin
                     270 Babcock St Apt 18h
                     Boston, MA 02215



                     Li, Brian K
                     po box 734 742 north amherst ave
                     claremont, CA 91711



                     Liberty Balloon Co.
                     d/b/a Liberty Balloon Co.
                     6730 Barber Hill Road
                     Groveland, NY 14462



                     Lichtenberg, Christine
                     1233 102nd Avenue
                     Greeley, CO 80634



                     Liddell, Celia
                     6825 33rd St
                     Vero Beach, FL 32966



                     Liechty, Elizabeth
                     2400 Boston street suit 102
                     baltimore, MD 21224
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 812 of 924


                     Life Cycle Balloon Adventures, Ltd
                     P.O. Box 17123
                     Boulder, CO 80308



                     Lilliam Dejesus
                     304 Trotters Way
                     Dallas, GA 30132-0331



                     LimeLite Balloons
                     2700 South Kirby Rd
                     Bloomington, IN 47403



                     Lin, Letian
                     303 Smith Level rd. apt e22
                     Chapel Hill, NC 27516



                     Lindner, Steve
                     10020 Foothills Blvd
                     Roseville, CA 95767



                     Lingerfelt, Patricia
                     po box 3416
                     Arnold, CA 95223



                     Lioce, Laura J 1
                     12595 86 Rd. North
                     West Palm Beach, FL 33412



                     Lively, Clint D.
                     104 W. Arcadia Ave, Unit 90
                     Clovis, NM 88101



                     Livermont, Carol
                     678 N 3200 E
                     Menan, ID 83434
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 813 of 924


                     Livingston, Alexander
                     1545 South park
                     Halifax NS, 51



                     Lobello, Vickie
                     2954 Circle View Dr
                     Semi Valley, CA 93063



                     Lochner, Todd
                     182 Duke of Gloucester St
                     Annapolis, MD 21401



                     Locke, Mary
                     6207 44th Ave.
                     Riverdale, MD 20737



                     Logon, Tom
                     1311a W maine st
                     Carmi, IL 62821



                     Logsdon, John
                     7912 Truxton Ave
                     los angeles, CA 90045



                     Loken, Elizabeth
                     11770 Crow Hill Dr.
                     Parker, CO 80134



                     Lokma, Ahmed A
                     705 Park ave NE
                     Atlanta, GA 30326



                     Londo, James
                     4145 deerfield lane
                     Rapid River, MI 49878
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 814 of 924


                     Long Island Skydiving Center, Inc.
                     Long Island Skydiving Center, Inc.
                     P O Box 182
                     Titusville, FL 32781



                     Long, Brent
                     22800 Cabo Lane
                     Denhim Springs, LA 70726



                     Long, Jennifer 1
                     5902 highland pass
                     Austin, TX 78731



                     Long, Lindsey
                     19619 Norfolk Ridge Way
                     Richmond, TX 77407



                     Longacker, Kristopher
                     39990 Roadrunner Lane
                     Boulevard, CA 91905



                     Longhurst, Dale
                     1585 EasT Miranda Lane
                     Sandy, UT 84093



                     Longmont Hot Air Balloon, LLC
                     PO Box 739
                     Longmont, CO 80502-0739



                     Longoria, Roel
                     326 Waggon Trl. rd
                     Palmhurst, TX 78573



                     Loomis, Peter
                     804 Shallow Brook Ave.
                     Wintersprings, FL 32708
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 815 of 924


                     Lopez, Christina
                     4923 paul street
                     denver, CO 80216



                     Lopez, Francisco E.
                     7339 Nada Street
                     Downey, CA 90242



                     Lopez, Patricia
                     4509 Kings Row
                     Von Ormy, TX 78073



                     Louvier, Farrell
                     2004 Ruby Dr
                     Houma, LA 70363



                     Lovell, Susan
                     PO Box 220
                     Burnsville, NC 28714



                     Loveres, Katrina
                     28374 Scamore Dr
                     Saugus, CA 91350



                     Lowden, Lanette
                     PO Box 1298
                     Kyle, TX 78640



                     Lowe, Nathanael
                     826 MASONIC AVE
                     SAN FRANSICO, CA 94117



                     Lowe, Trent
                     1165 Taylors Country Ln.
                     Gold Hill, NC 28071
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 816 of 924


                     Lowery, Jill K.
                     120 Indepence Ave
                     Enterprise, AL 36330



                     Lozano, Hector
                     1449 Abenida Alverado
                     Placentia, CA 92870



                     Lucas, Brian
                     5818 Akron Street
                     Philadelphia, PA 19149



                     Lucci, Fran
                     6138 Garamond Ct
                     Charlotte, NC 28270



                     Lucente, Cheryl
                     615 Valie Vista Drive
                     Brandon, FL 33511



                     Luetkemeyer, Robin
                     5090 Green Hills Rd
                     Festus, MO 63028



                     Lufkin, Gregory
                     633 South Barrington St unit 102
                     Los Angeles, CA 90049



                     Luna, Daniel
                     42 S Meade St
                     Denver, CO 80219



                     Luna, Jose L.
                     654 Laurel St., Unit 7
                     East Haven, CT 06512
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 817 of 924


                     Lunau, Tina
                     1703 Cashel Lane
                     McHenry, IL 60050



                     Lungu, Zachary
                     186 Pier Landing loop
                     South Mills, NC 27976



                     Luther, Connie
                     53 1/2 South Williams St
                     Neward, OH 43055



                     Lynskey, Timothy
                     3109 Barker camp Rd
                     Dunlap, TN 37327



                     Maccrimmon, Mallory 1
                     485 Huntington Ridge Drive
                     Nashville, TN 37211



                     Macdonald, Karen A
                     5 Lee Hill Road
                     Lee, NH 03861



                     Machado, Tonya 1
                     420 Gander Ct.
                     Spring Hill, TN 37175



                     Macintosh, Rebecca M
                     21139 Iverson Ave
                     Forrest Lake, MN 55025



                     macktal, doreen
                     po box333
                     avalon, CA 90704
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 818 of 924


                     MacLeod, Rodrick
                     330 Congress St Flr 2
                     Boston, MA 02210



                     MacMillan, Reed C.
                     5315 Atlee Place
                     Springfield, VA 22151



                     Maddison, Cameron
                     2307 Lourddes Rd
                     Richmond, VA 23228



                     Madira, Ana
                     29 Acacia Terrace
                     New Rochelle, NY 10805



                     Maes, Felicia
                     22 W Onieda St
                     Oswego, NY 13126



                     Magana, Elizabeth
                     1314 La Tijera Blvd
                     Inglewood, CA 90302



                     Magical Adventures
                     P.O. Box 891951
                     Temecula, CA 92589-1951



                     Mahler, Bryan W
                     110 Barberry Street
                     Winder, PA 15963



                     Maizel, Adam A
                     12311 Lima Dr
                     Silver Springs, MD 20904
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 819 of 924


                     Manchester, Alaina
                     1128 SW 6th Avenue Aprt. 2
                     Gainsville, FL 32601



                     Mand, Linda
                     5188 Jenner Rd
                     Boonville, IN 47601



                     Maples, Christopher
                     1027 Valley View Drive Apt 2
                     junction City, KS 66441



                     Marcus , Russel
                     PO Box 11290
                     Conway, AR 72034



                     Marcus, Anthony
                     385 County Rd. 184
                     Clanton, AL 35046



                     Marcuzzi, Cain
                     5095 Frankfort Rd.
                     Versailles, KY 40383



                     Mark, John H.
                     31-37 55st
                     woodside, NY 11377



                     Markala, Kumar
                     585 78th Ave NE
                     Spring Lake Park, MN 55432



                     Markham, Steve
                     PO Box 27396
                     Austin, TX 78755
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 820 of 924


                     marlin, russell
                     840 n 4250 rd
                     claremore, OK 74019



                     Marmo, Mishell
                     325 wilson circle
                     green field, CA 93927



                     Marmorstein, Theodore S.
                     14418 N. 29th Ave
                     Pheonix, AZ 85053



                     Maroulis, Andreas
                     176 S Union Rd Apt A2
                     Buffalo, NY 14221



                     Marr, G. Trevor
                     10669 Obsidiad St.
                     Le Paso, TX 79924



                     Marron, Mary
                     1213 7 Gretrute Drive
                     Lynwood, CA 90262



                     Marsden, Craig
                     2 Brevoort Place Apt 4
                     Brroklyn, NY 11216



                     Martelli, Matt
                     2554 Pahuant St.
                     Oceanside, CA 92054



                     Martin, Anthony
                     315 Commercial Dr Suite A4
                     Savanah, GA 31406
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 821 of 924


                     Martin, Christopher 1
                     8419 22 Street
                     Miramar, FL 33025



                     Martin, Deborah A
                     4220 Savoy Lane
                     McHenry, IL 60050



                     Martin, Harriet
                     P.O BOX 2582
                     KIRTLAND, NM 87417



                     Martin, Omaida
                     2625 corning st
                     hephzibah, GA 30815



                     Martin, Regina B
                     12517 Fox Paw Trail
                     Keller, TX 76244



                     Martin, Samuel
                     1020 Reliance Dr.
                     Franklin, TN 37067



                     Martinez, Andrea 1
                     71-20 252 St.
                     Bellerose, NY 11426



                     Martinez, Corrina R.
                     901 S. Country Club Dr, 2104
                     Mesa, AZ 85201



                     MARTINEZ, JOHN J
                     6017 HICKORY GROVE LANE
                     PROT ORANGE, FL 32128
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 822 of 924


                     Martinez, Juana N.
                     1015 Hydeaway Ct
                     Fenton, MO 63026



                     Martz, Geoff
                     528 West 111 Street Apt: 77
                     New York, NY 10025



                     marx, krysten
                     2600 n southport
                     chicago, IL 60714



                     mason, Thomas
                     050 koval lane hanger 5 a
                     las vegas, NV 89119



                     Masuda, Nina
                     81 Pearl St Apt 4B
                     Brooklyn, NY 11201



                     Mata, Lauren
                     11800 Braesview Apt 910
                     San Antonio, TX 78213



                     Mathews, Larry
                     12010 Fairway Manor Ct
                     Upper Marlboro, MD 20772



                     Mathies , Michelle
                     8310 Country Walk Drive APT B
                     Pensacola, FL 32514



                     Mathre, Susan
                     1100 Montecelo Court
                     Ft. Collins, CO 80525
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 823 of 924


                     matias, marshall
                     3200 81st place SE unit A 302
                     mercer island, WA 98040



                     matson, robert a
                     7308 berquist drive
                     manchester, MO 63011



                     Matthews, Justin
                     9303 Overlook circle
                     Newburg, VA 20664



                     Matthews, Neal
                     12555 Dawn Beth Dr
                     Maryland Heights, MD 63043



                     Matthews, Rawn
                     359 Garland st
                     Memphis, TN 38104



                     Matthies, Kathy
                     26498 West Kuhle Drive
                     Sioux Falls, SD 57107



                     Maxwell, Rahsaan 1
                     10 Park Terrace E Apt 2F
                     New York, NY 10034



                     May, April
                     2413 Okemos Drive
                     Grand Rapids, MI 49506



                     May, Ryan
                     1524 jupiter
                     venice, FL 34293
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 824 of 924


                     Mayberry, Destini
                     15620 Mayberry Drive
                     Athens, AL 35613



                     Mc Laughlin, Mary C.
                     116 Terrace Dr
                     Syracuse, NY 13219



                     Mcafee, Patrick
                     10958 jamestown rd
                     Indianapolis, IN 46234



                     Mcafee, Shawn 1
                     212 Maplewood Dr
                     Pittsburg, PA 15214



                     Mcardle, Becky J
                     4272 Waylon Ct
                     Martinez, GA 30907



                     Mccabe, Kelly
                     3509 Blue Coat rd.
                     Nottingham, MD 21236



                     Mccarthy, Erin
                     273 Claudia Drive
                     Jacksonville, FL 32218



                     McClure, Beverly
                     9918 Valley Park Dr.
                     Houston, TX 77078



                     McClurt, Brittain
                     807 S 3rd Terrace
                     Savannah, MO 64485
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 825 of 924


                     McCollum, James
                     3403 Sunrise Circle
                     Jeffersonville, IN 47130



                     McCombs, Jerry
                     509 E. George St.
                     Carmichaels, PA 15320



                     mcconnell, Benjamin
                     319 millennium court
                     shepard airforce base, TX 76311



                     Mccormick, Debra
                     98 Earl Duberisson Rd
                     Carriere, MS 39426



                     McCormley, Christpher R.
                     6933 Aspen Creek lane
                     Dallas, TX 75252



                     Mccoy, Gerald
                     4135 Causeway Vista
                     Tampa, FL 33615



                     Mcdannald, Joshua Lee
                     43 Camelot Dr
                     Rochester, IL 62563



                     McDonald, Jessica
                     770 Mitchell Ave, 1131
                     Whiteman AFB, MO 65305



                     McDonald, William
                     8308 Oak Haven
                     La Port, TX 77571
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 826 of 924


                     McDowell, Ann
                     325 Midland Pkwy 820
                     Summerville, SC 29485



                     McElroy, Natalie
                     1320 darby rd
                     sebastapol, CA 95472



                     Mceneaney, Brian
                     PO BOX 17145
                     Denver, CO 80217



                     McGarrah, Emily
                     21 Shamrock Dr.
                     Harrison, AR 72601



                     Mcglothlin, Jack
                     Po box 5198
                     Abaline, TX 79608



                     McIntosh, Damon Allen
                     2845 Marion Way
                     Laguna Beach, CA 92651



                     McIvor, Kate
                     528 Highland
                     Helena, MT 59601



                     McKee, Harry
                     638 Marietta St. NW
                     Atlanta, GA 30313



                     McKie, Bonnie M
                     922 Banbury Court
                     Schaumburg, IL 60194
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 827 of 924


                     McKinley, Rhea
                     220 Mill Creek Tr
                     Cleveland, GA 30528



                     McLaughlin, James
                     4171 Choke Cherry Way
                     Liverpool, NY 13090



                     Mclemore, Michael
                     3403 Willow Oak Dr.
                     Edgewater, FL 32141



                     Mclendon, Pamela C
                     PO 2933
                     Marrero, LA 70073



                     McLennan, Crystal
                     9701 Elmeda Genoa Rd
                     Houston, TX 77075



                     Mcloughlin, Maureen
                     151 West 26th Street 11th Floor
                     New York, NY 10001



                     McMakin, Tamara R.
                     436 West Mont Dr.
                     Collingdale, PA 19023



                     McNeal, Sean
                     318 Remington Place
                     Pooler, GA 31322



                     Mcpherson, Madison
                     229 green oaks loop
                     Fredricks burg, TX 78624
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 828 of 924


                     Mctaggart, Diane 1
                     1152 allen rd
                     murfreesboro, TN 37129



                     McWhorter, Joseph
                     25247 Ladyhawk Ln
                     Brooksville, FL 34601



                     Medina, Herbart & Connie
                     1395 S Lastina St
                     Tulare, CA 93274



                     meier, phillip
                     300 e 34th st apt 32b
                     new york, NY 10016



                     Meine, Carla
                     176 Dry Canyon Drive
                     Lindon, UT 84042



                     Mello, Aaron
                     75 Dunn Dr
                     Fort Rucker, AL 36362



                     Melton, Bryant T.
                     8138 Saratoga Way
                     Port St. Lucie, FL 34986



                     Melton, Helen
                     504 park stone lane
                     woodstock, GA 30189



                     Mena, Amber
                     1922 Rose St
                     Leavenworth, KS 66048
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 829 of 924


                     Merage, Greg
                     4350 Von Karman Ave 4th flr
                     Newport, CA 92660



                     Mercado, Yolanda E
                     2175 52nd St N Apt 514
                     Clearwater, FL 33760



                     Mercer, Bevin
                     120 Saint Albans Drive
                     Raleigh, NC 27609



                     Merchant, Sulton
                     1618 Colridge Street
                     Sugar Land, TX 77479



                     Meredith, Hillary L
                     8220 4 St
                     Rathdrum, ID 83858



                     Merrill, Adam
                     603 wildwood lane
                     Blainsfield, MO 65583



                     Merrill, Christina
                     225 S 700 E
                     St George, UT 84770



                     Merrill, David
                     10200 Olive Wood Dr
                     Palmer, AK 99645



                     Merriman, Deven C
                     123 Riverdale Rd
                     Riverpool, NY 13090
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 830 of 924


                     Merritt, Julie E
                     35 Slater Road
                     Tolland, CT 06084



                     Meyer, Bryon 1
                     10481 South State St
                     Sandy, UT 84070



                     Meyers, David F
                     45 Wallstreet Apt 1401
                     New York, NY 10005



                     Meyers, Edward
                     5726 W. 46th St
                     Parma, OH 44134



                     Meza, Tiffany
                     10472 Christopher St
                     Cypress, CA 90630



                     Mezias, Nikolas
                     CA Ci Federal Inc
                     APO, AE 09354



                     Miami Skydiving Center
                     Charlevoix State Bank
                     111 State St
                     Charlevoix, MI 49720



                     Michaud, Nicole
                     3416 Kings Net Drive
                     Virginia Beach, VA 23452



                     Middle Tennessee Hot Air Adventures
                     Logan Bedford Adventures
                     5623 Pinewood Road
                     Franklin, TN 37064
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 831 of 924


                     Middleton, Desiree
                     46 Carmen St.
                     Sommerset, NJ 08873



                     Midwest Balloon Rides
                     Midwest Balloon Rides
                     8537 Bash Street #4
                     Indianapolis, IN 46250



                     Milam, Joe M
                     11317 Marbella Dr
                     Oklahoma City, OK 73173



                     Miles, Charlotte
                     142 North County Rd 175east
                     Greencastle, IN 46135



                     Miller, Cameron
                     2306 Winterset Pkwy SE
                     Marietta, GA 30067



                     Miller, Cassandra
                     619 Woodleaf Road
                     Eugene, OR 97405



                     Miller, James 4
                     1301 S 31st Street #1
                     Omaha, NE 68105



                     Miller, Jennifer A.
                     P.O Box 1036
                     Laurel Field, NC 28351



                     Miller, Kelley
                     420 E. Williams
                     Glendive, MT 59330
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 832 of 924


                     Miller, Keyunda
                     248 Patrick Ave SW
                     concord, NC 28025



                     Miller, Quynh P
                     3611 Turtle Run Blvd Apt 6314
                     Coral Springs, FL 33067



                     Miller, Timothy M
                     1709 Trimble Ave
                     Mckeesport, PA 15133



                     Milo, Anthony
                     3732 duran cirle
                     sacromento, CA 95821



                     Minhas, Mohammad
                     1105 Huntridge Dr.
                     Austin, TX 78758



                     Minkin, Patton
                     4123 General Pershing
                     New Orleans, LA 70125



                     Miranowski, Connor
                     1250 West Highway 287 Bypass # 623
                     Waxahachie, TX 75165



                     Mirza, Sikandar Z
                     2222 5th Street
                     East Meadow, NY 11554



                     Missouri River Valley Skydivers
                     42938 W. 64th Street
                     Henrietta, MO 64036
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 833 of 924


                     Mitchell, Mickey
                     200 Village Dr Apt 1211
                     Longview, TX 75605



                     Mkrtchyan, Mary
                     1338 Lindedn Ave.
                     Glendale, CA 91201



                     Moberg, Amber
                     10883 Jubilee Circle
                     Lakeville, MN 55044



                     Modi, Ravish
                     2871 Troy Center Dr
                     Troy, MI 48084



                     Moe, Teresa
                     2914 W Lake Drive
                     Lavaca, AR 72941



                     Moglia, Thomas
                     149 Broadway Apt 2
                     Brooklyn, NY 11211



                     Mohabbat, Karima
                     4804 Hwy 69 N
                     North Port, AL 35473



                     moheyeldien, Marwan
                     7030 Troy hill
                     Elkridge, MD 21075



                     Mohundro, Bryan S
                     3 CEB A co 2nd plt
                     twentynine palms, CA 92278
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 834 of 924


                     Moir, Gail E
                     17 Lantern Drive
                     Seymour, CT 06483



                     Mojica-Staton, Ivelesse
                     10601 Navagation Drive
                     Riverville, FL 33579



                     Molia, Monsoor
                     12337 Wynnfield Lakes Dr. Apt. 834
                     Jacksonville, FL 32246



                     Molina, Lissette
                     9123 Ruston Dr.
                     Dallas, TX 75228



                     Montanez, Barbara
                     6011 Wellsey Way
                     Brentwood, TN 37027



                     Moore & Reese, LLC
                     2987 Clairmont Road
                     Suite 440
                     Atlanta, GA 30329



                     Moore, David 1
                     108 Idaho Street
                     Travis AFB, CA 94535



                     Moore, Melanie
                     11136 poundberry camp place
                     waldrof, MD 20603



                     Morales, Al
                     2663 Hobson Rd
                     Donners Grove, IL 60516
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 835 of 924


                     Morales, Sandra
                     6011 Banded tulip Dr
                     Wilmington, NC 28412



                     Moran, Ellen
                     601 Arbor Glenn Court
                     Ballwin, MO 63021



                     Moreland, Michael
                     609 Spring St.
                     Booneville, MO 65233



                     Morgan, James
                     1202 Taylor Ave.
                     Richmond, VA 23225



                     Morgan, Jan
                     233
                     Azle, TX 76020



                     Morgenshtein, Hen
                     1301 Colberry Rd #B
                     Baltimore, MD 21239



                     Morning Star Balloons
                     564 East Spruce Glenn Rd
                     Murray, UT 84107



                     Morris, Amy
                     3240 Goodley Rd
                     Garnet Valley, PA 19060



                     Morrison, Dan
                     3 Juliano Dr
                     Oxford, CT 06478
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 836 of 924


                     Morrissey, Michael J
                     23 Federal Hill Rd
                     Auburn, MA 01501



                     Morrow, Gene
                     P.O. Box 181936
                     Arlington, TX 76096



                     Mortimer, Ann
                     59 Twin Lake Dr.
                     Waterford, CT 06385



                     Moser, Andrew
                     26931 County road 34
                     Painsville, MN 56362



                     Moua, Candice
                     PO Box 5156
                     Fresno, CA 53755



                     Mountain Wings
                     77 Hanglider Road
                     Ellenville, NY 12428



                     Moy, William
                     989 112th Ave NE APT 2002
                     Belleview, WA 98004



                     Muccianti, Constance
                     19 N. 110 Felsmith Rd
                     Hampshire, IL 60140



                     Muchnick, Hal
                     169 Farrington Ave.
                     Sleepy Hollow, NY 10591
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 837 of 924


                     Mudry, Vicki
                     5415 Jobeth Dr.
                     Newport Richey, FL 34652



                     Muetzenberg, Alan
                     2164 Royal Acres Trl.
                     Frisco, TX 75034



                     mulla, mehboob
                     1208 applewood acres
                     clarks, PA 18411



                     Munkres, David
                     MIT Inc. 1151 Eagle Dr. #177
                     Loveland, CO 80537



                     Munoz, Antonio
                     1129 SW 27th Street
                     Oklahoma City, OK 73109



                     Murry, Galima
                     716 E Wright Ave
                     Tacoma, WA 98404



                     Murtha, Paul
                     4353 Shimerville Rd
                     Emmaus, PA 18049



                     Murton, Dennis
                     801 Dry Run Road
                     Grantville, PA 17028



                     Muthyala, Harsha
                     11250 Santa Monica Blvd
                     Santa Monica, CA 90205
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 838 of 924


                     Mutschler, Larry
                     3703 Conquer Pike
                     Wilmington, DE 19803



                     Myers, Amanda 1
                     419 W Piedont St.
                     Keyser, WV 26726



                     Myers, Jared 1
                     751 pinellas bay way south. unit 201
                     St. Petersburg, FL 33715



                     Myers, Robert
                     Po Box 690
                     Southern Pines, NC 28388



                     Myrick, Robert G.
                     100 Jacquelyn Way
                     Pensacola, FL 32505



                     Nader, Jennifer
                     10185 Lake side dr
                     Coral gables, FL 33156



                     Naef, Tamara
                     25413 North 71st Drive
                     Peoria, AZ 85383



                     Nash, Lee A
                     1085 Ga Hwy 338
                     Dudley, GA 31022



                     Nash, Susan 1
                     1060 Olde Roswell Grove
                     Roswell, GA 30075
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 839 of 924


                     Nathan, Terry
                     P.O. Box 1422
                     Forestville, CA 95436



                     Navas, Barbara
                     275 NE 18th St., Apt. 2108
                     Miami, FL 33132



                     Nazal, Christopher, W
                     3303 Sumter Dr
                     High Point, NC 27265



                     Nehgher, Kacey
                     1110 S.E. 9th St.
                     Ft. Lauderdale, FL 33316



                     nelemans, adriaen
                     kondensgate 84
                     trondheim norway 07012



                     Nelson, Deborah
                     51 Lacosta Dr
                     Montgomery, TX 77356



                     neu, Stacey
                     312 S Hustis street
                     Hustisford, WI 53034



                     Neubauer, Adam
                     1635 Kings Pond Rd
                     Cordova, TN 38016



                     Neugebauer, Toby R
                     1036 Nunnery lane
                     nasville, TN 37221
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 840 of 924


                     Neugroschel, Rose A
                     2730 south veitch st
                     Arlington, VA 22206



                     Newell, Dishawnn
                     1001 Bear Island Rd. Apt. 201
                     Summerville, SC 29483



                     Newhams, Noelle
                     229 N. Dithridge St
                     Pittsburgh, PA 15213



                     Newman, Frank
                     945 Broken Arrow Cove
                     Collierville, TN 38017



                     Nguyen, Alina
                     9712 Hastings Mill Dr
                     Glen Allen, VA 23060



                     Nguyen, Anna
                     159 Lucerne Blvd
                     Terry Hill, NJ 08003



                     Nguyen, Jeanna T
                     706 Grove St
                     Worcester, MA 01605



                     Nguyen, Kim 1
                     1501 SE 17th Street
                     Ft Lauderdale, FL 33316



                     Nguyen, Nicholas
                     2199 Briarcliff Road NE #15
                     Atlanta, GA 30329
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 841 of 924


                     Nguyenloc, Frank
                     4411 Kleinway Dr
                     Houston, TX 77066



                     Nichols, James 1
                     205 Top Hand
                     Lavernia, TX 78121



                     Nichols, Joe
                     5192 Ocaso Ave.
                     Buena Park, CA 90621



                     Nichols, Ralph
                     4211 124th st
                     Pleasant Prairie, WI 53158



                     Nido, Thomas
                     14305 Sheronbrook Avenue
                     Hartville, OH 44632



                     Nido, Vanessa
                     1778 West Camino Dey Torrenon
                     Tuscon, AZ 85704



                     No Limits Skydiving
                     P.O. Box 1608
                     Hopewell, VA 23860



                     Nobles, stacey
                     500 E. Wallace
                     Llano, TX 78643



                     Noguier, Laurence
                     2400 North Lakeview Ave
                     Chicago, IL 60614
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 842 of 924


                     Nor Cal Skydiving Center
                     31215 Hwy 128
                     Cloverdale, CA 95425



                     Nordvall, Steven
                     1705 Halyle Dr.
                     Hanover, MD 21076



                     Norsworthy, Angela
                     2624 Old Hwy 90
                     Zinton, LA 70668



                     Norwood, Dominiece K
                     10521 S.W. 158 court apt. 105
                     Miami, FL 33196



                     Notley, Christopher
                     161 W. Kinzie Apt 2201
                     Chicago 60654



                     Nouraee, Faye
                     7475 Kimberly Lane
                     Eden Praire, MN 55346



                     nowlin, gail
                     20 hartwell place
                     searcy, AR 72143



                     Nowling, Amy
                     8944 Spider Bay Court
                     Indianapolis, IN 46236



                     Nussbeck, Chris 1
                     8220 E 130th cir
                     Thornton, CO 80602
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 843 of 924


                     O'Brien, Joanna
                     P.O. Box 207
                     Brooklyn, NY 11236



                     o'connor, Joshua
                     6810 antioch rd 157
                     merriam, KS 66204



                     O'Dea, Molly
                     5241 Magnolia Walk Circle
                     Dunwoody, GA 30338



                     O'dom, James
                     26 County Rd 613A
                     Lynn, MO 65051



                     O'Steen, Mark
                     4720 Ortega Forest Dr
                     jacksonville, FL 32210



                     Oakley, Cara
                     4251 Antler Dr
                     Greenwood, AR 72936



                     Oates, Charlotte
                     1131 Four Tops Drive
                     Detroit, MI 48201



                     Obi, Chinwe
                     2004 Randolph Ave
                     Saint Paul, MN 55105



                     Oblasser, Erik
                     P.O. Box 1595
                     Dawsonville, GA 30534
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 844 of 924


                     Obrien, Stephanie
                     1162 E 4500 S
                     Salt Lake City, UT 84117



                     Odegard, Liv
                     1212 Ave Of the Americas
                     New York, NY 10036



                     Odonnell, John
                     1000 W Wilshire Blvd
                     Oklahoma City, OK 73116



                     Officer Jr, Timothy Alan
                     2514 Abercorn St Suite 205
                     Savannah, GA 31401



                     Ogude, Cecilia
                     596 Prospect Ave. Box 4
                     Bronx, NY 10455



                     Ohara, Kevin
                     3236 W 97th St
                     Evergreen Park, IL 60805



                     Ohio Powered Paragliding
                     20683 Hull Prairie Rd
                     Bowling Green, OH 43402



                     OLAM
                     205 E. River Park Cir Suite 310
                     Fresno, CA 93720



                     Old South Ballooning
                     11811 Wentling Avenue
                     Baton Rouge, LA 70816-6055
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 845 of 924


                     Old World Balloonery
                     11640 Cody Street
                     Overland Park, KS 66210



                     Oleinikoff, Dianne
                     4018 Providence Church Rd
                     Henry, VA 24102



                     Oliver, Allyn
                     6404 Sunbow Lane
                     Charlotte, NC 28277



                     Oliver, Barry
                     4029 Industrial Way
                     Long View, WA 98632



                     Oliver, Dawn Marie
                     3874 Mallard Street
                     Highland Ranch, CO 80126



                     Olson, Adam
                     203 White Cedar Blvd
                     Portsmith, NH 03801



                     Olson, Blake
                     1108 Ellis Court
                     Chatnamsboro, TN 37035



                     Oncer, Onur
                     8B Washington Drive
                     West Paterson, NJ 07424



                     Ong, Kristle
                     312 Brahan Blvd Apt 6
                     San Antonio, TX 78215
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 846 of 924


                     Ordonez, Joshua E.
                     7165 465 Aardvark Ave
                     Mt. Home AFB, ID 83648



                     Orgill, Jayson
                     2610 paseo olives
                     west covina, CA 91792



                     Orlando Balloon Adventures, LLC
                     1449 Bethesda Street
                     Apopka, FL 32703



                     Orth, Joel
                     P.O.Box 2490
                     Orland Park, IL 60462



                     Ortiz, Edgardo
                     2343 York ST
                     Des Moines, IA 50316



                     Oshea, Tom
                     1014 Bowlin Ave
                     Port Neches, TX 77651



                     Ostrowski, Robert
                     1674 Carlyle Dr Apt K
                     Croston, MD 21114



                     Otero, Carlos
                     307 NW 1st St Ave Apt 508
                     Fort Lauderdale, FL 33301



                     Otto, Robert
                     35 Whittier Rd
                     Wellesley, MA 02481
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 847 of 924


                     Owens, Kristine
                     One Design Center Place Suite 800
                     Boston, MA 02210



                     Owens, Richard
                     2910 Curis Drive
                     Copperas Cove, TX 76522



                     Oyewo, Abiola O
                     1100 Hussa Street
                     Linden, NJ 07036



                     Pabon, Angel
                     194 N Union Street
                     Rochester, NY 14605



                     Pacheco, Joshua
                     577 Icum St apt 1c
                     New York City, NY 10034



                     Packard, Desiree
                     3400 N Maryland Ave
                     Milwaukee, WI 53211



                     Padgett, Lisa
                     12975 Worldgate Dr
                     Herndon, VA 20170



                     Padilla, Amanda
                     2942 W Watercress Dr
                     Tucson, AZ 85741



                     Page, Austin
                     3032 Bedford Rd
                     Bedford, TX 76021
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 848 of 924


                     Page, Jeff
                     1608 Marget Street
                     Houston, TX 77093



                     Page, Linda
                     645 Upper Trutle Creek Rd
                     Kerrville, TX 78028



                     Pahlke, Karin
                     3522 Lafayette Pkwy
                     Floyd Knob, IN 47119



                     palagova, Irina
                     23 whitney place apartment 2E
                     Brooklyn, NY 11223



                     Palmer, Helen A.
                     9051 E. Calle Norlo
                     Tucson, AZ 85710



                     Palmer, Natasha
                     3066 Quentin Lane
                     Chipley, FL 32428



                     Palmer, Shawna
                     1334 West Sands Ct
                     Gilbert, AZ 85233



                     Panduranga, Gopinath
                     7575 Linda Vista Rd Apt 100
                     San Diego, CA 92111



                     Pandya, Jennifer
                     908 Wessex Way
                     Austin, TX 78748
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 849 of 924


                     Panikar, Vineet V
                     350 Parsippany Rd
                     Parsippany, NJ 07054



                     Pant, Sudhanshu
                     9 Brentwood Rd
                     Holmdel, NJ 07733



                     Paprosky, Stephanie
                     11 E Walton st. apt 3901
                     Chicago, IL 60611



                     Parab, Purushottam
                     819 Windy Ridge lane
                     atlanta, GA 30339



                     Parabolic, LLC
                     493 Airport Rd
                     Cedartown, GA 30125



                     Parachute Center
                     P.O. Box 423
                     Acampo, CA 95220



                     Parachutes Over Carmi
                     P.O. Box 94
                     Carmi, IL 62821



                     Paraglide Utah
                     #9 Manilla Circle
                     Draper, UT 84020



                     Paredes, Eric
                     3421 South G Street
                     Oxnard, CA 93033
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 850 of 924


                     Pariente, Simon
                     5553 West Sixth St.
                     Los Angeles, CA 90036



                     Parker Jr., Walter
                     17453 Beasley Lane
                     Milford, VA 22514



                     Parker, Brian
                     620 County Rd 4430
                     Whitewright, TX 75491



                     Parker, Debbra
                     10201 Rhett Butler Dr
                     Austin, TX 78739



                     Parker, John 1
                     2710 Wycliff Road
                     Raleigh, NC 27607



                     Parker, John 2
                     7200 US 158 HWY
                     Jackson, NC 27845



                     Parkhurst, Tonia R.
                     307 Beth Lane
                     Elk City, OK 73644



                     Parks, Dana
                     2121 South Pantano Rd.
                     Tucson, AZ 85710



                     Parry, Sara M.
                     916 Cottonroad Dr
                     Lansing, KS 66043
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 851 of 924


                     Partain, Derek
                     5305 Pine ridge Dr
                     arlington, TX 76016



                     Partners, Chesapeake Realty
                     225 green Spring Valley Road
                     Owings Mills, MD 21117



                     Patat, John
                     6619 plantation reserve
                     fort myere, FL 33966



                     Patel, Chandrakant
                     77 Christable st
                     Lynbrook, NY 11563



                     Patel, Hetalben, M
                     570 Main St #C
                     Hackensack, NJ 07601



                     Patel, Krushit
                     434 West Vine Apt d204
                     Hatfield, PA 19440



                     Patel, Pinal
                     100 Walnut Ave Suite 304
                     Clark, NJ 07066



                     Patel, Sameer
                     542 NW 39th Rd
                     Gainesville, FL 32607



                     Patel, Suraj 1
                     760 south stillwater ln
                     anaheim, CA 92807
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 852 of 924


                     Paterson-brown, Willy
                     117 east louisa street number 308
                     seatle, WA 98102



                     Patil, Arjun
                     908 Road Island street
                     San Fransico, CA 94107



                     patrick, nikolai j
                     4263 millwood lane
                     tallahassee, FL 32312



                     Patten, Charles
                     5885 Trinity Pkwy Suite 120
                     Centerville, VA 20120



                     Payne, Jay
                     431 rifle range rd.
                     monterey, CA 93944



                     PC Skydiving
                     6810 Curan Street
                     San Diego, CA 92154



                     Pearson, Evan
                     10593 Blockade Dr.
                     Reno, NV 89521



                     Pedroza Ortiz, Juanita
                     920 northwest smith drive
                     Mountain Home, ID 83647



                     Pedroza, Tanya
                     280 O'Keese Street
                     East Palo Alto, CA 94303
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 853 of 924


                     Peebles, Paul 1
                     P.O.Box 83
                     Claremont, VA 23899



                     PELTZ, KAREN
                     816 LINDA LANE
                     PITTSBURGH, PA 17243



                     Penafiel, martha D
                     7506 North sanibel circle
                     tampa, FL 33637



                     Pender, Joseph D
                     208 rocky point drive
                     columbia, SC 29212



                     Perez Salva, Carmen
                     350 Torre Chardon Ave
                     San Juan 00918



                     Perez, Dalila
                     145 S St # A62
                     San Luis Obisto, CA 93401



                     Perez, Marlene
                     7226 Leaning Oak Drive
                     Houston, TX 77088



                     Perez, Martha
                     15169 NW 7th Street
                     Pembroke Pines, FL 33028



                     Perkins, Christopher 1
                     12 Church St.
                     Canaan, CT 06018
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 854 of 924


                     Perkins, Michael
                     245 North View Rd
                     Fleetwood, PA 19522



                     Perkins, Sandra
                     155 Annadd Drive
                     Flemingsburg, KY 41041



                     Perris Valley Skydive Center
                     P.O. Box 1824
                     Perris, CA 92572



                     Perry, Barbara
                     PO BOX 188
                     Overgaard, AZ 89533



                     Perry, Richard
                     4600 Blue Creek Rd
                     Lynnville, TN 38472



                     Perzan, William
                     57 Westridge Road
                     New London, CT 06320



                     Petersen, Greg
                     1342 Dakota Street
                     Walla Walla, WA 99362



                     Peterson, Anne E
                     3640 SW Lake Helena rd
                     Port Orchard, WA 98367



                     Petratis, Megan
                     4167 S. Four Mile Run Dr. Unit 401
                     Arlington, VA 22204
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 855 of 924


                     Pettit, Reba
                     3941 Mary Ann Point Rd
                     Johns Island, SC 29455



                     Pfaff, Kevin
                     1763 Chandlier Cir, W
                     Jacksonville, FL 32225



                     Pham, Dan Q.
                     1774 NE 9th St
                     Fort Lauderdale, FL 33304



                     pham, danny
                     1524 Cuming Street Apt 402
                     Omaha, NE 68102



                     phelps, cara
                     714 lemay drive
                     bellevue, NE 68005



                     Phillips, Adam
                     5025 Hetherington PLace
                     The Colony, TX 75056



                     Phillips, Johnny
                     503 D North wood drive
                     murray, KY 42071



                     Phillips, N William
                     103 North Market Street
                     Mylan, MO 63556



                     Phoenix Area Skydiving
                     Charlevoix State Bank
                     111 State Street
                     Charlevoix, MI 49720
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 856 of 924


                     Pico, Monica
                     12153 Cimbria Way
                     Lakeside, CA 92040



                     Piedmont Skydiving
                     675 Adrian Road
                     Salisbury, NC 28146



                     Pierce, James
                     600 Lucille St
                     S. Elgin, IL 60177



                     Pierce, Shane
                     1806 Todd Lane
                     Peter Park, TX 78613



                     Pierre, Johnathan
                     PO Box 8481
                     Camp Lejeune, NC 28547



                     Pike, Allison M
                     1500 6th Ave SW
                     Rochester, MN 55902



                     Pillai, Vinod
                     6624 Aintree Park Dr Apt 104
                     Mayfield Village, OH 44143



                     Pina, Greggory
                     919 Milam St.
                     Houston, TX 77002



                     Pineda, Ricardo
                     2120 Cedar Crest Dr
                     Carollton, TX 75007
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 857 of 924


                     Pinney, Dorothy
                     305 Altera Way
                     Colorado Springs, CO 80906



                     Pipilas, Dan
                     17 Boylston Ave
                     Nashua, NH 03064



                     pit, sandra
                     9112 capobella
                     alisoviejo, CA 92656



                     Pittman, Lori
                     14165 West Banff Lane
                     Surprise, AZ 85379



                     Plum, Spencer
                     42w074 Copperwood Lane
                     Saint Charles, IL 60175



                     Pollard, Jen
                     6349 NE Radford Drive #3614
                     Seattle, WA 98115



                     Pollman, Zachary
                     P.O box 2430
                     Pensacola, FL 32513



                     Pollock, Hamilton
                     2807 Norfolk Ave
                     Baltimore, MD 21215



                     Pomerance, Norman
                     6021 English Manor Road
                     Denton, TX 76210
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 858 of 924


                     Popoff, Janaina
                     7843 Red Mahogany Rd.
                     Boyton Beach, FL 33437



                     Porter, Chris
                     10678 High Beam Ct
                     Columbia, MD 21044



                     Porter, Jermaine
                     4643 Seminary Road # T2
                     Alexandria, VA 22304



                     Porto, Rachael
                     534 East 83 rd street aprt 4C
                     New York, NY 10028



                     Posey, Gregory C.
                     4228 Turkey Island Rd
                     Crewe, VA 23930



                     Post, Glen G.
                     806 tramway ln ne
                     albuquerque, NM 87122



                     Potter, Clark
                     3050 St Anne Dr
                     Debuque, IA 52001



                     Potts, Chavonne L.
                     7950 Henry Ave apt 25A
                     Philadelphia, PA 19128



                     Potuzco, Melany
                     501 point drive
                     greensburg, PA 15601
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 859 of 924


                     Pouliot, Charles
                     29 Galloway apt 2
                     Liverpool, NY 13090



                     Powell, Jana
                     208 White Popular St
                     Sebring, FL 33876



                     Power, Nev
                     Po Box 6915
                     East Perth, WA 06892



                     Prairie Sky inc
                     Kay West
                     6908 Pine Lake Drive
                     Sioux Falls, SD 57110



                     Price, Jenny
                     202 N Lapeer Dr #4
                     Beverly Hills, CA 90211



                     Price, Kim
                     5989 W. McNab Rd.
                     Nort Lauderdale, FL 33068



                     Prichard, Clyde
                     3220 W Marconi Ave
                     Phoenix, AZ 85053



                     Prilutskiy, Lydia
                     11326 Pagewynne Drive
                     Frisco, TX 75035



                     Primiano, John Paul
                     48-50 210th St
                     Oakland Gardens, NY 11364
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 860 of 924


                     Private Balloon Flights
                     4620 Plume Road, NW
                     Albuquerque, NM 87120



                     Pulsipher, Douglas
                     109 W. 1000 N.
                     Salt Lake City, UT 84116



                     Puri, Abitya
                     905 Cherokee St
                     Pittsburg, PA 15219



                     Purification, Avelash P.
                     14307 Kenny Street
                     Beltsville, MD 20705



                     Putrino, Lauren
                     80 Central Park West
                     New York, NY 10023



                     Pypiak, Desiray
                     1036 Woodberry Dr
                     Mountain Top, PA 18707



                     Qualle, Jalana
                     15723 103rd St SE
                     Becker, MN 55308



                     Quest Air Force Hang Gliding
                     6548 Groveland Airport Rd.
                     Groveland, FL 34736



                     Quill Corp.
                     PO Box 37600
                     Philadelphia, PA 19101-0600
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 861 of 924


                     Quinlan, Darcy
                     631 Fenton Ave
                     Coniat, OH 44030



                     QUINLAN, JOE
                     296 mcmurray rd
                     pittspurge, PA 15241



                     Rackley, Sean
                     10710 Academy Ave.
                     Bakersfield, CA 93312



                     Rahbary, Mr. K
                     49 lauderdale rd.
                     fort, FL 32771



                     Raivo, Jason
                     313 Billy Mitchell Blvd
                     Savannah, GA 31409



                     Rajut, Jaideep
                     230 Anderson St. Apt 5L
                     Hackensack, NJ 07601



                     Rakers, Robert
                     12975 Laurel Gate Dr
                     Herndon, VA 20170



                     Rame, Michelle
                     1 alvin street
                     ludlow, MA 01056



                     Ramirez, David 1
                     7745 Rocky Ridge dr
                     frisco, TX 75035
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 862 of 924


                     Ramirez, Veronica
                     7237 Pellet Street
                     Downey, CA 90241



                     Rammohan, Hari
                     658 Main St
                     Haverhill, MA 01830



                     Ramos, Daily
                     4871 South west 6th st
                     coral gables, FL 33134



                     Ramos, Daniella
                     1301 Marcilles Dr
                     Miami Beach, FL 33141



                     Ramos, Francisco
                     815 Greenfel St
                     Kew Gardens, NY 11415



                     ramos, mark
                     amalfi 2705
                     chowchilla, CA 93610



                     Ramprasad, Sharmila
                     4510 Heathrow Ct NW
                     Kennesaw, GA 30152



                     Ramsey, Todd
                     98 Mill Unit 102
                     Woonsocket, RI 02895



                     Raslan, Monica
                     #2 Frontidnac Ave
                     Wattle Park, SC 05066
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 863 of 924


                     Rathke, Matthew
                     1400 S michigan ave
                     chicago, IL 60605



                     Rauschiet, Rachel
                     330 north east adamsville way
                     Hilsboro, OR 97124



                     Rawlani, Ashish
                     1211 south prarrie unit 705
                     Chicago, IL 60605



                     ray, stephanie m
                     332 west crescent street
                     marquette, MI 49855



                     Rayborn, Todd
                     352 Virginia Avenue
                     San Mateao, CA 94402



                     Raymond, Dylan A.
                     3344 shasta dam blvd
                     shasta lake, CA 96019



                     Raynan, Elise
                     4200 54th avenue south
                     st. petersburg, FL 33711



                     Rea, Austin
                     833 Heathcliff Ct
                     Houston, TX 77024



                     Reale, Sue
                     1740 Broadway Apt 504
                     San Francisco, CA 94109
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 864 of 924


                     Reaugh, Larry
                     530-228-4605 51
                     jbagshaw@goldrea.com



                     Red, Stuart
                     9210 Roy Bean st
                     Houston, TX 77041



                     Redd, Charles
                     7245 Maryland Avenue
                     University City, MO 63130



                     Redding , Theodore
                     403 Crittenden St
                     Yoakum, TX 77995



                     Reddy, Narender
                     9410 Compubill Dr
                     Orland Park, IL 60462



                     Redman, Cecilia
                     1513 Riverreach dr apt 232
                     orlando, FL 32828



                     Reed, Cameron
                     161 mason lane
                     thomasville, GA 31792



                     Reed, Donovan
                     5455 Campground Road
                     Cumming, GA 30040



                     Reeder, Todd
                     1280 Auruba Ct
                     Marco Island, FL 34145
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 865 of 924


                     Reid, Lisa
                     11805 Latigo Lane
                     Oakton, VA 22124



                     Reidy, Michael
                     5383 Greggs Landing Dr
                     N. Charelston, SC 29420



                     Reiner, Russell
                     2851 Park Marina dr
                     Readding, CA 96001



                     Reinker, Ted E
                     3414 Ave P1/2
                     Galveston, TX 77550



                     Restrepo, David
                     5850 SW 156 Ct
                     Miami, FL 33193



                     Rethorn, Peter B.
                     539 S Main St
                     Findley, OH 45840



                     Rey-talley, Kristopher
                     647 East 14th st 4G
                     New york, NY 10009



                     Rezash, Timothy M
                     5443 Bud wilson road
                     gastonia, NC 28056



                     Rhee, Dennis
                     385 International Pk Suite 100
                     Newnan, GA 30265
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 866 of 924


                     Rhines, Joseph D
                     6904 Cordially Way
                     Elk Grove, CA 95757



                     Rhodes, Lori
                     1212 Ave Of the Americas
                     New York, NY 10036



                     Rhoees, Brian
                     133 N St
                     Los Banos, CA 93635



                     Ribbeck, Carlos
                     14335 SW 120 Street #205
                     Miami, FL 33186



                     Rich, Lori
                     42 Greenbriar Road
                     Oxford, CT 06478



                     Richard, Robert C.
                     314 S. Main Street
                     Jennings, LA 70546



                     Richards, Tom
                     26 Spear St.
                     Metuchen, NJ 08840



                     Richardson, Johanna
                     869 S Main Street
                     Winchester, IN 47394



                     Richter-Hill, JoAnn
                     5908 Erie Station Road
                     Belleville, IL 62223
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 867 of 924


                     Rickert, Joseph
                     1541 Castle Way
                     Lemoore, CA 93245



                     Ricks, Brenda
                     2825 East Cotton Wood pkwy suite 360
                     Salt Lake City, UT 84121



                     Rieck, Drew
                     696 Fort Riley
                     fort riley, KS 66442



                     Riley, Chris E
                     2317 Solar Plaza
                     Fort Lauderdale, FL 33301



                     Rincon, Michael
                     4727 E lowe
                     Fresno, CA 93702



                     Rinehart, Kathie
                     116 Redsky Ct
                     Lake Mary, FL 32746



                     Riordan, Megan A.
                     3325 Calle Del Torre
                     Las Vegas, NV 89102



                     Rios, Christina
                     824 Bowditch
                     Aurora, IL 60506



                     Ripley, Christopher
                     425 West Dickens Ave Unit I
                     Chicago, IL 60614
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 868 of 924


                     Rittenbaugh, Brooke
                     20 Stone Rd
                     Pingrove, PA 17963



                     Roach, Anda
                     po box 321
                     Judson, TX 75660



                     Robbins, Jacob
                     509 S.Ella
                     Sandpoint, ID 83864



                     Robbins, Jeniffer
                     1875 66th ave north
                     Saint pete, FL 33702



                     Roberts, Adam S.
                     428 E. Main St., Apt. D
                     Sommerset, PA 15501



                     Roberts, Rochelle
                     1668 Babcock St. Suite A
                     Costa Mesa, CA 92627



                     Robertson, Norman
                     3305 Grape Rd.
                     Mishawaka, IN 46530



                     Robertson, Tori
                     3516 Cheyenne Street
                     Round Rock, TX 78665



                     Robinson, Cary
                     616 Hollywood Ave.
                     Cherry Hill, NJ 08002
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 869 of 924


                     Robinson, Lisa 1
                     1641 Mable ave
                     Denver, CO 80229



                     Robinson, Robert C.
                     439 McCormick St.
                     Shreveport, LA 71104



                     Rodas, Rodrigo
                     5900 Collins Ave
                     Miami Beach, FL 33140



                     Rodgers, Trae
                     1078 Maiden Lane
                     Rochester, NY 14615



                     Rodriguez, Eurana
                     435 Bridham Trail
                     Augusta, GA 30909



                     Rodriguez, Francesca
                     112 Ardmore Place Apt #A13
                     Atlanta, GA 30309



                     Rodriguez, Kevin 1
                     6 15th ASB 1ACB 1CD
                     Fort Hood, TX 76544



                     Rodriguez, Matthew
                     55 Washington St Suite 658
                     Brooklyn, NY 11201



                     Rodriquez, Brianna
                     1429 Austin St
                     San Angelo, TX 76903
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 870 of 924


                     Roeca, Wesliegh
                     2202 california street
                     san fransico, CA 94115



                     Rogers, Charlene
                     500 East Northside Drive Apt H3
                     Clinton, MS 39056



                     Rogers, Colin
                     80 Maple St
                     Norton, MA 02766



                     Rogers, Nate
                     187 30 Cordata St
                     Fountain Valley, CA 92708



                     Rogers, Patricia
                     3103 Alder Dr
                     Pickerington, OH 43147



                     Rohr Balloons {Texas}
                     Brian Rohr
                     9380 Lakeridge Drive
                     Princeton, TX 75407



                     Rolhfing, Rick
                     103 Elm Street
                     Washington, MO 63090



                     Romano, Edgardo
                     6767 Collins Ave Apt 902
                     Miami, FL 33141



                     Romeo, Alain
                     11050 Biscayne Blvd Apt 13
                     Miami, FL 33161
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 871 of 924


                     Romo, Shawna
                     P O Box 813
                     Leakey, TX 78873



                     Root, Dan
                     1620 jennifer lane
                     yuba, CA 95993



                     Rose, Judith E
                     PO Box 351
                     South Yarmouth, MA 02664



                     Rosenfeld, Adrian
                     181 Powers St.
                     Brooklyn, NY 11211



                     Rosenthal, Cara
                     4439 Volta Street NW
                     Washington, DC 20007



                     Ross, Richard
                     Route 2 box 2062
                     Roosevelt, UT 84066



                     Rost, Gunnar
                     50 Maple Trace
                     Dookeville, TN 38501



                     rosterolla, carina
                     po box 767
                     gillchrist, OR 97737



                     Roth Production Co.
                     P.O BOX 14487
                     SCOTTSDALE, AZ 85267
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 872 of 924


                     Roth, Tina Marie
                     531 Latham Road
                     Mineola, NY 11501



                     Rouse, Jillian
                     109 Brookside Lane
                     Seven Fields, PA 16046



                     Rowen, Brad
                     1060 Brickell Ave
                     Miami, FL 33131



                     Rowlands, Ann Marie
                     126 Business park drive
                     Utica, NY 13502



                     Royal Air
                     6902 Broad Acres Rd.
                     Shreveport, LA 71129



                     rubino, salvatore
                     10872 e via cortana rd
                     scottsdale, AZ 85262



                     Rudder, Ashlea
                     26 Pinto Point
                     Little Rock, AR 72211



                     Rudowski, Rene
                     2951 Winter Drive
                     Troy, MI 48083



                     Russell, Gordon
                     14 Pacquette Pl.
                     Saint Albert, AB T8N5K9
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 873 of 924


                     Russell, John G
                     2909 East Little Cottonwood Road
                     Sandy, UT 84092



                     Russell, Jonathan
                     114 NW 6th St. Suite 206
                     Oklahoma City, OK 73102



                     Russell, Patricia
                     764 Elkmont Dr. NE 2nd Floor
                     Atlanta, GA 30306



                     Russo, Theresa
                     P.O box 5843
                     Goodyear, AZ 85338



                     Ryan, Amy 1
                     7707 S AIH 35 Apt #1022
                     Austin, TX 78744



                     Rychley, David
                     545 W. Crockett Ave.
                     Elmhurst, IL 60126



                     Sabourin, Christopher
                     1829 Shaw ave. apt 104
                     Clovis, CA 93611



                     Sadananda, Vinay K.
                     3500 Granada Ave, Apt 209
                     Santa Claire, CA 95051



                     Saffold, David
                     2001 Cedar Lane
                     Nashville, TN 37212
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 874 of 924


                     Saindon, Patrick A
                     105 King Aurthur Place
                     Alabaster, AL 35007



                     Salmans, Skeeter
                     12369 Jasmine St
                     Brighton, CO 80602



                     Samigullin, Roman
                     1002 University Dr
                     Plano, TX 75075



                     San Antonio Soaring Society, Inc.
                     100 Boerne Stage Airfield
                     Boerne, TX 78006-5149



                     Sandefur, Heather
                     1401 E. Patriot Ave Apt.15102
                     Derby, KS 67037



                     Sanders, Andre
                     6702 Gulf Blvd
                     St Pete Beach, FL 33706



                     Sanders, Jerald
                     2855 Peachtree Rd NE, Unit 120
                     Atlanta, GA 30305



                     Sanders, Jill
                     3016 Via la Selva
                     Palos Verde, CA 90274



                     Sanders, Monique 1
                     188 Midland Pkwy #402
                     Summerville, SC 29485
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 875 of 924


                     Sandford, Brian
                     7767 Linda Vista Rd.
                     San Diego, CA 92111



                     Sandlow, Joan
                     305 riverside dr apt 7a
                     new york, NY 10025



                     Sandoval, Hugo
                     11808 Lewisia Ave
                     Moreno Valley, CA 92557



                     Santa Cruz Skydiving
                     P.O. Box 484
                     Freedom, CA 95019



                     Santa Fe Ballooning
                     8830 US Highway 277 S.
                     Hawley, TX 17679-7264



                     Santamour, Jamie
                     436 Union Ave
                     Brooklyn, NY 11211



                     Santos, Ronal 1
                     1512 Monroe St
                     Omaha, NE 68107



                     Sarofim, Phillup
                     10 Eaton Square
                     Houston, TX 77027



                     Sarsal, Areej
                     6240 West 3rd St
                     Los Angeles, CA 90036
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 876 of 924


                     Sasser, Sondra
                     11446 East Quintana Ave
                     Masa, AZ 85212



                     Satish, Shriran
                     913 Coastal Marsh rd #189
                     Mt. Pleasant, SC 29464



                     Saunders, Cadie
                     P.O. Box 1144
                     Weillington, CO 80549



                     Sayuna, Jorge
                     1441 Sheridan Ave
                     Pomona, CA 91767



                     Schaedel, Kurt
                     9501 S I-35 Service Road Unit 905
                     Moore, OK 73160



                     Schafer, Noel
                     5620 SW Third
                     Plantation, FL 33317



                     Schafer, Tim
                     925 EAST DESERT FLOWER LN.
                     PHOENIX, AZ 00085-0448



                     Schaunaman, Chris
                     3844 Bennett Court
                     Indianapolis, IN 46254



                     Scheid, Zach
                     197 Tibton Circle
                     Myrtle Beach, SC 29588
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 877 of 924


                     Schembre, Bobby J.
                     1005 West Ash
                     Columbia, MO 65203



                     Scherff, Jill
                     23930 481st Ave.
                     Trent, SD 57065



                     Schlagel, Domenick
                     113 glenn heather street
                     dacono, CO 80514



                     Schlegel, Danielle
                     1011 Canal St.
                     Oxnard, CA 90613



                     Schluter, Darren L
                     221 Trumble Street
                     Hartford, CT 06103



                     Schneider, Aubrey
                     3489 S River Terrace
                     Edgewater, MD 21037



                     schneider, ryan
                     1226 Thresher Dr.
                     dell rapids, SD 57022



                     Schnell, Nicole
                     3706 W. Idlewile Ave, # 205
                     Tampa, FL 33614



                     Schoenherr, Scott
                     3314 56th St.
                     Eau Claire, WI 54703
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 878 of 924


                     Schultz, Michael
                     6661 Warrior Trail Bldg 350
                     Ft Polk, LA 71459



                     Schweiger, James
                     1101 Remount rd 500
                     North Charleston, SC 29406



                     Scott, Christopher
                     30243 audoblan st
                     hayward, CA 94544



                     Scott, Susan
                     327 Neeting Street
                     Georgetown, SC 29440



                     Scupham, Charles
                     500 Washington Avenue
                     Glenco, IL 60022



                     Sczytko, Steven
                     27175 Energy Way
                     Novi, MI 48377



                     Seargent, Steve
                     1097 US Route 22 West
                     Circleville, OH 43113



                     Seeton, Corey
                     5324 Yampa Trail
                     Watauga, TX 76137



                     Seiler, Pat
                     1718 Claymont Estates Drive
                     Chesterfield, MO 63017
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 879 of 924


                     Seitz, Greg
                     2850 Landon Way.
                     Marietta, GA 30066



                     Self, Jena
                     36 Sunset Lane
                     Babot, AR 72023



                     Sell, Tyler
                     8950 County Rd F
                     Newton, WI 53063



                     Senechal, Michel A
                     75 Park Drive
                     Clancy, MT 59634



                     Serban, Oana
                     785 High Street
                     Bath, ME 04530



                     Serrano, Rocio
                     2406 Dickens Dr
                     Killeen, TX 76543



                     Sexton, Charles
                     P.O Box 1155
                     Paducah, KY 42002



                     Shaffer, Katelin
                     3808 Polk Street
                     Hollywood, FL 33021



                     Shahin, Gabriel
                     1022 Anderson Wy
                     San Gabriel, CA 91776
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 880 of 924


                     Sharell, Gilbert
                     8120 Blakie Ct
                     Sarasota, FL 34240



                     Sharkey, Kevin
                     8929 S. Sepulveda Blvd Suite 510
                     Los angeles, CA 90045



                     Shaun Ellingson, Northwest Aerial Servic
                     Northwest Aerial Services
                     Tacoma, WA 98444



                     Shaw, Erica
                     202 Jamestown Oaks Drive
                     Jamestown, NC 27282



                     Shaw, Lynnette
                     121 Lone Tree Ln
                     Decatur, TX 76234



                     Sheehan, Padraic
                     8112 FlowerTown Ave
                     Wyndmoor, PA 19038



                     Sheldon, Preston
                     300 Addison Way #7-1E
                     Petersburg, VT 23805



                     Shelton, Haley
                     21627 South West Cedar Brook
                     Sherwood, OR 97140



                     Shenandoah, Kyle
                     1307 South Grove Street
                     philadelphia, PA 19416
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 881 of 924


                     Shepard, Chad E.
                     11538 Rock Hampton Dr.
                     St. Louis, MO 63138



                     Shepherd, John
                     31 mewton st
                     fort jones, CA 96032



                     Sheridan , Melissa
                     16665 J Hunters Ridge Ln
                     St. Robert, MO 65584



                     Shifrin, Neil
                     37 Hawthorne lane
                     Weston, MA 02493



                     Shimizu, Stacy
                     5541 W. 123rd Place
                     Hawthorne, CA 90250



                     Shinneman, Joel
                     6632 escalloonia
                     Rockland, CA 95765



                     Shirey, Linda
                     4120 Endicott Dr.
                     Grand Prairie, TX 75052



                     Shirley, Caitlin
                     421 Delmar Street
                     Philadelphia, PA 19128



                     Shover, Steven
                     710 West Cooper Ave.
                     Lancaster, OH 43130
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 882 of 924


                     Shown, Noah
                     1644 B Market Loop
                     Clovis, NM 88101



                     Shrestha, Sujen
                     7417 Grant Villiage Dr.
                     St. Louis, MO 63123



                     Shulman, Micky
                     2000 Crystal Springs Road
                     San Bernadino, CA 94066



                     Shultz, Jamie
                     650 West Clinton Street
                     Deblin, TX 76446



                     Sichanpheng, Ivy
                     257 E. 200 SOUTH SUITE350
                     SALT LAKE, UT 84111



                     Sidwell, Josh
                     7034 S. 127th st.
                     Seattle, WA 98178



                     Siebert, Jacqueline E.
                     3000 NE 48th Court 306
                     Lighthouse Point, FL 33064



                     Sierra, Diana
                     7930 Jones Branch Drive
                     Mclain, VA 22102



                     Silverman, Jed
                     1017 Heights Blvd
                     Houston, TX 77008
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 883 of 924


                     Sima, Mike
                     6905 Cunningham Drive
                     New Albany, OH 43054



                     Simon, Carrie C
                     739 Chidester Ave
                     Glen Ellen, IL 60137



                     Simonitsch, William
                     335 S. Biscayne Blvd Unit 3809
                     Miami, FL 33131



                     Simpson, Juliana S
                     3854 oak hills circle
                     Port heron, MI 48060



                     Simpson, Keely
                     1426 Castlewood Drive
                     Wheaton, IL 60189



                     Sin City Skydiving
                     Attn: Brad Wedge
                     4339 Spencer #10
                     Las Vegas, NV 89119



                     Singh, Parul
                     99 Myrtle st apt. 7
                     Boston, MA 08114



                     Singh, Satbir
                     4029 Meadows Ln
                     Oakley, CA 94561



                     Sizer, Steven K
                     10947 Bloomfield St Apt 103
                     North Hollywood, CA 91602
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 884 of 924


                     Skidmore, Beth
                     4931 North 300 West
                     Provo, UT 84604



                     Sky Adventures
                     4191 Locust Valley Lane
                     Oxford, MI 48370



                     Sky High Hot Air Balloons
                     9251 Garbow Road
                     Middleville, MI 49333



                     Skybound Aviation
                     2000 Airport Rd
                     Ste 125
                     Chamblee, GA 30341



                     Skydive 35
                     550 Brigman Road
                     Maple, TX 76064



                     Skydive Canyonlands
                     d/b/a Skydive Canyonlands
                     577 Bittle Lane, # 3
                     Moab, UT 84532



                     Skydive Coastal California
                     Charlevoix State Bank
                     111 State Street
                     Charlevoix, MI 49720



                     Skydive Coastal Carolinas
                     dba Skydive Coastal Carolinas
                     4019 Long Beach Road
                     Southport, NC 28461



                     Skydive Columbus
                     774 Manchester Cirvle, N.
                     Pickerington, OH 43147
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 885 of 924


                     Skydive Cowtown
                     P.O. Box 683
                     Rhome, TX 76078



                     Skydive Delmarva, Inc.
                     32524 Aero Drive
                     Laurel, DE 19956



                     Skydive Door County
                     2986 Lake Forest Park Road
                     Sturgeon Bay, WI 54235



                     Skydive Eagle Creek
                     dba Skydive Eagle Creek
                     29388 SE Heiple Rd
                     Eagle Creek, OR 97022



                     Skydive Eagles Nest
                     3303 Dentcrest Drive
                     Midland, TX 79707



                     Skydive Empire
                     dba Skydive Empire
                     P.O. Box 18321
                     Boulder, CO 80308



                     Skydive Georgetown LLC
                     5630 Kent Rd
                     Andrews, SC 29510



                     Skydive Houston
                     dba Skydive Houston
                     15411 Turning Tree Way
                     Cypress, TX 77433



                     Skydive Indianapolis
                     P.O. Box 663
                     Carmel, IN 46082
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 886 of 924


                     Skydive Jacksonville
                     476 North Williams Ave
                     Titusville, FL 32796



                     Skydive Jersey
                     P O Box 139
                     Pittstown, NJ 08867



                     Skydive Lake Wales
                     P.O. Box 1616
                     Lake Wales, FL 33859



                     Skydive Las Vegas
                     P.O. Box 61426
                     Boulder City, NV 89006



                     Skydive Monroe
                     P.O. Box 676
                     Monroe, GA 30655



                     Skydive Monterey Bay
                     476 North Williams Ave
                     Titusville, FL 32796



                     Skydive Myrtle Beach
                     2800 Terminal Street
                     N. Myrtle Beach, SC 29582



                     Skydive New England, LLC
                     40 Skydive Lane
                     Lebanon, ME 04027



                     Skydive OBX
                     P O Box 210
                     Kitty Hawk, NC 27949
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 887 of 924


                     Skydive Palm Beach
                     15555 Grumman Court
                     Wellington, FL 33414



                     Skydive Panama City
                     122 Bel Aire Dr
                     Dothan, AL 36303



                     Skydive Pennsylvania
                     Attn: Cecil Smith
                     496 Old Ash Rd
                     Meroga, PA 16137



                     Skydive Sacramento
                     Pat Garcia
                     1404 Flightline Dr.
                     Lincoln, CA 95648



                     Skydive San Diego
                     13531 Otay Lakes Rd
                     Jamul, CA 91935



                     Skydive Spaceland
                     PO Box 1121
                     Rosharon, TX 77583



                     Skydive Superior
                     4804 Hammond Avenue
                     Hanger #A-7
                     Superior, WI 54880



                     Skydive Tampa Bay
                     825 Leeward Way
                     Palm Harbor, FL 00034-6851



                     Skydive Tandem Greenville, LLC
                     2241 CR 3303
                     Greenville, TX 75402
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 888 of 924


                     Skydive Temple
                     15771 South I-35
                     Salado, TX 76751



                     Skydive Texas Beaches
                     8908 Keymill Dr.
                     Houston, TX 77064



                     Skydive The Farm
                     1195 Grady Road
                     Rockmart, GA 30153



                     Skydive Toledo LLC
                     134 McCormick
                     Castle Rock, WA 98611



                     Skydive Warren County, Inc.
                     Attn: Jaime Praeter
                     4499 North State Route 42
                     Waynesville, OH 45068



                     Skydown Sport Skydiving
                     5111 Aviation Way
                     Caldwell, ID 83605



                     Skyscapes of America
                     3300-D North Main St.
                     PMB 310
                     Anderson, SC 29621



                     Sledge, Ryan
                     1911 Bering Drive Apt 18
                     Houston, TX 77057



                     Sloan, Kayla
                     1632 rochester Street
                     Lima, NY 14485
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 889 of 924


                     Sloan, Nicholas G
                     626 Fairway Dr
                     Royal Oak, MI 48073



                     Sloan, Rees D
                     15125 Romalong Lane
                     Carmenl, IN 46032



                     Slovick, Joel
                     5020 Buck Thorn Ct
                     Santa Rosa, CA 95404



                     Smith, Cameron O
                     1 Great Elm Drive
                     Sharon, CT 06069



                     Smith, Cody
                     1724 Danciger
                     Fort Woth, TX 76112



                     Smith, Dylan S
                     1361 S Greenfield Rd Apt 1057
                     Mesa, AZ 85206



                     Smith, Hamilton
                     2410 Albatross St. unit 1
                     San Diego, CA 92101



                     Smith, Hanna
                     327 Silver Canyon Dr
                     Ft. Worth, TX 76108



                     Smith, Jerod
                     6810 Northwest 122
                     Oklahoma City, OK 73142
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 890 of 924


                     Smith, Kenny
                     22854 Forestridge drive
                     estero, FL 33928



                     Smith, Mark 2
                     5041 Singleton Dr.
                     Billiard, OH 43026



                     Smith, Michael 4
                     315 West 29th st
                     New York, NY 10001



                     Smith, Nathan 2
                     113 N Main St
                     Lawrenceburg, KY 40342



                     Smith, Paul
                     3033 West Galgrith Rd
                     Cincinnati, OH 45239



                     Smith, Rachel B
                     133 West Sunset Drive
                     Rittman, OH 44270



                     Smith, Rustin
                     21 Quail Ridge
                     Ponca City, OK 74604



                     Smith, Sara G.
                     1206 Pike Path
                     Round Rock, TX



                     Smith, Thomas 1
                     1493 Crane Creek Blvd
                     Melbourne, FL 32940
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 891 of 924


                     Smith, Tracy
                     170 Diminish Drive
                     Newark, DE 19713



                     Smolij, Walter
                     23 Stoney Hill Lane
                     Moun Laurel, NJ 08054



                     Snapp, Anthony
                     507 Florence Dr.
                     Albany, GA 31707



                     Snead, Matthew
                     665 Cindy Dr
                     Canyon Lake, TX 78133



                     Snedden, Bradley
                     3480 Dairy Lane
                     idaho falls, ID 83404



                     Snyder, Jennifer 1
                     8520 Hawthorne Rd
                     Frisco, TX 75034



                     Solano, Richard
                     901 15th Street South Apt 525
                     Arlington, VA 22202



                     Solarbee, Inc
                     3225 Hwy 22 North
                     Dickinson, CA 58601



                     Sommer, Ross
                     2100 Marion Drive
                     Lexington, NC 27296
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 892 of 924


                     Sonora Wings LLC
                     Mark J Knight
                     5635 S. Outrigger Road
                     Tempe, AZ 85283



                     Soriano, Sandra
                     40 Graywood Rd.
                     Washington, NY 11050



                     Southern Minnesota Skydiving, LLC.
                     2502 6th Street, NE
                     Waseca, MN 56093



                     Sowell, Thomas
                     1007 Misty Lane
                     Belmont, CA 94002



                     Spence, Gavin
                     12101 199th St
                     Springfield Garden, NY 11413



                     Spiewak, Jackie R.
                     10800 Old St Augustine Rd unit 201
                     Jacksonville, FL 32257



                     SPINKS, JOSHUA
                     9253 Gary St
                     Denham Springs, LA 70726



                     Spresser, Michael G
                     373 S. Franklin St.
                     Denver, CO 80209



                     St. Elair, Amx W.
                     2501 Macon Ranch Rd., Apt. 625
                     Salaine, TX 76542
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 893 of 924


                     Staggs, Linda
                     604 South Park Avenue
                     Seymore, IA 52590



                     Staie, Melissa
                     9056 River Bend Court
                     Villa Rica, GA 30180



                     Standford, Evan
                     Po box 1210
                     Summerland, CA 93067



                     Stanunathan, Aditya
                     300 Wembley Cir.
                     Atlanta, GA 30328



                     Stapp, Brion
                     PO Box 688
                     Longmont, CO 80502



                     Stauch, Christopher
                     2952 northeast david loop
                     Issaquah, WA 98029



                     Steibe, Josh
                     12303 County road 29
                     Stearling, CO 80751



                     Steigele, Jenny
                     216 Piedmont Ave
                     Atlanta, GA 30308



                     Steinhoff, rebecca A
                     2134 Linden ave
                     madison, WI 53704
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 894 of 924


                     Stenson, Tasia L
                     2014 Oliver Street
                     Sandiego, CA 92109



                     Sternbach, Lea
                     3502 Glen Ave
                     Baltimore, MD 21215



                     Stevens, Albert
                     701 Merytlewood Lane
                     Key Biscayne, FL 33149



                     Stevenson, Darrell
                     4058 E. Kensington
                     Springfield, MO 65809



                     Stewart, Ashley N.
                     2503 Whitis Ave, LittleField 204
                     Austin, TX 78705



                     Stobo, Robert
                     841 Princeton St
                     Sana Monica, CA 90403



                     Stoenciu, Melina
                     pscq 338
                     Litttle Rock A.F.B, AR 72099



                     Storry Fuchs, Alison
                     6200 Circle Drive
                     Indian Trails, NC 28079



                     Stover, Ron
                     501 North west woodson dr
                     Grants pass, OR 97526
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 895 of 924


                     Straw, Sean
                     2413 Ridgewood
                     Wichita, KS 67220



                     Strickland, Lauren Nicole
                     24377 5th ave
                     florala, AL 36442



                     Stull, Erin
                     75 Camden St.
                     Rochester, NY 14612



                     stusano, Joseph
                     394 violet street
                     massapequa park, NY 11762



                     STUTES, KELLY
                     16505 LA CANTERA PARKWAY
                     SAN ANTONIO, TX 78256



                     Styno, Connie
                     5 Rustyville Rd
                     Albany, NY 12211



                     Suchenko, Nina
                     13 Green Twigg Dr.
                     Toms River, NJ 08753



                     Sullivan, Tammy R
                     PO Box 1322
                     Tallevast, FL 34270



                     Sumner, Regina
                     242 Pheasant Run Dr
                     Blacksburg, VA 24060
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 896 of 924


                     Sunny Day Come Fly Away, Inc.
                     276 Greenway Circle, E.
                     Broomfield, CO 80020



                     Sunrise Balloons Miami LLC
                     1881 Washington Ave
                     # 15B
                     Miami Beach, FL 33139



                     Surita, Tracey
                     700 sylvan avenue
                     englewood cliffs, NJ 07632



                     Swan, Katie
                     15175 SW Royalty Prkwy J27
                     Tigard, OR 97224



                     Sweeney, Joseph
                     544 Central Ave. Apt. 107
                     Alameta, CA 94501



                     SYNESIOU, ANDREW
                     20548 VENTURA BLVD APT 123
                     WOODLAND HILLS, CA 91364



                     Sysko, Ryan
                     206 Alapocas dr
                     Wilmington, DE 19803



                     Szilagyi, Tammy
                     15608 Carril Court
                     Monte Sereno, CA 95030



                     Taberner, Jose
                     2655 Collins Ave
                     Miami, FL 33140
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 897 of 924


                     Tagliati, Michele
                     14631 Bestor Blvd
                     Pacific Palisades, CA 90272



                     Taking Off Hot Air Balloon Co.
                     Tommy Rachel
                     P.O. Box 113
                     Magnolia Spings, AL 36555



                     Talamantez, Christy
                     1911 Londonberry Drive
                     Leander, TX 78641



                     Talic, Fouad
                     13900 Marques Way
                     Marina del Ray, CA 90292



                     Tang, Jia-Peng
                     130 Descanso Dr.
                     San Jose, CA 95134



                     Tarkir, Ashley
                     9070 baber drive
                     Manassas, VA 20112



                     Tass, Steve
                     182 W. Lake St Suite 2105
                     Chicago, IL 60601



                     Tate, Russ
                     628 Crestview Court
                     Saginaw, TX 76179



                     Taylor, Matthew 1
                     13249 FM 830
                     Willis, TX 77318
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 898 of 924


                     Taylor, Mike 1
                     411 County rd 281
                     Woodland park, CO 80863



                     Taylor, Sheila 1
                     11 perillo ct.
                     pearl river, NY 10965



                     Tebby, Christopher
                     15346 Becker Lane
                     Dyersville, IA 52040



                     Teem, Michael
                     6621 Wilbanks Rd
                     Knoxville, TN 37912



                     Tefera, Esterlin
                     5555 amsbury drive
                     dallas, TX 75206



                     Tessner, R L
                     220 Marilyn Dr
                     East Fayetteville, GA 30214



                     Tew Jr. , Vernon
                     3611 Industrial Blvd.
                     Laurel, MS 39440



                     Texas Balloon Rides
                     P.O. Box 1508
                     Blanco, TX 78606



                     Texas Freefall
                     251-C Harbin Drive
                     Stephenville, TX 76401
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 899 of 924


                     Thakar, Varspa
                     2964 Cashel Ln
                     Vienna, VA 22181



                     The Skydive Experience
                     Donnie D. Cockrell
                     2009 Pine Ridge Way
                     Benton, LA 71006



                     Theriault, Elizabeth
                     76 15th Ct
                     Hermosa Beach, CA 90254



                     Thigpen, James
                     po box 8142
                     Tyler, TX 75701



                     Thomas, Julien
                     37 Marks Place
                     New York, NY 10003



                     Thomas, Mark L
                     spc usa 1952 barkley ave
                     ft carson, CO 80913



                     Thomas, Reda G.
                     2091 FM 600 Road
                     Haskell, TX 79521



                     Thomas, Yulanda A
                     404 Conley Dr
                     Hinesville, GA 31313



                     Thompson Aire Ballooning
                     13825 Avalon Road
                     Winter Garden, FL 34787
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 900 of 924


                     Thompson, Arden
                     8 Cherryfield Court
                     Greer, SC 29651



                     Thompson, Justin 1
                     721 A Cranbury Cross Road
                     North Brunswick, NJ 08902



                     Thompson, Rebecca
                     8434 Red Oak Dr
                     Eden Prarie, MN 55347



                     Thornton, Sarah
                     3737 Laurel Cherry Lane
                     indianapolis, IN 46239



                     Thorsen, Jim
                     1505 Blackberry Ct
                     Eustis, FL 32726



                     Thrill a Minute Hang Gliding
                     1444 Window Rock Road
                     Dunlap, TN 37327



                     Thunderbird, Norman W
                     3405 Old Seguin luling Rd
                     Seguin, TX 78155



                     Thurmer, ulrik
                     30 river road
                     Manhatten, NY 10044



                     Tibbitts, Dustin
                     661 E Technology Ave Building B
                     Orem, UT 84097
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 901 of 924


                     tice, eli
                     103 mary lee drive
                     charlestown, WV 25414



                     Tighe, Julie
                     7378 Childsdale Ave NE
                     Rockford, MI 49341



                     Tilden, Carolyn
                     3783 Shaddock Creek Lane
                     Frisco, TX 75034



                     Tillman, Jon
                     3744 pershang Ave Apt 4
                     san Diego, CA 92104



                     Tinney, Dakota
                     804 N. Chancery St.
                     Mcminnville, TN 37110



                     Tipton, Chris 1
                     370 North Argyle
                     Clovis, CA 93612



                     Tiwari, Abhishek
                     801 Monte Cruz
                     Mission, TX 78574



                     Tiwari, Rahul
                     605 Hidden Vally Club Dr Apt 102
                     Ann arbor, MI 48104



                     To, Trang
                     172 Glencoe Rd
                     Upper Darby, OH 19082
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 902 of 924


                     Tobin, Loriann
                     8 Club Vista
                     Trabuoco Canyon, CA 92679



                     Todkar, Kativa
                     1036 polaris crossing blvd
                     Westerville, OH 43081



                     Toloui, Ramin
                     759 promontory point
                     newport beach, CA 92660



                     Torres, Veronica 1
                     2487 Alum Rock Ave Apt 38
                     San Jose, CA 95116



                     Tory, Kooyman,
                     8912 Spanish Ridge Ave
                     Las Vegas, NV 89148



                     Tracer Hot Air Balloon
                     4858 Mahan Drive
                     Tallahassee, FL 32308-5823



                     tran , Nhi t
                     520 madison ave
                     new york, NY 10022



                     Tran, Cuong
                     4704 4th St.
                     Marrero, LA 70072



                     Tranquility Balloon Rides
                     5400 Joyner Avenue
                     Springhill, FL 34608
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 903 of 924


                     Traxler, Meghan
                     15777 Quorum Dr Apt.1119
                     Addison, TX 75001



                     Trefry, Allen
                     14939 Palmwood Road
                     Palm Beach Gardens, FL 33410



                     Tretasco, Montishia
                     1026 Catalina Place
                     Corpus Christi, TX 78411



                     Triangle Skydiving Center
                     480 Airport Drive, Suite 200
                     Louisburg, NC 27549



                     Triplet, Billie
                     148 Hawley Ridge
                     Dunn, NC 28334



                     Trisha, Lewis
                     3375 Tumbleweed Drive
                     Bozeman, MT 59715



                     Troneld, Michelle Marie
                     1205 Britolmoor Dr
                     Winterville, NC 28590



                     Trujillo, Alma
                     13003 W Tara Ln.
                     Surprise, AZ 85374



                     Truong-Cao, Steven
                     63-37 Austin Street Apt 2E
                     Rego Park, NY 11374
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 904 of 924


                     Tucker, James 1
                     152 Plunk Lane
                     El Dorado, AR 71730



                     Tucker, Suzie
                     2611 Sand Jacinto
                     Semi Valley, CA 93063



                     Tuckett, Philip
                     2152 San Juan
                     St. George, UT 81790



                     Tunnell, Jonathon
                     1286 Meredith Way
                     Clarksville, TN 37042



                     Turner, Conni
                     409 Grist Mill
                     Bentonville, AR 72712



                     Turner, McKenna
                     501 E Pine St
                     Seattle, WA 98122



                     Turnipseed, Mary Jane
                     3648 tiger point blvd
                     Gulf Breeze, FL 32563



                     Tutini, Jessica
                     20637 Blueberrry Lane
                     Fairhope, AL 36532



                     Ueno, Miyuki
                     495 Log Barn Rd
                     Pittsboro, NC 27312
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 905 of 924


                     Uhlman, Steven
                     5814 Hickory Springs Dr.
                     Kingwood, TX 77345



                     Umphrey, Terrellee
                     1044 West 3rd Street
                     Weiser, ID 83672



                     Underwood, Dave
                     60 South
                     Lamant Circle, NY 13045



                     Upper Level Fitness Inc
                     PO BOX 25335
                     Rochester, NY 14625



                     UPtimal Paragliding
                     642 Tico Road
                     Ojai, CA 93023



                     Usilton, Blake
                     1092 Salem Dr.
                     corona, CA 92881



                     Valdez, Liesel
                     808 Deleware Ave
                     Virginia Beach, VA 23451



                     Vallejo, Siomara
                     1494 NW 42nd St.
                     Miami, FL 33142



                     Valley Ballooning
                     16350 Old Valley Pike
                     Edinburg, VA 22824
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 906 of 924


                     Valley, Diane
                     5125 Azule Lane
                     Crowley, TX 76036



                     Vandenberg, Cody
                     450 Rock afeller Road
                     Lake Forest, IL 60045



                     Vandyke, Stephany
                     1013 Juniper Drive
                     Lexington, KY 40504



                     VanHoove, Betty
                     119 Grace St
                     Reading, PA 19611



                     Vanhorn, Stephan
                     906 Peach Tree Rd., SE
                     Rio Rancho, NM 87124



                     VanPamel, Mike
                     12955 23 Mile road
                     Shelby Township, MI 48315



                     Vaughn, Douglas A.
                     4641 Hillside dr.
                     N. Richland Hills, TX 76180



                     Vaughn, Thomas
                     778 Manatee Bay Dr
                     Boynton Beach, FL 33435



                     Vega, Ana A
                     723 north gilden
                     midland, TX 79701
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 907 of 924


                     Vickers, Janae
                     19717 Grace Way
                     Sonoma, CA 95370



                     Vijh, Aarohi
                     4841 Mount Airy Rd
                     Sylvania, OH 43560



                     Vilensky, Vadim
                     54 Roundhill Rd.
                     Dobbsferry, NY 10522



                     Villanueva, Rex R.
                     1307 Byfield St
                     Allentown, PA 18103



                     Villars, Doug
                     555 17th St Suite 500
                     Denver, CO 80202



                     villegas, sonya
                     1719 dondrey ave
                     baldwin park, CA 91706



                     Vindrak, Alen
                     8910 Cardwell St.
                     Lovinia, MI 48150



                     Virginia Ballooning
                     William N Nelson
                     7501 River Rd Unit 11D
                     Newport News, VA 23607-1770



                     Vizkelety, Kevin
                     5250 Columbia Rd., Apt. 143
                     Olmstead, OH 44070
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 908 of 924


                     Voors, Daniel J
                     8609 Wave Circle Apt C
                     Ft. Wayne, IN 46825



                     Vuich, Fred
                     137 Oak View
                     Cranberry township, PA 16066



                     Waite, Andrew
                     4440 Grissom St suite 100
                     Bakersfield, CA 93313



                     Waldman, Linda
                     2717 NE 26th AVE
                     Lighthouse Point, FL 33064



                     Waldorf, John
                     101 holland ln
                     little rock, AR 07223



                     Walker, Matthew
                     4728 East Stetson Ln
                     Orange, CA 92869



                     Walker, Michael
                     702 Birdsall dr
                     Cedar Falls, IA 50613



                     Walker, Oliver
                     2208 Kent St
                     Los Angelas, CA 90026



                     Wall to Wall Cleaners
                     3990 Tamarack Drive
                     Kennesaw, GA 30152
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 909 of 924


                     Walsh, Brian
                     238 Davidson Ave
                     Ramsey, NJ 07446



                     Walsh, Evan
                     8109 Golfers Oasis Drive
                     Las Vegas, NV 89149



                     Wang, Bin
                     13353 Rhoda Dr.
                     Los Altos, CA 94022



                     Wang, Huaile
                     6529 Dalzell Place
                     Pittsburgh, PA 15217



                     Wang, Qing
                     155 Miami St
                     Tiffin, OH 44883



                     Wantye, Neal
                     2512 Goldsmith Ln
                     Louisville, KY 40218



                     Ward, Maureen 1
                     15864 Sanctuary Dr
                     Tampa, FL 33647



                     Warganich, Tibor
                     6041 Arrow Head Ct
                     Forest Hill, CA 95631



                     Warne, Hannah
                     6905 waverly st.
                     sarasota, FL 34243
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 910 of 924


                     Warren, Dickie K
                     214 Purple Plum Ln
                     Houston, TX 77062



                     Warren, Glen E.
                     4807 Day Shore blvd
                     Tampa, FL 33611



                     Warywoda, Kenneth
                     4215 Sheilds St.
                     Pittsburg, PA 15207



                     Waterman, Robert
                     720 East E St
                     Wilimington, CA 90744



                     Waters, Quinton
                     1462 Dean Street
                     Brookyn, NY 11213



                     Watkins, Johnna
                     1207 North Maple Street
                     Benton, IL 62812



                     Watson, Ryan
                     6501 Sabrosa Court East
                     Fort Worth, TX 76133



                     watterworth, randy
                     7393 old howard rd
                     temple, TX 76504



                     waupoose, alecia
                     720 abrams st
                     green bay, WI 54302
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 911 of 924


                     Wayne's Air Toys LLC
                     2346 NW Dallas Street
                     Grand Prairie, TX 75050



                     Webb, Laverne
                     33121 Kathryn
                     Garden City, MI 48135



                     Weber, David
                     1701 E. 167th ave
                     Thorton, CO 80602



                     Weber, Steuart
                     7280 18th Street NE
                     St. Petersburg, FL 33702



                     Weddle, Nicholas
                     1023 LANARIE ST. APT A
                     MANHATTEN, KS 66502



                     Weiers, Amanda
                     8525 S Upham Wy
                     Littleton, CO 80128



                     Weinhold, Kristen
                     16 Bannister
                     Salem, NH 03079



                     Weisman, Elizabeth A.
                     451 N. Bista Street
                     Los Angeles, CA 90036



                     Welch, Corby
                     573 Schoolhouse Circle
                     Haysville, KS 67060
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 912 of 924


                     Welch, Robert
                     670 Blue Oaks Dr
                     Ukiah, CA 95482



                     Weldeln, Dan
                     504 Dooley Ct
                     Grapevine, TX 76051



                     Weller, Kelly
                     8272 Acadian Lane
                     Seminole, FL 33777



                     Wells, Daniel
                     1230 Lawrence Way
                     Oxnard, CA 93035



                     Wells, Joshua A.
                     1015 Walker Lane
                     Summitt, MS 39666



                     Welsh, Eva
                     2710 vancouver street
                     irving, TX 75062



                     Welsh, Tom
                     vancouver street
                     Irving, TX 75062



                     Wendt, Michelle
                     8059 Clinton St
                     Los Angeles, CA 90048



                     Wenning, Karis Page
                     212 Summerhill Crt.
                     Fayetteville, NC 28303
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 913 of 924


                     Westdale, Leonard
                     6279 Sun Blvd #606
                     St Petersburg, FL 33715



                     Western New York Skydiving
                     P.O. Box 283
                     Alden, NY 14004



                     Weston, Trisha
                     104 Red Cedar Place
                     Chaple Hill, NC 27514



                     wetter, Jennifer
                     2890 Bridhton blvd
                     denver, CO 80216



                     Whetstone, Marcus G.
                     2714 Crestwood Dr.
                     Flint, MI 48503



                     Whipple, Dianne
                     2115 NE 42nd st
                     Ocala, FL 34479



                     Whisenant, Kimara
                     1040 Seminole Dr Apt 1556
                     Ft. Lauderdale, FL 33304



                     Whitcraft, Joel D.
                     2211 Kerrigans Way
                     Ft. Wayne, IN 46815



                     White, Alyssa
                     511 Belmeade Way Trail
                     Louisville, NC 27023
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 914 of 924


                     White, Anthony
                     2191 Memorial Drive # A7
                     Clarksville, TN 37043



                     White, Helen
                     1358 Phoenixville Pike
                     Westchester, PA 19380



                     White, JHames
                     179 CO. Rd 3441
                     Atlanta, TX 75551



                     White, Johnny
                     583 Broadway
                     Carle Place, NY 11514



                     White, Josh 1
                     307 Vanier Dr.
                     Newark, DE 19711



                     White, Martin R
                     130 Riverchase Ln
                     Moresville, NC 28115



                     White, Melissa
                     4207 King Wood Ct
                     Midland, TX 79707



                     Whittle, Keedar H
                     5062 Lankershim Blvd Suite 3013
                     North Hollywood, CA 51601



                     Whitworth, Annie
                     23332 Haynes St
                     West Hills, CA 91307
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 915 of 924


                     Wild Wind Skydivers
                     2270 Smith Crossing Road
                     Midland, MI 48640



                     Wiles, Lori A
                     18716 Keedysville Rd
                     Keedysville, MD 21756



                     Wilison, Karen
                     7927 North West Hawkins blvd
                     Portland, OR 97229



                     Wilkins, Rhonda
                     2778 Quail hollow rd west
                     Clearwater, FL 33761



                     williams , Albert M
                     7814 myers drive
                     glenburnie, MD 21061



                     Williams, Cameron
                     414 Sutterton Drive
                     Gahanna, OH 43230



                     Williams, Cari
                     3429 Sertana
                     Antonia, CA 92024



                     Williams, Devin
                     13113 Noack Rd
                     Magnolia, TX 77355



                     Williams, Kenneth
                     150 West 174th St Apt 9c
                     Bronx, NY 10453
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 916 of 924


                     Wilson, Brian 3
                     24 Willie Mays Plaza
                     San Francisco, CA 94107



                     Wilson, Melissa Marie
                     536 Mercer Road
                     Butler, PA 16001



                     Wilton, Edward
                     17106 county road 136
                     live oak, FL 32060



                     Wind Favor
                     Skydive Philadelphia
                     1100 North Ridge Road
                     Perkasie, PA 18944-1799



                     Windspirit
                     Windspirit
                     32 Peachtree Dr
                     Seale, AL 36875



                     Wings To Fly
                     1049 S Washington Avenue
                     Columbus, OH 43206



                     Wintersdorff, Lisa
                     5210 joan court
                     san diego, CA 92115



                     Wire, Coy
                     3303 Perimiter Loft Circle
                     Atlanta, GA 30346



                     Wisconsin Hang Gliding
                     Hendrikus P. Bouwmeester
                     P O Box 242
                     Waunakee, WI 53597
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 917 of 924


                     Wise, Jason L
                     520 Glen Crest Drive
                     san Diego, CA 92139



                     Wiselogel, Arthur
                     246 Zang St.
                     Lakewood, CO 80228



                     Wissbaum, Brandon M
                     7818 mccarron way
                     charlotte, NC 28215



                     Witters, Vincent
                     13454 Sunrise Valley Dr
                     Herndon, VA 20171



                     Wittwer, Jay
                     463 Benedict Dr.
                     Las Vegas, NV 89110



                     Wolta, Robert
                     5446 West 100th Place
                     Westminster, CO 80020



                     Wong, Corey
                     91-1047 Kekaiholo St.
                     Ewa Beach, HI 96706



                     Wong, Lee 1
                     2420 83rd
                     Edmonton t6k3g8



                     Wong, Oi Kwan
                     600 North Fairbanks Court Apt 3004
                     Chicago, IL 60611
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 918 of 924


                     Wong, Wendy
                     8807 Bay 16th ST
                     Brooklyn, NY 11914



                     Wong, Ying
                     3465 Samson St
                     Philadelphia, PA 19104



                     Woodfill, Lindsey M
                     125 Dallas St
                     Angleton, TX 77515



                     Woodrow, Stephanie
                     4814 Willowbrooke Ln.
                     Summerville, SC 29485



                     Woods, Robert M.
                     2555 Main St. No3031
                     Irvine, CA 92614



                     Woolfolk, Robert G
                     PO Box 116
                     Beaverdam, VA 23015



                     WORTH, KIMBERLY
                     18851 River Road
                     Poolesville, MD 20837



                     Wozniak, John
                     13225 104th Ave
                     Grand Haven, MI 49417



                     Wright, Darren
                     1783 West University Drive
                     Tempe, AZ 85281
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 919 of 924


                     Wright, Emily
                     2030 North Providince Rd.
                     Media, PA 19063



                     Wright, Ken 1
                     324 Pinewood Drive
                     Beckley, WV 25801



                     wright, paul 1
                     4627 east imperial view court
                     rocklin, CA 95677



                     Wurst, Laura
                     1404 Nye Street
                     Capital Heights, MD 20743



                     Xu, Kang
                     302 Marina Way
                     Novato, CA 94945



                     Yang, Young
                     1880 Century Pk e. 16th fl
                     Century city, CA 90067



                     Yarbrough, Carol
                     30120 Valley Glen street
                     Castaic, CA 91384



                     Yates, Nicholas
                     200 Harbor Dr #3701
                     San Diego, CA 92101



                     Yessayian, Benjamin
                     1555 mesa verde dr e apt 50b
                     costa mesa, CA 92626
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 920 of 924


                     Yingling, Charles
                     39 University Dr Box J254
                     Bethlehem, PA 18015



                     Yoon, Sarah J
                     2887 Homestead Dr
                     Pomona, CA 91767



                     Yoshizawa, Motoko
                     107 N. 3rd St. unit 3D
                     Brooklyn, NY 11211



                     Youn, Sooryun
                     312 Beechwood Rd
                     Ridgewood, NJ 07450



                     Young, Anne
                     4001 Bowser Ave Unit A
                     Dallas, TX 75219



                     Yount, Denise
                     320 Lindenhurst Dr. Apt 16103
                     lexington, KY 40509



                     Yuvonne, Yowell
                     2905 Willow Drive
                     Bettendorf, IA 52722



                     Zafar, Firoza
                     45797 Smokefree Terr
                     Sterling, VA 20166



                     Zalcman, Barry
                     17 sass drive
                     manchester, CT 06042
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 921 of 924


                     Zamora, Rafael
                     319 SW 192nd Ave
                     Pembrooke Pines, FL 33029



                     Zarkos, Tim
                     PO Box 70001
                     Boise, ID 83707



                     Zeal, James
                     7026 Santa Monica Blvd
                     Los Angeles, CA 90038



                     Zeldes, Steven
                     40655 Paisley Circle
                     Novi, MI 48377



                     Zenener, Robert P.
                     5336 Barritt Ave
                     El Cerrito, CA 94530



                     Ziegler, Katie
                     5196 Lone Star Place
                     Colorado Springs, CO 80922



                     Zimmermann, Jason
                     7201 Lennox ave
                     Van Nuys, CA 91405



                     Zinelis, Andreas
                     1400 North Fairfax Ave #10
                     Las Angelas, CA 90046



                     Zion, Adam G
                     3240 Henry Hudson Pkwy Apt 6d
                     Bronx, NY 10463
Case 13-42659-mgd   Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28   Desc Main
                          Document    Page 922 of 924


                     Zugan, Steve
                     230 Butternut Cr
                     Carver, MN 55315
           Case 13-42659-mgd                         Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                       Desc Main
                                                           Document    Page 923 of 924

                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      Headband, LLC                                                                                  Case No.   13-42659
                                                                                  Debtor(s)                Chapter    7



                                                           AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
Amended Schedule F and Amended Creditor Matrix




                                       NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s) listed above has been
given this date to any and all entities affected by the amendment as follows:



 Date: November 26, 2013                                               /s/ Harold Boone, Jr.
                                                                       Harold Boone, Jr. 168008
                                                                       Attorney for Debtor(s)
                                                                       Karmel S. Davis & Associates
                                                                       P.O. Box 5488
                                                                       Douglasville, GA 30154
                                                                       (678) 715-0967 Fax:(678) 715-0987
                                                                       karmel_davis@yahoo.com




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
           Case 13-42659-mgd                         Doc 23 Filed 11/26/13 Entered 11/26/13 14:18:28                     Desc Main
                                                           Document    Page 924 of 924

                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      Headband, LLC                                                                                Case No.   13-42659
                                                                                 Debtor(s)               Chapter    7



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on November 26, 2013, a copy of the aforementioned documents was served electronically
or by regular United States mail to all interested parties, the Trustee and all creditors listed below.

U.S. Trustee
Office of the United States Trustee
362 Richard Russell Building
75 Spring Street, SW
Atlanta, GA 30303


Kyle A. Cooper
Kyle A. Cooper, Trustee
Suite 102
615 Colonial Park Drive
Roswell, GA 30075

                                                                               /s/ Harold Boone, Jr.
                                                                               Harold Boone, Jr. 168008
                                                                               Karmel S. Davis & Associates
                                                                               P.O. Box 5488
                                                                               Douglasville, GA 30154
                                                                               (678) 715-0967Fax:(678) 715-0987
                                                                               karmel_davis@yahoo.com




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
